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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION;
RIO BANK, MCALLEN, TEXAS; and
AMERICAN BANKERS ASSOCIATION
                                    Plaintiffs,

v.                                                      Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,
                                   Defendants.


                               JOINT APPENDIX
                   OF ADMINISTRATIVE RECORD DESIGNATIONS
                                 VOLUME III
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if the transaction was not originated) is             information as to the nature or function     currently collect. While several small
in a county with a population of more                 of the business address it possessed.        entity representatives were already
than 30,000.655 Under Regulation C, the                  Proposed comment 107(a)(13)-1             geocoding applicants' addresses, others
financial institution generally finds the             would have provided general                  were concerned about the burden
census tract by geocoding using the                   instructions on using the waterfall          associated with geocoding for HMDA
address of the property. Geocoding is                 reporting method, with examples for          and one expressed a preference for the
the process of using a particular                     guidance. The Bureau believed that this      CRA method of geocoding, as did
property address to locate its                        comment would facilitate compliance          several other stakeholders. Accordingly,
geographical coordinates, and from                    and sought comment on whether any            the Bureau sought comment on the
those coordinates one can identify the                additional instructions or examples          difference between geocoding for
corresponding census tract.                           would be useful.                             HMDA and for CRA, and any specific
                                                         Proposed comment 107(a)(13)-2             advantages or disadvantages associated
   CRA reporting of business loans by
depository institutions also requires                 would have explained that a financial        with geocoding under either method. In
                                                      institution would comply with                regard to a small entity representative's
reporting of census tract. The Bureau
                                                      proposed § 1002.107(a)(13) by                request for a Federal government tool
understands that CRA allows reporting
                                                      identifying the appropriate address or       capable of batch processing for
of a census tract based on the address
                                                      location and the type of that address or     geocoding of addresses, the Bureau
or location where the proceeds of the                 location in good faith, using appropriate
credit will be principally applied.          656                                                   noted that it was considering the utility
                                                      information from the applicant's credit      of such a tool. As the SBREFA Panel
   The Bureau proposed                                file or otherwise known by the financial     recommended, the Bureau sought
§ 1002.107(a)(13) to require financial                institution. The comment would also          comment on the feasibility and ease of
institutions to collect and report the                have made clear that a financial             using existing Federal services to
census tract data point using a                       institution would not be required to         geocode addresses in order to determine
"waterfall" approach. The proposed                    investigate beyond its standard              census tract for section 1071 reporting
rule would have required a financial                  procedures as to the nature of the           purposes (such as what is offered by the
institution to collect and report the                 addresses or locations it collects.          FFIEC for use in reporting HMDA and
census tract in which is located: (i) The                Proposed comment 107(a)(13)-3             CRA data).
address or location where the proceeds                would have explained that pursuant to          The Bureau sought comment on its
of the credit applied for or originated               proposed § 1002.107(c)(1) a financial        proposed approach to the census tract
will be or would have been principally                institution would be required to             data point. In addition to the specific
applied; or (ii) If the information in (i)            maintain procedures reasonably               requests for input above, the Bureau
is unknown,the address or location of                 designed to collect applicant-provided       noted that the waterfall method was
the main office or headquarters of the                information, which would include at          intended to allow CRA reporters to
applicant; or (iii) If the information in             least one address or location for an         provide the same data for both reporting
both (i) and (ii) is unknown, another                 applicant for census tract reporting.        regimes, but requested comment on
address or location associated with the               However, the comment would have              whether the proposed method would
applicant. In addition, the proposed rule further explained that if a financial                    achieve this goal and, if not, whether
would have required that the financial                institution was nonetheless unable to        and how this data point should be
institution also indicate which one of                collect or otherwise determine any           further coordinated with CRA.
the three types of addresses or locations address or location for an application,
listed in (i), (ii), or (iii) the census tract        the financial institution would report       Comments Received
is based on. Although the proposed rule that the census tract information was                        The Bureau received comments on
did not specifically require it, the                  "not provided by applicant and               this aspect of the proposal from
Bureau assumed that financial                         otherwise undetermined."                     numerous lenders, trade associations,
institutions or their vendors would                      The Bureau proposed a safe harbor in      community groups, and others. Several
generally use a geocoding tool to                     § 1002.112(c)(1)(renumbered as               commenters supported the inclusion of
analyze the appropriate address to                    § 1002.112(c)(2) in the final rule), which   the census tract data point, and many
identify a census tract number.                       would have stated that an incorrect          specifically discussed and supported
   The proposed approach would have                   entry for census tract would not be a        the proposed waterfall approach to
required a financial institution to report violation of ECOA or subpart B if the                   reporting. One CDFI lender stated that it
the census tract of the proceeds address financial institution obtained the census                 currently collects this information for
if it was available but would not have                tract by correctly using a geocoding tool    the CDFI Fund. Several community
required a financial institution to ask               provided by the FFIEC or the Bureau.         groups discussed the importance of
about it specifically. Financial                      Proposed comment 107(a)(13)-4 would          knowing where loans were made to
institutions would have been able to                  have cross-referenced that provision.        combat redlining and ensure that
apply the waterfall approach to the                   See  the section-by-section analysis of      socially disadvantaged farmers and
addresses they were currently                         § 1002.112(c)(2) below for additional        other small businesses can have
collecting; they would not have been                  discussion of this safe harbor.              appropriate access to credit. A
required to specifically ask for the                     During the SBREFA process, some           community group and a trade
proceeds or headquarters addresses. In                small  entity representatives explained      association agreed with the Bureau's
addition, the proposed method would                   that they generally collect the main         proposal that the waterfall method
have allowed a financial institution to               office address of the small business,        would allow section 1071 reporting to
report that it was unsure about the                   which for sole proprietorships will often    match CRA requirements. Another trade
nature of the address if it had no                    be a home address, and were generally        association said that financial
                                                      not aware of the proceeds address. The       institutions would be able to use an
  e55 Regulation C § 10014(a)(9)(ii)(C). Regulation C Bureau's proposed waterfall approach         address provided by the applicant and
also requires reporting of the property address for   would accommodate this situation by          agreed that reporting of the proceeds
all applications.                                     allowing financial institutions to report    address would allow coordination with
  656 See 2015 FFIEC CRA Guide at 16.                 census tract using the address that they     CRA,though it did not comment on the




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proposed waterfall. Although they           address after the loan closes. In          CRA.657 In addition, the waterfall
supported the waterfall approach, two       addition, two commenters asked that        method prioritizes the proceeds address,
community groups requested that             the Bureau clarify whether the census      which the Bureau considers to be
financial institutions be required to ask   tract should match the mailing address     particularly useful for both the fair
for the location where the proceeds of      of the applicant or the physical address. lending and business and community
the credit would be used, stating that         Numerous banks and trade                development purposes of section 1071.
this method would allow for better          associations stated that section 1071         The waterfall approach adopted in the
coordination with CRA and better            reporting requirements, especially the     final rule requires a financial institution
fulfillment of the purposes of section      census tract data point, overlapped or     to report the census tract of the proceeds
1071.                                       conflicted with HMDA and CRA               address if it is available, but does not
  Several industry commenters stated        reporting requirements, creating           require a financial institution to ask
that the census tract data point would      unnecessary difficulties. Most of these    about it specifically. This provision is
be confusing and difficult to report. One   commenters asked that the Bureau           meant to address potential concerns
commenter pointed out that multiple         coordinate these requirements and          about reporters spending time on
applicant addresses and address             provide a complete exemption from          complex, fact-specific questions and
changes for applicants would                section 1071, HMDA, or CRA for loans       unintentionally misreporting this data
complicate reporting. A national auto       that overlap. Commenters requesting        point, which could occur if financial
finance trade association stated that its   exemptions did not explain why the use institution staff have to determine what
members do not work with census tracts      of the proceeds address would not allow kind of address they are reporting based
and that technical and process changes      coordination between section 1071 and      on insufficient information. The Bureau
would be necessary to deliver this data.    CRA census tract   reporting.              believes    that this option will be
   A trade association stated that            Some industry commenters expressed particularly helpful if the application is
geocoding will be a significant burden      concern that census tract information,     denied or withdrawn early in the
for many credit unions, the vast            especially when combined with the          application process before the nature of
majority of which do not collect census     NAICS business type and other reported any address provided by the applicant
tract information for small business        data, could facilitate reidentification of is clear.
loans. That commenter further stated        small business applicants. These              Requiring financial institutions to
that although some CDFI credit unions       commenters stated that this risk would     inquire   as to the address where the
collect census tract information, many      be greater in rural areas.
                                                                                       proceeds will be applied, as some
are completely unfamiliar with census         Comments addressing the Bureau's         commenters requested, might result in
tracts—particularly credit unions that      proposed safe harbor for use of certain    slightly more proceeds addresses being
are not HMDA reporters. The                                                            reported. However, the Bureau does not
                                            geocoders are addressed in the section-
commenter also said that the FFIEC                                                     believe that the extra information
                                            by-section analysis of § 1002.114(c)(1)
geocoder does not permit batch inputs,                                                 reported in certain instances would be
which it said further slows application     below.                                     worth the extra difficulty across all
processes. Finally, the commenter           Final Rule                                 small business applications. In addition,
requested that the Bureau develop a free                                               the Bureau believes that the waterfall
                                              For the reasons set forth herein, the
tool that permits batch inputs and better   Bureau is finalizing § 1002.107(a)(13)     approach in collecting census tract data
enables efficient and cost-effective                                                   provides sufficient flexibility; making
                                            and associated commentary with a
compliance.                                                                            use  of the waterfall voluntary, as some
  Two banks and a trade association         minor edit for clarity. Final
                                                                                       commenters suggested, would result in
commented that many banks that are          § 1002.107(a)(13) requires that financial
                                                                                       less useful information being collected
not HMDA reporters are unfamiliar with      institutions collect and report the
                                                                                       while only reducing difficulty by a
census tracts. Commenters also stated       census tract data point using the          small amount. In regard to the comment
that the FFIEC geocoder works               "waterfall" approach described above.      asking whether the physical or mailing
efficiently for addresses in and close to     In regard to the comments expressing address or location should be used, the
metro areas, but not as easily for more     concern about the burden associated        Bureau notes that the credit proceeds
rural addresses, and in relation to new     with collecting and reporting census       will be applied at a physical location,
subdivisions and developments. They         tract information using a geocoder and     and the main office or headquarters of
further pointed out that when an            by other means, the Bureau notes that      a business will also occupy a physical
address is not "matched" in the FFIEC       census tract is specifically enumerated    location. The third option in the
system, it requires manual plotting,        as a data point in the statute. In         waterfall, "another address or location,"
which is time-consuming and difficult,      addition, the Bureau believes that its     does not suggest the nature of such an
and stated that a bank that makes           reporting method for the census tract      address, but the financial institution
strictly agricultural loans might find      data point leverages existing industry     will need to have enough information to
many non-matching addresses. Finally,       information collection practices and       determine a census tract for that
two of these commenters suggested that      will result in useful information to       location.
reporting the State and county codes        further section 1071's purposes while         As explained above, the Bureau
should be sufficient when there is no       avoiding imposing much additional          understands that CRA currently requests
match in the FFIEC geocoder.                burden on financial institutions. The      reporting of a census tract based on the
  Several industry commenters               waterfall method allows a financial
specifically objected to the waterfall      institution to report census tract using     657 As explained below, the current CRA


reporting method, which they stated         an address it already has, with no         rulemaking envisions replacing small business and
was confusing and difficult, and many       further investigation; allows a financial small  farm CRA data collection with the 1071 data
                                                                                       collection, but in the event CRA data is still
suggested it should not be mandatory.       institution to avoid further investigation reported under the current regime for some period
Some of these commenters requested          when it is unsure about the nature of the of time after compliance with this rule is required,
                                            address reported; and allows current       the Bureau believes that the ability to report the
clarification on how to report if there                                                same data in the interim should reduce any
are multiple proceeds addresses, or if      CRA reporters to report the same           operational difficulties related to census tract. See
the bank learns of a different proceeds     address for this rule as they do for       87 FR 33884, 33997, 34005 (June 3, 2022).




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address or location where the proceeds                  The primary exception to this principle               the . . . applicant" is understood to
of the credit will be principally                       will be in the case of credit intended for            mean only "main office or headquarters
applied.658 The Bureau also believes                    purchase, construction/improvement, or                address"(which, as explained above,
that CRA reporting on this data point is                refinancing of real property; under these             the Bureau does not adopt as its
reasonably flexible, and a financial                    circumstances, the Bureau reasonably                  interpretation of the statutory term)the
institution will be able to coordinate the              interprets the term "principal place of               Bureau believes it is appropriate to use
two compliance regimes to report the                    business" to mean the principal location              its exception authority under ECOA
same census tract. The commenters who                   for business activities relating to the               section 70413(g)(2) to provide that
stated that this data point would                       extension of credit at issue. Although                financial institutions in certain
conflict with CRA reporting did not                     "another address or location associated               situations may report the proceeds
explain why they believed this to be so,                with the applicant" might not always be               address or "another address or location
and other industry commenters agreed                    the principal place of business of the                associated with the applicant," because
that the census tract data point for                    applicant, the Bureau considers this                  the Bureau believes those addresses will
section 1071 would allow coordinated                    information to be the financial                       carry out the purposes of section 1071
reporting with CRA. The Bureau also                     institution's best option for reporting               more appropriately than requiring the
notes that the recent CRA interagency                   data on the principal place of business               main office or headquarters address in
proposed rule, if finalized, would                      when the nature of a location is                      every situation.
eventually replace CRA small business                   unknown.                                                 The Bureau is finalizing comment
and small farm data with data collected                    In the alternative, section 1071                   107(a)(13)-1 through —4 with a minor
pursuant to section 1071, in which case                 authorizes the Bureau to include any                  edit for consistency. Comment
this issue would likely be moot.659                     "additional data that the Bureau                      107(a)(13)-1 provides general
   Although the Bureau sought comment                   determines would aid in fulfilling the                instructions on using the waterfall
on the differences between HMDA and                     purposes of [section 1071]." The Bureau               reporting method, with examples for
CRA census tract reporting, no                          has determined that requiring reporting               guidance, which will facilitate
commenters provided information on                      of the proceeds address will aid in                   compliance.
this issue. In regard to commenter                      fulfilling both the fair lending and                     Final comment 107(a)(13)-2 explains
concerns about overlaps or conflicts                    business and community development                    that a financial institution complies
with HMMA reporting, the Bureau notes                   purposes of section 1071 by providing                 with § 1002.107(a)(13) by identifying the
that the final rule excludes HMMA-                      more useful information on the location               appropriate address or location and the
reportable transactions from coverage,                  of the activity financed for fair lending             type of that address or location in good
as discussed in the section-by-section                  analysis and understanding where the                  faith, using appropriate information
                                                        business and community development                    from the applicant's credit file or
analysis of § 1002.104(b)(2) above, so
that concern is now moot as well.                       is occurring. Requiring reporting of                  otherwise known by the financial
   The Bureau notes that section 1071's                 another address or location associated                institution. The comment also makes
description of the census tract data                    with the applicant when both the                      clear that a financial institution is not
                                                        proceeds address and the main office or               required to investigate beyond its
point refers to the census tract for the
                                                        headquarters address are not available                standard procedures as to the nature of
applicant's "principal place of
                                                        will provide location data when                       the addresses or locations it collects.
business." 660 The Bureau considers the                                                                       The Bureau believes that this guidance
waterfall approach in final                             otherwise none would be present, thus
                                                        also aiding in fulfilling both the fair               strikes the right balance by allowing
§ 1002.107(a)(13) to be a reasonable                                                                          flexibility in reporting, and also
                                                        lending and business and community
interpretation of the undefined statutory                                                                     requiring appropriate good faith
                                                        development purposes of section 1071
term "principal place of business,"                                                                           compliance in exercising that flexibility,
which the Bureau understands not to                     by providing more useful information
                                                        on location for fair lending analysis and             thereby yielding quality data. In regard
have a standard definition, and thus                                                                          to commenters' concerns about
                                                        understanding where the business and
believes to be ambiguous. First, the                                                                          reporting census tract when there are
                                                        community development will likely be
Bureau believes that the address or                                                                           multiple proceeds addresses, the Bureau
                                                        occurring. In addition, requiring data on
location of the main office or                                                                                notes that the rule requires reporting
                                                        the nature of the address reported will
headquarters of the applicant fits easily               aid in fulfilling both the fair lending and           using the address where the proceeds
into one of the common meanings of                                                                            will be or would have been principally
                                                        business and community development
"principal place of business." In                                                                             applied, and allows for other addresses
                                                        purposes of section 1071 by facilitating
addition, the Bureau anticipates that,                  accurate analyses of the data reported.               to be used if that address is unknown.
generally, the address where the loan                   Also, in the alternative, to the extent               As final comment 107(a)(13)-2 makes
proceeds will be applied will also be the               that "the principal place of business of              clear, as long as a financial institution
main office or headquarters address.661                                                                       determines which address to use in
  sss See, e.g., Off. of the Comptroller of Currency,   Establishment Industry(Feb. 2022), https://           good faith, it will be in compliance with
Fed. Rsrv. Sys., Fed. Deposit Ins. Corp., Community
                                                        www.census.gov/programs-surveys/susb/da ta/           the rule. The Bureau believes that
                                                        tables.html. According to the U.S. Census Bureau's    including detailed instructions on how
Reinvestment Act; Interagency Questions and             Non-employer Statistics, there are 27,104,006 non-
Answers Regarding Community Reinvestment;               employer establishments (regardless of revenue        to determine which proceeds address to
Guidance, 81 FR48506, 48551-52 (July 25, 2016).         size). Non-employer firms account for fewer than 4    report would increase the difficulty of
  859 See 87 FR 33884, 33997, 34005 (June 3, 2022).     percent of all sales, though, and the vast majority   reporting while only marginally
  660ECOAsection 704B(e)(2)(E).                         are sole proprietorships. While not impossible, the   enhancing the quality of the data
  661 According to U.S. Census 2019 SUSB data,          Bureau believes it is very unlikely that non-
there are 6,081,544 firms with fewer than 500           employer firms would have more than one location.     reported. In regard to the comment
employees (which will be used,for this purpose, as      See U.S. Census Bureau, All Sectors: Nonemployer      about what to report when the proceeds
a rough proxy for a "small business"); those firms      Statistics by Legal Form of Organization and          or other address changes, because
collectively have 6,588,335 establishments (i.e.,       Receipts Size Classfor the U.S., States, and          comment 107(a)(13)-2 requires that the
locations). This means that, at most, approximately     Selected Geographies: 2019(2019), https://
8 percent of firms with fewer than 500 employees        data.census.gov/cedsci/table?q=NONEMP2019.
                                                                                                              address/location be identified in good
could have more than one location. See U.S. Census      NS1900NONEMP£rtid=NONEMP2019.                         faith, an address that the financial
Bureau, 2019 SUSR Annual Datasets by                    NS1900NONEMP£rhidePreview=true.                       institution knows is no longer accurate




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would not be appropriate to use in           modification may be appropriate to              Proposed comment 107(a)(14)-1
determining the census tract when a          mitigate potential re-identification risk    would have also provided specific
more accurate address is available.          to small business applicants and related     language that a financial institution
   Final comment 107(a)(13)-3 explains       natural persons. The Bureau notes that       could use to ask about an applicant's
that pursuant to final § 1002.107(C)(1) a    it will consider carefully what data will    gross annual revenue and would have
financial institution is required to         be publicly released, and will carefully     explained that a financial institution
maintain procedures reasonably               protect applicant privacy, while             could rely on the applicant's answer.
designed to collect applicant-provided       preserving the utility of the dataset. See   The Bureau believed this language
data, which includes at least one            part VIII.13.6.xi below for discussion of    would facilitate compliance for
address or location for an applicant for     this issue.                                  financial institutions that currently do
census tract reporting. However, the                                                      not collect gross annual revenue, collect
comment further explains that if a           107(a)(14) Gross Annual Revenue              it only in limited circumstances, or
financial institution is nonetheless         Proposed Rule                                would otherwise find its collection
unable to collect or otherwise determine                                                  challenging, as some small entity
                                               Section 1071 requires financial
any address or location for an                                                            representatives and other stakeholders
                                             institutions to collect and report "the
application, the financial institution                                                    suggested.
reports that the census tract information    gross annual revenue of the business in
                                                                                             Overall, the Bureau believed that this
was "not provided by applicant and           the last fiscal year of the . . applicant    approach in proposed comment
                                             preceding the date of the
otherwise undetermined." Based on the                                                     107(a)(14)-1—clarifying that a financial
Bureau's understanding of financial          application." 662                            institution need not verify applicant-
institutions' application procedures, the      Proposed § 1002.107(a)(14) would           provided gross annual revenue
Bureau believes it is highly unlikely that   have required reporting of the gross         information and providing language that
a financial institution will not obtain      annual revenue of the applicant for its      a financial institution may use to ask for
some type of address for the applicant.      preceding full fiscal year prior to when     such information—should reduce the
Nonetheless, the Bureau permits              the information is collected. The Bureau     complexity and difficulty of collecting
financial institutions to report this data   proposed to require reporting of a           gross annual revenue information.
point using the "not provided by             specific value for gross annual                 The Bureau believed that situations
applicant and otherwise undetermined"        revenue—rather than a range—to               could arise in which the financial
response in order to facilitate              simplify the reporting of gross annual       institution has identified that an
compliance in those rare instances           revenue information for financial            applicant is a small business for the
when the financial institution does not      institutions and because it believed that    purposes of proposed § 1002.106(b)
have the data requested. The reference       a precise value would be more useful for     through, for example, an initial
in the comment to final § 1002.107(c)(1)     data users, including the Bureau.            screening question asking whether the
makes clear, however, that a financial         Proposed comment 107(a)(14)-1              applicant's gross annual revenue is
institution must maintain procedures         would have clarified that a financial        below $5 million, but then the specific
reasonably designed to collect at least      institution need not verify gross annual     gross annual revenue amount could not
one address. As with the previous            revenue information provided by the          be collected. Therefore, the Bureau
comment, the Bureau believes that this       applicant to comply with proposed            proposed comment 107(a)(14)-2, which
comment strikes the right balance by         § 1002.107(a)(14), as some small entity      would have first clarified that pursuant
facilitating compliance and also             representatives and other stakeholders       to proposed § 1002.107(c)(1), a financial
emphasizing the requirement to collect       suggested. The proposed comment              institution shall maintain procedures
appropriate data.                            would have explained that the financial      reasonably designed to collect
   Final comment 107(a)(13)-4 cross-         institution may rely on statements of or     applicant-provided information,
references a safe harbor the Bureau is       information provided by the applicant        including the gross annual revenue of
finalizing in § 1002.112(c)(2), which        in collecting and reporting gross annual     the applicant. The proposed comment
states that an incorrect entry for census    revenue. The proposed comment would          would have then stated that if a
tract will not be a violation of ECOA or     have also stated, however, that if the       financial institution is nonetheless
subpart B if the financial institution       financial institution verifies the gross     unable to collect or determine the
obtains the census tract by correctly        annual revenue provided by the               specific gross annual revenue of the
using a geocoding tool provided by the       applicant, it must report the verified       applicant, the financial institution
FFIEC or the Bureau. See the section-by-     information. The Bureau believed that a      reports that the gross annual revenue is
section analysis of § 1002.112(c)(2)         requirement to verify gross annual           "not provided by applicant and
below for additional discussion of this      revenue could be operationally difficult     otherwise undetermined." The Bureau
safe harbor. In regard to commenters'        for many financial institutions,             believed that permitting this reporting
requests for a new Federal geocoding         particularly in situations in which the      flexibility would reduce the complexity
tool that allows for batch processing, the   financial institution does not collect       and difficulty of reporting gross annual
Bureau continues to explore this option.     gross annual revenue currently. The          revenue information, particularly when
   Finally, as discussed above, some         Bureau also did not believe that such a      an application has been denied or
commenters were concerned about              requirement was necessary in fulfilling      withdrawn early in the process and the
reidentification risk in regard to census    either of section 1071's statutory           gross annual revenue could not be
tract reporting, especially when             purposes. However, the Bureau believed       collected.
combined with NAICS industry codes           that reporting verified gross annual            Proposed comment 107(a)(14)-3
and other data, and especially in rural      revenue when the financial institution       would have clarified that a financial
areas. The Bureau appreciates concerns       already possesses that information           institution is permitted, but not
regarding the potential re-identification    would not be operationally difficult and     required, to report the gross annual
risk posed by the publication of             would enhance the accuracy of the            revenue for the applicant that includes
unmodified census tract data.                information reported.                        the revenue of affiliates as well. The
Accordingly, the Bureau believes that, if                                                 proposed comment would have stated
it decides to publish census tract,           662 ECOA section 704B(e)(2)(F).
                                                                                          that, for example, if the financial




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institution does not normally collect      revenue. In addition, the Bureau sought business revenue (because of
information on affiliate revenue, the      comment on the effect of cash flow          insufficient personal income). Another
financial institution reports only the     versus accrual accounting on reporting      commenter noted it was unclear how to
applicant's revenue and does not           of gross annual revenue.                    calculate gross annual revenue for many
include the revenue of any affiliates                                                  agricultural credit transactions because
when it has not collected that             Comments     Received
                                                                                       for both estate planning and asset
information. The Bureau believed that         The Bureau received comments on its preservation purposes, many family
permitting, but not requiring, a financial proposed approach to the gross annual       farms are set up using complex business
institution to include the revenue of      revenue data point from a range of          entities consisting of multiple trusts,
affiliates will carry out the purposes of  lenders, trade associations, and            corporations, partnerships, and limited
section 1071 while reducing undue          community groups. With the exception        liability entities, and that this means
burden on financial institutions in        of several agricultural lenders, industry that the applicant signing the note may
collecting gross annual revenue            commenters generally did not object to      differ from the denoted mortgagors and
information. Proposed comment              the Bureau's proposal to require the        guarantors, but all of whom are family
107(a)(14)-3 would have concluded by       collection and reporting of gross annual members or business entities they own.
explaining that in determining whether revenue as required by ECOA section             Many of these agricultural lenders
the applicant is a small business under     704B(e)(2)(F) and three commenters         suggested that instead of gross annual
proposed § 1002.106(b), a financial        (two community groups and a lender)         revenue information, the appropriate
institution may rely on an applicant's     expressed support for the proposed          metric for agricultural credit should be
representations regarding gross annual     gross annual revenue data point. One of "gross sales of agricultural or aquatic
revenue, which may or may not include the community groups asserted that the products" as defined by the Farm Credit
affiliates' revenue. This approach         gross annual revenue of the small           Administration in the prior year.
regarding affiliate revenue in proposed    business is a critical data element since
                                           research shows that smaller businesses         Some bank commenters suggested the
comment 107(a)(14)-3 was consistent                                                    Bureau align with other reporting
with the approach regarding affiliate      are less likely to receive loans  and  that
                                           this data point is needed to assess         regimes (such as HMDA and CRA)by
revenue for purposes of determining
                                            whether  banks  are meeting   credit needs adopting a definition of gross annual
whether an applicant is a small business                                               revenue
                                           of small businesses. The other                        based on annual revenue relied
under proposed § 1002.106(b). The                                                      upon to make the credit decision.
Bureau believed that this operational      community group remarked that it was
equivalence between proposed               critically important to allow for analysis Several explained inconsistencies
                                           looking at smaller buckets of small         among regulatory approaches to gross
§ 1002.107(a)(14) and proposed
§ 1002.106(b) would facilitate             businesses   based  on gross revenue.       annual revenue, pointing out the
                                              Several agricultural lenders, echoing    Bureau's proposal would require
compliance and enhance the
consistency of the data.                   comments from a major agricultural          collecting gross annual revenue from the
  In the NPRM,the Bureau expressed         credit trade association, argued that the   preceding fiscal year, whereas HMDA
skepticism regarding some small entity     Bureau should not require the collection reporting requires use of the income
representatives' suggestions to allow      or reporting of gross annual revenue        considered in making the credit
estimation or extrapolation of gross       information for agricultural credit and     decision and the CRA utilizes gross
annual revenue based on partially          urged  the Bureau   to use its exception    annual revenue used to make the credit
reported revenue, noting, for example,     authority to eliminate this data point for decision. Several commenters asserted
that a seasonal business's bank            agricultural credit. The commenters         that using a prior year's gross annual
statements for its busy season would       argued that collecting gross annual         revenue would be problematic for many
likely yield an inflated gross annual      revenue information would pose              small businesses that cannot produce
revenue when extrapolated to a full        substantial challenges for them given       usable financial statements, including
year. The Bureau sought comment on         the prevalence of the "non-standard"        tax returns, immediately upon the close
whether financial institutions should be agricultural borrower, including the          of a fiscal year. One such commenter
permitted to estimate or extrapolate        majority of farmers who only farm on a     elaborated that tax returns, which are
gross annual revenue from partially         part-time basis, and because many          often the only available income
reported revenue or other information,     agricultural loans are currently            statements, may not be ready until
and how such estimation or                 decisioned with principal reliance on       September, resulting in many lenders
extrapolation would be carried out. The credit scoring systems, without                relying on a tax return from two years
Bureau also noted that estimation or       considering revenue from farming or off- ago or using a pro forma revenue
extrapolation of gross annual revenue      farm income. One agricultural lender        outline. Another bank commenter
would be sufficient for the purposes of    explained that its underwriting             asserted that using similar, but
determining small business status under standards include personal W-2 and             differently defined, data points between
proposed § 1002.106(b), subject to the     other off-farm income, arguing that         section 1071 and CRA would
requirement under proposed comment         inclusion of that information in            complicate the reporting process and
107(a)(14)-1 that a financial institution  reporting this data point would be          could be avoided by aligning the
must report verified gross annual           misleading as to the size of the business definitions. One commenter
revenue information if available.          applying for a loan because off-farm        recommended aligning with CRA for
   The Bureau sought comment on its        income is not truly business income.        originated loans by using gross annual
proposed approach to the gross annual      The same commenter asserted that if, on revenue used to make the credit
revenue data point, as well as the         the other hand, the off-farm income is      decision, but for non-originated loans
specific requests for comment above. As not reported, the data would be                (which are not reported under the CRA)
the SBREFA Panel recommended, the           misleading as they would show many         using gross annual revenue information
Bureau also sought comment on how          loans approved to farmers with low          that has been provided by applicants
the timing of tax and revenue reporting    business revenue (where they have           absent credit decisions (such as in cases
can best be coordinated with the           sufficient personal income) and other       of some withdrawn or incomplete
collection and reporting of gross annual loans denied to farmers with higher           applications).




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   Some commenters provided market        debits). Another asked whether, in the       commenter asked how to handle
intelligence related to the collection of case of a business that uses a calendar      situations where there is a change in
gross annual revenue data. A trade        year for its fiscal year and applies for a   structure or ownership of the business
association stated that collecting gross  loan early in the next fiscal year with      and it is unclear how the gross annual
annual revenue information can be         many unknown numbers related to the          revenue should apply to the applicant.
complicated because many small            prior fiscal year, the applicant should         Two industry commenters specifically
businesses have loan guarantors and co- provide an estimate or whether the             suggested changes related to how to
borrowers. Another trade association      applicant should provide the                 report the gross annual revenue of single
explained that in the vehicle financing   information from the next preceding          purpose entities and other real estate
context, the borrower employee who is     fiscal year. Two commenters suggested        financing vehicles. Both suggested
responsible for acquiring the vehicle     that the Bureau clarify that different       allowing a financial institution to rely
 may not be familiar with the total       business units within the financial          on the gross annual revenue generated
revenue of the company and the            institution may use different methods to     by the property or the applicant's
owner(s) of the company may not want      determine gross annual revenue, as long      projected gross annual revenue for
to share this information with all        as the methods are used consistently         purposes of determining the small
employees. A few industry commenters within each business unit. Another                business status of the applicant. One
stated that there are many instances      asked if, in the case of an applicant that   also suggested specific revisions to the
 where gross annual revenue information owns two or more businesses, the               commentary to incorporate its
is not collected in the normal course of financial institution should only collect     suggestions.
business because underwriting may be      and report the gross annual revenue of          The Bureau also received some
based on other factors such as a cash     the business being financed and not          general comments regarding the
flow analysis, net income, or debt-to-    combined revenues of all owned               treatment of gross annual revenue
service ratio. For this reason, one of    businesses.                                  information from an applicant's affiliate.
these commenters stated that it should                                                 A trade association expressed support
                                             A number of industry commenters           for the Bureau's proposal to clarify that
be clear that applicants have no          asked for clarification and made
obligation to provide gross annual                                                     a financial institution need not verify
                                          suggestions regarding how to report          gross annual revenue information
revenue information. Another asserted     gross annual revenue for a startup
that where an applicant declines to                                                    provided by the applicant and is
                                          business, a new line of business, or a       permitted—but not required—to report
provide gross annual revenue
information, the Bureau is creating a     business with a change in structure or       the gross annual revenue for the
                                          ownership. A few commenters asked            applicant that includes the revenue of
significant regulatory challenge for the  whether "zero" and/or "not available"
financial institution by requiring it to                                               affiliates as well. Two community group
                                          is an acceptable response for a startup      comments urged the Bureau to require
submit application-level information
 when it will not know for certain        business. One commenter urged the            reporting on the gross annual revenue of
                                          Bureau to define gross annual revenue        parent companies and beneficial owners
 whether the business is a small business
nor have any reliable way of obtaining    in a straightforward manner that does        of limited liability companies in order
gross annual revenue information absent not impact credit opportunities (nor           to avoid obfuscating extensive property
a third-party provider, which do not      compliance) for newly formed                 ownership.
exist for many industries. Conversely, a  businesses   that do not have historical       Some industry commenters provided
community group stated that gross         gross annual revenue. Another                suggestions regarding how to handle
annual revenue was likely to be           commenter suggested the Bureau               gross annual revenue information from
collected as part of the underwriting     address or exempt new businesses from        the parent companies or affiliates of
                                          section  1071 reporting. Two                 applicants. A bank inquired whether
process.
   A number of industry commenters        commenters asked whether "zero" or           revenue or income relied upon from co-
requested clarification regarding how to "not provided by applicant and                signers or guarantors that are not
report gross annual revenue               otherwise undetermined" should be            affiliates of the borrower should be
information. A few commenters             reported when a borrower is                  factored into the gross annual revenue
requested guidance regarding              establishing a new line of business but      determination. A group of trade
appropriate sources for gross annual      already has revenue in other businesses;     associations suggested specific technical
revenue information. One bank             one also asked if treatment should differ    revisions to the commentary for clarity.
commenter requested consistency in        based on whether or not the new              Two bank commenters noted there may
 what defines gross annual revenue and    business line was in the same industry       be inconsistencies in the data where one
asked whether gross sales listed on a tax as the existing businesses. A bank           institution looks like it is lending more
return constitute an acceptable source    commenter opined that for a start-up         to small(er) businesses because it opts
for this information. Another             business, the financial institution          not to include gross annual revenue of
commenter asked the Bureau to             should use the actual gross annual           affiliates. Two other commenters asked
delineate whether tax returns,            revenue to date (including the reporting     that reportable gross annual revenue be
accountant prepared financial             of $0 if a new business has had no           the gross annual revenue of both the
statements, or internal profit and loss   revenue to date) and that pro-forma          applicant and all of its affiliates. A bank
statements constitute acceptable source   projected revenue figures should not be      recommended the Bureau further
documentation.                            reported since these figures do not          explain how to handle situations where
   Several industry commenters asked      reflect actual gross revenue. Another        the applicant is using multiple owned
for guidance or made suggestions          bank commenter suggested the Bureau          businesses/affiliates to support
regarding how to calculate gross annual develop FAQs and other documents that          sufficient cashflow, and whether there
revenue. One asked whether the Bureau applicants can consult to help them              are repercussions for excluding/
intends for gross annual revenue to be    determine what number to supply for          including multiple revenues used in the
defined as the total of all income        gross annual revenue, particularly when      credit decision. A group of trade
(account credits) for the year before     a business is starting up or establishing    associations representing the
subtracting any expenses (account         a new business line. Another industry        commercial real estate industry asked




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the Bureau to provide additional            property for purposes of determining an       The Bureau received some general
guidance on what types of entities may      applicant's small business status. They     comments regarding its proposal to not
be affiliates of an applicant, e.g., as a   also suggested that for an applicant that require verification of gross annual
result of common ownership or               is a newly created single purpose entity, information but to require reporting of
common control. Another trade               a financial institution should be           verified information when available.
association suggested that the Bureau       permitted to apply the $5 million gross     Two banks requested further
make minor revisions to commentary to annual revenue threshold to either the            clarification regarding the meaning of
clarify that a lender that does not collect gross annual revenue of the property for "verification," one of whom argued that
affiliate revenue in all transactions is    its most recent fiscal year under its prior neither the identification and
not precluded from collecting affiliate     owner or the single purpose entity's        assessment of income figures (not the
revenue in some transactions.               projected gross annual revenue.             same as gross annual revenue) by a
  A few commenters specifically asked          Some commenters asked for guidance financial institution during the
for clarity regarding the treatment of real or argued in favor of using estimates and underwriting and credit decision
estate affiliate revenue. These             extrapolations when exact gross annual process nor the post-origination
commenters explained that many of           revenue information is unavailable. A       independent testing and validation of
their loans are to real estate investors    bank   asked  if using an estimate was      the small business data file should be
who often form and apply through a          permitted when the applicant does not       considered "verification." The other
single-purpose limited liability            have prior fiscal year information          bank stated that exact gross annual
                                            completed.     Another commenter            revenue information is not always
company that has no gross annual
revenue (and therefore would meet the       suggested that when an applicant does       known until a tax return is completed
                                            not provide information regarding its       and asked if the self-reported gross
proposed definition of a small business)
                                            gross annual revenue but that               annual revenue information should be
but that may be affiliates of many, other
                                            applicant's revenue is tracked through a reported or the information found later
single-purpose limited liability
                                            technology company's online platform        on the tax return.
companies and individual owners.            (e.g., its sales on the company's online      Two community groups urged the
These commenters noted that they
                                            marketplace), a covered financial           Bureau to require the verification of
typically underwrite these loans based      institution should be able to report gross gross annual revenue information. One
on a schedule of other real estate in       annual revenue based on revenue             noted that tax returns are generally
which the single purpose entity (or its     information obtained from the platform      available and can be used to confirm the
sponsor) has an ownership interest and      data. The commenter argued that             applicant's gross annual revenue
by using a global debt coverage             permitting use of this alternative data     information. The other asserted that
calculation that considers the combined point would serve the purposes of               because the accuracy of determining
income of the applicant and all             section 1071 by enabling technology         whether credit needs of small
affiliated businesses,  which  can  often   companies to collect and report             businesses are being met hinges on the
exceed $5 million annually. A group of information on a greater number of               accuracy of collecting and reporting the
trade associations representing the         applications, while also reducing the       revenue size of the business and
commercial real estate industry stated      compliance burden for financial             because using tax documents or cash
that under the SBA's general principles institutions. Two commenters argued             flow information makes it feasible for
of affiliation, the single purpose entities that for consistency, the Bureau should     the lender to verify annual revenue, the
that own that other real estate would be allow financial institutions to                Bureau should require the verification
affiliates of the applicant single purpose extrapolate or estimate an applicant's       of gross annual revenue information.
entity, because of the overlapping          gross annual revenue, claiming that the     This community group argued that if
ownership interest. They also stated that Bureau proposed to allow institutions         affiliates are not accounted for in data
the single purpose entities on the          (not just applicants) to rely on            collection, the data could include
schedule of real estate could               extrapolated or estimated revenue data      businesses that exceed the revenue
additionally be affiliates of the applicant for determining whether or not a            limits established by the Bureau,
single purpose entity where one or more business is a small business.                   thereby reducing the efficacy of the data
officers, directors, managing members,         Many industry commenters supported in reporting on the experiences of small
or partners controls the board of           the Bureau's proposal to permit             businesses in the lending marketplace.
directors or management of both the         financial institutions to rely upon gross The commenter suggested that the
applicant single purpose entity and the     annual revenue information provided by Bureau thus investigate this issue and
single purpose entities on the schedule     the applicant without any requirement       determine whether there are feasible
of real estate. A bank asked the Bureau     to verify. Many of these commenters         methods a lender can use to identify the
to clarify that such businesses should be noted that they do not currently collect      presence of affiliates.
determined to be "small businesses" for gross annual revenue information with             Some industry commenters suggested
which data collection and reporting is      every application and even if it is         the Bureau provide a safe harbor and/or
required only if the combined income of collected, they do not always verify the        remove its proposed requirement to
the business and its related affiliates     amount provided, as underwriting is         report verified gross annual revenue
does not exceed the threshold set. The      often based on other factors such as a      information. Commenters requested the
group of trade associations suggested       cash flow analysis or debt-to-service       Bureau specify that the financial
revisions to the commentary that, in the ratio. One commenter noted that the            institution has no responsibility to
case of single purpose entities, would      flexibility to use the gross annual         verify the number supplied by the
allow a financial institution to consider revenue provided by the applicant and         applicant. A few commenters also
the owners of any real property listed on without verification allows financial         suggested the Bureau institute a safe
a schedule of real estate as affiliates of  institutions to continue using current,     harbor to ensure that whatever gross
the applicant and would also, under         proven underwriting practices and does annual revenue number is supplied by
certain circumstances, allow a financial not add to the compliance burden by            the applicant can be reported.
institution to estimate the gross annual    requiring additional revenue                Commenters urged the Bureau to clarify
revenue of any income-producing real        verification steps.                         that a financial institution is not liable




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for misinterpretation in answering           Final Rule                                   § 1002.106(b), the Bureau does not
questions or providing information to          For the reasons set forth herein, the      believe that "gross sales of agricultural
the applicant beyond the proposed gross      Bureau is finalizing § 1002.107(a)(14)       or aquatic products" in the prior year
annual revenue question. One                 and associated commentary with               would be an appropriate metric for
commenter suggested that if it is the        revisions for clarity and consistency.       agricultural credit in this final rule, nor
lender's practice to revise the              Final § 1002.107(a)(14) requires             that this should form the basis for a
application information in its system to     reporting of the applicant's gross annual    separate small business definition for
reflect what it believes to be a verified    revenue for its preceding fiscal year.       agricultural businesses.
number, the Bureau should permit the         The Bureau is requiring that financial          The Bureau has considered the
lender to report the verified number         institutions report a specific value for     comments regarding the collection and
retained in its system, rather than          gross annual revenue—rather than a           reporting of gross annual revenue and it
requiring the lender to maintain both        range—to simplify the reporting of gross     believes its approach in final comment
numbers in its system. This commenter                                                     107(a)(14)-1-clarifying that a financial
                                             annual revenue information for
also argued that a lender's verification                                                  institution need not verify applicant-
                                             financial institutions and because it
of revenue should not result in the                                                       provided gross annual revenue
                                             believes a precise value is more useful      information, and providing language
lender being required to change the          for data users, including the Bureau.
applicant's self-classification as being a                                                that a financial institution may use to
                                             However, the Bureau has not yet
small business or not being a small                                                       ask for such information—will reduce
                                             determined how it will publish gross         commenters' concerns regarding
business because the determination of        annual revenue data in the dataset. The
whether or not an applicant is a "small                                                   complexity and difficulty of collecting
                                             Bureau will consider whether                 gross annual revenue information.
business" needs to be made by the            modification techniques, such as ranges,        Final comment 107(a)(14)-1 clarifies
applicant at the time of application.        may be appropriate after it conducts its     that a financial institution reports the
  Several community groups and a             full privacy analysis. See part VIII below   applicant's gross annual revenue for the
CDFI lender expressed support for            for further discussion about the privacy     fiscal year preceding when the
reporting gross annual revenue as a          analysis and public disclosure of data.      information was collected. The Bureau
specific dollar amount rather than in          The Bureau is not categorically            believes this will clarify the timing
ranges. These commenters emphasized          exempting agricultural credit from the       requirements for collection of the gross
the importance of having precise and         requirement to collect and report gross      annual revenue data point. The final
accurate data on gross annual revenue        annual revenue, as requested by some         comment provides specific language
because this information is a                commenters. The Bureau understands,          that a financial institution may use to
fundamental determinant of whether a         as noted by commenters, that most            ask about an applicant's gross annual
business is deemed to be small and all       farmers in this country farm on a part-      revenue and explains that a financial
of its attendant information is captured     time basis and that the gross annual         institution may rely on the applicant's
                                             revenue data point may pose challenges       answer (unless subsequently verified or
and collected as part of the 1071 dataset.
                                             given the prevalence of "non-standard"       updated), even if the applicant's
One commenter argued gross annual
revenue in discrete units rather than        agricultural borrowers such as               statements or information is based on
                                             customers applying jointly despite           estimation or extrapolation. The Bureau
bands was needed to assess the
                                             having separate farming operations. The      believes this language will facilitate
availability of credit to the smallest
                                             Bureau also understands from                 compliance for financial institutions
businesses, especially those owned by
                                             commenters that many Farm Credit             that currently do not collect gross
women and people of color. Another
                                             System lenders decision applications         annual revenue, collect it only in
commenter asserted that revenue              without either considering off-farm
categories should be more detailed than                                                   limited circumstances, or would
                                             income or revenue from farming;              otherwise find its collection
those in the CRA small business loan         instead, lenders rely principally on
data because research revealed the                                                        challenging, as some commenters
                                             credit scoring systems. Nevertheless, the    suggested.
inadequacies with the CRA                    Bureau believes that omitting the gross
classifications since businesses with                                                        Final comment 107(a)(14)-1 also
                                             annual revenue data point for                clarifies that a financial institution need
revenues below $500,000 had markedly         agricultural credit transactions would       not verify gross annual revenue
less access to loans than businesses with    introduce inconsistency in data              information provided by the applicant
revenues above this amount. This             collected across different industries and    to comply with final § 1002.107(a)(14).
commenter argued in the alternative          would not support section 1071's             The comment explains that the financial
that should the Bureau adopt a range for     statutory purposes. The Bureau notes         institution may rely on the applicant's
gross annual revenue, it should select       that data users will be able to identify     statements or on information provided
the mid-point with $10,000 increments        agricultural credit transactions using the   by the applicant in collecting and
as a continuous variable as the most         reported 3-digit NAICS code and make         reporting gross annual revenue. The
accurate for capturing experiences of the    any necessary adjustments in their           comment also states, however, that if
range of small businesses in the lending     analyses to account for particularities      the financial institution verifies the
marketplace.                                 unique to agricultural industries. The       gross annual revenue provided by the
  With regard to the time frame for          Bureau also believes, as discussed           applicant it must report the verified
usability of gross annual revenue            below, that the suggested gross annual       information. The Bureau understands,
information, a bank stated that gross        revenue question in final comment            as noted by industry commenters, that
annual revenue information should only       107(a)(14)-1 will facilitate compliance      a requirement to verify gross annual
be usable for one fiscal year. A trade       for agricultural lenders that currently do   revenue would be operationally difficult
association suggested that financial         not collect gross annual revenue,            for many financial institutions,
institutions not be required to re-request   particularly because the financial           particularly in situations in which the
gross annual revenue for new credit          institution may rely on the applicant's      financial institution does not currently
applications when they can rely on their     answer. As discussed above in the            collect gross annual revenue. The
records from previous transactions.          section-by-section analysis of               Bureau does not believe that such a




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requirement is necessary to fulfill either     that using the small business's entire       Moreover, the Bureau agrees with the
of section 1071's statutory purposes.          gross annual revenue, which may differ       commenter who stated that the accuracy
However, the Bureau believes that              from revenue relied upon in making the       of determining whether the credit needs
reporting verified revenue when the            credit decision, is the better approach to   of small businesses are being met hinges
financial institution already possesses        implement this data point in final           on collecting and reporting the revenue
that information will not be                   § 1002.107(a)(14). Moreover, the Bureau      size of the business and thus the Bureau
operationally difficult and will enhance       notes that—unlike for this final rule—a      believes that reporting verified revenue
the accuracy of the information                business's gross annual revenue is not       when available will enhance the
collected. For the same reasons and for        determinative of either HMDA or GRA          accuracy of the information collected.
the reasons outlined in its discussion of      coverage. Here, the Bureau believes it is       With respect to requests for guidance
final comment 107(c)-5, the Bureau is          important to obtain the applicant's          from commenters regarding acceptable
clarifying in final comment 107(a)(14)-        entire gross annual revenue for more         sources of gross annual revenue
1 that a financial institution reports         accurate identification of business and      information, the Bureau does not
updated gross annual revenue data if it        community development needs and              believe it would be appropriate to
obtains more current data from the             opportunities. The Bureau thus agrees        require the use of any specific
applicant during the application               with commenters that gross annual            documentation. However, the Bureau
process. The comment states that if this       revenue data are important to assess the     notes that gross annual revenue
updated information is on data the             availability of credit to the smallest       information can be reasonably derived
financial institution has already              firms, especially those owned by             from a variety of sources including tax
verified, the financial institution reports    women, minorities, and LGBTQI+               returns, accountant-prepared financial
the information it believes to be more         individuals. Moreover, for credit            statements, internal profit and loss
accurate, in its discretion.                   transactions that are underwritten           statements, cash flow analyses, or any
   With respect to the suggestions that        without consideration or collection of a     type of business income documentation
the Bureau further clarify the meaning         small business's gross annual revenue,       that the financial institution reasonably
of `verify," the Bureau believes that          no information would be reported for         relies on in the normal course of
additional specificity in the rule itself      this data point under a relied-upon          business.
could unnecessarily constrain financial        standard. Lastly, the Bureau believes it        With respect to comments regarding
institutions. The Bureau interprets the        important to ensure that the gross           how to calculate gross annual revenue,
word "verification" to mean the                annual revenue figure used to determine      the Bureau notes that the suggested
intentional act of determining the             small business status is the same total      applicant question in final comment
accuracy of information provided, in           figure as the gross annual revenue           107(a)(14)-1 states that gross annual
this case for the purpose of processing        reported for the data point. Using           revenue is the amount of money the
and underwriting the credit application,       different figures could create data          business earned before subtracting taxes
and potentially changing that                                                               and other expenses. The comment
                                               discrepancies and disconnects and
information to reflect the determination.                                                   further states that an applicant may
                                               would ultimately result in greater
Gross annual revenue information that                                                       provide gross annual revenue calculated
                                               compliance risk for financial
may or may not be more accurate than                                                        using any reasonable method. Different
                                               institutions.
applicant-provided data and is not part                                                     business units within the financial
of a financial institution's verification of      In addition, the Bureau does not          institution may use different methods to
the file's applicant-provided data or          believe that financial institutions need a   ascertain gross annual revenue, as long
used by the institution in processing or       safe harbor to ensure that whatever          as the methods are used consistently
underwriting the application need not          gross annual revenue number is               within each business unit.
be reported. The Bureau agrees with the        supplied by the applicant can be               The Bureau believes that situations
commenter who stated that post-                reported or that it would be appropriate     could arise in which the financial
origination independent testing and            to remove the requirement to report          institution has identified that an
validation of the small business data file     verified gross annual revenue                applicant is a small business for the
does not constitute "verification." In         information when the financial               purposes of final § 1002.106(b) through,
situations where a financial institution       institution in fact verifies it. Final       for example, a screening question asking
verifies only a portion of the small           comment 107(a)(14)-1 already clarifies       whether the applicant's gross annual
business's provided gross annual               that a financial institution need not        revenue is $5 million or less, but then
revenue figure (perhaps because the            verify gross annual revenue information      the financial institution is unable to
institution is relying on that portion for     provided by the applicant to comply          collect or determine a specific gross
its credit decision), the financial            with final § 1002.107(a)(14) and thus a      annual revenue amount. Therefore, the
institution has not verified the entire        safe harbor is not necessary to allow        Bureau is finalizing comment
gross annual revenue amount provided           reporting of the gross annual revenue        107(a)(14)-2 substantively as proposed.
by the applicant, and it may continue to       number supplied by the applicant. As         The comment first clarifies that
rely on the applicant's statement or           one commenter explained, some                pursuant to final § 1002.107(c), a
information, and it need not report the        financial institutions already revise        financial institution shall maintain
partially verified information.                application information in their systems     procedures reasonably designed to
   The Bureau does not believe it would        with a verified gross annual revenue         collect applicant-provided data,
be appropriate to use a definition of          number and thus the Bureau does not          including the gross annual revenue of
gross annual revenue for this rule based       believe that reporting verified revenue      the applicant. The final comment then
on the annual revenue relied upon to           when the financial institution already       states that if a financial institution is
make the credit decision. Given both the       possesses that information will be           nonetheless unable to collect or
statutory language requiring the               operationally difficult. In such             determine the specific gross annual
collection and reporting of "the gross         situations, the financial institution may    revenue of the applicant, the financial
annual revenue of the business in the          report the verified number retained in       institution reports that the gross annual
last fiscal year" and section 1071's           its system and is not required to            revenue is "not provided by applicant
statutory purposes, the Bureau believes        maintain both numbers in its system.         and otherwise undetermined." The




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Bureau believes that permitting this          same approach to affiliate revenue for       single purpose entities, allow a financial
reporting flexibility will reduce the         purposes of determining whether an           institution to categorize all owners of
complexity and difficulty of reporting        applicant is a small business under final any real property listed on an
gross annual revenue information,             § 1002.106(b). The Bureau believes that applicant's Schedule Of Real Estate
particularly when an application has          this operational equivalence between         Owned as affiliates of the applicant. The
been denied or withdrawn early in the         final § 1002.107(a)(14) and final            Bureau is likewise not adopting
process and gross annual revenue could        § 1002.106(b) will facilitate compliance revisions to allow a financial institution
not be collected.                             and enhance data consistency.                to estimate or project the gross annual
   The Bureau is finalizing comment              The Bureau recognizes, as noted by        revenue of any income-producing real
107(a)(14)-3 with minor revisions for         commenters, that there may be                property for purposes of determining
clarity and consistency. The Bureau is        inconsistencies in the data where one        the applicant's small business status.
adopting commenters' suggestions to           financial institution looks like it is       The Bureau agrees that under the SBA's
add a cross reference to comment              lending more to small(er) businesses as      general principles of affiliation,
106(b)(1)-3 and to remove an example          it opts not to include gross annual          "common investments" affiliation can
provided in the proposed commentary           revenue of affiliates versus another         be based on shared investments in or
for additional clarity. This example          financial institution that opts to include joint ownership of real estate.663 Thus,
would have provided that if the               such revenue when it reports the gross       the owners of real estate that is also
financial institution does not normally       annual revenue of an applicant.              owned by the applicant may be affiliates
collect information on affiliate revenue,     However, the Bureau is not requiring         of the applicant. However, the Bureau is
the financial institution reports only the    reporting of the gross annual revenue of not adopting the suggested revisions to
applicant's revenue and does not              both the applicant and all of its            commentary because affiliate
include the revenue of any affiliates         affiliates, nor is it requiring reporting of determinations are inherently fact-
when it has not collected that                revenue for parent companies and             specific and rebuttable,664 and the
information. The Bureau shares the            beneficial owners of limited liability       Bureau does not believe it would be
commenter's concern that this comment         companies. The Bureau believes that          appropriate to categorize all entities as
may be interpreted to preclude a              permitting, but not requiring, a financial affiliates based on a form listing.
financial institution that does not           institution to include the revenue of           The Bureau has considered the
collect affiliate revenue in all              affiliates will carry out the purposes of    comments regarding whether financial
transactions from collecting affiliate        section 1071 while reducing undue            institutions should be permitted to
revenue in some transactions and              burden on financial institutions in          estimate or extrapolate gross annual
believes the comment is sufficiently          collecting gross annual revenue              revenue from partially reported revenue
clear without this example.                   information. The Bureau considered           or other information, and is making a
  Final comment 107(a)(14)-3 also             whether there are feasible methods to        minor revision in final comment
clarifies that a financial institution is     identify the presence of affiliate           107(a)(14)-1 to emphasize a manageable
permitted, but not required, to report        revenue, as a commenter suggested, but method for collecting full gross annual
the gross annual revenue for the              ultimately has determined that such an       revenue when a financial institution
applicant that includes the revenue of        identifier could interfere with allowing     does not already do so. Specifically,
affiliates as well. For example, if the       a financial institution to rely on an        final comment 107(a)(14)-1 clarifies that
financial institution has not collected       applicant's self-reported gross annual       a financial institution may rely on the
information on affiliate revenue, the         revenue information and, in any case,        applicant's statements or on information
financial institution reports only the        would introduce additional complexity provided by the applicant in collecting
applicant's revenue and does not              into reporting. In response to a question and reporting gross annual revenue,
include the revenue of any affiliates.        about whether revenue or income relied even if the applicant's statement or
The Bureau is adopting suggested              upon from co-signers or guarantors that information is based on estimation or
revisions to comment 107(a)(14)-3 and         are not affiliates of the applicant should extrapolation, and that an applicant may
additionally notes that a financial           be factored into the gross annual            provide gross annual revenue calculated
institution that does not collect affiliate   revenue determination, the Bureau            using any reasonable method. As such,
revenue in all transactions is not            notes that the final rule only requires      when an applicant does not yet have
precluded from collecting affiliate           the collection and reporting of gross        fiscal year information completed (a
revenue in some transactions. The             annual revenue of the applicant.             hypothetical provided by a commenter),
Bureau believes this comment is                  The Bureau understands there may          the applicant may choose to provide its
responsive to one commenter's question        also be instances, as indicated by one       gross annual revenue using any
about how to report gross annual              commenter, where the applicant may           reasonable method, including
revenue for an applicant with two             use multiple owned businesses/affiliates
businesses because it permits, but does       to support sufficient cashflow, and in         ssa See 13 CFR 121.103(f)("Individuals or firms
not require, reporting of gross annual        those instances, a financial institution     that have identical or substantially identical
revenue for an applicant that includes        may rely on an applicant's                   business or economic interests (such as family
                                                                                           members, individuals or firms with common
the revenue of affiliates, which may          representations regarding gross annual       investments, or firms that are economically
include a business with common                revenue that include affiliates' revenue. dependent through contractual or other
ownership. Final comment 107(a)(14)-3         For additional guidance on what types        relationships) may be treated as one party with such
concludes by explaining that in               of entities may be affiliates of an          interests aggregated.")(emphasis added); Small
                                                                                           Bus. Admin., Small Business Compliance Guide: A
determining whether the applicant is a        applicant, e.g., as a result of common       Guide to the SBA's Size Program and Affiliation
small business under proposed                 ownership or common control, see the         Rules (July 2020), https://www.sba.gov/sites/
§ 1002.106(b), a financial institution        section-by-section analyses of               default/files/2020-10/AFFILIATION%20G UIDE_
may rely on an applicant's                    §§ 1002.102(a) and 1002.106(b).              Up dated%20%28004%29-508.pdf.
                                                                                             664 See, e.g., 13 CFR 121.103(f)("Where SBA
representations regarding gross annual           The Bureau has considered the
                                                                                           determines that such interests should be aggregated,
revenue, which may or may not include         comments regarding the treatment of          an individual or firm may rebut that determination
affiliates' revenue. The Bureau noted         real estate affiliate revenue, but is not    with evidence showing that the interests deemed to
that final comment 106(b)-3 follows the       adopting revisions to, in the case of        be one are in fact separate.").




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estimating or extrapolating based on a     exist in the preceding fiscal year. In               1071's statutory purposes. The Bureau
prior fiscal year's tax return. The Bureau these situations, the financial institution          does not believe that the final rule will
believes that this flexibility will help   reports that the applicant's gross annual            disproportionately impact credit
address concerns from commenters that revenue in the prior fiscal year is                       opportunities (or compliance) for newly
tax returns may not be immediately         "zero." The Bureau agrees with the                   formed businesses that do not have the
available upon the close of a fiscal year. commenter that suggested, for a start-up             historical gross annual revenue.
As noted by another commenter, an          business, the financial institution                  However, as suggested by a commenter,
applicant may alternatively wish to        should use the actual gross annual                   the Bureau will track questions related
provide revenue figures generated by a     revenue for its preceding fiscal year                to collecting and reporting gross annual
technology company's online platform       (including the reporting of $0 if a new              revenue information and may develop
(e.g., through sales on the company's      business has had no revenue to date)                 FAQs or other materials as necessary to
online marketplace). The Bureau notes      and that pro forma projected revenue                 help financial institutions help
that under final § 1002.107(b), however, figures should not be reported since                   applicants determine what number to
a financial institution must report        these figures do not reflect actual gross            supply for gross annual revenue,
verified gross annual revenue              revenue.                                             particularly when a business is starting
information if available. Moreover, as        In situations where an applicant is               up or establishing a new business line.
provided by new comment 107(c)-5, a        establishing a new line of business but                The final rule does not permit
financial institution reports updated      already has revenue in other businesses,             financial institutions the option to use
applicant-provided data if it obtains      such as in the case of a sole proprietor             the gross annual revenue figures
 more current data during the               with an established in-home child-care              provided by an applicant for up to three
application process; if this updated       center who now seeks financing to start              years from the date of an application for
information is on data the financial       a new line of business offering house-               which the information was gathered, as
institution has already verified, the      cleaning services, the Bureau notes that             requested by one commenter. However,
financial institution reports the          final comment 107(a)(14)-3 clarifies that            under final § 1002.107(d), discussed
information it believes to be more         a financial institution is permitted, but            below, the Bureau is permitting
accurate, in its discretion.               not required, to report the gross annual             financial institutions to reuse previously
   The Bureau also wishes to clarify       revenue for the applicant that includes              collected gross annual revenue
some apparent confusion among some         the revenue of affiliates as well. This              information when the data were
commenters who claimed that the            comment may also apply to situations                 collected within the same calendar year
proposal would have allowed financial       where there is a change in structure or             as the current covered application. The
institutions to extrapolate or estimate an ownership of the business. In response               statutory requirement is for the
applicant's revenue to determine           to a question from a commenter, the                  applicant's gross annual revenue in the
 whether or not a business is a small      Bureau does not believe that treatment               last fiscal year preceding the date of the
business. The proposal indicated that      of affiliate gross annual revenue                    application; the Bureau does not believe
financial institutions could rely on       information should differ based on                   that revenue information from years
extrapolated or estimated revenue           whether or not the new business line                prior to the last fiscal year would satisfy
information provided by applicants.         was in the same industry as the existing            this requirement.
The Bureau is making this position clear businesses. The Bureau notes that
                                                                                                107(a)(15) NAICS Code
 with final comment 107(a)(14)-1. The      according to the definition of affiliate
Bureau sought comment on whether            provided in final § 1002.102(a), which              Proposed Rule
financial institutions should be           refers to the SBA's rules for determining               The SBA customizes its size standards
permitted to estimate or extrapolate       affiliation (13 CFR 121.103), affiliation            on an industry-by-industry basis using
gross annual revenue from partially        is not limited to businesses in the same             1,012 6-digit NAICS codes.666 The first
reported revenue or other information,     industry. The Bureau also notes that                 two digits of a NAICS code broadly
and how such estimation or                 final § 1002.106(a) defines a business as            capture the industry sector of a
extrapolation would be carried out. On     having the same meaning as the term                  business. The third digit captures the
this issue, the Bureau does not believe    "business concern or concern" in 13                  industry's subsector, the fourth captures
that it would be appropriate to permit     CFR 121.105, which expressly provides                the industry group, the fifth captures the
such estimation or extrapolation for the that a firm will not be treated as a                   industry code, and the sixth captures
identification of small businesses about separate business concern if a                         the national industry. The NAICS code
 whom data collection and reporting is     substantial portion of its assets and/or             thus becomes more specific as digits
required, and thus financial institutions' liabilities are the same as those of a               increase and the 6-digit code is the most
own extrapolation or estimation should predecessor entity and that the annual                   specific.
likewise not be used in reporting gross    receipts and employees of the                          ECOA section 704B(e)(2)(H)
annual revenue in order to maintain         predecessor will be taken into account              authorizes the Bureau to require
consistency.                               in determining size. This successor-in-              financial institutions to compile and
   With respect to comments asking how interest rule would apply to situations                  maintain "any additional data that the
to report gross annual revenue for a        where a business reorganized, and a                 Bureau determines would aid in
startup business, a new line of business, new entity emerges with essentially the               fulfilling the purposes of [section
and/or a business with a change in         same assets and liabilities as the old               1071]." The Bureau proposed in
structure or ownership, the Bureau is      concern.665                                          § 1002.107(a)(15) to require that
adding new comment 107(a)(14)-4,              The Bureau is not exempting new
 which notes that in a typical startup     businesses from having application data                666 See U.S. Census Bureau, North American

business situation, the applicant will     reported, as suggested by one                        Industry Classification System, at 41 (2022) https://
have no gross annual revenue for its       commenter, because the Bureau believes                www.census.gov/naics/referencefiles tools/2022_
fiscal year preceding when the                                                                  NAICS_Manual.pdf At the time of the NPRM,there
                                           that doing so would contravene section               were 1,057 6-digit NAICS codes. See U.S. Census
information is collected because either                                                         Bureau, North American Industry Classification
the startup existed but had no gross         665 See Size Appeal of Willowheart, LLC, SBA No.   System, at 26 (2017) https://www.census.govinaicsl
annual revenue or it simply did not        SIZ-5484, at *4 (July 10, 2013).                     referencefiles_tools/2017 NAICS Manual.pdf.




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financial institutions collect and report     subpart B if the first two digits of the     a level of aggregation to facilitate fair
an applicant's 6-digit NAICS code.            NAICS code are correct and the               lending analysis. A CDFI lender stated
Proposed comment 107(a)(15)-1 would           financial institution maintains              that a 6-digit code will offer the most
have provided general background on           procedures reasonably adapted to             precise insight into the industries that
 NAICS codes and would have stated            correctly identify the subsequent four       lenders serve, whereas a 3-digit NAICS
that a financial institution complies         digits (see proposed § 1002.112(c)(2)).      code will leave unnecessary ambiguity
 with proposed § 1002.107(a)(15) if it        The proposed NAICS-specific safe             in the data. The commenter provided
uses the NAICS codes in effect on             harbor would have been available to          the example of a dry cleaner sharing the
January 1 of the calendar year covered        financial institutions in addition to the    same 3-digit NAICS code as a mortuary
by the small business lending                 general bona fide error exemption under and a parking lot.
application register that it is reporting.    proposed § 1002.112(b).                        Furthermore, a number of community
Proposed comment 107(a)(15)-2 would              The Bureau sought comment on its          groups and several lenders stated that
have clarified that, when a financial         proposal to collect 6-digit NAICS codes 6-digit NAICS codes are useful for
institution is unable to collect or           together with the safe harbor described      identifying certain industries' ability to
determine the applicant's NAICS code,         in proposed § 1002.112(c)(2). The            access small business credit and to
it reports that the NAICS code is "not        Bureau also sought comment on                identify areas of unmet need. For
 provided by applicant and otherwise          whether requiring a 3-digit NAICS code example, one community group asserted
undetermined."                                with no safe harbor would be a better        that the ability to identify needs and
   The Bureau also proposed that              alternative.                                 opportunities for small businesses
financial institutions be permitted to                                                     requires the ability to compare lending
                                              Comments Received
rely on NAICS codes obtained from the                                                      by sector to the total number of
applicant or certain other sources,              The Bureau received comments from         businesses in that sector based on other
 without having to verify that                a wide range of lenders, trade               public data sources.
information itself. Specifically,             associations, community groups, and             Moreover, some lenders and
 proposed comment 107(a)(15)-3 would          others regarding the reporting of a          community groups said that it is already
have clarified that, consistent with          6-digit NAICS code as proposed in            standard practice for many small
 proposed § 1002.107(b), a financial          § 1002.107(a)(15). Numerous                  business lenders to collect NAICS
institution may rely on applicable            community groups as well as a few            codes. For example, these commenters
applicant information or statements           lenders supported the Bureau's proposal noted that lenders already collect
 when collecting and reporting the            and urged collection of a 6-digit NAICS NAICS codes for SBA loans, Equal
 NAICS code and would have provided           code. Several commenters emphasized          Employment Opportunity Commission
an example of an applicant providing a        that 1071 data would adequately              certifications, and CDFI loans.
financial institution with the applicant's    achieve a fair lending purpose only if         In contrast, many industry
tax return that includes the applicant's      they contain key variables that are used commenters, along with several
reported NAICS code. Proposed                 in underwriting and enable meaningful business advocacy groups and other
comment 107(a)(15)-4 would have               fair lending analysis. Commenters stated commenters, generally opposed the data
 provided that a financial institution may    that NAICS codes provide critical            points proposed pursuant to ECOA
rely on a NAICS code obtained through         context to understanding credit              section 70413(e)(2)(H), including NAICS
the financial institution's use of            underwriting decisions and help ensure code, as discussed in the section-by-
business information products, such as        that fair lending analysis is focused on     section analysis of § 1002.107(a) above.
company profiles or business credit           similarly situated businesses. A few         In addition, the majority of industry
reports, which provide the applicant's        commenters stated that these data must commenters to address this issue
 NAICS code.                                  be reported so that lenders cannot hide      specifically opposed collection of
   The Bureau believed that collecting        behind data not collected as the             6-digit NAICS codes. These commenters
the full 6-digit NAICS code (as opposed       justification for their lending disparities. expressed concerns about the burden on
to the 2-digit sector code) would better         A bank and a bank trade association       both lenders and applicants and the
enable the Bureau and other                   stated that NAICS code could                 complexity of determining the
stakeholders to drill down and identify       potentially be helpful in demonstrating      appropriate NAICS code. Concerns
 whether disparities arise at a more          a non-discriminatory basis for credit        raised by commenters included, for
granular level and would also enable the      decisions with respect to applicants in      example, that collecting NAICS codes
collection of better information on the       different industries. The trade              would slow the loan application
specific types of businesses that are         association stated that, at most, the        process; most lenders are unfamiliar
accessing, or struggling to access, credit.   Bureau should only add limited data          with NAICS codes or do not currently
For example, a wide variety of                points pursuant to ECOA section              collect them; lenders would have to
businesses, including those providing         70413(e)(2)(H) that are considered by the change their operating procedures
car washes, footwear and leather goods        financial institution in the credit          significantly which would create strain
repair, and nail salons, all fall under the   underwriting process, citing NAICS           on staff and resources; and it would add
2-digit sector code 81: Other Services        code and time in business as examples. more costs to the lending process which
(except Public Administration). With a           Another trade association said that       may be passed on to small business
2-digit NAICS code, all of these business     NAICS codes have the advantage of            borrowers.
types would be combined into one              being independently defined and                 Many industry commenters also
analysis, potentially masking different       available for reference. The commenter       voiced concern regarding accuracy and
characteristics and different outcomes        stated that if a NAICS code is supplied      data integrity, explaining that small
across these business types.                  by the applicant and published by the        businesses often do not know their
   To address concerns related to the         Bureau only in the aggregate, the NAICS NAICS code or may operate in multiple
complexity of determining a correct           code can contribute useful information       NAICS sectors. Other challenges cited
 NAICS code, the Bureau proposed a safe       without unduly burdening lenders.            by commenters included the business
harbor to indicate that an incorrect             Some commenters stated that a 2- or       changing over time; codes having
 NAICS code entry is not a violation of       3-digit NAICS code would be too high         overlapping definitions; and




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classifications being prone to human            In addition, a few commenters             Final comment 107(a)(15)-3 (proposed
error. For example, two trade                 asserted that collecting NAICS codes        as comment 107(a)(15)-5) cross-
associations noted that their members         would not advance the purposes of           references the safe harbor in final
who made Paycheck Protection Program          section 1071, arguing that collecting       § 1002.111(c)(3) for incorrect 3-digit
loans reported that many applicants           NAICS codes does not provide                NAICS code entries. The Bureau has
were unfamiliar with NAICS codes.             information that would inform fair          considered commenters' concerns
Additionally, some industry                   lending analysis. For example, one bank     regarding the difficulties in obtaining an
commenters expressed concern about            stated that NAICS code would be of          accurate NAICS code as well as the
verifying applicant-provided data and         minimal value to fair lending analytics     importance of NAICS codes for fair
potential liability if the NAICS code is      given the complexity of small business      lending and community development
incorrect. One commenter noted that           lending, such as the scope and size of      analysis. The Bureau believes that
NAICS code classifications could be           the business. Moreover, several banks       collecting the 3-digit NAICS code will
subject to change based on SBA                stated that they do not currently collect   achieve the right balance between
rulemaking and thus financial                 NAICS codes and that NAICS codes are        minimizing burden on financial
institutions would need to monitor such       not used in underwriting or financial       institutions and small business
developments. A credit union trade            analysis purposes.                          applicants, while also providing
association stated that the identification      A few industry commenters                 valuable data to analyze fair lending
of business and credit needs can be           supported collection of a 2-digit NAICS     patterns and identify industry
accomplished without explicit reference       code, stating that this would achieve the   subsectors with unmet credit needs.
to NAICS codes, such as by leveraging         intended policy goal without creating          The Bureau believes that NAICS code
already existing data sources and             unnecessary burdens and heightened          data will considerably aid in fulfilling
voluntary surveys of business owners.         costs, as well as protect the privacy of
                                                                                          both section 1071's fair lending purpose
In addition, the trade association            market participants. A trade association
                                                                                          and its business and community
asserted that sector-specific analysis of     for online lenders supported collection
                                                                                          development purpose, even if the
business credit supply and demand is          of a 4-digit NAICS code, stating it would
                                                                                          NAICS code is not necessary for
best left to the SBA, which already           provide sufficient information while
                                              mitigating risk of re-identification and    determining whether an applicant is a
collects NAICS information through its                                                    small business. While it will not
lending programs.                             avoiding potential impacts and delays to
                                                                                          provide the same level of detail as a
   Several commenters raised concerns         the borrower during the application
                                              process. A joint letter from community      6-digit code, the 3-digit code will still
that requiring NAICS codes would add                                                      help ensure that fair lending analysts
                                              and business advocacy groups urged the
confusion to the lending process. A                                                       are comparing applicants with similar
                                              Bureau to permit the submission of a
trade association argued that requiring                                                   profiles, thereby controlling for factors
NAICS codes will create frustration for       3-digit code where the applicant does
                                              not provide a 6-digit code. Finally, one    that might provide non-discriminatory
the small business borrower, including                                                    explanations for disparities in
                                              commenter suggested that the Bureau
delayed application processing, and                                                       underwriting and pricing decisions.
                                              coordinate with the U.S. Census Bureau
additional time and operational burden        to create a suffix to a business's NAICS    Moreover, NAICS subsector codes are
by banks to ensure the information is         code that would identify its minority-      useful for identifying business and
gathered and entered. They asserted that      owned or women-owned status. The            community development needs and
while NAICS codes are generally               commenter stated that this would create     opportunities of small businesses,
provided with some tax documents,             efficiencies across organizations and       which may differ widely based on
lenders found borrower confusion when         provide an easier and more neutral          industry, even controlling for other
making Paycheck Protection Program            method of collecting demographic            factors. For example, 3-digit NAICS
loans, particularly when certain NAICS        information on applications. The            codes will help data users identify
codes allowed for a more generous loan        commenter further noted that this suffix    subsectors where small businesses face
amount and certain small businesses           could be easily masked when loans are       challenges accessing credit and
were unable to benefit from higher loan       sent to underwriters to ensure it does      understand how small businesses in
amounts for certain sectors due to            not impact their decisions.                 different industries use credit.
mismatched NAICS codes. Another                                                           Furthermore, the Bureau believes that
commenter stated that applicants may          Final Rule                                  publication of NAICS codes (subject to
struggle to determine which code to             For the reasons set forth herein, the     potential modification and deletion
report, especially if the nature of the       Bureau is revising § 1002.107(a)(15) to     decisions by the Bureau, as discussed in
business changes over time or falls           require that financial institutions collect part VIII below) will help provide for
under multiple categories.                    a 3-digit NAICS code for the applicant.     some consistency and compatibility
   A number of industry commenters            The Bureau is also finalizing proposed      with other public datasets related to
also expressed concern regarding              comments 107(a)(15)-1, —2, and —5,          small business lending activity, which
privacy risks in collecting the 6-digit       with minor adjustments for consistency. generally use NAICS codes. This ability
NAICS code. These commenters                  Final comment 107(a)(15)-1 explains         to synthesize 1071 data with other
highlighted the risk of borrower re-          what a NAICS code is, and final             datasets may help the public use the
identification, particularly in rural areas   comment 107(a)(15)-2 addresses what         data in ways that advance both the
and smaller communities. Some                 to report if a financial institution is     business and community development
commenters stated that NAICS code             unable to collect or otherwise determine and fair lending purposes of section
combined with census tract would make         the applicant's NAICS code. Proposed        1071. The Bureau agrees with
it easy to re-identify a small business. In   comments 107(a)(15)-3 and -4, which         commenters' concerns that the 2-digit
addition, while a community group             addressed a financial institution's         NAICS code would not provide
supported collection of a 6-digit code, it    reliance on information from the            sufficiently detailed information to aid
stated that the public database should        applicant and from other sources, have      regulators and the public in monitoring
provide only 4-digit NAICS codes to           been removed as those issues are now        particular industries' access to small
address privacy concerns.                     addressed in final comment 107(b)-1.        business credit.




                                                                                                                   AdminRecord-000183
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   The Bureau recognizes that covered        institution obtains from the applicant or   an applicant, the financial institution
financial institutions not currently using   other sources.                              would explain that full-time, part-time,
NAICS codes will need to gain                   Additionally, the Bureau understands     and seasonal workers, as well as
familiarity with the NAICS code system       that multiple NAICS codes may apply to      contractors who work primarily for the
and refer to NAICS subsector                 a single business. While this may be        applicant, would be counted as workers,
classifications for all relevant             more of a concern with 6-digit codes, if    but principal owners of the business
applications before reporting 3-digit        more than one 3-digit code applies to a     would not. The proposed comment
NAICS codes to the Bureau. To address        single business, only one 3-digit NAICS     would have further stated that if the
concerns related to the complexity of        code should be reported.                    financial institution was asked, it would
determining a correct NAICS code,              The Bureau acknowledges community         explain that volunteers would not be
particularly for covered financial           groups' concern that collecting anything    counted as workers. This treatment of
institutions that do not currently use       less than 6-digit NAICS codes will result   part-time, seasonal, contract, and
NAICS codes, the Bureau is permitting        in less precise data about industry         volunteer workers would follow the
a financial institution to rely on           classification. The Bureau nonetheless      SBA's method for counting
applicable applicant information or          believes that its final rule requiring      employees,667 with minor
statements when compiling and                collection and reporting of 3-digit         simplifications. The Bureau sought
reporting the NAICS code, as well as         NAICS codes (along with the expanded        comment on whether further
permitting a financial institution to rely   safe harbor) strikes an appropriate         modifications to the number of workers
on a NAICS code obtained through the         balance in addressing the concerns          data point were needed to facilitate this
financial institution's use of business      raised by industry and the importance       operational simplification.
information products, such as company        of NAICS code information in fair             Proposed comment 107(a)(16)-1
profiles or business credit reports (see     lending and community development           would have also explained that workers
final comment 107(b)-1). In other            analysis. The Bureau will monitor the       for affiliates of the applicant would only
words, a financial institution may rely      utility of the NAICS code data point        be counted if the financial institution
on oral or written statements from an        and, if warranted, may revisit the          were also collecting the affiliates' gross
applicant, other information provided        required number of digits in the future.    annual revenue.
by an applicant such as a tax return, or        Although the Bureau will address re-       The proposed comment would have
third-party sources such as business         identification concerns generally by        further explained that the financial
information products. The Bureau             modifying or deleting data upon             institution could rely on statements of
believes that being able to rely on          publication, the Bureau notes that its      or information provided by the
NAICS codes obtained from the                shift to 3-digit NAICS codes will           applicant in collecting and reporting
                                             decrease the risk of re-identification of   number of workers, but if the financial
applicant or third-party sources
                                             small business borrowers and related        institution verifies the number of
significantly eases potential difficulties
for financial institutions in collecting     natural persons in rural areas and          workers provided by the applicant, it
and reporting a 3-digit NAICS code and       smaller communities. See part VIII          must report the verified information.
                                                                                           Proposed comment 107(a)(16)-1
mitigates concerns about inadvertently       below for further discussion about the      would have also provided sample
reporting an inaccurate code.                privacy analysis and public disclosure
                                                                                         language that a financial institution
   In response to industry concerns          of data.                                    could use to ask about the number of
regarding the accuracy of the NAICS          107(a)(16) Number of Workers                workers, if it does not collect the
code and the burden of verifying                                                         number of workers by another method.
applicant-provided data, the Bureau          Proposed Rule
                                                                                         The Bureau provided the sample
emphasizes that financial institutions         ECOA section 70413(e)(2)(H)               language in the proposed comment,
are permitted to rely on NAICS codes         authorizes the Bureau to require            which implements the simplified
obtained from the applicant or third-        financial institutions to compile and       version of the SBA definition referenced
party sources, without having to verify      maintain "any additional data that the      above. The Bureau sought comment on
that information. Furthermore, the           Bureau determines would aid in              this method of collection, and on the
Bureau has expanded the NAICS code           fulfilling the purposes of [section         specific language proposed.
safe harbor in final § 1002.112(c)(3),       10711." In the proposed rule, the Bureau      Proposed comment 107(a)(16)-2
which makes clear that the safe harbor       stated that it believed that data           would have first clarified that a
extends to financial institutions that       providing the number of persons             financial institution shall maintain
rely on an applicant's representations or    working for a small business applicant      procedures reasonably designed to
on other information regarding the           would aid in fulfilling the business and    collect applicant-provided information,
NAICS code. Final § 1002.112(c)(3) also      community development purpose of            including the number of workers of the
provides a safe harbor for incorrect         section 1071. These data would allow        applicant. The proposed comment
3-digit NAICS code entries, where the        users to better understand the job          would have then stated that if a
financial institution identifies the         maintenance and creation that small         financial institution is nonetheless
NAICS code itself, provided that it          business credit is associated with and      unable to collect or determine the
maintains procedures reasonably              help track that aspect of business and      number of workers of the applicant, the
adapted to correctly identify a 3-digit      community development.                      financial institution reports that the
NAICS code. The Bureau has also                Proposed § 1002.107(a)(16) would          number of workers is "not provided by
removed the term "appropriate" from          have required financial institutions to     applicant and otherwise
the regulatory text of § 1002.107(a)(15).    report the number of non-owners             undetermined."
The Bureau believes the term is              working for the applicant.                    The Bureau sought comment on its
unnecessary, particularly in light of the      Proposed comment 107(a)(16)-1             proposed approach to the number of
revisions to the NAICS code safe harbor      would have discussed the collection of      workers data point, as well as on the
in final § 1002.112(c)(3), and removing      the number of workers. The proposed         specific requests for comment above.
it may help avoid potential confusion        comment would have stated that in
regarding NAICS codes the financial          collecting the number of workers from        661   See 13 CFR 121.106(a).




                                                                                                                         AdminRecord-000184
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The Bureau also sought comment on          including on the application form,           70413(e)(2)(H), the Bureau believes that
whether financial institutions collect     supplemental documents or forms, or          data on the number of workers will aid
information about the number of            the sample data collection form. A CDFI      in fulfilling the business and
workers from applicants using              lender suggested that the Bureau require     community development purpose of
definitions other than the SBA's, and      financial institutions to report the         section 1071. Data on the number of
how the collection of this data point      breakdown of full-time and part-time         persons working for a small business
could best be integrated with those        workers.                                     applicant will provide data users and
collections of information.                   The Bureau received many comments         relevant stakeholders with a better
                                           from industry opposing the proposal to       understanding of the job maintenance
Comments Received                          collect data on the number of workers.       and creation that small business credit
   The Bureau received comments on its Some commenters stated that data on              provides.
proposed number of workers data point the number of workers is not currently               In response to comments regarding
from lenders, trade associations, and      collected and that some customers do         the complexity and difficulty in
community groups. A number of              not readily have this information            collecting information about the number
commenters supported the Bureau's          available, though several noted they had     of workers, the Bureau is adding a new
proposal. A few commenters urged the       collected it for Paycheck Protection         comment to require that financial
Bureau to adopt the number of workers Program loans. A trade association                institutions report the number of
data point, suggesting that it is          stated that the data are unfamiliar to the   workers using ranges rather than
important for business and community       applicant or difficult to obtain and will    reporting the specific number of
development purposes. A CDFI lender        result in additional complexity,             workers. Final comment 107(a)(16)-1
and community group commenter said         confusion, and significant operational       provides that a financial institution
that the number of workers data point      and regulatory costs. Several                complies with § 1002.107(a)(16) by
will help provide a greater                commenters indicated that it is not a        reporting the number of people who
understanding of owner-operated and        factor in the credit decision. A bank        work for the applicant using the ranges
microbusiness needs and accessibility to stated that it is not in the banker's role     prescribed in the Filing Instructions
affordable credit. Another community       to determine this information and there      Guide. The Bureau believes that
group commented that the data point        is no reason to collect and monitor this     reporting the number of workers in
provides insight into the number of jobs data point if the small business is a          ranges rather than a specific numerical
created, retained and/or supported by      creditworthy borrower.                       value will eliminate some of the
access to credit. This community group        A few industry commenters                 collection difficulties expressed by
further noted that the data point would    questioned the value of this data point,     commenters, such as determining the
also assist in analysis of whether         arguing that it would not aid in             exact number of employees when that
businesses of various sizes fare           fulfilling the fair lending purpose of       number varies throughout the year.
differently in the lending marketplace.    section 1071. Two asserted that without         The Bureau is finalizing comment
Many community groups expressed            context (for example, separating full-       107(a)(16)-2 (renumbered from
support for collecting data on the         time versus part-time and contract           comment 107(a)(16)-1 in the proposed
number of workers because they believe workers) there seems to be little value          rule) with some revisions as well as
it will help indicate whether smaller      in collecting the information. One           additional guidance on how a financial
businesses of various sizes will require   suggested that collection is further         institution may collect information
more support and technical assistance      complicated when the gross annual            about the number of workers in light of
when it comes to credit access. A          revenue of an affiliate is considered,       final comment 107(a)(16)-1.
minority business advocacy group           because then the number of workers for       Specifically, a financial institution may
commented that the data will help          the affiliate must be included. Several      collect the number of workers from an
determine various levels of economic       industry commenters also stated that the     applicant using the ranges specified by
development and impact across the          proposed general exclusion of affiliate      the Bureau in the Filing Instructions
country. A few commenters agreed with employees is problematic because some             Guide (as indicated in final comment
the Bureau's proposed method of            of these employees may perform               107(a)(10-1) or as a numerical value.
collecting the number of non-owner         substantial services for the applicant.      Final comment 107(a)(16)-2 retains
workers and including part-time staff,        A bank commented that the CRA             from proposed comment 107(a)(16)-1
seasonal staff, and contractors that work already considers the impact of adding        the discussion on collecting the number
primarily for the business.                jobs through small business and              of workers, including the sample
   A trade association commented that      community development loans. Another         language to provide to applicants to ask
the important considerations are that      bank commented that SBA uses either          about the number of workers and the
the Bureau provide language for lenders the gross annual revenue or number of           statement that a financial institution
to provide to applicants to help           workers, depending on the type of            may rely on the applicant's response,
applicants correctly answer the question business, to qualify businesses as small       but the Bureau is making minor edits for
and that the Bureau emphasize that         and because the Bureau's proposal            clarity. The Bureau agrees with
financial institutions may rely on         already contains a gross annual revenue      commenters that these provisions are
statements made by the applicant           size test, it would be unnecessary to        helpful, and is including them to
without incurring risk. Another industry collect the number of workers because          facilitate compliance.
commenter suggested that the final rule it is irrelevant to the credit decision and        The Bureau agrees with commenters'
enable principal owners to count           determining the size of the business.        recommendations that financial
themselves as workers because this                                                      institutions should be able to rely on
method is more common in industry          Final Rule                                   statements made by the applicant and
and would avoid confusion. A bank             For the reasons set forth herein, the     should be permitted to collect required
recommended that the final rule            Bureau is finalizing § 1002.107(a)(16)       data from applicants through a variety
expressly permit covered financial         with an addition and a minor revision        of means. First, the rule does not limit
institutions to collect required data from to the associated commentary. Pursuant       the means by which the number of
applicants through a variety of means,     to its authority under ECOA section          workers data can be collected, and




                                                                                                                AdminRecord-000185
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though it provides optional language to      granularity and usefulness of the data   fulfilling both the business and
use, it does not require the use of that     collected.                               community development and fair
language. The Bureau believes that             The Bureau acknowledges comments       lending purposes of section 1071.
allowing financial institutions to rely on   noting that some financial institutions     The Bureau proposed
applicant-provided data will sufficiently    do not collect or maintain data on       § 1002.107(a)(17) to require a financial
safeguard accuracy such that the             number of workers nor is the             institution to collect and report the time
resulting data will aid in fulfilling the    information used in their credit         the applicant has been in business,
purposes of section 1071. The Bureau         decisions. However, the Bureau believes  described in whole years, as relied on or
also believes that reporting the verified    that number of workers is critical to    collected by the financial institution.
number of workers when the financial         further the business and community       Proposed § 1002.107(a)(17) would have
institution already possesses that           development purpose of section 1071      required the data be reported in whole
information will not be operationally        and the Bureau does not believe it will  years, rather than ranges of time,
difficult, and will enhance the accuracy     be particularly difficult for financial  because a financial institution would
of the information collected. To                                                      have a definite number of years if it
                                             institutions to obtain this information if
facilitate compliance with the               they do not do so already. The Bureau    collects this information presently, and
regulation, the Bureau provides              has also provided sample language in     the Bureau believed that time in
guidance related to reliance on all          final comment 107(a)(16)-2 that a        business reported in whole years would
applicant-provided data, including           financial institution may use to ask an  make the data more granular and useful.
number of workers, in final comment          applicant about the number of workers.     Proposed comment 107(a)(17)-1
107(b)-1. Generally, that comment               With respect to questions from        would have provided guidance on how
permits reliance on statements of the        commenters about how the number of       to report one of the two methods (relied
applicant or information provided by an      workers data point meets section 1071's  on or collected) for reporting the time-
applicant; however, if a financial           purposes, as discussed above the Bureau  in-business data point. The proposed
institution verifies information, it         believes the data will provide insight   comment would have explained that,
reports the verified data. For more          into small business credit that          regardless of which method is used, the
information on relying on statements         contributes to job creation and          financial institution must report the
made by or provided by an applicant,         maintenance, as well as other trends in  time in business in whole years, or
see the section-by-section analysis of       the small business market's ability to   indicate if a business has not begun
§ 1002.107(b).                               grow and maintain workers, and the full  operating yet, or has been in operation
                                             set of data required to be collected and for less than a year. Proposed comment
   The Bureau is finalizing comment                                                   107(a)(17)-1 would have explained that
107(a)(16)-3 (renumbered from                reported under this final rule should
                                             provide sufficient context for           when the financial institution relies on
proposed comment 107(a)(16)-2) with a                                                 an applicant's time in business as part
minor edit for clarity. Final comment        meaningful understanding of this data
                                             point. Regarding the comment that the    of a credit decision, it reports the time
107(a)(16)-3 cites to § 1002.107(c),                                                  in business relied on in making the
which provides that a financial              CRA already considers the impact of
                                             adding jobs through small business and   credit decision. However, the comment
institution shall maintain procedures                                                 would have further explained that
reasonably designed to collect               community development loans, the
                                             Bureau notes that data collected under   proposed § 1002.107(a)(17) would not
applicant-provided data, which                                                        require the financial institution to rely
includes the number of workers of the        section 1071 vary from data collected
                                             under CRA and the institutions subject   on an applicant's time in business in
applicant. Comment 107(a)(16)-3                                                       making a credit decision.
further explains that a financial            to section 1071 are not necessarily        Proposed comment 107(a)(17)-1
institution reports that the number of       subject to CRA. Regarding the concerns   would have also explained that the
workers is "not provided by applicant        raised by commenters that the number     financial institution may rely on
and otherwise undetermined" if, despite      of workers for an applicant's affiliates statements or information provided by
such procedures, the financial               must be counted if the affiliates' gross the applicant in collecting and reporting
institution is unable to collect or          annual revenues are considered, the      time in business; however, pursuant to
determine the information. The Bureau        Bureau notes that the applicant is       proposed § 1002.107(b), if the financial
believes that allowing this response will    already providing information on         institution verifies the time in business
facilitate compliance when an applicant      affiliate(s) in this situation, and the  provided by the applicant, it must
does not provide the requested data.         financial institution can simply ask a   report the verified information. This
   The final rule does not require           question regarding number of workers,    guidance would have applied whether
financial institutions to report the         perhaps using the language provided in   the financial institution relies on the
distinction between various worker           final comment 107(a)(16)-2, and tell the time in business in making its credit
categories such as full time versus part     applicant to include affiliate           decision or not, although the Bureau
time, as recommended by some                 information.                             believed that verification would be very
commenters. The Bureau believes that         107(a)(17) Time in Business              uncommon when the financial
requiring distinctions between various                                                institution is not relying on the
worker categories could introduce            Proposed Rule                            information.
unnecessary complexity and                     ECOA section 70413(e)(2)(H)              Proposed comment 107(a)(17)-2
compliance challenges. The final rule        authorizes the Bureau to require         would have provided instructions on
also does not include principal owners       financial institutions to compile and    how to report the time in business relied
in the number of workers, as                 maintain "any additional data that the   on in making the credit decision. The
recommended by a commenter. The              Bureau determines would aid in           proposed comment would have stated
final rule requires the separate             fulfilling the purposes of [section      that when a financial institution
collection of the number of principal        1071]." In the proposed rule, the Bureau evaluates an applicant's time in
owners in final § 1002.107(a)(20), and       stated that it believed that data        business as part of a credit decision, it
the Bureau believes that this                providing the time in business of a      reports the time in business relied on in
differentiation will improve the             small business applicant would aid in    making the credit decision. For




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example, the proposed comment would proposed § 1002.107(c)(1) a financial                context for evaluating the basis for
have further explained, if the financial   institution shall maintain reasonable         credit decisions and conducting an
institution relies on the number of years procedures to collect information              accurate, fact-based fair lending
of experience the applicant's owners       provided by the applicant, which              analysis. A community group stated that
have in the current line of business, the includes the time in business of the           lenders already collect or consider the
financial institution reports that number applicant, but if the financial institution    number of years a small business has
of years as the time in business.          is unable to collect or determine the         been in operation as it is an element of
Similarly, if the financial institution    time in business of the applicant, the        loan risk and underwriting. This
relies on the number of years that the     financial institution reports that the        commenter further stated that time-in-
applicant has existed, the financial       time in business is "not provided by          business data would allow the
institution reports the number of years    applicant and otherwise                       assessment of whether businesses of
that the applicant has existed as the      undetermined."                                similar duration are likely to receive
time in business. Proposed comment            The Bureau sought comment on its           credit at comparable terms, such as by
107(a)(17)-2 would have then               proposed approach to this data point.         comparing Black-owned, Latino-owned,
concluded by stating that a financial      The Bureau also sought comment on             and Asian-owned start-ups with white-
institution reports the length of business whether time-in-business information          owned start-ups. A number of
existence or experience duration that it   may be less relevant or collectable for       commenters noted in discussing data
relies on in making its credit decision,   certain products or situations (such as       points, including time in business, that
and is not required to adopt any           retailer-branded credit cards acquired at     fair lending analysis requires a robust
particular definition of time in business. point of sale) and whether reporting          set of key variables that are used in
   Proposed comment 107(a)(17)-3           "not applicable" should be allowed in         underwriting. Relatedly, other
would have stated that a financial         those instances. In addition, the Bureau      commenters stated that data collected
institution relies on an applicant's time sought comment on whether there                under the Bureau's rule must be
in business in making a credit decision    should be an upper limit on time in           sufficient to allow data users to
if the time in business was a factor in    business—for example, to allow                understand the characteristics of
the credit decision, even if it was not a  reporting of "over 20 years" for any          applicants that are denied credit so as
dispositive factor. The proposed           applicant of that duration, rather than       to identify areas of unmet need and also
comment would have provided the            requiring reporting of a specific number      to be able to compare declined
example that if the time in business is    of years.                                     applicants with those who are approved
one of multiple factors in the financial                                                 for credit to look for evidence of
                                           Comments Received
institution's credit decision, the                                                       discrimination.
financial institution has relied on the       The Bureau received comments on its           Commenters specifically pointed out
time in business even if the financial     proposed time in business data point          the importance of collecting information
institution denies the application         from a number of lenders, trade               regarding whether a business is a start-
because one or more underwriting           associations, and community groups. A         up. A community group noted start-ups
requirements other than the time in        number of commenters supported the            and younger businesses generally have
business are not satisfied.                Bureau's proposal to collect time in          more difficulties qualifying for credit,
   Proposed comment 107(a)(17)-4           business data with some pointing out          and other commenters pointed out that
would have clarified that if the financial the importance of time in business for        it is well known that start-ups often
institution does not rely on time in       the fair lending and community                struggle to access financing.
business in considering an application, development purposes of section 1071.               In contrast, the Bureau received many
pursuant to proposed § 1002.107(c)(1) it A trade association noted that time in          comments from lenders and trade
shall still maintain procedures            business data are potentially useful for      associations generally opposing the
reasonably designed to collect             lenders, policymakers, regulators, and        Bureau's proposal to collect time in
applicant-provided information, which      communities and that this is a common         business. One trade association
includes the applicant's time in           credit consideration for the type of          questioned how asking how long a
business. The proposed comment would small business lending undertaken by                company has been in operation furthers
have explained that in collecting time in certain financial institutions. This trade     fair lending purposes. A few banks
business from an applicant, the            association asserted that the data can        stated that the information is not
financial institution complies with        help explain differences in underwriting      considered for underwriting purposes or
proposed § 1002.107(a)(17) by asking for risk among small business applicants            relevant to the creditworthiness of the
the number of years that the applicant     and avoid misinterpretation of the            applicant. An agricultural lender
has been operating the business it         dataset by distinguishing potentially         asserted that time in business data can
operates now. The proposed comment         riskier new businesses from established       be unknown, misleading, or not
would have further explained that when businesses. A community group stated              relevant. A few industry commenters
the applicant has multiple owners with that this data point is needed to assess          asserted that time in business data are
different numbers of years operating       if access to credit is reasonably available   not currently collected or maintained by
that business, the financial institution   and whether there are geographical            lenders. Some commenters said
collects and reports the greatest number barriers that do not seem present in            collecting time in business data would
of years of any owner. Proposed            other areas based on analysis of the          impose compliance burden and one also
comment 107(a)(17)-4 would have then data. This commenter further stated that            said that it would add friction to the
concluded by making clear that the         such analysis can help stakeholders           application process. A bank stated that
financial institution does not need to     identify and ameliorate any access to         customers do not have this type of
comply with the instruction if it collects credit barriers for younger firms.            information readily available when
and relies on the time in business by         A bank and a trade association             applying for a commercial loan. Another
another method in making the credit        commented that this data point could be       bank noted that the data point adds a
decision.                                  helpful in demonstrating a non-               layer of complexity, will not provide
   Proposed comment 107(a)(17)-5           discriminatory basis for different credit     useful information that advances section
would have explained that pursuant to      decisions and may provide helpful             1071, and goes beyond what other laws,




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such as HMDA,require financial               did not provide guidance on how to        in the context of agricultural credit if
institutions to collect. A trade             report the data in these circumstances.   there were separate and competing
association commented that time in              A bank trade association commented     definitions of"Time in business" and
business is unfamiliar to the applicant      that many small business borrowers        "Year began farming." A bank
or difficult to obtain and will result in    create new entities for various reasons   recommended that the easiest way to
additional complexity, confusion, and        and expressed concern that the data       report time in business information is
significant operational and regulatory       collected could suggest lenders are       with a number in the column; however,
costs. Another trade association said        giving more favorable treatment to new    it suggested that for newer businesses,
this data point involves complexities        small businesses as opposed to existing   particularly for those with less than one
because many small businesses cannot         ones. Another trade association stated    year in business, the number should be
provide an exact amount of time in           that collecting time in business using    reported in ranges, e.g., 0-6 months or
business due to name changes, mergers        management or owner experience rather 7-12 months. A community group said
and acquisitions, and other routine          than the age of the business itself       that credit card lenders should not be
events that complicate this calculation.     undercuts the Bureau's rationale that     able to routinely report "not applicable"
A bank stated that its borrowers rarely      time in business could explain the        for this data point because the
keep good enough records to properly         difference in underwriting risk among     information should not be too hard to
state the date they began doing business.    small business applicants and avoid       ask for on an application form. A bank
An agricultural lender stated that time      misinterpretation of data. This           and a trade association requested that
in business can be difficult to determine    commenter recommended that time in        the Bureau allow all financial
for a farming operation that may have        business be collected at the financial    institutions to report the applicant's
begun as a lifestyle venture or arose        institution's option. A bank was          time in business, whether used in credit
from multiple generations of farming.        concerned that time in business data      underwriting or collected from the
                                             may make it appear to discriminate        applicant, and to rely on the
  Some commenters expressed concerns
                                             against start-up businesses, explaining   information provided by the applicant.
with the data to be collected as well as
                                             that its practice has been to avoid       These commenters also requested that
the method of reporting. A bank stated       providing financing for start-up
that it makes loans for startup                                                        the Bureau include in the final rule a
                                             businesses unless it can secure           safe harbor from liability for reporting
companies and relies on the applicant's      government guaranties because in
experience in the given industry rather                                                the applicant-provided time in business.
                                             distressed areas where the bank           Another trade association also
than the length of time they have            generally lends, start-up businesses
operated their current business;                                                       recommended that the Bureau clarify
                                             have historically been unable to sustain that financial institutions may rely on
however, underwriting for an                 a repayment history for the loan term
established business uses the length of                                                statements made by the applicant
                                             due to business closure and liquidation. without incurring risk.
time that specific business has been in      Therefore, the bank explained, if
operation. Although the Bureau's                                                          A bank commented that putting an
                                             comparing this information for fair       upper limit on years to report is not a
proposal allows for the consideration of     lending, it will appear that they are
business experience or business                                                        good idea and said that time in business
                                             discriminating against start-up           should always be reported as a specific
longevity, this commenter and several        businesses when there are studies
others asserted that the resulting data                                                number of years. The bank reasoned that
                                             showing that minority-owned
gathered will not be comparable and                                                    there are businesses that struggle at the
                                             businesses are under-financed as start-   5 year mark, the 10 year mark, or the 50
analysis of that data will be                UPS.
meaningless. Another bank stated that          Several commenters requested the        year mark. According to this bank, one
in most cases, the credit decision is a      Bureau provide clarification on certain   should not assume that applicants are
combination of the number of years the       aspects of reporting the data point or    "fine" because those years are above an
applicant has been in business and the       made recommendations for reporting        arbitrary number the Bureau has chosen.
number of years the principals have          the data. A bank suggested that the       Final Rule
been in the industry, but if one             Bureau collect the time the business has
institution reports the number of years      been active regardless of ownership          For the reasons set forth herein, the
the applicant has been in business and       experience or time the current owners     Bureau   is finalizing § 1002.107(a)(17)
another reports the number of years of       have owned this business. A community with revisions to the regulatory text and
experience of the principals, they would     group recommended that financial          commentary. As explained below,
not appear to be as similarly situated as    institutions be required to report the    financial institutions will be required to
they are; therefore, it will be impossible   time in business used when                report the time the applicant has been
to make comparisons or draw accurate         underwriting the loan because time in     in business, but the Bureau has revised
conclusions with respect to the              business could refer to either the time   the  requirements to provide financial
information submitted. Another bank          period since the business was formally    institutions more flexibility in collecting
pointed out this same issue and stated       incorporated or the time period of        the information. Pursuant to its
that the mixture of responses would          operation. A bank requested               authority under ECOA section
lead to unreliable information,              clarification on temporary lapses in      704B(e)(2)(H), the Bureau determines
unjustifiable conclusions, and               business and how to report seasonal       that  collecting data on time in business
unjustified burden on applicants and         businesses. Several agricultural lenders will further the purposes of section
financial institutions. Other banks and a    and a trade association suggested that if 1071, as further explained below.
trade association also indicated that the    this data point is not dropped then the      The Bureau believes that time in
credit decision can be based on a            Bureau should tie it to the established   business   will advance both statutory
combination of the number of years the       Farm Credit data point,"Year began        purposes of section 1071. Research
applicant has been in business and the       Farming," because Farm Credit             illustrates the role that start-ups and
number of years the principals have          associations already collect "Year began new businesses play in the business
been in the industry. Two of these           farming." These commenters reasoned       ecosystem and in promoting important
commenters also said that the Bureau         that there would be needless confusion    community development aims, such as




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creating new jobs.668 Financial                          In light of the feedback received, the       applicant has been in business. Final
institutions often have special credit                   Bureau has revised the requirements for      comment 107(a)(17)-1.i also provides
policies regarding start-ups and other                   reporting time in business information,      guidance to make clear that if the
young businesses, including whether                      based on the financial institution's         financial institution reports the number
the institution will extend credit to                    procedures. The Bureau is also not           of whole years, the financial institution
start-ups at all, the type(s) of credit                  finalizing this data point to include data   rounds down to the nearest whole year.
products start-ups and new businesses                    as relied on by the financial institution    Final comment 107(a)(17)-1.ii provides
can apply for, and the amount of credit                  to make a decision. Rather, the final rule   that if a financial institution does not
for which they can be approved. Studies                  requires financial institutions to report    collect or obtain the number of years an
generally show that start-ups experience                 time in business as collected or             applicant has been in business, but as
greater difficulty in accessing credit.669               otherwise obtained. Although this            part of its procedures it determines
  Time in business data will benefit                     requirement is similar to reporting the      whether or not the applicant has been
data users, including financial                          time in business relied on, the new          in business less than two years, then the
institutions, policymakers, economic                     language makes clear that the financial      financial institution reports the
analysts, and communities by allowing                    institution reports the time in business     applicant's time in business as either
them to better identify the proportion of                collected or obtained regardless of          less than two years or two or more
small businesses seeking credit that are                 whether it relied on that information in     years. Final comment 107(a)(17)-1.iii
start-ups or relatively new businesses,                  underwriting the application.                provides that if a financial institution
the type(s) of credit offered to these                   Commenters indicated that they may           does not collect or obtain time in
groups, the geographic setting of these                  base their credit decision on a              business, either as number of years or a
businesses, the types of financial                       combination of factors, such as the time     determination as to whether the
institutions that are reaching such                      the applicant has been in existence and      applicant has been in business less than
businesses, and where communities                        the time the owners have been in the         two years, then the financial institution
might focus business development                         industry, while other commenters             complies with the rule by asking the
efforts. The data may also aid                           indicated that they do not collect or use    applicant whether it has been in
policymakers in addressing issues                        time in business for underwriting            business less than two years or two or
impacting the growth of small start-ups.                 purposes. The Bureau believes that           more years. The Bureau is not finalizing
The data, particularly as to unmet                       standardizing the time in business data      the provision in proposed comment
demand, could help interested financial                  point to be based on what the financial      107(a)(17)-1.ii to require financial
institutions identify lending                            institution collects or obtains              institutions to indicate whether an
opportunities to reach more start-ups                    streamlines the requirement and              applicant has not begun operating yet or
and new businesses, promoting both                       provides flexibility for the financial       has been in operation less than a year.
business and community development.                      institution to report time in business       In addition, the Bureau is not requiring
This data point will also facilitate fair                information based on its credit policies     that newer business applicants' time in
lending analyses by providing a useful                   or programs rather than having to select     business be reported in ranges, as one
control to identify similarly situated                   a time in business method specifically       commenter suggested. The Bureau
applicants and eliminate some false                      for reporting pursuant to this rule.         believes that time in business
positives, while also allowing                           Accordingly, the Bureau is not               information reported in whole years or
monitoring of potential disparate                        finalizing "as relied on or collected by     an indication of over or under two years
treatment of relatively new minority-                    the financial institution" in the            can provide data users with robust
and women-owned small businesses.                        regulatory text. Final regulatory text for   information regarding start-ups and
  The Bureau understands from
                                                         § 1002.107(a)(17) requires reporting of      newer businesses as well as the maturity
commenters that there are complexities
associated with collecting time in                       the time the applicant has been in           of other businesses, thus furthering the
business information from an applicant                   business; however, the Bureau is             purposes of section 1071 while also
for various reasons, including applicant                 providing further details guidance in        simplifying collection and reporting.
difficulty providing an exact time                       commentary regarding time in business        Issues such as whether to report the
because of prior name changes, events                    collection and reporting, as explained       time in business based on the time of
that affected the applicant's structure,                 below. As some commenters suggested,         incorporation or time of business
multi-generational ownership, and                        allowing different methods for               opening, lapses in business operation
others discussed by commenters above.                    measuring time in business will have an      such as for a seasonal business, and new
                                                         effect on the comparability of the data,     business entities that do not actually
  668 See, e.g., Small Bus. Admin., 2018 Small           but information about the time in            constitute a new enterprise should all be
Business Profiles, at 1-2 (2018), https://               business actually collected by the           considered within the financial
www.sba.gov/advocacy/2018-small-business-                financial institution for its own            institution's discretion in collecting
profiles-states-an d-territories?utm_                    purposes will be useful for fair lending     time in business. The Bureau does not
medium=email&utm source=govdelivery; John
Haltiwanger et al., Who Creates Jobs? Small versus       analysis and will impose less                believe that these scenarios will have a
Large versus Young 95(2) Review of Econ. & Stat.,        operational difficulty than requiring        significant effect on the quality of the
at 347-61 (2013), https://direct.mit.edu/rest/article/   reporting based on a single definition.      data reported, but crafting a rule that
95/2/347/58100/Wh o-Creates-Jobs-Small-versus-
Large-versus-Young.
                                                         For example, this method will allow a        takes them into account could
  sse For example, a Federal Reserve Bank of New         financial institution to use the "year       considerably increase the operational
York report, based on data from the 2016 Small           began farming" date, as suggested by         difficulty of compliance.
Business Credit Surveys that included information        some commenters, to report time in             Final comment 107(a)(17)-2 provides
from 12 Federal Reserve Banks, provides statistics
on how start-ups are less likely to receive credit as
                                                         business without further inquiry.            that a financial institution that collects
compared to mature businesses, even with                    Final comment 107(a)(17)-1.i              time in business as part of its
comparable credit scores. See Fed. Rsrv. Bank of         provides that a financial institution        procedures is not required to collect or
N.Y., Small Business Credit Survey: Report on Start-
up Firms, at iv (2017), https://www.newyorkfed.org/
                                                         reports time in business in whole years      obtain time in business information
me dialibrary/media/smallbusiness/2016/SBCS-             if, as part of its procedures, it collects   pursuant to a specific definition for the
Report-StartupFirms-2016.pdf.                            or obtains the number of years an            purposes of this rule. The comment




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provides examples of how a financial        ask whether a business has existed for        see the section-by-section analysis of
institution may define time in business, less than two years or two years or more         § 1002.107(b).
including by asking the applicant when should reduce any complexity for
                                                                                          107(a)(18) Minority-Owned, Women-
the business started or based on the        applicants in providing the information.      Owned, and LGBTQI+-Owned Business
owner's experience in the industry. As      The Bureau also believes that collection      Statuses Background
discussed above, the Bureau                 of time in business will further the dual
understands from commenters that a          purposes of section 1071, as discussed          ECOA section 70413(b) requires
financial institution may collect and/or    above. The final rule does not permit         financial institutions to inquire whether
consider for underwriting both the          time in business information be               applicants for credit are minority-owned
number of years the applicant has been      reported at the financial institution's       and/or women-owned businesses and to
in business and the number of years of      option, as the Bureau believes that if it     maintain a record of the responses to
experience an owner has in the               made this data point optional, very little   that inquiry separate from the
industry. In response to a comment          data would be reported.                       applications and accompanying
requesting clarification and to mitigate       With respect to the concern raised by      information. Section 70413(c) provides
other commenter concerns, final             a commenter that reporting time in            that applicants for credit may refuse to
comment 107(a)(17)-2 provides that if a business information may cause a                  provide information requested pursuant
financial institution collects the number financial institution to appear to              to 70413(b). ECOA section 70413(e)(2)(H)
of years the applicant has existed as       discriminate against start-up businesses      authorizes the Bureau to require
well as another measure of time in          because of its policy to avoid providing      financial institutions to compile and
business, such as the number of years of financing to start-ups, the Bureau               maintain "any additional data that the
experience an owner has in the              believes that time in business                Bureau determines would aid in
industry, the financial institution         information will help mitigate concerns       fulfilling the purposes of[section
reports the number of years the                                                           1071]." The Bureau is finalizing
                                            of data misrepresentation and help
applicant has existed as the time in                                                      § 1002.107(a)(18) to address how a
                                            explain the credit decision made by a
business. The Bureau believes that this     financial institution. For example, data      financial institution would collect and
method will result in more uniform and indicating that an applicant is relatively         report an applicant's minority-owned
comparable data on time in business                                                       and women-owned business statuses,
                                            new with little experience or financial
and should not cause operational                                                          along with LGBTQI+-owned business
                                            history could explain why the financial
difficulty because the financial                                                          status which the Bureau believes would
                                            institution denied the application or
institution will be reporting information approved it for less than what was              aid in fulfilling the purposes of section
that it already collects.                                                                 1071.
                                            applied for.                                     The Bureau proposed appendix F to
  Comment 107(a)(17)-3 (renumbered
                                               With respect to the recommendation         provide instructions to aid financial
from proposed comment 107(a)(17)-6) is
finalized with minor clarifications.        that the Bureau allow all financial           institutions when collecting minority-
Final comment 107(a)(17)-3 provides         institutions to report the applicant's        owned business status pursuant to
                                                  in            whether used in credit
that a financial institution is required to time business                                 proposed § 1002.107(a)(18) and women-
maintain procedures reasonably              underwriting    or collected from the         owned business status pursuant to
designed to collect applicant-provided      applicant, the final rule provides this       proposed § 1002.107(a)(19). However,
data, which includes time in business;      flexibility for financial institutions. The   there was some duplication between
however, if the financial institution is    final rule also allows the financial          what was contained in proposed
nonetheless unable to collect this          institution to collect applicant-provided     appendix F and in proposed
information, then the financial             data, including time in business              § 1002.107(a)(18) and (19) and
institution reports "not provided by        information, from appropriate third-          associated commentary.
applicant and otherwise undetermined" party sources. See final § 1002.107(b).                As discussed further herein, final
for the time in business data point. The       The Bureau is not adopting a safe          § 1002.107(a)(18) differs from proposed
Bureau believes that providing this         harbor from liability for reporting the       § 1002.107(a)(18) in a number of ways,
reporting option will facilitate            applicant-provided time in business for       largely to streamline the rule and
compliance.                                 the reasons provided in the section-by-       facilitate compliance. First, the final
  The Bureau acknowledges                   section analysis of § 1002.112(c).            rule combines proposed
commenters' arguments that time in          Guidance related to relying on                § 1002.107(a)(18) and (19) into final
business is not collected by some           information provided by an applicant          § 1002.107(a)(18). Next, final
financial institutions now nor used by      and appropriate third-party sources,          § 1002.107(a)(18) also requires
such institutions for underwriting          including time in business information,       collection of LGBTQI+-owned business
purposes. However, other industry           is provided in final comment 107(b)-1.        status. Finally, the commentary to final
commenters indicated that they do           (Similar content was included in              § 1002.107(a)(18) incorporates the
collect and use time in business for        proposed comment 107(a)(17)-1.) That          information contained in proposed
underwriting (for example, commenters comment explains that a financial                   appendix F.
stated the credit decision is based on a    institution needs report verified
combination of the number of years the      information only if it verifies               Proposed Rule—Proposed
applicant has been in business and the      information from the applicant for its        § 1002.107(a)(18) and (19)
number of years the principals or           own business purposes. Because the              In order to implement the section
owners have in the industry).               rule makes clear that a financial             1071 requirement that financial
  Commenters also expressed concern         institution may rely on statements made       institutions inquire whether applicants
with the burden associated with             by or information from the applicant          for credit are minority-owned and/or
collecting time in business information. regarding time in business and need not          women-owned businesses, the Bureau
The Bureau does not believe it would be verify its accuracy, the Bureau does not          proposed § 1002.107(a)(18) to address
too difficult for financial institutions to believe that a safe harbor is necessary.      minority-owned business status, and
collect this information if they do not     For more information on relying on            § 1002.107(a)(19) to address women-
already do so, and the ability to merely    information provided by an applicant,         owned business status. The text of these




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 proposed provisions was otherwise                    indicates that it does not wish to             answer the inquiry, or its failure to
identical in their language. Proposed                  provide the requested information), or        respond to the inquiry pursuant to
§ 1002.107(a)(18) and (19) would have                 its failure to respond (such as when the       proposed § 1002.107(a)(18) or (19),
required financial institutions to collect             applicant fails to submit a data              respectively, even if the financial
 and report whether an applicant is a                 collection form) to the inquiry.               institution verifies or otherwise obtains
 minority-owned or women-owned                           Proposed comments 107(a)(18)-2 and          an applicant's minority-owned business
business, respectively. Proposed                      107(a)(19)-2 would have explained that         status or women-owned business status
§ 1002.107(a)(18) and (19) would also                  a financial institution must inform the       for other purposes. Moreover, a
have required financial institutions to                applicant that the financial institution      financial institution would not have
collect and report whether minority-                  cannot discriminate on the basis of an         been required or permitted to verify the
owned business status or women-owned                   applicant's minority-owned business           applicant's responses to the financial
business status, respectively, was being              status or women-owned business status,         institution's inquiries pursuant to
reported based on previously collected                respectively, or on whether the                proposed § 1002.107(a)(18) or (19)
data pursuant to proposed                              applicant provides the information.           regarding minority-owned business
§ 1002.107(c)(2). When the financial                  These proposed comments would also             status or women-owned business status,
institution requests minority-owned and                have clarified that a financial institution   respectively.
 women-owned business statuses from                    may combine this non-discrimination             Proposed comments 107(a)(18)-6 and
 an applicant, the financial institution              notice regarding minority-owned                107(a)(19)-6 would have clarified that a
 would have been required to inform the               business status or women-owned                 financial institution does not report
applicant that the financial institution              business status, respectively, with the        minority-owned business status or
cannot discriminate on the basis of the               similar non-discrimination notices that        women-owned business status,
applicant's minority-owned or women-                   a financial institution is required to        respectively, based on visual
owned business status, or on whether                   provide when requesting women-owned           observation, surname, or any basis other
the applicant provides this information.              business status or minority-owned              than the applicant's response to the
Finally, proposed § 1002.107(a)(18) and               business status, respectively, and a           inquiry that the financial institution
(19) would have referred to proposed                   principal owner's ethnicity, race, and        makes to satisfy proposed
appendix F for additional details                     sex if a financial institution requests        § 1002.107(a)(18) or (19), respectively,
regarding how financial institutions are              such information in the same data              or, if the financial institution was
required to collect and report minority-              collection form or at the same time.           permitted to report based on previously
owned or women-owned business                            Proposed comments 107(a)(18)-3 and          collected data, on the basis of the
statuses, respectively. Proposed                      107(a)(19)-3 would have explained              applicant's response to the inquiry that
appendix F would have included a                       how, pursuant to proposed                     the financial institution previously
requirement that a financial institution              § 1002.111(b), financial institutions          made to satisfy § 1002.107(a)(18) or (19),
inform an applicant that the applicant is              must record an applicant's response           respectively.
not required to respond to the financial              regarding minority-owned business                Proposed comments 107(a)(18)-7 and
institution's questions regarding the                 status and women-owned business                107(a)(19)-7 would have clarified that a
applicant's minority-owned business                   status pursuant to proposed                    financial institution may report
status and women-owned business                       § 1002.107(a)(18) or (19), respectively,       minority-owned business status or
status and inform the applicant of a                  separate from the application and              women-owned business status,
 prohibition on financial institutions                 accompanying information. These               respectively, based on previously
requiring applicants to provide this                   proposed comments would have also             collected data if the financial institution
information.670                                        provided examples of how responses            is permitted to do so pursuant to
   Proposed comments 107(a)(18)-1 and                 could be recorded separately from the          proposed § 1002.107(c)(2) and its
107(a)(19)-1 would have clarified that a               application and accompanying                  commentary.
financial institution would be required               information.                                      The Bureau sought comment on its
to ask an applicant if it is a minority-                 Proposed comments 107(a)(18)-4 and          proposed approach to these data points,
owned business or women-owned                         107(a)(19)-4 would have stated that            including the proposed methods of
business, respectively, for each covered               pursuant to proposed § 1002.107(c)(1), a      collecting and reporting the data. The
application unless the financial                      financial institution shall maintain           Bureau also requested comment on
institution is permitted to report                     procedures reasonably designed to             whether additional clarification
minority-owned business status or                     collect applicant-provided information,        regarding any aspect of these data points
women-owned business status,                           which includes the applicant's                is needed. In particular, the Bureau
respectively, based on previously                      minority-owned business status or             sought comment on whether applicants
collected data. Additionally, the                      women-owned business status,                  are likely to have difficulty
financial institution would have been                 respectively. However, if a financial          understanding and determining the
required to permit an applicant to refuse             institution did not receive a response to      information they are being asked to
to answer the financial institution's                 its inquiry, the financial institution         provide and, if so, how the Bureau may
inquiry and to inform the applicant that               would have reported that the applicant's      mitigate such difficulties.
it is not required to provide the                      minority-owned business status or
information. The financial institution                 women-owned business status,                  Proposed Rule—Proposed Appendix F
would have reported the applicant's                   respectively, is "not provided by                Proposed appendix F would have
response, its refusal to answer the                    applicant."                                   provided instructions to aid financial
inquiry (such as when the applicant                      Proposed comments 107(a)(18)-5 and          institutions when collecting minority-
                                                      107(a)(19)-5 would have stated that            owned business status pursuant to
  670 Proposed appendix G would have included a       notwithstanding proposed § 1002.107(b)         proposed § 1002.107(a)(18) and women-
similar requirement to notify applicants that they    (regarding verification of applicant-          owned business status pursuant to
are not required to provide information regarding
principal owners' ethnicity, race, and sex and of a
                                                       provided information), a financial            proposed § 1002.107(a)(19).
similar prohibition on financial institutions         institution would have reported the              The Bureau proposed appendix F
requiring that applicants provide such information.    applicant's response, its refusal to          pursuant to its authority under ECOA




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section 70413(g)(1) to prescribe such       whether they have been certified by a      Clayton County,671 there are States
rules and issue such guidance as may be third-party organization as a minority-        where discrimination against LGBTQ
necessary to carry out, enforce, and       and/or women-owned business and the         individuals is legal and thus inferences
compile data pursuant to section 1071,     name of the certifying organization,        about one's sexuality could have serious
in order to facilitate compliance with      which it said would promote the            negative impacts. They also expressed
the statutory requirements to collect      objectives of section 1071 by               concern that this information could be
minority-owned and women-owned             encouraging responses of relevant and       used for unintended purposes. One
business statuses pursuant to              verifiable information. Another             commenter also expressed a concern
70413(b)(1). Further, the Bureau           commenter suggested that the Bureau         that previously collected information
proposed appendix F pursuant to its        coordinate with the U.S. Census to          about an applicant's LGBTQ+-owned
obligation in 70413(g)(3) to issue         create a minority and women-owned           business status could be used
guidance to facilitate compliance with     business suffix to a business's NAICS       inappropriately.
the requirements of section 1071,          code which identifies their minority or        Other commenters supported
including assisting financial institutions women-owned business status.                inclusion of LGBTQ+-owned business
in working with applicants to determine       Regarding appendix F, some               status in the final rule, generally
whether the applicants are women-          commenters supported the proposed           asserting the collection of information
owned or minority-owned businesses.        approach to collecting information.         about a business' LGBTQ+-owned status
  The Bureau sought comment on the         Several commenters requested that the       is appropriate and necessary under the
proposed instructions, and generally       Bureau eliminate duplication and            law. One commenter stated that
sought comment on whether additional include all mandatory statements in the           businesses owned by LGBTQ+
clarification regarding any aspect of the rule text, rather than in the appendices.    individuals face discrimination and bias
proposed instructions was needed. The                                                  and urged the Bureau to use its ECOA
                                           Comments Received—LGBTQI+-Owned
Bureau further requested comment on        Business Status                             section 704B(e)(2)(H) authority to
whether additional or different                                                        require the collection of such
instructions were needed for financial        As discussed in the section-by-section   information. Another commenter argued
institutions that choose not to use a      analysis of § 1002.102(k) and (1) above,
                                           regarding the definitions for LGBTQI+       that data about lending availability to
paper data collection form to collect                                                  LGBTQ-owned businesses will enhance
minority-owned business status or          individual and LGBTQI+-owned
                                                                                       the Bureau's ability to enforce fair
women-owned business status, such as       business, the Bureau sought comment
                                                                                       lending laws to protect them from
collecting such information using a        on whether it should adopt a data point
                                                                                       discrimination in credit, and identify
web-based or other electronic data         to collect an applicant's lesbian, gay,
                                           bisexual, transgender, or queer             their credit needs. Another commenter
collection form, or over the telephone.                                                stated that collecting applicants'
The Bureau also sought comment             (LGBTQ+)-owned business status,
                                           similar to the way it proposed to collect   LGBTQ+-owned business status is
regarding the challenges faced by both                                                 necessary to ensure that LGBTQ+ small
applicants and financial institutions by    minority-owned business status and
                                            women-owned business status.               business owners are being treated fairly
the data collection instructions                                                       by lenders and fulfill the purposes of
prescribed in appendix F and                  The Bureau received comments from
                                                                                       section 1071. One commenter suggested
specifically requested comment on ways several banks, individual commenters,           that the Bureau include an inquiry to
to improve the data collection of          and community groups on this issue.
                                           Some commenters did not support             identify businesses who have
minority-owned business status and                                                     experienced impermissible sex
women-owned business status.               including such a data point in the final
                                           rule, generally stating that asking for     discrimination under ECOA without
Comments Received—Women-Owned              such information would be offensive,        requiring information on the owners'
and Minority-Owned Business Statuses would be considered an invasion of                specifically held identities if they do not
  The Bureau received comments on          privacy, or would damage bank-              wish to disclose them. This commenter
proposed § 1002.107(a)(18) and (19) and customer relationships. One commenter          suggested this would be consistent with
appendix F from some industry and          said that applicants are unlikely to        the Bureau's proposal regarding the
community group commenters.                provide this information and that an        collection of ethnicity and race.
Commenters uniformly supported the         applicant's LGBTQ+-owned business              A commenter also stated that there is
Bureau's proposal that the financial       status is not considered in the lending     public and congressional support for the
institution would rely solely on the       process and thus should not be part of      collection of LGBTQ+-owned business
applicant to determine minority-owned this data collection.                            status information, noting that H.R.
and women-owned business statuses,            A few commenters also stated that        1443, the LGBTQ Business Equal Credit
and that institutions should not be        asking for such information could           Enforcement and Investment Act, would
required or permitted to verify an         potentially further segregate and           have amended ECOA to include a
applicant's response. One commenter        stigmatize LGBTQ individuals and their      definition for "LGBTQ-owned business"
requested that a financial institution not businesses, when they already face bias     and require the collection of LGBTQ-
be required to conduct any follow-up if and discrimination. These commenters           owned business status.672
an applicant fails to provide the          also raised concerns about the privacy         Commenters suggested that the
information. Another noted that owners and security of the collected                   Bureau adopt the same approach it
and ownership status may change from       information, noting that storing it with    proposed using for collecting minority-
day to day. One said that the back-office financial institutions and in a              owned and women-owned business
functions of financial institutions will   nationwide database exposes the             statuses, by providing applicants with a
need to ensure the data are being          information to not only authorized          definition for LGBTQ-owned business
reported correctly and identify any        persons but also potentially to hackers.
                                                                                         671 140 S. Ct. 1731 (2020). See the section-by-
issues in the data, which will require an These commenters argued that although        section analysis of § 1002.107(a)(19), under
increase in staff.                         there is some protection in the Federal     Proposed Rule—Collecting Sex, for a discussion of
   A commenter asserted that applicants employment law context due to the U.S.         the Court's holdings in Bostock.
should be permitted to self-report         Supreme Court's opinion in Bostock v.         872H.R. 1443, 117th Cong.(2021).




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status and allowing respondents to                    answer, or its failure to respond to an      wish to provide the information about
indicate whether they are or are not                 inquiry, as applicable.                       an applicant's business statuses if the
such a business. Another commenter                      Final comment 107(a)(18)-2 clarifies       applicant declines or refuses to provide
recommended that financial institutions              that a financial institution must provide the information by selecting such a
not be allowed to collect or report such             the applicants with definitions of the       response option on a paper or electronic
information on the basis of visual                   terms minority-owned business,               form. The financial institution reports
observation, surname analysis, or any                 women-owned business, and LGBTQI+- an applicant's refusal to provide such
method other than applicant-provided                 owned business when inquiring about          information in this way, if the applicant
responses. This commenter also stated                these business statuses. A financial         orally declines to provide such
that financial institutions should not be            institution satisfies this requirement if it information for a covered application
permitted or required to verify an                    provides the definitions set forth in the   taken by telephone or another medium
applicant's LGBTQ+-owned business                    sample data collection form in appendix that does not involve providing any
status.                                              E.                                            paper or electronic documents.
                                                        Final comment 107(a)(18)-3 clarifies         Final comment 107(a)(18)-8 explains
Final Rule—Business Status in General                that a financial institution may combine that if an applicant both provides a
    For the reasons set forth herein, the            on the same paper or electronic data         substantive response to the financial
Bureau is adopting § 1002.107(a)(18)                 form the business status questions along institution's inquiry regarding business
with a number of changes to require                   with the data requested in                  status and also checks the "I do not
collection of minority-owned business                § 1002.107(a)(19)(principal owners'           wish to provide this information" box or
status, to incorporate collection women- ethnicity, race, and sex) and                            similar for that question, the financial
owned business status (from proposed                 § 1002.107(a)(20)(number of principal        institution reports the applicable
§ 1002.107(a)(19)) and to add LGBTQI+- owners).                                                   business status(es) provided by the
owned business status, along with a                     Final comment 107(a)(18)-4                 applicant (rather than reporting that the
number of conforming changes to the                  (renumbered from comment 107(a)(18)- applicant declined to provide the
commentary. The Bureau has also                       2 in the proposal and incorporating         information).
incorporated information from proposed additional information from proposed                          Final comment 107(a)(18)-9 explains
appendix F into the commentary to final appendix F) explains that a financial                     that, notwithstanding § 1002.107(b)
§ 1002.107(a)(18),673 added additional               institution must inform the applicant        (regarding verification of applicant-
commentary for parity with final                     that  the financial institution cannot        provided data), a financial institution
§ 1002.107(a)(19) regarding collection of discriminate on the basis of an                          must report the applicant's substantive
principal owners' ethnicity, race, and                applicant's business statuses or on         response(s), that the applicant declined
sex, and updated a number of cross-                   whether the applicant provides the          to answer the inquiry, or the applicant's
references.                                          information.   Under   the final rule, a     failure to respond to the inquiry, even
    Final § 1002.107(a)(18) requires the             financial institution must also inform       if the financial institution verifies or
collection of information regarding                  the applicant that Federal law requires      otherwise obtains an applicant's
whether the applicant is a minority-                 it to ask for an applicant's minority-       business statuses for other purposes,
owned, women-owned, and/or                           owned, women-owned, and LGBTQI+-              and provides an example of such a
LGBTQI+-owned business. When                         owned    business statuses to help ensure    situation.
requesting minority-owned, women-                    that all small business applicants for          With regard to commenters who
owned, and LGBTQI+-owned business                    credit  are treated fairly and  that          asserted that applicants should be able
statuses from an applicant,                          communities' small business credit           to rely upon minority-owned or women-
§ 1002.107(a)(18) requires that a                    needs are being fulfilled (this disclosure owned business status certifications
financial institution inform the                      would have been optional under the          received from a third-party organization,
applicant that the       financial  institution       NPRM).   The  Bureau   believes  that this  the  Bureau believes that the definitions
cannot discriminate on the basis of                  notice should be compulsory, rather          of minority-owned or women-owned
minority-owned, women-owned, or                      than voluntary, to ensure that applicants business statuses from third-party
LGBTQI+-owned business statuses, or                  receive information about the data           organizations may not align with the
on whether the applicant provides this               collection rule and its purposes. See the definitions found in section 1071 and
information.                                         section-by-section analysis of               codified in this rule, and thus reliance
    Final comment 107(a)(18)-1 clarifies             § 1002.107(a)(19) for further explanation on them would not be appropriate. As
that a financial institution must ask an              and discussion of comments received on addressed above, final comment
applicant whether it is a minority-                  this issue.                                  107(a)(18)-2 clarifies that a financial
owned, women-owned, and/or                              Final comment 107(a)(18)-5 explains institution must provide applicants with
LGBTQI+-owned business. A financial                  that a financial institution must             definitions of the terms minority-owned
institution must permit an applicant to               maintain the record of an applicant's       business, women-owned business, and
refuse (i.e., decline) to answer the                 responses to the financial institution's     LGBTQI+-owned business, as provided
inquiries and must inform the applicant inquiry separate from the application                     in this rule, when asking questions
that it is not required to provide the                and accompanying information.                about these business statuses.
information. The financial institution                  Final comment 107(a)(18)-6 explains
                                                     that if a financial institution does not     Final Rule—LGBTQI+-Owned Business
must report the applicant's substantive                                                           Status
responses, that the applicant declined to            receive  a response  to  the financial
                                                     institution's inquiry for purposes of           For the reasons set forth herein, the
   673In certain instances where language in         § 1002.107(a)(18), the financial             Bureau is exercising its authority under
proposed appendix F and commentary to proposed       institution reports that the applicant's     ECOA section 704B(e)(2)(H) to require
§ 1002.107(a)(18) and (19) were similar, language in business statuses were "not provided by financial institutions to request
the final regulatory text or commentary has been      applicant."                                 information about whether an applicant
revised to improved clarity. In other instances,
language from proposed appendix F is imported
                                                        Final  comment   107(a)(18)-7    explains is a LGBTQI+-owned business. The
wholesale to provide clarity and streamline the      that a financial institution reports that    Bureau believes that the collection of
rule.                                                the applicant responded that it did not      this information will further section




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1071's statutory purposes. Specifically,             Similar to the proposed (and final)                 applicant's creditworthiness, as also
the Bureau believes that the collection            approaches for collecting women-owned                 noted by some commenters, and which
of this information will help address an and minority-owned business statuses,                           financial institutions would be unable
information gap about small business               financial institutions are required to                to collect without the requirement to do
lending and facilitate fair lending                provide the definition of"LGBTQI+-                    so in final § 1002.107(a)(18). As a result,
enforcement and the identification of              owned business" under § 1002.102(1)                   the Bureau believes that it is necessary
business and community development                 when requesting information about an                  to require a financial institution to
needs and opportunities for small                  applicant's LGBTQI+-owned business                    maintain an applicant's response to the
businesses.                                        status as provided by final comment                   inquiry about whether it is a LGBTQI+-
   Based on the limited information                107(a)(18)-2. Financial institutions are              owned business separately from the rest
available, the Bureau believes that                also required to provide the same                     of the business's application and
LGBTQI+-owned businesses may                       notices when requesting an applicant's                accompanying information under final
experience particular challenges                   LGBTQI+-owned business status, such                   § 1002.111(b), similar to the requirement
accessing small business credit. For               as the notice that the applicant is not               with respect to responses about an
example, one report found that, while              required to provide the information                   applicant's minority-owned and
LGBTQ businesses were equally likely               under final comment 107(a)(18)-1 and                  women-owned business statuses.
to apply for financing, they were less             other notices under final comment                        The Bureau acknowledges
likely to receive it, with about 46                107(a)(18)-4. Other provisions set out in             commenters' concerns that requesting
percent of LGBTQ-owned businesses                  commentary for minority-owned and                     information as to whether applicants are
reporting that they had received none of women-owned business statuses                                   LGBTQI+-owned businesses could be
the financing that they had applied for            likewise apply to LGBTQI+-owned                       offensive, be considered an invasion of
in the past year, as compared to 35                business status; for example, a financial             privacy by applicants, or damage bank-
percent of non-LGBTQ businesses that               institution reports only the applicant's              customer relationships. Final comment
applied for funding. The report noted              response to the inquiry about its                     107(a)(18)-4 provides that a financial
that LGBTQ-owned businesses were                   LGBTQI+-owned business status, even if                institution must inform the applicant
more likely than non-LGBTQ businesses it verifies or otherwise obtains an                                that Federal law requires it to ask for an
to explain their denial was due to                 applicant's LGBTQI+-owned business                    applicant's minority-owned, women-
lenders not approving financing for                status for other purposes. See, e.g.,                 owned, and LGBTQI+-owned business
"businesses like theirs" (33 percent               comments 107(a)(18)-6, —7, and —9.                    statuses to help ensure that all small
versus 24 percent), among other                      Final comment 107(a)(18)-5 also                     business applicants for credit are treated
reasons.674 The same report also found             clarifies that an applicant's responses               fairly and that communities' small
that LGBTQ-owned businesses that                   about whether it is an LGBTQI+-owned                  business credit needs are being fulfilled.
applied for Paycheck Protection                    business must be kept separately from                 Sample language for this notice, which
Program funding in 2021 were less                  the small business's application form                 provides a brief, plain language
successful in receiving funding applied            and accompanying documents. ECOA                      explanation of the purpose of the data
for than non-LGBTQ businesses.675                  section 704B(b)(2) requires a financial               collection, appears in the sample data
   ECOA section 704B(e)(2)(H) provides institution to maintain a record of the                           collection form in appendix E. The
the Bureau with broad discretion to                "responses to [the] inquiry" required by              Bureau believes providing such context
collect "any" additional data it                   section 704B(b)(1) separate from the                  will help to mitigate negative reactions
determines would aid in fulfilling the             application and accompanying                          an applicant may have to a financial
purposes of section 1071. As discussed, information. As explained in part E.2 in                         institution's request for such
the Bureau has determined that the                 the Overview to this part V, the Bureau               information. Further, as stated on the
collection of business applicants'                 interprets section 704B(b)(2) to refer to             sample data collection form, applicants
LGBTQI+-owned business status                      an applicant's responses to protected                 have the right to refuse to provide this
information, in addition to requiring              demographic information, which                        information, as provided under
information on principal owners'                   includes whether the applicant is a                   comment 107(a)(18)-1.
specifically held sex/gender identity, as minority-owned business and/or a                                  The Bureau acknowledges
discussed in the section-by-section                women-owned business, and the                         commenters' arguments that applicants
analysis of § 1002.107(a)(19) below, will ethnicity, race, and sex of the                                are unlikely to respond to the inquiry
facilitate the purposes of section 1071            applicant's principal owners. This is                 about LGBTQI+ status and that therefore
and is thus exercising its authority               because these data points require                     financial institutions should not be
under section 1071 to require its                  financial institutions to request                     required to ask. However, the Bureau
collection.                                        demographic information that has no                   and other data users are unable to
                                                   bearing on the creditworthiness of an                 conduct comprehensive fair lending and
  674 Spencer Watson et al, Ctr. for LGBTQ         applicant and that financial institutions             business and community development
Economic Advancement & Research and Movement       would not be otherwise able to request                analyses without this data point, even as
Advancement Project,LGBTQ-Owned Small                                                                    applicants are individually entitled to
Businesses in 2021, 10-11 (July 2021), http://
                                                   absent  the data collection requirements
www.Igbtq-economics.org/research/lgbtq-small-      under section 1071 and the final rule as              refuse to provide it.
businesses-2021 (analyzing 2021 data from Small    a result of Regulation B's general                      Some commenters expressed concern
Business Credit Survey administered by the Federal prohibition on inquiring about the sex                that LGBTQI+-owned business status
Reserve Banks). As used in the report, the term
                                                   of an applicant or any other person in                could be detrimentally used against
"LGBTQ-owned business" refers to businesses                                                              LGBTQI+ individuals and their
where individuals who identify as lesbian, gay,    connection with a credit transaction.676
bisexual, transgender, or queer own 50 percent or  Likewise, the Bureau considers the                    businesses. As discussed in greater
more of the business. Id. at note a.               LGBTQI+-owned business status data                    detail in part VIII below, the Bureau
  675 7d. at 8-9(only 54 percent of LGBTQ-owned                                                          acknowledges that an individual
                                                   point to be protected demographic
businesses received all the Paycheck Protection                                                          person's LGBTQI+ status likely is
Program funding they applied for in 2021, and 17   information that has no bearing on an
percent received none of the funding applied for,
                                                                                                         sensitive personal information that
compared to 68 percent and 10 percent of all non-     676 86 FR 56356, 56386-87 (Oct. 8, 2021); id. at   could pose personal privacy risks as
LGBTQ owned businesses, respectively).              56501-02. See also 12 CFR 1002.5(b).                 well as other non-personal commercial




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privacy risks. Part VIII also contains a           this information. The Bureau also put                discussed in proposed comments
more comprehensive analysis of how                 forth for public comment a sample data 107(a)(20)-7 and -8 and in proposed
privacy interests may be appropriately             collection form in proposed appendix E appendix G, a financial institution may
protected. In addition, the Bureau is              that financial institutions would be able also be required to report one or more
finalizing § 1002.110(e), which prohibits          use to collect ethnicity, race, and sex              principal owners' ethnicity and race
financial institutions and third parties           information.                                        (but not sex) based on visual
from disclosing protected demographic                 The Bureau is finalizing the statutory           observation and/or surname analysis.
information except in limited                      requirement to collect principal owners' Proposed comment 107(a)(20)-1 would
circumstances.                                     ethnicity, race, and sex in                         have cross-referenced proposed
                                                   § 1002.107(a)(19). Below, the Bureau                appendix G for additional instructions.
107(a)(19) Ethnicity, Race, and Sex of             first discusses its general approach to                Proposed comment 107(a)(20)-2
Principal Owners                                                                                        would have explained that a financial
                                                   collecting principal owners' ethnicity,
   ECOA section 70413(e)(2)(G) requires            race, and sex. Second, the Bureau                   institution must inform the applicant
financial institutions to compile and              discusses finalizing its proposal to                that the financial institution shall not
maintain certain information, including collect ethnicity and race information                         discriminate on the basis of a principal
the race, sex, and ethnicity of an                 using certain aggregate categories and              owner's ethnicity, race, or sex or on
applicant's principal owners. However, disaggregated subcategories. Third, the                          whether the applicant provides that
section 1071 does not set out what                 Bureau discusses its approach to                    information. It would have also clarified
categories should be used when                     requiring the collection of sex by                  that a financial institution may combine
collecting and reporting this                      applicant self-identification (using only this non-discrimination notice with the
information. The Bureau proposed                   a free-form text field for a paper or               similar non-discrimination notices that
§ 1002.107(a)(20) to address how a                 electronic form, or by self-description             a financial institution would have been
financial institution would collect and            for applications taken orally) and                  required to provide when requesting
report the ethnicity, race, and sex of an          without the use of response categories.              minority-owned business status and
applicant's principal owners.                      Finally, the Bureau discusses its                    women-owned business status if a
   Proposed § 1002.107(a)(20) would                decision not to require collection of               financial institution had requested
have required financial institutions to            principal owners' ethnicity and race via minority-owned business status,
collect and report the ethnicity, race,            visual observation and/or surname                    women-owned business status, and/or a
and sex 677 of the applicant's principal           analysis. The Bureau has incorporated                principal owner's ethnicity, race, and
owners as well as whether this                     information from proposed appendix G                sex in the same data collection form or
information is being reported based on             into the commentary to final                        at the same time.
previously collected data pursuant to              § 1002.107(a)(19)678 and has updated a                 Proposed comment 107(a)(20)-3
proposed § 1002.107(c)(2). It would                number of cross-references.                          would  have explained how, pursuant to
have also required financial institutions                                                               proposed § 1002.111(b), financial
to report, in certain circumstances,               Proposed Rule--Collecting Ethnicity,                institutions must record applicants'
whether ethnicity and race are being               Race, and Sex, In General                           responses regarding a principal owner's
reported by the financial institution on              Proposed comment 107(a)(20)-1                    ethnicity, race, and sex pursuant to
the basis of visual observation or                 would have clarified how a financial                § 1002.107(a)(20) separate from the
surname analysis. Proposed                         institution collects ethnicity, race, and           application and accompanying
§ 1002.107(a)(20) would have required              sex information. It would have stated               information. This proposed comment
financial institutions to collect and              that unless a financial institution is               would have also provided examples of
report ethnicity, race, and sex data as            permitted to report ethnicity, race, and            how responses could be recorded
prescribed in proposed appendix G.                 sex information based on previously                 separately from the application and
Proposed appendix G would have                     collected data pursuant to proposed                 accompanying information.
included a requirement that a financial            § 1002.107(c)(2), a financial institution              Proposed comment 107(a)(20)-4
institution inform an applicant that the           must ask an applicant to report its                  would have clarified that a financial
applicant is not required to respond to            principal owners' ethnicity, race, and              institution is required to maintain
the financial institution's questions              sex for each covered application and                 procedures reasonably designed to
regarding its principal owners'                    that the financial institution must                 collect applicant-provided information
ethnicity, race, or sex and would have             permit an applicant to refuse to answer              pursuant to proposed § 1002.107(c)(1),
also included a prohibition on financial the financial institution's inquiry. It                       including the ethnicity, race, and sex of
institutions requiring applicants to               would have required financial                       an applicant's principal owners.
provide this information. Proposed                 institutions to inform the applicant that However, if a financial institution is
§ 1002.107(a)(20) would have also                  it is not required to provide the                   nonetheless unable to collect the
required that when the financial                   information. Proposed comment                        principal owners' ethnicity, race, or sex
institution requests ethnicity, race, and          107(a)(20)-1 would have further                     from  the applicant and if the financial
sex information from an applicant, the             clarified that the financial institution            institution is not required to report the
financial institution must inform the              must report the applicant's responses,               principal owners' ethnicity and race
applicant that the financial institution           its refusal to answer the inquiries, or its based on visual observation and/or
cannot discriminate on the basis of a              failure to respond to the inquiries, and            surname, the financial institution would
principal owner's ethnicity, race, or sex, explain that in certain situations,                         have been required to report that the
or on whether the applicant provides                                                                    principal owner's ethnicity, race, or sex
                                                     678 In certain instances where language in        (as applicable) is "not provided by
  877 While ECOA section 704B(e)(2)(G) uses "race, proposed appendix G and commentary to proposed      applicant."
sex, and ethnicity," the Bureau reordered them to  § 1002.107(a)(20) were substantially similar,          Proposed comment 107(a)(20)-12
"ethnicity, race, and sex" for purposes of the     language in the final regulatory text or commentary  would have clarified that a financial
proposal, so that they would appear alphabetically has been revised to improve clarity. In other
and for consistency with how they appear in        instances, language from proposed appendix G is
                                                                                                       institution is neither required nor
Regulation C. The Bureau is using the same         imported wholesale to provide clarity and            permitted to verify the ethnicity, race, or
approach for this final rule,                      streamline the rule.                                sex information that the applicant




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provides for purposes of proposed            associations, community groups,                         minority-owned and women-owned
§ 1002.107(a)(20), even if the financial     individual commenters, a software                       businesses and microbusinesses and set
institution verifies or otherwise obtains    vendor, and others. Within these general                aside funds for CDFIs, could not have
the ethnicity, race, or sex of the           comments, commenters addressed a                        happened without access to Paycheck
applicant's principal owners for other       number of issues including alignment                    Protection Program lending data,
purposes. The Bureau also solicited          with HMDA,lack of applicant                             including demographic data. Another
comment on whether it would be useful        responses, verification of applicant-                   commenter stated that the small
to expressly codify this application of      provided data, privacy issues, and                      business lending data collection is
the principle in the commentary.             concerns related to burden and cost.                    necessary to gather critical data on
   Additionally, the proposed comment        These issues, and others, are discussed                 lending beyond what is collected by the
would have explained that, if an             in turn below.679                                       SBA.
applicant refuses to respond to the             General support and concerns. The                      Some commenters emphasized that
inquiry pursuant to proposed                 Bureau received comments from                           HMDA data, which include
§ 1002.107(a)(20) or fails to respond to     lenders, trade associations, community                  demographic and socioeconomic
this inquiry, the financial institution      groups, and others regarding its                        information, have provided valuable
reports that the applicant declined to       proposal, at a general level, for                       insight on racial and income disparities
provide the information or did not           collecting information about the                        in the home mortgage lending market
respond to the inquiry (as applicable),      ethnicity, race, and sex of principal                   and have been an important tool to hold
unless the financial institution is          owners.                                                 lenders accountable as well as to
required to report ethnicity and race           Many commenters supported the                        determine how to meet unmet credit
based on visual observation and/or           Bureau's proposal and the creation of a                 needs. Several commenters also
surname analysis. Finally, the proposed      comprehensive small business lending                    emphasized that after Congress included
comment would have explained that the        database. These commenters said that                    demographic information as part of the
financial institution does not report        collecting information about the                        HMDA data collection, the number of
ethnicity, race, or sex pursuant to          ethnicity, race, and sex of small                       mortgages to people of color and people
proposed § 1002.107(a)(20) based on          business applicants' principal owners                   with modest incomes increased; these
information that the financial institution   will help address a lack of such                        commenters anticipate a similar
collects for other purposes.                 information in existing lending data;                   outcome for small business lending after
  Proposed comment 107(a)(20)-5              facilitate enforcement of fair lending                  data collected under this final rule are
would have explained that generally an       laws; and enable stakeholders to                        published.
applicant determines its principal           understand and identify needs and                          One commenter stated that the
owners and decides whether to provide        opportunities, remove barriers, and                     collection of demographic data for each
information about principal owners. It       advocate for women-owned, minority-                     of an applicant's principal owners
would have further stated that,              owned, and small businesses. Some                       would help provide the public with a
nonetheless, a financial institution may     commenters also emphasized generally                    sense of the varying percentages of
be required to report ethnicity and race     that the data disclosure would shed                     ownership by women or minorities
information based on visual observation      light on racial and gender gaps and                     above or below the 50 percent threshold
and/or surname analysis and may need         discrimination, which they noted are                    for minority-owned or women-owned
to determine if a natural person with        long-standing issues and which have                     businesses and help determine if
whom the financial institution meets in      been exacerbated by the COVID-19                        businesses with different minority
person is a principal owner. It would        pandemic. One commenter                                 ownership levels have distinct
have explained how a financial               characterized the collection of this                    borrowing experiences.
institution determines who is a              information as long overdue.                              The Bureau also received comments
principal owner in the event that the           Many commenters expressing general                   expressing generally applicable
financial institution may be required to     support for the Bureau's proposal                       concerns and requests for clarification
report ethnicity and race information        emphasized that the demographic data                    about its proposal for collecting
based on visual observation and/or           collected under the final rule must be                  ethnicity, race, and sex information.
surname. It would have also provided         robust, disaggregated, detailed, and                    Several commenters said that the
examples of how the financial                include information on underwriting                     Bureau's proposal includes duplicative
institution can make that determination      criteria and on race, gender identity,                  content in the proposed rule text,
and noted that the financial institution     sexual orientation, and disability status               commentary, and appendices, which
is not required to verify any responses      in order to enable meaningful analysis.                 they said could complicate compliance.
regarding whether a natural person is a        Several lenders and a business                        These commenters recommended that
principal owner.                             advocacy group stated that the data                     any mandatory requirements be in the
   The Bureau sought comment on those        would help lenders improve their                        final regulatory text, rather than spread
proposed general aspects of collecting       lending practices. One commenter that                   out among the regulation, commentary,
and reporting principal owners'              Congress's adjustments to the SBA's                     and appendices. Another commenter
ethnicity, race, and sex, including          Paycheck Protection Program in the                      asserted that the proposed rules for
comments on the challenges that              program's second round, to prioritize                   collecting demographic information are
financial institutions may have                                                                      too complex.
implementing them.                             679 The Bureau also received comments about              Another argued that a significant
                                             specific aspects of the Bureau's proposal for           hurdle in implementing the Bureau's
Comments Received—Collecting                 collecting and reporting principal owners'
                                                                                                     proposal is that while ECOA requires
Ethnicity, Race, and Sex,In General          ethnicity, race, and sex information, including
                                             collecting ethnicity and race using aggregate           financial institutions to be blind to
  The Bureau received comments               categories and disaggregated subcategories;             factors such as ethnicity, race, and sex
regarding the collection of ethnicity,       collecting sex; and collecting ethnicity and race via   in lending, they must collect and report
                                             visual observation and/or surname analysis in
race, and sex for applicants' principal      certain circumstances. Such comments are
                                                                                                     information on those same factors under
owners, in general, from a wide range of     discussed further below in this section-by-section      the Bureau's proposed rule (including
commenters including lenders, trade          analysis of § 1002.107(a)(19).                          by visual observation and surname




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analysis under certain circumstances).       proposed by the Bureau. Another asked                    Concerns related to specific
This commenter asserted that the             whether a financial institution is                    transactions or institutions.682 Some
Bureau's proposal is irreconcilable with permitted to reconcile discrepancies or                   commenters expressed support for, or
ECOA and cannot be reasonably               inaccuracies in self-reported ethnicity or concerns about, the collection of
implemented without compromising the race data with the use of software or                         principal owners' ethnicity, race, and
data collected. Another commenter           other relevant information.                           sex information in the context of
predicted that requiring financial             Alignment with HMDA.Some                           specific types of transaction or
institutions to collect ethnicity, race, or industry commenters urged the Bureau                   institutions.
sex information would lead to possible      to align    the  collection   of  principal               Some commenters raised general
favoritism, discrimination, and             owners' ethnicity, race, and sex                       concerns     about the proposed collection
stereotyping.(Similar concerns were         information under the final rule with                  of ethnicity, race, and sex information
raised specifically with respect to         the collection of such information for                by small banks or community banks. A
collection of ethnicity and race             mortgage applicants under Regulation C, few commenters said that requesting
information by visual observation and/       whether exactly or to the greatest extent ethnicity, race, and sex information has
                                                                                                        potential to negatively impact their
or surname analysis; these commenters        possible. One commenter also suggested the
are discussed separately below.)                                                                  relationships       with their customers. One
                                            alignment with existing Regulation B,
  One commenter asked the Bureau to          which also requires the collection of                stated that such inquiries could make
clarify how a financial institution                                                                customers distrustful of their banks and
                                            certain demographic information for
should report an applicant's principal                                                            raise   privacy concerns, and urged the
                                            certain mortgages.681 These commenters Bureau consider
owners' ethnicity, race, and sex                                                                              to              the impact that the
                                                                         between the
information if a representative of a small said that consistency                                   collection of such information may have
business applicant states they need to      HMDA and section 1071 data                             on the relationship-based banking
check with the principal owners for         collections would reduce confusion for                 model of community banks.
                                            financial institutions and applicants,                    A number of commenters, including
such information, but the application is
withdrawn or declined before the            facilitate   efficient data    collection    such      many agricultural lenders, expressed
information is provided. The                as by allowing data to be collected only general support for the collection of
commenter stated that because               once for applications covered by both                  demographic data. One commenter
borrowers may apply to many lenders         HMDA and section 1071, facilitate                     stated that the proposed collection of
for a loan, reporting on withdrawn          compliance, reduce burden, and make                    demographic information would help
applications would skew collected loan      the  collected data more usable across                reveal and prevent unfair agricultural
data. The commenter also asked for          regulations.                                           lending practices. Other commenters
clarification about how to report under        Several commenters identified issues stated support for demographic data
similar circumstances, where an             that could arise for applications                      collection, provided that the rule's
application has been approved, but still reportable under both section 1071 and                    definition of small business is tailored
no information has been provided. This HMDA,if the data collection                                for the agricultural credit context. One
commenter suggested the Bureau              requirements under the two regulatory                  commenter expressed concern about the
provide options for a financial             regimes did not match. They said that                 burden for collecting and reporting
institution to report that an applicant     financial institutions could potentially               demographic information for
"declined to answer" for applicants that be required to collect data using                         agricultural lenders and farmers.
specifically refused to provide             different forms and to have systems                       Some commenters emphasized
responses and "not available" for other     capable of maintaining separate sets of                particular difficulties for collecting
circumstances, including withdrawn          data for the same transaction under the                ethnicity, race, and sex information for
applications or applicant non-              Bureau's proposal. Some also said that                 credit applications taken in retail
responsiveness.                             applicant confusion about the                          environments (also referred to as "point
  Another commenter suggested that          differences between the two regimes                    of sale" applications/transactions).
the Bureau should collect demographic        may reduce applicants' willingness to                These commenters noted that credit
data for "applicants," which it              provide the requested information.                    applications taken in retail store
characterized as the natural persons        (Commenters more specific concerns                     environments differ from those typically
completing the application. This            about how overlapping data collection                 taken at banks because customers expect
commenter argued that such                  obligations would work are discussed in speed and efficiency in the application
information would further the fair           more detail below.) Some commenters                   process, and expressed their concern
lending purposes of section 1071,           generally urged the Bureau to either                  that the Bureau's proposal would add
because loan applicants may be subject      align the HMDA and section 1071 data                   complexity and length to application
to different treatment based on factors     collection requirements or to exempt                   processes, due in part to detailed
such as their ethnicity, race, or gender,   loans from one regime that are                         questions about ethnicity, race, and sex.
citing a study finding that prospective     reportable under the other to avoid such
loan applicants were subject to             issues.
                                                                                                     681 The Bureau received a number of comments


differential treatment on the basis of                                                            responding to the Bureau's proposal regarding the
                                                                                                  collection of protected demographic information
their race and gender in the pre-             B81 Under existing Regulation B, a creditor is       vis-a-vis certain types of institutions and
application stage. 680                      required to collect applicant ethnicity, race, sex,   transactions, many of which are discussed in the
  An industry commenter asked                marital status, and age information for an           section-by-section analyses of § 1002.104 (covered
whether a financial institution could       application for credit primarily for the purchase or  transactions and excluded transactions), § 1002.105
                                            refinancing of a dwelling occupied or to be           (covered financial institutions and exempt
collect demographic information at a        occupied by the applicant as a principal residence,   institutions), and § 1002.107(c)(time and manner of
greater level of specificity than            where the extension of credit will be secured by the collection). The Bureau also received comments on
                                                  dwelling. 12 CFR 1002.13(a). Regulation B provides      specific aspects of the Bureau's proposal to collect
  686Nat'l Cmty. Reinvestment Coal., Racial and   that the ethnicity and race information shall be        principal owners' ethnicity, race, and sex
Gender Mystery Shopping for Entrepreneurial       requested either by using specified aggregate           information, in the context of specific types of
Loans:Preliminary Overview (2020), https://       ethnicity and race categories, or the aggregate and     institutions and transactions. See the Bureau's
ncrc.org/wp-content/uploads/2020/02/NCRC-         disaggregated ethnicity and race categories set forth   discussion of such comments in the referenced
Mytery-Sh opping-Ra ce-and-Gender-v8.pdf.         under Regulation C. Id.                                 parts of this preamble for more detail.




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These commenters also expressed                          encounters difficulties in meeting the           Privacy. Several industry commenters
concerns about having retail store                       HMDA reporting requirements because           stated that small business customers
associates ask for this information.                     mortgage loan applicants are reluctant        may find the collection of protected
Commenters said that many retailers                      to provide demographic information            demographic information that could
may use oral, interview-style, in-store                  and it anticipates similar reactions from     become public to be an invasion of
application processes, and that retail                   small businesses. Other commenters            privacy. They generally expressed
store associates do not have the training                argued that low demographic response          concern that such information could be
to make such inquiries or handle                         rates in the Paycheck Protection              used to re-identify borrowers, which
customer questions or reactions. Several                 Program indicates that most small             could in turn harm the reputation or
commenters also stated that small                        business applicants will likely decline       image of a small business applicant. A
business applicants may feel                             or fail to provide demographic                bank said this concern is particularly
uncomfortable providing ethnicity, race,                 information. Thus, some commenters            salient in small communities, and that
and sex information in public retail                     said, records with missing demographic        if public information is used to
spaces. Another commenter predicted                      data will likely need to be either            determine the identities of a bank's
that the majority of small business                      excluded from fair lending analyses or        customers and the pricing terms offered
credit applications submitted at the                     data users will have to use proxies for       to them, it could result in a competitive
point of sale would lack demographic                     the missing information, asserting that       disadvantage for the bank versus other
information. Some of these commenters                    this outcome calls into question the          lenders.
also urged the Bureau to exempt private                  benefits of the data collection versus the       Burden and costs for collecting
label and co-branded credit                              costs. Another commenter said that the        ethnicity, race, and sex information.
applications, along with other types of                  high number of applications for small         Several industry commenters raised
credit originated at or facilitated                      business credit made online, and              concerns about the burden or
through retailers such as revolving lines                situations where the person providing         compliance costs for financial
of credit and installment loans                          information for a given application may       institutions associated collecting
point of sale credit), from the rule's                   be one of several owners or a company         principal owners' ethnicity, race, and
requirements in various ways—such as                     officer and not an owner themselves,          sex information under the proposal.
by exempting all such applications, or                   may also lead to a high percentage of         Other commenters raised similar
those for lines of credit below $50,000,                 applicants who do not provide                 concerns in the context of specific types
from the requirement to collect                          responses. One commenter asserted that        of transactions or institutions, or related
demographic information.                                 small business owners may react               to specific aspects of the Bureau's
  A group of trade organizations stated                  negatively to the amount of paperwork         proposal for collecting this information,
                                                         associated with this rule's data              which are discussed in the relevant
that insurance premium finance
                                                         collection requirements and as a result       parts of this section-by-section analysis.
transactions should not be included                                                                       One commenter expressed concern
within the scope of the final rule, in part              decide not to provide their principal
                                                         owners' information. Finally, a               that financial institutions may need to
because State insurance law generally                                                                  increase the prices and fees for credit to
prohibits or discourages insurance                       commenter suggested that the Bureau
                                                         require demographic information to be         cover increased compliance costs
agents from collecting information about                                                               related to the collection and storage of
race, religion, national origin, or                      collected after a credit decision has been
                                                         made, rather than before.                     ethnicity, race, and sex information.
ethnicity of an insured business's                          Verification. Several industry             Another stated that collecting principal
owners on behalf of lenders, and                         commenters and a women's business             owners' ethnicity, race, and sex
insurers do not collect such information                 advocacy group argued that financial          information would require online
as a result.                                             institutions should not be required or        lenders to make system changes, which
  Several other trade associations urged                 permitted to verify applicant-provided        it said would be different from those
the Bureau to clarify how the rule's data                data about a principal owner's ethnicity,     needed by traditional lenders. This
collection requirements apply to                         race, or sex. One commenter suggested         commenter urged the Bureau to allow
indirect vehicle finance transactions.                   that the Bureau should determine if           lenders to report aggregate, as opposed
Beyond generally urging the Bureau to                    there are ways for it to verify if reported   to application level, data to reduce this
exempt such transactions from the final                  data are accurate and correct. (Similar       burden. Another commenter said that
rule, two trade associations stated a                    comments specifically regarding               because does not currently collect
survey of their automobile and truck                     collection of information via visual          ethnicity information currently and its
dealer members reflected concerns                        observation or surname are discussed in       core processing system does not include
about training employees to collect                      more detail below.)                           a field for this information, it would
ethnicity, race, and sex information,                      Reduced demand for traditional              need to collect this data field manually.
particularly with respect to                             credit. Several industry commenters              One commenter stated that collecting
implementing the Bureau's proposed                       asserted that the collection of principal     information for up to four principal
visual observation and surname data                      owners' protected demographic                 owners as proposed would be
collection requirement.                                  information could potentially make            burdensome for both financial
  Lack of applicant responses. Several                   borrowing from traditional lenders less       institutions and applicants. A lender
commenters raised concerns about a                       attractive for small businesses due to        said that reporting such information for
potential lack of applicant responses to                 applicant discomfort or objections to         all principal owners would take a large
the proposed demographic information                     inquiries for such information. One           amount of space on its small business
questions.683 A bank stated that it                      predicted that applicants may, as a           lending application register. That
                                                         result, turn to credit cards, payday          commenter also suggested that the
  M3 A number of commenters also expressed
                                                         loans, or nontraditional online financing     Bureau require demographic
concerns about data quality in the specific context                                                    information for only one principal
of their comments about the Bureau's proposal to         for their credit needs.
require financial institutions to collect at least one                                                 owner instead of all principal owners,
principal owners' race and ethnicity information         certain circumstances. These comments are     asserting that this would not impact the
via visual observation and/or surname under              discussed in more detail below.               quality of the data because the




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applicant's minority-owned and                 government. Generally, these                   Some commenters suggested that
women-owned business statuses would            commenters said that applicants should       instead of requiring financial
still be collected.                            be provided with a unique identifier,        institutions to collect data, the Bureau
  In contrast, another lender did not          either by the Bureau or the financial        should coordinate with other
anticipate incurring significant costs         institutions, that could be used to match    government agencies, like the Internal
related to the collection of ethnicity,        applicant demographic information            Revenue Service and the U.S. Census
race, and sex information because it           with loan information. Several               Bureau, which already collect
already gathers such information or            commenters said that the financial           demographic and other data on small
similar information for other small            institution should also be given the         businesses, to avoid burden to financial
business lending programs and funding          ability to match its records with the        institutions and which would result in
opportunities such as the SBA's 7(a)           central database, to enable their internal   the Bureau having better data to use for
Loan Program; the Paycheck Protection          fair lending compliance monitoring           analyses. One commenter suggested that
Program; the Wells Fargo Diverse               efforts. Some commenters also                the Bureau should use the demographic
Community Capital Program; and the             suggested the Bureau coordinate with         analysis approach being used by the
CDFI Fund. The commenter stated that           other Federal agencies, such as the SBA,     U.S. Census Bureau and develop
adjusting to section 1071 data collection      U.S. Department of the Treasury,             educational materials for financial
requirements will primarily entail             Internal Revenue Service, or the U.S.        institutions about the methodology.
updating software, compliance training,        Census Bureau, to develop the database,      Another commenter suggested the
and updating materials. The commenter          gather information for other data points,    Bureau buy information from Google or
anticipated minimal ongoing costs that         or purge records as necessary.               Facebook.
will be considered normal costs of doing         Some of these commenters stated that          Applicant and financial institution
business and said it does not plan on          direct reporting to the Bureau would         education and guidance. A range of
raising fees or restricting access to credit   avoid the need for financial institutions    commenters urged the Bureau to
as a result. The commenter also urged          to collect ethnicity and race information    provide education and guidance about
the Bureau to coordinate with the CDFI         via visual observation or surname            the final rule for applicants, the public,
Fund to streamline section 1071                analysis. These commenters also stated       and financial institutions. The
reporting requirements.                        that this would resolve privacy concerns     commenters generally stated that the
  Direct reporting to the Bureau or third      applicants may have in providing             Bureau should engage in an education
parties, or use of other data sources. A       demographic information to their             and/or media campaign to explain the
number of industry commenters                  lenders. Commenters also asserted that       final rule and its purposes to develop
suggested that protected demographic           direct reporting would inform                trust with small business communities
information should be self-reported by         applicants of the Bureau's role in the       and comfort for applicants by
applicants directly to a central database      data collection, promote applicant self-     explaining the role of the data collection
or registry, whether maintained by the         reporting of demographic information,        for facilitating fair lending and to
Bureau or by third parties.                    and likely increase response rates           encourage small businesses to provide
   Some commenters urged the Bureau            because it would provide applicants          their protected demographic
to work with Secretaries of State so that      with assurances of confidentiality and       information.
demographic data generally or                  because applicants would not be                 Many of these commenters also
information about a business's minority-       concerned that financial institutions        suggested that the Bureau develop
owned, women-owned, and/or                     would improperly use the data.               guidance and materials such as
LGBTQI+-owned business statuses are              Several commenters argued that direct      frequently asked questions and
voluntarily registered at the same time        reporting to the Bureau would have           factsheets to explain the rule and its
that a small business registers with its       other benefits for financial institutions,   purposes. A few commenters suggested
State. One commenter stated that this          including lessening or eliminating the       developing materials for applicants
would allow small businesses to                risk of inappropriate use of                 regarding the ethnicity, race, and sex
provide information to a trusted entity        demographic data by financial                data collection inquiries, such as how to
and lenders could then verify                  institutions; reducing a financial           respond if a principal owner is multi-
demographic data with the relevant             institutions' compliance costs and           ethnic or multi-racial, so applicants can
State—thus avoiding delays and                 burden; avoiding the need for financial      accurately respond and financial
confusion from applicants during the           institutions to establish firewalls;         institution employees are not asked to
loan application process.                      lowering litigation and regulatory risk;     interpret or clarify such requirements.
   Other commenters suggested that the         reducing the risk of reputational harm         Commenters also recommended
Bureau provide ways for small                  for asking for sensitive data; and           developing guidance materials for
businesses to report their demographic         lowering barriers to entry in financial      financial institutions to use in
information directly to the Bureau.            services. Commenters also stated that        explaining the final rule, including
Several suggested the Bureau develop a         direct reporting would be more efficient     training resources and disclosures to
form for the collection of ethnicity, race,    for applicants because information           explain the reasons and purpose for the
and sex information that could be sent         would be maintained in one place and         data collection. They also suggested that
directly to the Bureau. Others suggested       could be updated as needed, as opposed       such materials be translated into the top
that the Bureau establish a tool, portal,      to being provided for each application.      ten languages spoken in the United
or online system for applicants to input       Commenters further suggested that the        States according to the U.S. Census
their demographic information or to            Bureau would benefit from receiving          Bureau.
certify their desire to not provide            real-time data on applicant
information. One commenter stated that         demographics, which they claimed             Final Rule—Collecting Ethnicity, Race,
the regulatory trend has shifted from          would simplify and enhance analysis          and Sex, in General
requiring collection and reporting of          and publication and would allow the            For the reasons set forth herein, the
beneficial ownership information by            Bureau to directly manage the                Bureau is finalizing the requirement to
financial institutions to having small         collection, storage, and standardization     collect principal owners' ethnicity, race,
businesses report directly to the              of the data.                                 and sex with certain changes. Among




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other things, the Bureau is: (1) finalizing The Bureau has also adjusted the           fulfilled, for reasons discussed further
its proposed requirement for financial      commentary accompanying final              below.
institutions to collect ethnicity and race § 1002.107(a)(19) to reflect changes to        Final comment 107(a)(19)-5 (based on
information using aggregate categories      the regulatory text described above, as     proposed comment 107(a)(20)-3)
and disaggregated subcategories, using       well as the addition of LGBTQI+-owned provides that a financial institution
the specific categories and subcategories business status where women- and              must maintain the record of an
in the proposal;(2) finalizing the           minority-owned business statuses are      applicant's responses to inquiries
requirement for financial institutions to mentioned.                                    pursuant to § 1002.107(a)(19) separate
collect information about a principal         Final comment 107(a)(19)-1 generally from the application and accompanying
owner's sex, which generally will           clarifies how a financial institution      information, and cross-references final
permit an applicant to respond to an         must ask an applicant for its principal   § 1002.111(b) and comment 111(b)-1.
inquiry about the principal owner's         owners' ethnicity, race, and sex. The         Final comment 107(a)(19)-6 (based on
"sex/gender" through free-form text or      financial institution must permit an        proposed comment 107(a)(20)-4)
self-description for oral applications;     applicant to refuse to answer the          addresses reporting when information
and (3) not finalizing its proposed         financial institution's inquiries and      about a principal owner's ethnicity,
requirement to collect and report at least must inform the applicant that it is not    race, or sex is not provided by an
one principal owner's ethnicity and race required to provide the information. It       applicant. While a financial institution
information on the basis of visual          also establishes how a financial            must maintain procedures reasonably
observation and/or surname analysis         institution reports the applicant's        designed   to collect applicant-provided
under certain circumstances. These          responses to its inquiries about           data, the comment acknowledges that
three specific aspects of the final rule    ethnicity, race, and sex.                  there may be circumstances under
are each discussed in detail below.           Final comment 107(a)(19)-2                which an applicant does not provide
   Final § 1002.107(a)(19)(proposed as      (incorporating instruction 3 from          ethnicity,  race, or sex information. The
§ 1002.107(a)(20)) requires financial                                                  final comment has also been updated to
                                            proposed appendix G)explains that a
institutions to collect and report          financial institution must provide an      include explanatory examples,
information about the ethnicity, race,                                                 including examples from proposed
                                            applicant with the definition of
and sex of small business applicants'                                                  appendix G (instruction 13).
                                            principal owner in final § 1002.102(o)        Final comment 107(a)(19)-7 (adapted
principal owners. In line with the          and that a financial institution satisfies
proposal, final § 1002.107(a)(19)                                                      from instruction 12 in proposed
                                            the requirement if it provides the         appendix G) addresses how a financial
provides that when requesting such
                                            definition as set forth in the sample data institution reports an applicant's
information from an applicant, the
                                            collection form in final appendix E.       response that it declines to provide
financial institution must inform the
                                              Final comment 107(a)(19)-3               information about a principal owner's
applicant that it cannot discriminate on
the basis of a principal owner's            (incorporating instruction 2 from          ethnicity, race, or sex.
                                            proposed appendix G)explains that a           Final comment 107(a)(19)-8 (adapted
ethnicity, race, or sex, or on the basis of
whether the applicant provides this         financial institution may combine on       from instruction 16 in proposed
information (non-discrimination notice). the same paper or electronic data             appendix G) addresses how a financial
   The final rule does not require a        collection form the questions about a      institution reports an applicant's
financial institution to report whether     principal owner's ethnicity, race, and     conflicting responses for its principal
the reported ethnicity, race, and sex       sex with the number of the applicant's     owner's ethnicity, race, or sex
information was based on previously         principal owners pursuant to               information, when the applicant selects
collected data (as permitted by proposed § 1002.107(a)(20) and the applicant's         a response option indicating it does not
comment 107(c)(2)-7). This information minority-owned, women-owned, and                 wish to provide the information but also
would have provided additional context LGBTQI+-owned business statuses                 selects an answer option providing a
for the Bureau and others when              pursuant to § 1002.107(a)(18).             substantive response to the question at
application method was reported as            Final comment 107(a)(19)-4 (based on issue.
being other than in-person but ethnicity proposed comment 107(a)(20)-2)                   Final comment 107(a)(19)-9 (based on
or race information were reported as        explains that the non-discrimination        proposed comment 107(a)(20)-12)
collected through visual observation or     notice required when a financial           explains that a financial institution
surname. Because the Bureau has             institution requests a principal owner's reports principal owners' ethnicity,
decided not to require the use of visual    ethnicity, race, and sex may be            race, and sex information as provided
observation and surname analysis in the combined with the non-discrimination           by the applicant, even if the financial
final rule, however, the Bureau does not notice that is required when requesting       institution verifies or otherwise obtains
believe that capturing information about information about an applicant's              such information for other purposes.
data reuse is still necessary and thus has minority-owned, women-owned, and            This comment no longer references
removed that requirement from final         LGBTQI+-owned business statuses,           collection of ethnicity and race via
§ 1002.107(a)(19) to streamline and          when such information is collected on     visual observation or surname.
facilitate compliance.                      the same form or at the same time. The        Final comment 107(a)(19)-10
   The Bureau acknowledges                  comment has been updated to reflect the (substantially adapted from instruction
commenters' concerns about repetition       addition of LGBTQI+ business status to     25 of proposed appendix G and
across the rule's regulatory text,          final § 1002.107(a)(18), and to state that proposed comments 107(a)(20)-6.iv,
commentary, and appendices, and has         a financial institution must (as opposed —7.iv, and —8) addresses how to report
made a number of changes to reduce          to "may" as proposed) inform an            ethnicity, race, and sex information for
duplication and otherwise streamline        applicant that Federal law requires it to an applicant with fewer than four
this aspect of the final rule to facilitate ask for the principal owners' ethnicity,    principal owners.
compliance. In particular, the Bureau       race, and sex/gender to help ensure that      Final comment 107(a)(19)-11
has removed proposed appendix G,            all small business applicants for credit   (substantially adapted from instruction
relocating unique content into the          are treated fairly and that communities' 26 of proposed appendix G)explains
commentary for final § 1002.107(a)(19). small business credit needs are being          that a financial institution reports one or




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 more principal owners' ethnicity, race,            applicant is a minority-owned, women-        against the improper use of protected
or sex information based on previously              owned, and/or LGBTQI+-owned small            demographic information, including the
collected data under § 1002.107(d), the             business under final § 1002.107(a)(18),      firewall requirement in final § 1002.108,
financial institution does not need to              the collection of principal owners'          the provision restricting re-disclosure of
collect any additional ethnicity, race, or ethnicity, race, and sex information will             protected demographic information in
sex information for other principal                 help the Bureau and others to                final § 1002.110(e), and the
owners (if any).                                    understand lending market dynamics at        recordkeeping requirements in final
   Final comment 107(a)(19)-12                      different levels of ownership by             § 1002.111(b).
(substantially adapted from instruction             individuals of certain ethnicities, races,      Regarding a commenter's request for
24 of proposed appendix G)explains                  and/or sexual or gender population           clarification as to how a financial
that a guarantor's ethnicity, race, and             subgroups. Transparency will not only        institution should report these data if
sex is not collected or reported unless             help facilitate fair lending enforcement,    responses were provided by an
they are also a principal owner of the              but reduce uncertainty for financial         applicant's representative before action
applicant.                                          institutions and help them to identify       is taken on the application, or that an
   General support and concerns. The                areas of unmet credit demand into            applicant declined to provide the
Bureau agrees with commenters that the which they could consider increasing                      requested information. As discussed
statutorily required collection of                  product availability. In turn, small         above, final comments 107(a)(19)-1, —6,
detailed ethnicity, race, and sex                   business owners will benefit from            and —7 clarify the various reporting
information about small business                    increased credit availability. The Bureau    options for reporting data collected
applicants' principal owners will                   believes that other information about a      pursuant to final § 1002.107(a)(19):
facilitate the stated purposes of section           covered application is still important for   financial institutions will be required to
1071 to assist in the enforcement of fair fulfilling section 1071's statutory                    report an applicant's responses to the
lending laws and enable communities,                purposes even when the applicant has         ethnicity, race, and sex inquiries; their
governmental entities, and creditors to             declined to provide any protected            selection of a response that they decline
understand and identify needs and                   demographic information. Such                to provide information (e.g., by selecting
opportunities of women-owned,                       information can still provide insight        an answer option of "I do not wish to
 minority-owned, and small                          into lending to small businesses             provide this information" or similar);
businesses.684 The collection of                    pursuant to section 1071's business and      and a response of"not provided by the
ethnicity, race, and sex information in             community development purpose.               applicant" if an applicant does not
the HMDA context under Regulation C, Moreover, the lack of demographic                           provide any response. The final rule
for example, is essential to the Bureau's information for a covered application                  also requires an applicant to report the
efforts to monitor financial institutions           itself could be important information for    action taken on an application under
for fair lending compliance in the home the Bureau and others to assess                          § 1002.107(a)(9), including whether
 mortgage market and to efforts by the              potential reasons for and solutions to       originated or if the application was
Bureau, policymakers, and others to                 correct such information gaps in the         withdrawn by the applicant or is
identify trends, gaps, and potential                future.                                      incomplete. Given these provisions, the
solutions for addressing any issues                    Regarding the comment its proposed        Bureau does not believe it is necessary
uncovered by the data. Recent changes               rules for collecting demographic data        to include an option for a financial
to Regulation C to collect disaggregated            are too complex, and comments that           institution to indicate that the applicant
ethnicity and race data have also added suggested streamlining these provisions,                 or a principal owner was not available,
to the Bureau's and others'                         the Bureau notes that it is not finalizing   as suggested by the commenter.
understanding of the home mortgage                  the proposed requirement to collect             The Bureau is not requiring the
 marketplace.685 The Bureau believes                ethnicity and race via visual observation    collection of demographic information
that the collection of principal owners'            or surname data. As a result, the Bureau     for a natural person completing an
ethnicity, race, and sex information will has removed that provision, and related                application on behalf of a small
similarly provide important insights                requirements, from the final rule. The       business, as suggested by a commenter.
into the small business lending market              Bureau has also moved all instructions       ECOA section 70413(e)(2)(G) specifically
and help enable the identification of               and information about collecting and         requires financial institutions to
 potential discriminatory lending.                  reporting ethnicity, race, and sex           compile and maintain information about
   The Bureau also agrees that in                   information to the commentary for final      the ethnicity, race, and sex of "the
combination with other collected                    § 1002.107(a)(19). The Bureau believes       principal owners of the business." The
information such as the number of an                these changes streamline and simplify        statute does not require financial
applicant's principal owners under final the ethnicity, race, and sex data                       institutions to collect such information
§ 1002.107(a)(20) and whether the                   collection requirements, which will          for any other individuals. The Bureau
                                                    facilitate financial institutions'           acknowledges the possibility of
  ses See ECOA section 704B(a).                     compliance with the final rule.              discrimination occurring against an
  685 In 2015, the Bureau issued a final rule (2015    Regarding a commenter's assertion         applicant's non-principal owner
HMDA Rule) amending Regulation C to incorporate     that this data collection requirement        representative, but in light of the
several changes made under the Dodd-Frank Wall
Street Reform and Consumer Protection Act. See 80   conflicts with ECOA,the Bureau notes         statutory directive to collect
FR 66128 (Oct. 28, 2015). One of the changes that   that section 1071 amends ECOA to             demographic information about the
was implemented was the collection of mortgage      require the collection of the race, sex,     applicant' principal owners, and the
applicants' race and ethnicity information using    and ethnicity of the principal owners of     associated complexity that adding such
aggregate categories and disaggregated
subcategories. Id. This data has been used by the   small businesses. Moreover,ECOA also         a requirement could involve, the Bureau
Bureau, for example, to examine how home buying     provides that inquiries to collect data      does not believe that it would be
experiences differ among Asian American and         under section 1071 are not considered        appropriate to adopt such a requirement
Pacific Islander subgroups. See CFPB, Data Point:   discrimination under the statute.686 The     at this time. The Bureau may, however,
Asian American and Pacific Islanders in the
Mortgage Market(July 2021), https://                final rule also includes protections         revisit at a later date whether the
files.consumerfinance.gov1f/documents/cfpb_aapi-                                                 collection of such information would
 mortgage-market report_2021-07.pdf                6s615 U.S.C. 1691(b)(5).                      aid in fulfilling the purposes of section




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1071 in the future as it enhances its        rule due to, in part, to commenters'         owners' ethnicity, race, and sex
understanding of the small business          concerns about potentially duplicative       information for agricultural credit
credit marketplace.                          and/or inconsistent requirements for         transactions will help facilitate the
   Regarding a commenter's inquiry as to     reporting ethnicity, race, and sex. See      Bureau's and others' understanding of
whether a financial institution could        the section-by-section analysis of           the agricultural credit sector of the small
collect more specific demographic data       § 1002.104(b)(2) for additional              business lending marketplace and will
than required by the rule. Final             information.                                 help to further the enforcement of fair
§ 1002.107(a)(19) establishes that              Concerns related to specific              lending laws for that part of the market.
financial institutions must inquire about    transactions or institutions. The Bureau     The Bureau also anticipates that the
applicants' principal owners' ethnicity,     is not adopting special rules for the        collection of this information may
race, and sex and must permit                collection of protected demographic          increase access to responsible and
applicants to provide certain specified      information for particular types of          affordable agricultural credit for a
responses; certain responses include the     transactions or lenders. The Bureau          diverse cross-section of the population,
option of providing additional               believes it is important to collect          by helping creditors and others identify
information via free-form text field.        nationwide, comprehensive ethnicity,         needs of and opportunities for small
   One commenter asked whether a             race, and sex data for all covered           farms, including those that are minority-,
financial institution can reconcile          applications to fulfill the purposes of      women-, and/or LGBTQI+-owned.
discrepancies or inaccuracies in             section 1071. However, the Bureau               Likewise, the Bureau is not adopting
applicants' self-reported ethnicity or       acknowledges commenters' concerns            separate rules or exemptions for credit
race data. Final comment 107(a)(19)-1        about the potential challenges in            applications taken at point of sale. As
provides that the financial institution is   collecting such information in certain       explained further in the section-by-
not permitted to report a principal          situations or for certain types of lenders   section analysis of § 1002.107(c),
owner's ethnicity, race, or sex on any       and appreciates, in particular, the          regarding the time and manner of
basis other than applicant-provided          importance of trust in furthering            collection, the Bureau generally believes
data, which may include previously           important relationships between small        that the same rules should apply across
provided data pursuant to final              businesses and their local banks. For        all covered credit transactions and
§ 1002.107(d). As a result, financial        this reason, among others, the Bureau is     covered financial institutions, and that
institutions must report applicant           not finalizing its proposal to collect       the arguments made by point of sale
responses as provided by the applicant,      ethnicity and race information via           providers are not unique in nature or
even if the institution perceives possible   visual observation or surname analysis,      can be addressed through other means.
discrepancies or inaccuracies.               as explained further in the relevant part    Likewise, the Bureau does not believe
   Alignment with HMDA. The Bureau           of this section-by-section analysis          there should be special considerations
generally agrees with commenters that        below.                                       for the collection of ethnicity, race, and
some degree of alignment with the               To help applicants' understanding of      sex information for private label credit,
HMDA data collection requirements            the section 1071 data collection, the        for which commenters raised similar
under Regulation C would promote             Bureau has made edits to the sample          concerns.
consistency and may reduce potential         data collection form in final appendix E        Because the Bureau is exempting
confusion for financial institutions,        to include sample text that explains the     insurance premium financing
applicants, and data users. However,the      purpose of the rulemaking and clarifies      transactions from coverage under the
Bureau does not believe that the             that the inquiries on the form for an        final rule in § 1002.104(b)(3),
collection of data as to small business      applicant's status as a minority-owned,      commenters' concerns summarized
owners should necessarily be the same        women-owned, and/or LGBTQI+-owned            above about collecting protected
in each aspect as it is for home mortgage    small business and its principal owners'     demographic information for such
applicants. Although the collection of       ethnicity, race, and sex information are     transactions are rendered moot.
ethnicity, race, and sex data in both        required under Federal law. The sample          With regard to comments raising
contexts serves related fair lending         form, of course, continues to note that      concerns about collecting ethnicity,
purposes, Regulation C and this final        applicants are not required to provide       race, and sex information in the context
rule are authorized under different          any of the requested demographic             of indirect auto finance transactions, the
statutes and for different markets.          information. The Bureau also                 Bureau refers readers to its discussion at
Further, both Regulation C and this final    anticipates developing materials to help     the section-by-section analysis of
rule were developed in consideration of      small businesses understand the rule, as     § 1002.109(a)(3). As discussed there, the
the information available to the Bureau      described at the end of part I above.        Bureau believes that auto dealers are
at the time of each rulemaking,                 The Bureau does not believe that          generally unlikely to be collecting 1071
including comments received in               agricultural credit transactions should      data on behalf of covered financial
response to the Bureau's proposals and       be viewed or treated differently from        institutions because they are often the
current research and standards as to the     other covered transactions under the         last entity with authority to set the
measurement of such factors. As              final rule, with regard to the collection    material credit terms of a covered credit
demographic data collection best             of principal owners' ethnicity, race, or     transaction. But even in situations
practices and standards evolve, the          sex information. As explained in the         where dealers are acting as conduits and
Bureau considers such information in         section-by-section analysis of               are thus collecting information on
its decision-making. The Bureau refers       § 1002.104, generally there is               behalf of another financial institution,
readers to the relevant parts of this        insufficient information available about     comment 5(a)(2)-3 to the Board's
section-by-section analysis for              agricultural credit markets;                 Regulation B states that persons such as
discussion of its rationale for its          nevertheless, there is evidence that         loan brokers and correspondents do not
decisions on the collection of ethnicity,    these markets are affected by historical     violate ECOA or Regulation B if they
race, and sex.                               and/or continuing discrimination.            collect information that they are
   The Bureau notes that it is exempting     Moreover, farms are an important means       otherwise prohibited from collecting,
HMDA-reportable transactions from the        of capital formation for families and        where the purpose of collecting the
data collection requirements of this final   communities. Collecting principal            information is to provide it to a creditor




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that is subject to HMDA or another                   the small business lending data            owners. As discussed in greater detail in
Federal or State statute or regulation               collection and its purposes, which may     part VIII below, after receiving a full
requiring data collection.687 The Bureau             impact their willingness to provide        year of reported data, the Bureau will
also does not believe that any                       demographic information. Further, as       assess privacy risks associated with the
specialized knowledge is necessary to                discussed in the section-by-section        data and make modification and
collect 1071 data if dealers do collect              analysis of final appendix E, the sample deletion decisions to the public
such data.                                           data collection form will also include     application-level dataset. The Bureau
  Lack of applicant responses. The                   language that explains, in plain           takes the privacy of such information
Bureau acknowledges concerns raised                  language, the purpose for the collection seriously and will be making
by commenters about the potential for                of demographic information under the       appropriate modifications and deletions
low applicant response rates to the                  final rule. At this time, the Bureau       to any data before making it public, and
required inquiries for information about             believes that these measures will          intends to continue engage with the
their principal owners' ethnicity, race,             improve applicant response rates to the    public about how to mitigate privacy
and sex. As discussed in the NPRM,                   protected demographic information          risk.
such concerns motivated the Bureau's                 inquiries under the final rule. However,      With respect to concerns that small
proposal to require financial institutions           the Bureau will continue to assess         business applicants may find the
to collect at least one principal owner's            whether and what further measures may collection of protected demographic
ethnicity and race information through               be needed to improve response rates.       information to be an invasion of
visual observation and/or surname                       The Bureau's decision not to change     privacy, in amending ECOA to require
analysis under certain circumstances.                the timing for collecting protected        the collection of an applicant's principal
The Bureau explained that the similar                demographic information to after a         owners' ethnicity, race, and sex
data collection requirement for the                  credit decision has been made, as          information, Congress implicitly
HMDA data collection has been an                     suggested by a commenter, is discussed determined that the benefits of
important tool in supporting response                in the section-by-section analysis of      collecting such information outweigh
rates.                                               § 1002.107(c).                             any invasion of privacy concerns.
  As discussed in more detail regarding                 Verification. Commenters urged the      Nevertheless, the Bureau notes that it
the Bureau's proposal that financial                 Bureau to provide that financial           has included sample language in the
institutions collect principal owners'               institutions are not permitted or          sample data collection form in appendix
ethnicity and race via visual observation            required to verify the ethnicity, race, or E explaining the purpose of the data
or surname in certain circumstances, the             sex of a principal owner and to codify     collection, and, as noted, it anticipates
Bureau believes that such a requirement              this requirement in the final rule. The    developing materials to further help
could help support response rates in the             Bureau agrees. Final comment               small businesses understand the
right context. However, at this time, the            107(a)(19)-9 clarifies that a financial    purposes of the rule. In addition, the
Bureau has elected to address concerns               institution may only report an             final rule provides safeguards for
about applicants' potential                          applicant's responses as to its principal applicants' protected demographic
unwillingness to voluntarily provide                 owners' ethnicity, race, and sex, even if information by requiring that such
their principal owners' ethnicity, race,             it verifies or otherwise obtains the       information be kept separately from
and sex information by providing                     information for other purposes.            their applications and accompanying
further clarification as to the                         Reduced demand for traditional          information under § 1002.111(b),
requirement that an institution maintain             credit. The Bureau appreciates some        through the firewall requirement in
procedures to collect applicant-                     commenters' concerns that inquiries        § 1002.108, and in § 1002.110(e)
provided data at a time and in a manner              about their principal owners' ethnicity, restricting financial institutions' re-
                                                     race, and sex information might            disclosure of protected demographic
that are reasonably designed to obtain a
response under final § 1002.107(c). For              discourage small businesses from           data to third parties.
                                                     seeking credit with traditional lenders.      Burden and costs for collecting
example, final § 1002.107(c)(2) sets forth           The Bureau anticipates that while there ethnicity, race, sex information. The
minimum criteria when collecting
                                                     may be some period of initial hesitation Bureau appreciates that financial
applicant-provided data directly from
                                                     by small businesses to provide such        institutions will face some initial costs
the applicant that must be included                  information, small businesses will
within a financial institution's                                                                and burden in implementing the final
                                                     become more familiar with the requests rule, such as from making changes to its
procedures to ensure they are                        for their demographic information over     policies, procedures, systems, training
reasonably designed to obtain a                      time and such requests will be             programs, and in other areas. However,
response, including seeking to collect               considered a normal part of the process as noted by one commenter, the Bureau
such information before notifying an                 for seeking business credit. Further, as   believes that for many financial
applicant of action taken on a covered               described at the end of part I above, the  institutions covered by the final rule,
application, ensuring that the request               Bureau anticipates developing and          there will be manageable ongoing costs
for applicant-provided data is                       distributing materials about the final     related to the data collection after an
prominently displayed or presented,                  rule directed at small businesses. The     initial implementation period.
ensuring the collection does not have                Bureau also expects that such materials,      The Bureau does not believe it would
the effect of discouraging applicants                by furthering applicant understanding      be appropriate to permit financial
from providing a response, and ensuring              of the 1071 data collection, will ease the institutions to report only aggregate
that applicants can easily respond to a              compliance burden for financial            data, as opposed to application-level
request for the data. The Bureau also                institutions in implementing the final     data, as suggested by one commenter.
anticipates developing materials to                  rule.                                      First, the statute clearly contemplates
educate small business owners about                     Privacy. The Bureau received            the collection of individual loan-level
                                                     comments generally expressing              information. Section 1071's information
   887 This language aligns with comment 5(a)(2)-3
in the Bureau's Regulation B, to which the Bureau
                                                     concerns that small businesses' owners' gathering requirement provides that a
is adding a reference to subpart B for additional    demographic information could be used financial institution is required to
clarity.                                             to identify the businesses and their       collect and maintain information "in the




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case of any application to a financial        any such developments ensure                 other languages, the Bureau refers
institution . . ."(emphasis added).688        appropriate data quality and protection, readers to its discussion regarding
Further, the statute requires the             do not burden or create obligations for     compliance and technical assistance at
financial institution to compile and          applicants, and otherwise accord with       the end of part I above. Likewise, the
maintain "a record of the information         the rule and the statute; to the extent     Bureau agrees with commenters that it
provided by any loan applicant,"              necessary and appropriate, the Bureau       is important to provide a disclosure to
including loan identifying information        would also need to adjust certain           applicants to generally explain the rule
such as the number of the application         regulations and technical guidance. In      and its purpose. Instruction 4 to
and the date on which the application         considering appropriate data quality         proposed appendix G would have
was received.689 Given this language,         and protection, the Bureau will want to     explained that a financial institution
the Bureau believes that Congress             ensure that such a third-party system        may inform applicants that Federal law
intended that financial institutions          does not compromise privacy or other        requires it to ask for the principal
compile and maintain application-level        important protections or create             owners' ethnicity, race, and sex to help
information and submit the                    opportunities for the sale of personal      ensure that all small business applicants
information—compiled in that way—to           data.                                       for credit are treated fairly and that
the Bureau.                                      Some commenters suggested that, as       communities' small business credit
  Second, the Bureau believes that it is      opposed to requiring financial              needs are being fulfilled. In response to
necessary to have specific ethnicity,         institutions to collect and report          comments about the importance of
race, and sex data for individual             demographic data, the Bureau should         helping applicants to understand the
principal owners to allow assessments         instead use data, for example, that is      reasons for the data collection,690 under
of whether there are trends in the data,      gathered by other Federal agencies or       the final rule financial institutions are
including for businesses with different       buy it from outside sources. However,       required to provide such information
amounts of ownership by individuals of        Congress's intent with ECOA section         (see final comment 107(a)(19)-4);
certain ethnicities, races, or sex, which     704B was to require financial               sample language effecting this provision
cannot be captured through the                institutions to collect demographic         is included on the sample data
minority-owned, women-owned, and              information from applicants that would collection form at appendix E.
LGBTQI+-owned business status data            then be reported to the Bureau.
points alone. As a result, the Bureau         Gathering such information from other       Proposed Rule—Collecting Ethnicity
rejects a commenter's suggestion that         sources would not be aligned with this      and Race Using Aggregate Categories
the Bureau require the collection of only     intent. Further, the Bureau believes that and Disaggregated Subcategories
one principal owner's ethnicity, race,        requiring financial institutions to collect    The Bureau proposed that financial
and sex information.                          demographic information during the          institutions request principal owners'
  Direct reporting to the Bureau or third     application process will help to ensure
parties, or use of other data sources. The                                                ethnicity and race using both aggregate
                                              comprehensive, nationwide
Bureau is not, at this time, establishing                                                 categories as well as disaggregated
                                              demographic data collection about small
a mechanism by which small businesses                                                     subcategories.
                                              business lending, which will in turn
might directly submit demographic             help enable the identification of              With respect to ethnicity data
information to the agency. The Bureau         potential discriminatory lending            collection, the Bureau proposed using
notes, in this respect, that the statute      practices and identification of the needs the same aggregate categories (i.e.,
calls for financial institutions to collect   and opportunities of small businesses,      Hispanic or Latino and Not Hispanic or
these data and report them to the             including women-owned, minority-            Latino) and disaggregated subcategories
Bureau. In addition, the mechanisms           owned, and LGBTQI+-owned                    as are used in Regulation C. With
described by the statute do not envision      businesses. Data that have   been           respect    to race data collection, the
the Bureau ever knowing the identity of       collected in other contexts and for other Bureau proposed using the same
any small business submitting data,           purposes, and analyzed pursuant to          aggregate categories as are used in
which would occur if small businesses         those agencies' methods for those other     Regulation C (i.e., American Indian or
were to file demographic data directly        purposes, would not achieve what the         Alaska Native; Asian; Black or African
with the Bureau.                              Bureau believes is necessary to meet         American; Native Hawaiian or Other
  However, the final rule does not            section 1071's statutory objectives.        Pacific Islander; and White). The Bureau
foreclose industry from developing            Further, some of the approaches             also proposed using the same
mechanisms to make demographic data           suggested by commenters would not be        disaggregated subcategories for the
collection and submission more                feasible, such as buying data from           Asian race category and the Native
effective or efficient. For example,          sources outside of the Federal              Hawaiian or Other Pacific Islander race
industry might seek to foster the             government, because they do not             category, as well as with respect to the
development of third-party mechanisms         identify a small business applicant's        American Indian or Alaska Native race
that would let financial institutions         principal owners. The Bureau also notes category, including by inviting an
collect and report demographic                that it has worked with other Federal       applicant to provide the name of a
information in tokenized form so that         regulators so that they can tailor data      principal or enrolled tribe. In addition,
they themselves do not have access to         collections in this area to take advantage the Bureau proposed adding
that demographic data. To the extent          of data collected under this rule, thereby disaggregated subcategories for the
that industry stakeholders are interested     reducing burden on regulated entities.      Black or African American race
in the development of such mechanisms            Applicant and financial institution      category, which are not used when
in connection with meeting their              education and guidance. With respect to
obligations under the final rule, the         commenters' requests that the Bureau          690 This was reaffirmed in user testing. See CFPB,
Bureau is willing to engage with them         educate and explain the final rule and       User testing for sample data collection form for the
on these issues in order to ensure that       its requirements to small business          small business lending final rule at app. A (Mar.
                                                                                          2023), https://www.consumerfinance.gov/data-
                                              applicants, the public, and financial       research/research-reports/user-testingfor-sample-
 688ECOAsection 704B(b).                      institutions, and to provide translations data-collection-form-for-th e-small-business-
 689 ECOA section 704B(e)(2).                 of the sample data collection form into     1en ding-final-rule/.




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collecting data pursuant to Regulation            Committee's recommendation not to                   three of OMB's five aggregate race
C.                                                include one in the 1997 minimum                     categories (American Indian or Alaska
   The Bureau explained that OMB has              standards for reporting of Federal data             Native; Black or African American; and
issued standards for the classification of on race and ethnicity. OMB stated that                     White). Although the questionnaires do
Federal data on ethnicity and race.691             while it was adopting the Interagency              not list the aggregate race categories for
OMB's government-wide standards                   Committee's recommendation, it                      Asian or for Native Hawaiian or Other
provide a minimum standard for                    believed additional research was needed Pacific Islander, they do list the related
maintaining, collecting, and presenting           to determine the best way to improve                disaggregated subcategories for the
data on ethnicity and race for all Federal data on this population group.695                          Asian race category (i.e., Asian Indian,
reporting purposes. These standards                   The Bureau further explained that in            Chinese, Filipino, Japanese, Korean,
have been developed to provide "a                 2017, OMB requested comment on the                  Vietnamese, Other Asian), and for the
common language for uniformity and                Federal Interagency Working Group for               Native Hawaiian and Other Pacific
comparability in the collection and use           Research on Race and Ethnicity's                    Islander race category (i.e., Native
of data on ethnicity and race by Federal (Working Group's) proposals to update                        Hawaiian, Chamorro,700 Samoan, Other
agencies." 692 The OMB standards                  the OMB Federal Data Standards on                   Pacific Islander). These questionnaires
 provide the following minimum                    Race and Ethnicity.696 The Working                  also included three areas where
categories for data on ethnicity and race: Group proposed adding a Middle                             respondents could write in a specific
Two minimum ethnicity categories                  Eastern or North African classification             race: a specific Other Asian race, a
(Hispanic or Latino; Not Hispanic or              to the Federal Data Standards on Race               specific Other Pacific Islander race, or
Latino) and five minimum race                     and Ethnicity and to issue specific                 the name of an enrolled or principal
categories (American Indian or Alaska             guidelines for the collection of detailed           tribe in the American Indian or Alaska
 Native; Asian; Black or African                  data for American Indian or Alaska                  Native category.7O1 Additionally, the
 American; Native Hawaiian or Other                Native, Asian, Black or African                    2020 Census allowed respondents to
Pacific Islander; and White). The                  American, Hispanic or Latino, Native               write in a specific origin for the White
aggregate categories for ethnicity and            Hawaiian or Other Pacific Islander, and category and for the Black or African
race in Regulation C, which the Bureau             White groups.697 The Working Group                 American category. For respondents
 proposed to use in the section 1071 final also considered whether race and                           who did not identify with any of the
rule, conform to the OMB standards.               ethnicity should be collected using                 five minimum OMB race categories, the
   The Bureau also explained that in              separate questions versus a combined                Census Bureau included a sixth race
addition to the minimum data categories question. The OMB Federal Data                                category—Some Other Race—on the
for ethnicity and race, the OMB's                 Standards on Race and Ethnicity have                2010 and 2020 Census questionnaires.
standards provide additional key                  not been updated, however, in the time              Respondents could also select one or
 principles. First, self-identification is        since OMB's 2017 request for comment. more race categories and write-in
the preferred means of obtaining                      The Bureau stated its belief that it is         options.702
information about an individual's                 also important to consider the data                   The Bureau noted that on February
ethnicity and race, except in instances           standards that the U.S. Census Bureau               28, 2017, the Census Bureau released its
 where observer identification is more            (Census Bureau) uses in the Decennial               2015 National Content Test: Race and
 practical.693 Second, the collection of          Census. The definition of Hispanic or               Ethnicity Analysis Report, This National
greater detail is encouraged as long as           Latino origin used in the 2010 and 2020 Content Test provided the U.S. Census
any collection that uses more detail is           Census questionnaire refers to a person             Bureau with empirical research to
organized in such a way that the                  of Cuban, Mexican, Puerto Rican, South contribute to the planning for the
additional detail can be aggregated into          or Central American, or other Spanish               content of the 2020 Census' race/
the minimum aggregate categories for              culture or origin regardless of race.698            ethnicity questions. The report
data on ethnicity and race. More                  The 2010 and 2020 Census                            presented findings to the Census Bureau
detailed reporting, which can be                  disaggregated the Hispanic or Latino                Director and executive staff on research
aggregated to the minimum categories,             ethnicity into four categories (Mexican, conducted to assess optimal design
 may be used at the agencies' discretion. Mexican American, or Chicano; Puerto                        elements that could be used in
Lastly, Federal agencies must produce             Rican; Cuban; and Another Hispanic,                 question(s) on race and ethnicity. It
as much detailed information on                   Latino or Spanish origin) and included              noted that Americans view "race" and
ethnicity and race as possible; however, an area where respondents could                              "ethnicity" differently than in decades
Federal agencies shall not present data            provide (i.e., write in) a specific                past and that a growing number of
on detailed categories if doing so would Hispanic, Latino, or Spanish origin                          people find the current race and
compromise data quality or                        group as additional information.699                 ethnicity categories confusing, or they
confidentiality standards.694                         The Bureau explained that the 2010              wish to see their own specific group
   The Bureau noted that although OMB and 2020 Census questionnaires listed                           reflected on the Census questionnaire.
received comments requesting the                                                                      The National Content Test's research
                                                     695 Id. at 5878 2.
creation of a separate Arab or Middle                696 82 FR 12242 (Mar. 1, 2017).
                                                                                                      found  that there have been a growing
Eastern ethnicity category prior to the                                                               number of people who do not identify
                                                     fi97 See OMB Federal Data Standards on Race and
adoption of the OMB Federal Data                  Ethnicity.                                          with any of the official OMB race
Standards on Race and Ethnicity in                   fi98 See U.S. Census Bureau, 2010 Official       categories, and that an increasing
1997, OMB accepted the Interagency                 Questionnaire, https://www.census.gov/history/pdf/ number of respondents have been
                                                  2010questionnaire.pdf(2010 Census Official          racially classified as "Some Other
  691 Off. of Mgmt. & Budget, Revisions to the
                                                  Questionnaire), and U.S. Census Bureau, 2020
Standardsfor the Classification ofFederal Data on
                                                   Off icial Questionnaire, https://www2.census.govl
                                                                                                        790 The questionnaire for the 2010 Census
                                                  programs-surveys/decennial/2020/technica1-
Race and Ethnicity, 62 FR 58782, 58782-90 (Oct.   doc umenta tion/questionnaires-and-instructions/    included "Guamanian or Chamorro," but the
30, 1997)(OMB Federal Data Standards on Race      questionnaires/2020-information al-                 questionnaire for the 2020 Census included only
and Ethnicity).                                   questionnaire.pdf(2020 Census Official              "Chamorro."
  691 See id.                                                                                           791 See 2010 Census Official Questionnaire and
                                                  Questionnaire).
  693 See id.                                                                                         2020 Census Official Questionnaire.
                                                    fi99 See 2010 Census Official Questionnaire and
  694 See id.                                     2020 Census Official Questionnaire.                   761 See id.




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Race." This was primarily because of                  aggregate ethnicity and race categories      the 2015 National Content Test: Race
reporting by Hispanics who did not                    for this rule's data collection with the     and Ethnicity Report Analysis, the use
identify with any of the OMB race                     HMDA data collection would promote           of disaggregated subcategories may
categories, but it also noted that                    consistency and could reduce potential       increase response rates.
segments of other populations, such as                confusion for applicants, financial             The Bureau acknowledged, however,
Afro-Caribbean and Middle Eastern or                  institutions, and other users of the data.   that including the disaggregated
North African populations, did not                       The Bureau also proposed that             subcategories for four principal owners
identify with any of the OMB race                     applicants must be permitted to provide      may make data collection more difficult
categories.703 The 2015 National                      a principal owner's ethnicity and race       in certain situations, such as for
Content Test: Race and Ethnicity                      using the disaggregated subcategories        applications taken solely by telephone
Analysis Report concluded that optimal                used in HMDA data collection, which          or for paper applications taken at retail
design elements that may increase                     also conform to one of the key               locations. Given these concerns, the
reporting, decrease item non-response,                principles in the OMB standards:             Bureau sought comment on whether an
and improve data accuracy and                         encouraging the collection of greater        accommodation should be made for
reliability include:(1) a combined race               detail as long as any collection that uses   certain application scenarios, for
and ethnicity question with detailed                  more detail is organized in such a way       example by permitting financial
checkbox options;(2) a separate                       that the additional detail can be            institutions to collect ethnicity and race
"Middle Eastern or North African"                     aggregated into the minimum aggregate        information using only the aggregate
response category; and (3) instructions               categories for data on ethnicity and race.   categories or to permit financial
to "Mark all that apply" or "Select all               With respect to ethnicity data               institutions to collect ethnicity, race,
that apply"(instead of"Mark [X] one or                collection, the Bureau proposed that         and sex information on only one
more boxes").704                                      applicants must be permitted to provide      principal owner in those scenarios. The
   The Census Bureau did not ultimately               a principal owner's ethnicity using the      Bureau also noted that FinCEN's
incorporate these design elements into                disaggregated subcategories used in          customer due diligence rule excludes
the questionnaire for the 2020 Decennial              HMDA data collection. For race data          from certain of its requirements point-
Census, but instead continued to ask                  collection, the Bureau proposed that         of-sale transactions for the purchase of
about ethnicity and race in two separate              applicants must be permitted to provide      retail goods or services up to a limit of
questions. While the questionnaire did                a principal owner's race using the           $50,000.706 The Bureau did not propose
not provide detailed check box options                disaggregated subcategories for the          this approach given the different
for the White race category or for the                Asian race category and the Native           purposes and requirements of the
Black or African American race                        Hawaiian or Other Pacific Islander race      customer due diligence rule (as well as
category, the questionnaire did add                   category. The Bureau also proposed that      FinCEN's related customer
write-in options and noted examples.                  applicants must be permitted to provide      identification program rule) 707 and
For White, it noted examples of German,               a principal owner's race using               section 1071. Nonetheless, the Bureau
Irish, English, Italian, Lebanese, and                disaggregated subcategories for the          sought comment on whether covered
Egyptian. For Black or African                        Black or African American race               applications taken at retail locations,
American, it noted examples of African                category, which is not currently used in     such as credit cards and lines of credit
American, Jamaican, Haitian, Nigerian,                HMDA data collection. Lastly, similar to     with a credit limit under a specified
Ethiopian, and Somali.705                             HMDA,the Bureau proposed inviting an         amount(such as $50,000), should be
Notwithstanding the approach used by                  applicant to provide the name of a           excepted from some or all of the
the Census Bureau for the 2020                        principal or enrolled tribe for each         requirement to obtain principal owners'
Decennial Census, the Bureau requested                principal owner with respect to the          ethnicity, race, and sex information.
comment on whether the approach and                   American Indian or Alaska Native race           The Bureau also sought comment on
design elements set forth in the 2015                 category.                                    its proposed use of the HMDA aggregate
National Content Test: Race and                          The Bureau explained that it was          categories, the HMDA disaggregated
Ethnicity Report Analysis(whether in                  proposing use of disaggregated               subcategories (including the ability to
whole or in part) would improve data                  subcategories for this rulemaking, in        provide additional information if an
collection that otherwise furthers                    part, for general consistency with           applicant indicates that a principal
section 1071's purposes, improve self-                existing HMDA reporting requirements.        owner is Other Hispanic or Latino,
identification of race and ethnicity by               Further, collection and reporting using      Other Asian, or Other Pacific Islander),
applicants and response rates, or impose              disaggregated subcategories could be         and the proposed addition of
burdens on financial institutions                     beneficial when attempting to identify
collecting and reporting this                         potential discrimination or business and       708 31 CFR 1010.230(h)(1)(i). The customer due
                                                      community development needs in               diligence rule's exclusion for certain point of sale
information.                                                                                       transactions is based on the "very low risk posed
   The Bureau proposed that financial                 particular communities. While                by opening such accounts at [a] brick and mortar
institutions must permit applicants to                disaggregated data may not be useful in      store." Fin. Crimes Enft Network, U.S. Dep't of
provide a principal owner's ethnicity                 analyzing potential discrimination           Treas., Guidance:Frequently Asked Questions
                                                      where financial institutions do not have     Regarding Customer Due Diligence Requirements
and race using the aggregate categories                                                            for Financial Institutions, at Q 29(Apr. 3, 2018),
used for HMDA data collection, which                  a sufficient number of applicants or         https://www.fincen.govlsitesldefaultlfilesl2ol8-041
conform to the OMB standards. The                     borrowers within particular subgroups        FinCEN_Guidance_CDD_FAQ_FINAL_508_2.pdf.
Bureau believed that aligning the                     to permit reliable assessments of              707 FinCEN's customer identification program rule
                                                      whether unlawful discrimination may          does not contain a point of sale exclusion. While
                                                                                                   the rule permits verification of customer identity
  703 U.S. Census Bureau, 2015 National Content       have occurred, disaggregated data on         information within a reasonable time after an
Test: Race and Ethnicity Analysis Report, Executive   ethnicity and race may help identify         account is opened, the collection of required
Summary, at ix (Feb. 28, 2017), https://              potentially discriminatory lending           customer information must occur prior to account
www2.census.gov/programs-surveys/decennial/
2020/program-management/final-analysis-reports/
                                                      patterns in situations in which the          opening. See 31 CFR 1020.220(a)(2)(i)(A) and (ii).
                                                                                                   For credit card accounts, a bank may obtain
2015nct-race-ethnicity-analysis.p df.                 numbers are sufficient to permit such        identifying information about a customer from a
  704Id. at 83-85.                                    fair lending assessments. The Bureau         third-party source prior to extending credit to the
  705 See 2020 Census Official Questionnaire.         noted that additionally, as suggested in     customer. 31 CFR 1020.220(a)(2)(i)(C).




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disaggregated subcategories for the         The proposed comments would have           and, if faced with a long list of
Black or African American category.         also explained that applicants must be    categories, would choose not to report.
Additionally, the Bureau sought             permitted to select one, both, or none of This commenter also asserted that the
comment regarding whether it would be       the aggregate categories and as many      Bureau's proposal does not align with
helpful or appropriate to provide           disaggregated subcategories as the        other government data collections and
additional clarification or to pursue a     applicant chooses, even if the applicant   would hinder data analysis.
different approach regarding the ability    does not select the corresponding            Two of those banks and the group of
of a principal owner to identify as Other   aggregate category. The proposed          trade associations also objected on the
Hispanic or Latino, Other Asian, or         comments would have stated that, if an    grounds that collecting disaggregated
Other Pacific Islander or to provide        applicant provides ethnicity or race       data in the HMDA context has been
additional information if a principal       information for a principal owner,the     burdensome and frustrating for
owner is Other Hispanic or Latino,          financial institution reports all of the   applicants and lenders. The trade
Other Asian, or Other Pacific Islander.     aggregate categories and disaggregated     associations also argued that including
The Bureau also sought comment on           subcategories provided by the applicant,   disaggregated subcategories would
whether any additional or different         and the proposed comments would have      impose more burden than under
categories or subcategories should be       provided examples. The proposed           Regulation C because ethnicity and race
used for section 1071 data collection,      comments would have stated that a          data would need to be collected for up
and whether the collection and              financial institution must also permit    to four principal owners under the
reporting of ethnicity and race should      the applicant to refuse to provide        Bureau's proposal, whereas it would
be combined into a single question for      ethnicity or race information for one or  generally be collected for only one or
purposes of section 1071 data collection    more principal owners and explain how     two applicants for the HMDA data
and reporting. The Bureau further           a financial institution reports ethnicity collection. This commenter also
sought comment on whether an                or race information if an applicant       emphasized that for ethnicity and race
additional category for Middle Eastern      declines to provide the information or     data collection under Regulation C,
or North African should be added and,       fails to respond. Finally, the proposed   financial institutions are required to
if so, how this category should be          comments would have explained how a       read aloud all of the ethnicity and race
included and defined. In addition, the      financial institution reports ethnicity or disaggregated subcategories when taking
Bureau sought comment on whether            race information if an applicant has       a mortgage application over the phone,
disaggregated subcategories should be       fewer than four principal owners, and      which the commenter asserted has been
added for the aggregate White category,     they would have provided examples.        frustrating for mortgage applicants and
and if so, what disaggregated                                                          would likely be frustrating for small
                                            Comments Received—Collecting              business applicants as well.
subcategories should be added and           Ethnicity and Race Using Aggregate
whether the applicant should be                                                          The group of trade associations and a
                                            Categories and Disaggregated              bank further argued for use of only the
permitted to write in or otherwise          Subcategories
provide other disaggregated                                                            aggregate categories currently used in
                                               The Bureau received comments from      Regulation C and the OMB Federal Data
subcategories or additional information.    a range of commenters, including          Standards on Race and Ethnicity,
The Bureau also sought comment on           lenders, trade associations, community     without any new aggregate or
whether the approach and design             groups, and a business advocacy group, disaggregated categories. As discussed
elements set forth in the 2015 National     on its proposal to collect ethnicity and   above regarding general comments
Content Test: Race and Ethnicity Report     race using aggregate categories and        about the Bureau's proposal for
Analysis would improve data collection      disaggregated subcategories.              collecting ethnicity, race, and sex, the
or otherwise further section 1071's           Several banks and a group of trade      Bureau also received some comments
purposes, as well as whether it would       associations opposed the proposal to      requesting that demographic
pose any particular burdens or              collect ethnicity and race information    information collection generally
challenges for financial institutions       using disaggregated subcategories.        (including on race and ethnicity) for this
collecting and reporting this               Specifically, these commenters asserted rule should be the same, or similar to
information. Finally, the Bureau sought     that the disaggregated subcategories do   the greatest extent possible, as for
comment on whether, similar to data         not add value to fair lending reviews or Regulation C.
collection pursuant to Regulation C,        findings in the HMDA context because         In contrast, many community groups
financial institutions should be limited    there is not enough disaggregated          and a minority business advocacy
to reporting a specified number of          subcategory data from which to draw       group, as well as some industry
aggregate categories and disaggregated      fair lending conclusions, as mortgage     commenters, generally supported
subcategories and, if so, whether such a    applicants do not often use the           collecting ethnicity and race using
limitation should be described in the       disaggregated subcategories. Thus, they aggregate categories and disaggregated
sample data collection form.                said, disaggregated subcategories should subcategories as proposed by the
   Proposed comments 107(a)(20)-6 and       not be adopted for this data collection.  Bureau. These commenters stated that
—7 would have provided guidance on          The group of trade associations also      collecting detailed, disaggregated
collecting and reporting ethnicity and      stated that the Bureau's analysis of 2018 ethnicity and race data on small
race information, respectively. The         HMDA data shows that mortgage             business applicants' owners, and
proposed comments would have                applicants largely selected one ethnicity particularly for those of color, will over
explained that applicants must be           or race field and asserted that the       time provide transparency as to the
permitted to provide a principal owner's    Bureau has not shown that small            different experiences of racial and
ethnicity or race using aggregate           business credit applicants are likely to  ethnic subgroups in the small business
categories and disaggregated                behave differently. A small business      lending marketplace, further fair
subcategories and would have also           owner also objected to the Bureau's       lending enforcement, and support the
listed the aggregate categories and         proposal on the grounds that applicants objectives of section 1071. Several
disaggregated subcategories that            would not report the ethnicity and race   commenters emphasized that
applicants must be permitted to use.        of their principal owners accurately       disaggregated data will help capture




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potential discrimination and allow for       for the Hispanic/Latino population,          that adding this category would meet
targeted support. One stated that the        Asian, and Native Hawaiian or Other          the spirit of section 1071. Several other
proposal will add nuance to fair lending     Pacific Islander aggregate categories.       commenters stated that a Middle
assessments and that aggregate racial        Some commenters noted that none of           Eastern or North African category
and ethnic categories mask economic          these communities are monoliths and          should be added to capture
disparities and differences in social        different subgroups have different           discrimination against and barriers for
capital and experiences.                     experiences in seeking credit. One           applicants of Middle Eastern or North
  Many of these commenters                   commenter made a similar statement           African descent. A couple of
highlighted that HMDA data has               regarding African American and African       commenters suggested that North
revealed that racial and ethnic              immigrant communities in the                 African and Middle Eastern could be
subgroups have different experiences in      residential mortgage context.                addressed as its own category or as
the home buying market. These                   A community group operating in New        disaggregated subcategories. However, a
commenters argued that, similarly,           York City suggested adding certain           group of trade associations argued
disaggregated ethnicity and race data are    subgroups listed as examples in the          against the proposal for a Middle
necessary to allow assessments in the        Other Latino or Hispanic disaggregated       Eastern or North African category,
small business lending marketplace.          ethnicity subcategory and in the Other       noting that OMB never finalized its
Several of these commenters specifically     Asian disaggregated race subcategory.        proposal to include such a category in
noted that research based on 2019            The community group suggested adding         its Federal standards on race and
HMDA data shows that Asian American          an ethnicity subcategory for Dominican,      ethnicity.
and Pacific Islander communities and         because in New York City Dominicans             Regarding disaggregated ethnicity and
Hispanic/Latino subgroups fare               make up a larger percentage of the           race categories generally, a joint letter
differently in the mortgage market. One      population than Puerto Ricans, one of        from community groups and business
commenter noted, as an example of            the proposed disaggregated ethnicity         advocacy groups suggested that the
different experiences, that participants     subcategories. The commenter also            Bureau provide in the final rule that the
in its homebuying seminars have stated       suggested adding Colombian,                  ethnicity and race categories will be
that language barriers often create          Ecuadorian, and Honduran                     maintained and updated in alignment
difficulties in the home buying process.     disaggregated ethnicity subcategories.       with OMB's standards and that the
Other commenters noted the importance        This commenter further suggested             specifications will be adjusted in filing
of disaggregated data for business           adding Bangladeshi and Pakistani             instructions that the Bureau issues from
lending specifically, generally citing       disaggregated race subcategories, under      time to time.
findings in the Federal Reserve Banks'       the Asian aggregate race category,
Small Business Credit Survey:2021            stating that these populations make up          Several commenters responded to the
                                                                                          Bureau's request for comment on
Report on Employer Firms that firms          6 percent and 8 percent, respectively, of
                                                                                          whether to combine the proposed
owned by people of color were less           the Asian population in New York City.
likely to receive the full of amount            Many commenters expressed specific        questions about ethnicity and race.
financing sought than white-owned            support for the proposed disaggregated       These commenters did not support
businesses.                                  Black or African American race               combining the questions. A group trade
  Some commenters stated that they           subcategories. One commenter stated          associations noted that while the Census
supported the Bureau's proposed              that there are distinct differences in the   Bureau's 2015 National Content Test:
approach of generally aligning with          experiences and treatment of different       Race and Ethnicity Report Analysis
HMDA's aggregate categories and              subgroups and that many of these             showed that many individuals that
disaggregated subcategories for ethnicity    subgroups have tight-knit communities        select Hispanic or Latino as their
and race and also adding new                 and thus it is important that this data      ethnicity do not make any race
disaggregated subcategories. Two             collection captures such nuances, and        selections because they do not identify
commenters affirmed that the HMDA            another stated that disaggregation           with the aggregate race categories, the
ethnicity and race categories and            generally has proven to have value in        race and ethnicity questions were
subcategories are also relevant for small    the HMDA context.                            ultimately not combined for 2020
business lending. A lender commented            Regarding the American Indian or          Decennial Census. The commenter also
that this approach will reveal different     Alaska Native aggregate race category,       reiterated that the questions are separate
experiences in the small business            several commenters supported the             for HMDA data collection purposes, and
lending market, but also provide             Bureau's proposal to include a write-in      stated that the same approach should be
familiar reporting standards. Another        text field for an applicant to name a        used for this rule to maintain
lender stated that aligning many of the      principal owner's enrolled or principal      consistency across data collection rules
ethnicity and race categories with those     tribe, though some also were concerned       and with the Census Bureau's approach,
for HMDA would promote consistency           that there would be insufficient             reduce burden for financial institutions,
and reduce confusion. One community          information on indigenous small              and facilitate data analyses.
group stated that based on the HMDA          business owners as a result of small            One commenter urged the Bureau to
experience, it anticipates that applicants   sample sizes, which could mask the           allow applicants to provide an
will not have difficulty understanding       credit needs of that community.              additional disaggregated subcategory in
the information being requested                 Some commenters supported adding          addition to those specified in the
regarding race as long as the sample         an additional category for Middle            proposal beside "other" in a text field
form is clear for both lenders and           Eastern or North African in the final        in the same manner that American
applicants to follow.                        rule, in response to the Bureau's request    Indian or Alaska Natives can identify
  Many commenters also supported the         for comment. One commenter stated            tribal affiliation. The commenter stated
specific ethnicity and race aggregate        that individuals of Middle Eastern or        this would allow applicants to write in
categories and disaggregated                 North African descent are often left with    responses such as Nicaraguan or Hmong
subcategories proposed. Some called out      little choice but to select White as their   that may provide important additional
their support for particular groups of       race, despite a long history of              information for fair lending
disaggregated subcategories, for example     discrimination in the United States, and     enforcement.




                                                                                                                  AdminRecord-000208
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   A bank asserted that for the ethnicity               1071 data collection will similarly                 The Bureau also is not adding a
and race data collection under                          advance section 1071's purpose in                 separate, disaggregated subcategory for
Regulation C, when applicants select a                  enabling communities, governmental                applicants to write in ethnicity or race
disaggregated ethnicity or race                         entities, and creditors to identify               information, as suggested by a
subcategory, the selection prevents the                 business and community development                commenter. The Bureau recognizes that
applications from being associated with                 needs and opportunities of businesses             some applicants may not clearly
the corresponding aggregate category.                   with owners that are members of ethnic            identify with the Bureau's designated
The commenter stated that this issue                    and racial subgroups, regardless of               ethnicity and race aggregate categories
impacts how some lenders' application                   whether those businesses meet the                 and disaggregated subcategories, despite
and origination performance with                        definition of a minority-owned small              the "Other" disaggregated ethnicity and
specific communities appears and urged                  business.                                         race subcategories associated with the
the Bureau to fix the issue in the                        With respect to the fair lending                aggregate ethnicity and race categories
Regulation C data collection and ensure                 enforcement purpose of section 1071,              in the final rule. The Bureau also notes
it is not replicated for the section 1071               the Bureau recognizes that disaggregated          that the 2020 Decennial Census and the
data collection.                                        data may not be useful in analyzing               Census Bureau's American Community
                                                        potential discrimination where financial          Survey include a separate "Some Other
Final Rule—Collecting Ethnicity and                     institutions do not have a sufficient             Race" category, which provided
Race Using Aggregate Categories and                     number of applicants or borrowers                 respondents with the ability to write in
Disaggregated Subcategories                             within particular subgroups to permit             additional information.712 However, the
  For the reasons set forth herein, the                 reliable assessments of whether                   Census Bureau's use of this race
Bureau is finalizing its proposal to                    unlawful discrimination may have                  category is statutorily required and the
collect information about the ethnicity                 occurred. However, the Bureau believes            best practice for Federal agencies is to
and race of principal owners using                      there will be—as has proven to be the             not include a "Some Other Race"
aggregate categories and disaggregated                  case in the HMDA data—situations in               category unless required by law.713 The
subcategories generally as proposed.                    which the numbers are sufficient to               Bureau believes it is important that the
However, the Bureau has revised the                     permit such fair lending assessments.             race and ethnicity information be
commentary related to the collection of                 The Bureau also believes that the use of          capable of being aggregated to or
ethnicity and race data to reduce                       disaggregated subcategories may                   associated with the five OMB aggregate
repetition among the appendices and                     increase ethnicity and race response              categories for race and the two aggregate
the commentary and to reflect other                     rates by small business applicants.               categories for ethnicity in the OMB
changes, as explained below.                            Requiring the collection of                       Federal Data Standards on Race and
  The Bureau agrees with commenters                     disaggregated race and ethnicity data             Ethnicity to facilitate the Bureau's and
that the disaggregated ethnicity and race               also follows a key principle set forth in         others' ability to analyze and use the
subcategories will provide meaningful                   the OMB Federal Data Standards on                 collected data. As noted above,
data that will further section 1071's                   Race and Ethnicity to encourage                   applicants will be able to use the
purposes. Such data will be beneficial                  applicants to self-identify their                 associated "Other" disaggregated
in identifying potential discrimination                 principal owners' race and ethnicity, by          subcategories associated with many of
or business and community                               providing more inclusive options for              the aggregate race and ethnicity
development needs in particular                         applicant self-reporting.710                      categories to provide their principal
communities, including by providing                       The Bureau is not, at this time, adding         owners' information and, as clarified by
insight into variations in borrowing                    additional disaggregated ethnicity and            final comments 107(a)(19)-13 and —14,
experiences by ethnicity and race across                race subcategories beyond those set               will also be able to make multiple
the small business lending marketplace,                 forth in the NPRM. While one                      selections for their principal owners'
even if not all applicants make ethnicity               commenter suggested adding a few                  race and/or ethnicity to accurately
or race disaggregated subcategory                       disaggregated ethnicity and race                  reflect their racial and ethnic identities.
selections. For example, in the HMDA                    categories, such suggestions were based             The Bureau likewise is not combining
context, the Bureau has used                            on the demographics of a specific city            the questions about ethnicity and race at
disaggregated race data collected under                 and it is unclear whether they would              this point in time. Commenters
Regulation C to find that some Asian                    provide useful data in a nationwide data          generally did not support or did not
American and Pacific Islanders                          collection. The Bureau notes that if an           state a position on combining the
subgroups fare better than others in the                applicant's principal owner does not              ethnicity and race questions. The
mortgage market.708 Other data users                    clearly identify with any of the listed           Bureau notes that the 2020 Decennial
have been able to draw conclusions and                  disaggregated ethnicity or race
make policy recommendations to                          subcategories associated with a specific          provides applicants with an opportunity to write in
                                                        aggregate ethnicity or race category,             or provide additional information about their
address differences and disparities in                                                                    principal owner's enrolled or principal tribe, the
home lending among subgroups in the                     many of the aggregate ethnicity and race          "Not Hispanic or Latino" aggregate ethnicity
Hispanic or Latino community using                      categories have an associated "Other"             category, and the "White" aggregate race category.
disaggregated HMDA subcategories.709                    disaggregated subcategory (e.g., "Other             712 See 2020 Census Official Questionnaire; 2022

The Bureau believes that disaggregated                  Hispanic or Latino," "Other Asian,"               American Community Survey Questionnaire.
                                                                                                            713 See Chief Statistician of the U.S., Flexibilities
ethnicity and race data in the section                  "Other Black or African American," and
                                                                                                          and Best Practices for Implementing the Office of
                                                        "Other Pacific Islander") that give the           Management and Budget's 1997 Standardsfor
   708 Bureau of Consumer Fin. Prot., Data Point:       applicant opportunities to provide a              Maintaining, Collecting, And Presenting Federal
Asian American and Pacific Islanders in the             specific subcategory not listed or                Data on Race and Ethnicity (Statistical Policy
Mortgage Market(July 2021), https://                    otherwise provide additional ethnicity            Directive No. 15), n.32 (July 2022)(citing the
files.consumerfinance.gov/f/documents/cfpb_aapi-                                                          Science, State, Justice, Commerce, and Related
 mortgage-market_report_2021-07.pdf                     or race information.711                           Agencies Appropriations Act, 2006, Public Law
   709 See Agatha So et al., Nat'l Cmty. Reinvestment                                                     109-108, tit. II, 119 Stat. 2289, 2308-09 (2005)),
Coal., Hispanic Mortgage Lending: 2019 HMDA               710See 62 FR 58782, 58789 (Oct. 30, 1997).      https://www.whitehouse.govlwp-contentluploadsl
Analysis (2019), https://www.ncrc.org/hispanic-           711The exceptions are the "American Indian or   2022/07/FIexibilities-an d-Best-Practices- Un der-
 moitgage-lending-2019-analysisl.                       Alaska Native" aggregate race category, which     SPD-15.pdf,• id. at 8-9.




                                                                                                                                           AdminRecord-000209
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Census and the 2022 American                          Middle Eastern or North African                           The Bureau is not committing at this
Community Survey also do not combine                  category should be defined. As detailed                time to updating the rule's ethnicity and
the questions.714                                     in the NPRM,the Census Bureau and                      race aggregate categories and
   Some commenters expressed concern                  OMB have considered, over the course                   disaggregated subcategories to align
that the Bureau's proposal for the                    of years, whether to include a separate                 with future changes to OMB Federal
American Indian or Alaska Native                      Arab or North African, or alternatively                Data Standards on Race and Ethnicity.
aggregate race category, which does not               Middle Eastern or North African,                       First, the data points the Bureau is
have specifically listed disaggregated                classification in the Decennial Census                 finalizing under § 1002.107(a)(18) and
subcategories but permits applicants to               and the Federal Data Standards on Race                 (19), regarding minority-owned business
write in the name of a principal owner's              and Ethnicity.717 But, despite a 2017                  status and the ethnicity and race of
enrolled or principal tribe, would lead               recommendation by a Federal                            principal owners, are statutorily
to small sample sizes and thus                        interagency working group to add such                   mandated. Second, the Bureau notes
insufficient information to make                      a classification to the OMB Federal Data               that the OMB Federal Data Standards on
assessments about indigenous small                    Standards on Race and Ethnicity, the                   Race and Ethnicity establish only
business owners and those                             standards have not been updated. And,                   minimum standards for the collection of
communities. At this time, the Bureau is              although it was recommended in the                     race and ethnicity information, which
not making any changes to its approach                2015 National Content Test: Race and                   the data collection under Regulation C
for the American Indian or Alaska                     Ethnicity Report Analysis that a                       already expands upon.720 Third, it is
Native aggregate race category. The                   separate Middle Eastern or North                       unknown what the changes to the
Bureau notes that the Census Bureau's                 African classification be adopted for the              Federal standards will be and whether
2020 Decennial Census and 2022                        2020 Decennial Census, no Middle                       the collection of information based on
American Community Survey similarly                   Eastern or North African classification                any revised race and ethnicity aggregate
listed American Indian or Alaska Native               was included due to questions about                    categories and/or disaggregated
as an aggregate race category, do not list            whether the information should be                      subcategories would further the
specific disaggregated subcategories,                 collected as an ethnicity or race                      purposes of section 1071. The Bureau,
and ask respondents to "Print [the]                   category.718 Given the unsettled nature                however, will track forthcoming
name of enrolled or principal tribe(s)"               of how to best collect information about               developments as to the Federal
along with suggested write-in                         Middle Eastern and North African                       government's standards for the
options.715 As explained in the 2015                  populations, the Bureau is not including               collection of race and ethnicity
National Content Test: Race and                       a separate classification for Middle                   information. Regarding updates to data
Ethnicity Race Report Analysis, there                 Eastern or North African at this point in              point response options, see final
are hundreds of American Indian and                   time. The Bureau notes, however, that                  comment 107(a)-4.
Alaska Native tribes, villages, and                   OMB is currently in the process of                        As supported by some commenters,
groups, and checkboxes for the largest                reviewing and revising the standards for               the Bureau believes it is important to
groups would only represent a small                   collecting data on race and ethnicity for              collect information about principal
percentage of the American Indian and                 the Federal government and may revise                  owners that identify with subgroups
Alaska Native population.716 Given this               the standards by the summer of 2024.719                 within the Black or African American
research, the Bureau believes that its                The Bureau will be reviewing OMB's                     community, particularly as the Black or
approach to the American Indian or                    efforts and other developments that may                 African American community in the
Alaska Native aggregate race category is              arise in the area of ethnicity and race                 United States diversifies. The Bureau
appropriate and is thus not including a                                                                      does not believe it is necessary to use
list of suggested write-in examples at                data collection and measurement.
                                                                                                             the exact same aggregate categories and
this time.                                               717 62 FR 58782 (Oct. 30, 1997); 82 FR 12242
                                                                                                             disaggregated subcategories for ethnicity
   The Bureau has also decided against                (Mar. 1, 2017).
                                                                                                             and race as are used for data collection
specifically collecting data on Middle                   718 Hansi Lo Wang, No Middle Eastern or North
                                                                                                             under Regulation C (which would
Eastern or North African populations at               African Category on the 2020 Census, Bureau Says,      preclude the Black or African American
this point in time, whether as an                      Nat'l Pub. Radio (Jan. 29, 2018), https://            race disaggregated subcategories), as
aggregate ethnicity or race category, a                www.npr.org/2Ol8/0l/29/581541111/no-middle-           suggested by some commenters.
                                                       eastern-or-north-african-category-on-2020-census-
disaggregated ethnicity or race                        bureau-says. See also U.S. Census Bureau, 2015        Certainly, the Bureau's experience with
subcategory, or through some other                     NCT, at xiii, 84-85.                                  ethnicity and race data collection under
inquiry, due to uncertainty about how a                  The Bureau notes that after the NPRM was            HMDA informed the Bureau's
                                                       published, the U.S. Department of the Treasury        considerations for its proposals and for
                                                       published an interim final rule in March 2022
  714 The 2020 Decennial Census and the 2022
                                                      related to data collection for its State Small
                                                                                                             this final rule. However, although the
American Community Survey both ask separate
questions for Hispanic, Latino, or Spanish origin,    Business Credit Initiative (SSBCI) program, which      collection of ethnicity, race, and sex
and for race. See 2020 Census Official                establishes that recipients of SSBCI funding must      data in both contexts serves related fair
Questionnaire; U.S. Census Bureau, 2022 American       maintain and submit information about small           lending purposes, Regulation C and this
Community Survey Questionnaire, https://              business program beneficiaries' principal owners'
                                                       Middle Eastern or North African ancestry, through
                                                                                                             final rule are authorized under different
www2.census.gov/programs-surveys/acs/
meth odology/questionnaires/2022/q uest22.pdf.        a separate ancestry question. U.S. Dep't of Treas.,    statutes and for different markets. The
  715 See 2020 Census Official Questionnaire; U.S.    State Small Business Credit Initiative;                Bureau believes that the added Black or
Census Bureau, 2022 American Community Survey         Demographics-Related Reporting Requirements, 87         African American race disaggregated
Questionnaire.                                        FR 13628 (Mar. 10, 2022).
  716 2015 National Content Test: Race and               719 Off. of Mgmt. & Budget, Initial Proposals for
                                                                                                             subcategories it proposed and is
Ethnicity Report Analysis, at 52("[W]e know from       Updating OMB's Race and Ethnicity Statistical         finalizing will provide additional
Census Bureau research that there are hundreds of     Standards, 88 FR 5375 (Jan. 27, 2023). Proposals
very small detailed [American Indian and Alaska       and questions for which OMB is soliciting comment         720 As explained by the Bureau in 2015, the race

Native] tribes, villages, and indigenous groups for   include collecting race and ethnicity information      and ethnicity disaggregated subcategories under
which Census Bureau data is collected and             using one combined question, adding a Middle           Regulation C go beyond the minimum categories set
tabulated, and if we were to employ the six largest   Eastern or North African minimum reporting             forth in the OMB Federal Data Standards on Race
American Indian groups and Alaska Native groups       category, requiring the collection of detailed race    and Ethnicity by adding subpopulations used in the
as checkboxes, they would represent only about 10     and ethnicity categories by default, and certain       2000 and 2010 Decennial Census. See 80 FR 66128,
percent of the entire AIAN population.").             updates to terminology, among others.                  66190 (Oct. 28, 2015).




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information that will further the                     commenter that, unlike in mortgage           applicant's disaggregated ethnicity or
purposes of section 1071, as explained                transactions where generally there are       race subcategory selections under
below.                                                only up to two applicants, under the         Regulation C, the aggregate ethnicity or
   According to a Pew Research Center                 Bureau's proposal, ethnicity and race        race category is disclosed in the derived
report, while 4.6 million, or one in ten,             information could be collected for up to     aggregate ethnicity or race field in the
Black individuals in the United States                four principal owners. The commenter         publicly released data. To the extent the
were born in a different country in 2019,             generally noted that because of this         commenter is referring to a concern
it is projected that by 2060 the number               potential for an applicant to have up to     about how an applicant may select a
will increase to 9.5 million, or more                 four principal owners,for applications       disaggregated ethnicity or race
than double the current level.721 Within              taken over the phone, it could be            subcategory, without also selecting the
this changing demographic, there are                  frustrating for applicants and financial     associated aggregate category, the
socio-economic differences between                    institution employees and officers to        Bureau believes that allowing applicants
Black immigrant-headed households                     read all of the ethnicity and race           to make such a selection and requiring
and other immigrant households in the                 aggregate categories and disaggregated       a financial institution to report that
United States, between Black                          subcategories out loud, as is currently      selection as it was made, and recognizes
immigrant-headed households and U.S.-                 the practice under Regulation C. In          that individuals may have varying racial
born Black American headed-                           consideration of this issue, the Bureau      and ethnic identities.
households, and among Black                           has added a comment to provide                  To further this goal, final comment
immigrant-headed households by region                 clarification for collecting ethnicity and   107(a)(19)-1 states that financial
of origin. For example, the report found              race information orally, such as over the    institutions report responses as
that in 2019, poverty rates within the                phone. Final comment 107(a)(19)-16           provided by applicants. Generally, this
Black immigrant population vary by                    generally clarifies that when collecting     is the case even if they contain obvious
region, with fewer than one-in-five                   ethnicity and race information orally,       discrepancies and inaccuracies.723 Upon
African-born (16 percent) and Central                 the financial institution is not required    further review, however, the Bureau has
American- or Mexican-born Black                       to read aloud every disaggregated            revised the commentary for final
immigrants (16 percent) living below                  ethnicity and race subcategory. Instead,     § 1002.107(a)(19) to clarify that if an
the poverty line, and 11 percent and 12               a financial institution will be able to      applicant provides additional ethnicity
percent of Caribbean- and South                       orally present the lists of aggregate        or race information in a write-in field on
American-born Black immigrants,                       ethnicity and race categories, followed      a paper or electronic data collection
respectively.722 The Bureau is not                    by the disaggregated subcategories (if       form but does not select (e.g., by a check
collecting immigrant status as part of                any) associated with the specific            mark on a paper form) the
the section 1071 data collection.                     aggregate ethnicity or race categories       corresponding "Other" disaggregated
However, this research indicates to the               selected or requested to be heard by the     subcategory (e.g., "Other Hispanic or
Bureau that there could be important                  applicant. Comment 107(a)(19)-16 will        Latino," "Other Asian," "Other Black or
distinctions between subgroups of the                 also clarify, among other things, that       African American," and "Other Pacific
Black or African American communities                 after the applicant has made its             Islander"), the financial institution is
in the small business lending                         selection(s) (if any), the financial         permitted, but not required, to report
marketplace. The Bureau believes that                 institution must also ask if the applicant   the corresponding "Other" ethnicity or
the collection of information about                   wishes to hear any other lists of            race disaggregated subcategory as well.
small businesses whose principal                      disaggregated subcategories. The             Similarly, if an applicant provides the
owners identify among the Black or                                                                 name of an enrolled or principal tribe
African American subgroups will allow                 comment also provides that the
                                                      financial institution may not present the    but does not also indicate that the
it and others to better understand if
                                                      applicant with the option to decline to      principal owner is American Indian or
there are distinct differences in patterns
                                                      provide ethnicity or race information        Alaska Native on a paper or electronic
in lending to small businesses with
                                                      without also presenting the applicant        data collection form, the financial
owners in these subgroups and help
                                                      with the specified ethnicity or race         institution is permitted, but not
fulfill the fair lending enforcement and
                                                      aggregate categories and disaggregated       required, to report American Indian or
business and community development
purposes of section 1071.                             subcategories. Comment 107(a)(19)-16         Alaska Native as well. This change
   Based on its experience with                       also generally provides that if an           aligns with the similar instruction
Regulation C, the Bureau believes that                applicant has more than one principal        regarding such situations in Regulation
after some initial burden to implement                owner, a financial institution will have     C.724
the ethnicity and race reporting                      the flexibility to ask for the principal        The Bureau has also made changes to
requirements, there should be minimal                 owners' ethnicity and race information       the commentary specifically regarding
ongoing burden for financial institutions             in a way that reduces repetition.            the collection of ethnicity and race
related to the collection and reporting of               With regard to one commenter's            information to incorporate unique
applicants' self-provided responses                   request that the Bureau ensure that an
                                                                                                      723 The Bureau notes that comment 107(a)(19)-8
regarding their principal owners'                     applicant's selection of a disaggregated      provides clarification that in the specific situation
aggregate category and disaggregated                  ethnicity or race subcategory does not        where an applicant both provides a substantive
subcategory ethnicity and race                        prevent the application from being           response to a request for a given principal owner's
selections. However, the Bureau                       associated with the corresponding            ethnicity, race, or sex (by identifying the principal
                                                      aggregate ethnicity or race category, the    owner's race, ethnicity, or sex) and also indicates
acknowledges the concern raised by one                                                             that it does not wish to provide the information
                                                      Bureau does not anticipate that the          (e.g., by selecting an option that states "I do not
  721 Christine Tamir & Monica Anderson,Pew           commenter's concern will be an issue          wish to provide this information" or similar), the
Rsch. Ctr., One-in-Ten Black People Living in the     for the 1071 data collection. The Bureau     financial institution reports the substantive
U.S. Are Immigrants, at 7 (Jan. 20, 2022), https:ll   also notes that the commenter's issue is     response provided by the applicant(rather than
www.pewresearch.org/race-ethnicitylwp-content/                                                     reporting that the applicant responded that it did
uploads/sitesli8/2022101IRE_2022.01.20_Black-         not present for reporting under              not wish to provide the information).
Immigrants_FINAL.p df.                                Regulation C, as stated by the                  724 See, e.g., 12 CFR part 1002, appendix B,
  722 See id. at 28-31.                               commenter. When reporting an                 instruction 9.ii.




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content from the instructions for         institutions use the sex categories from                              The Bureau further explained that the
collecting ethnicity and race             Regulation C when requesting that                                   Supreme Court's 2020 opinion in
information in proposed appendix G,       applicants provide the sex information                              Bostock v. Clayton County had
which the Bureau is removing from the     of their principal owners, but that it was                          concluded that sex discrimination
final rule, as explained earlier in this  also proposing the self-describe                                    encompasses sexual orientation
section-by-section analysis.725 These     response option. The Bureau explained                               discrimination and gender identity
changes include updated numbering,        that Federal, State, and local                                      discrimination, and that these forms of
added references to the sample data       government agencies have been moving                                discrimination necessarily involve
collection form at final appendix E, and to providing additional options for                                  consideration of sex.730 The Supreme
further clarification regarding           designating sex. At the Federal level, the                          Court reached this conclusion in the
applicability of the instructions when    Bureau noted that, for example, the                                 context of title VII of the Civil Rights
ethnicity and race information is         Department of State had announced that                              Act of 1964, as amended,731 which
requested on a paper or electronic data   it was planning to offer the option of a                            prohibits sex discrimination in
collection form, versus orally (e.g.,     new gender marker for non-binary,                                   employment.732 Following the issuance
telephone applications). The Bureau has intersex, and gender non-conforming                                   of the Supreme Court's opinion, the
also removed proposed clarification in     persons for passports and Consular                                 Bureau issued an interpretive rule
each of the ethnicity and race-related    Reports of Birth Abroad as an                                       clarifying that ECOA's and Regulation
comments regarding ethnicity and race     alternative to male or female.727 The                               B's prohibition on discrimination based
information that an applicant has         Bureau also noted that the Food and                                 on sex protects against discrimination
specifically indicated it is declining to Drug Administration includes the                                    based on sexual orientation, gender
provide, which it did not provide, or     gender options of female, male, intersex,                           identity, actual or perceived
which is not applicable, including        transgender, and "prefer not to                                     nonconformity with sex-based or
because the applicant has fewer than      disclose" on certain patient forms.728                              gender-based stereotypes, and the sex of
four principal owners.726 The Bureau      The Bureau also discussed how a                                     people associated with the applicant.733
has either deleted such content where     number of States and the District of                                The Bureau noted that other Federal
duplicative of similar content in final   Columbia, as well as some local                                     agencies have similarly clarified that
comment 107(a)(19)-1 ("General") or       governments, offer an alternative sex or                            other statutes that protect against
moved it to new, generally applicable     gender designation to male and female                               discrimination based on sex protect
comments at final comments 107(a)(19)- (e.g., "X")on government-issued                                        against discrimination based on sexual
6 ("Ethnicity, race, or sex of principal  documents and forms such as drivers'                                orientation and gender identity.734
owners not provided by applicant"),       licenses and identification cards, and in
107(a)(19)-7 ("Applicant declines to      some cases birth certificates.729                                 Form (Nov. 4, 2019), https://wwwl.maine.govlsosl
provide information about a principal                                                                        bmv/forms/GENDER %20
                                            127 See U.S. Dep't of State, Proposing Changes to                DESIGNATI0N%20F0RM.pdf; State of Nevada
owner's ethnicity, race, or sex"), and                                                                      Dep't of Motor Vehicles, Name Changes, https://
107(a)(19)-10 ("Reporting for fewer than the Department's Policies on Gender on U.S.                         dmvnv.com/namechange.htm; State of New Jersey
                                          Passports and Consular Reports of Birth Abroad
four principal owners").                  (June 30, 2021), https://www.state.gov/proposing-                 Dep't of Health, Off. of Vital Statistics and Registry,
                                                     ch a nges-to-the-departments-policies-on-gender-on-     Request Form and Attestation (REG-L2)to Amend
Proposed Rule-Collecting Sex                          u-s-passports-an d-consular-reports-of-birth -         Sex Designation to Reflect Gender Identity on a
                                                                                                             Birth Certificate-Adult(Feb. 2019), https://
   Proposed comment 107(a)(20)-8                      abroad/. The Department of State subsequently
                                                                                                             www.nj.gov/health/forms/reg-12_1.pdf; 2019 N.J.
would have clarified that a financial                 made this option available in April 2022. See U.S.
                                                     Dep't of State, X Gender Marker Available on U.S.       Sess. Law Serv. ch. 271; New Mexico Motor Vehicle
institution is required to permit an                 Passports StartingApri111, 2022(Mar. 31, 2022),        Div.,  Requestfor Sex Designation Change, http://
applicant to provide a principal owner's             h ttps://www.state.gov/x-gen der-marker-available-      realfile.tax.newmexico.govlmvdl0237.pdf,* New
                                                                                                             Mexico Dep't of Health, Request to Change Gender
sex using one or more of the following               on-u-s-passports-starting-april-11/.
                                                                                                             Designation on a Birth Certificate (Oct. 2019),
categories: Male, Female, the applicant                 728 See U.S. Food & Drug Admin., MedWatch
                                                                                                             https://www.nmhealth.orglpublicationlviewlforml
prefers to self-describe their sex (with             forms FDA 3500 and 3500A (Sept. 12, 2018)
                                                                                                             5429/; Virginia Dep't of Motor Vehicles, Driver's
                                                     (approved under OMB No. 0910-0291), https://
the ability of the applicant to write in              www.fda.gov/media/76299/download and https://
                                                                                                             License and Identification Card Application (July 1,
or otherwise provide additional                                                                              2021), https://www.dmv.virginia.govlwebdoclpdfl
                                                      www.fda.gov/media/69876/download.
                                                                                                             dlip.pdf; Washington State Dep't of Licensing,
information), and also would have                       729 See, e.g., Cal. S.B. 179, Gender identity.-      Change of Gender Designation (Nov. 2019), https://
permitted the applicant to refuse to                 female, male or nonbinary(Oct. 16, 2017), https://      www.dol.wa.gov/forms/520043.pdf; N.Y. City Dep't
                                                     leginfo.legislature.ca.gov/faces/
provide the information. The sex                     billTextClient.xhtml?bill id=201720180SB179;
                                                                                                             of Homeless Servs., Off. of Policy, Procedures and
categories would have also been on the                                                                       Training, Transgender, Non-binary, and Intersex
                                                     State of California Dep't of Motor Vehicles, Driver's   Clients (July 15, 2019), https://wwwl.nye.govl
sample data collection form proposed as              License or ID Card Updates, https://                    assets/dhs/downloads/pdf/dhs_policy on serving
appendix E, in response to a query                    www.dmv.ca.gov/portal/driver-licenses-                 transgender non binary and_intersex_clients.pdf.
about the principal owner's "Sex," with              identification-cards/updating-information-on-yo ur-       Tao See Rostock, 140 S. Ct. 1731.
                                                      driver-license-or-identification-dl-id-card/(last
a direction to "Check one or more."                   visited Mar. 20, 2023); Colo. Dep't of Revenue,
                                                                                                               731 42 U.S.C. 2000e etseq.
Instruction 6 of proposed appendix G                 Change ofSex Designation, https://                        732 Rostock, 140 S. Ct. 1731.
                                                                                                               733 86 FR 14363 (Mar. 16, 2021). See also Letter
would have similarly required financial               drive.google.com/f`-ile/d/iPeYZd7U43ar6Flg8
                                                     IFAT1Etg1EPdLVUy/view•, State of Connecticut            from CFPB to Serv. & Advocacy for GLBT Elders
institutions to permit applicants to use                                                                    (SAGE)(Aug. 30, 2016), https://
                                                     Dep't of Motor Vehicles, Gender Designation on a
the sex categories as listed on proposed             License or Identification Card, https://portal.ct.govl files,consumerfinance.gov/f/documents/cfpb_sage-
appendix E as responses for a principal              -/media/DMV/20/29/B-385.pdf; District of Columbia response-letter_2021-02.p df.
owner's sex.                                         Dep't of Motor Vehicles, Procedure For Establishing       734 See, e.g., 86 FR 32637 (June 22, 2021)
   In the NPRM,the Bureau stated that                or Changing Gender Designation on a Driver             (Department of Education interpreting title IX of the
                                                     License or Identification Card (June 13, 2017),        Education Amendments of 1972); 86 FR 27984(May
it was generally proposing that financial            h ttps://dmv.dc.gov/sites/default/files/dc/sites/dmv/ 25, 2021)(Department of Health and Human
                                                     publication/attachments/DC%20DMV%20Form                 Services interpreting section 1557 of the Affordable
  725 These comments were proposed comments          %20Gen der%20Se1f-Designation %20English.pdf,           Care Act); Memorandum from Jeanine M. Worden,
107(a)(20)-6 and 107(a)(20)-7. These proposed        DC Driver License or Identification Card                Acting Assistant Secretary for Fair Housing and
comments generally correspond with final             Application (Jan. 2019), https://dmv.de.gov/sites/     Equal Opportunity,Implementation ofExecutive
comments 107(a)(19)-13 and 107(a)(20)-14.             default/files/dc/sites/dmv/publication/attachments/ Order 13988 on the Enforcement of the Fair
  726 The clarification was originally at proposed   DMV%20BOE%20Apphcation 2-25-19.pdf; Maine              Housing Act(Feb. 11, 2021), https://www.hud.govl
comments 107(a)(20)-6.iv and -7.iv.                  Bureau of Motor Vehicles, Gender Designation                                                          Continued




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  The Bureau additionally explained                      permit an applicant to provide a          responding to each question. The
that some other Federal agencies had                     principal owner's sex using one or more Bureau also sought comment on
also begun to re-consider how they                       of the following categories: Male,         whether it should adopt a data point to
collect information on sex by including                  Female, and/or that the principal owner collect an applicant's lesbian, gay,
questions about sexual orientation and                   prefers to self-describe their sex. It    bisexual, transgender, or queer plus
gender identity as part of questions                     would have further explained that, if an (LGBTQ+)-owned business status,
about sex. The Bureau cited the example                  applicant indicated that a principal      similar to the way it proposed to collect
of the Census Bureau's Household Pulse                   owner preferred to self-describe their     minority-owned business status and
Survey,735 which asks questions about                    sex, the financial institution would have women-owned business status under
sex assigned at birth, current gender                    been required to permit the applicant to proposed § 1002.107(a)(18) and (19).73$
identity, and sexual orientation.736 The                 provide additional information about      The Bureau also sought comment on
Bureau also noted that other Federal                     the principal owner's sex. The financial whether including such questions
agencies and initiatives have                            institution would have been required to would improve data collection or
encouraged sexual orientation and                        report to the Bureau the additional       otherwise further section 1071's
gender identity data collection in health                information provided by the applicant      purposes, as well as whether it would
care settings.737                                        as free-form text.                         pose any particular burdens or
  The Bureau explained that in light of                    Proposed comment 107(a)(20)-8           challenges for industry.
feedback it received during the SBREFA                   would have stated that a financial           Finally, the Bureau also requested
process, among other matters, the                        institution would be required to permit information on Federal, State, and local
Bureau was proposing to add the option                   an applicant to select as many categories government initiatives, as well as
for "I prefer to self-describe"(with the                 as the applicant chooses and that the      private sector initiatives, involving
ability of the applicant to write in or                  financial institution would report the     questions regarding sexual orientation
otherwise provide additional                             category or categories selected by the    and gender identity in demographic
information)for the principal owner's                    applicant, including any additional       information.
sex in addition to the options currently                 information provided by the applicant,
                                                                                                   Comments Received—Collecting Sex
used on the HMDA sample data                             or would report that the applicant
collection form.                                         refused to provide the information or        The Bureau received comments from
  Proposed comment 107(a)(20)-8                          failed to respond. It would have          community groups, banks, trade
would have explained that a financial                    clarified that a financial institution    associations, and individuals on its
institution would have been required to                  would not have been permitted to report proposal for collecting information
                                                         sex based on visual observation,          about principal owners' sex.
sites/dfiles/PA/doc uments/HUD_Memo_                     surname, or any basis other than the      Commenters addressed both general
E013988.pdf(Department of Housing and Urban
Development interpreting the Fair Housing Act).
                                                         applicant-provided information. Finally, issues as well as specific aspects of the
   735 U.S. Census Bureau, Phase 3.2 Household
                                                         proposed comment 107(a)(20)-8 would        proposal, including whether to collect
Pulse Survey(undated), https://www2.census.govl          have explained how a financial            sexual orientation and gender identity
programs-surveys/demo/technical-documentation/           institution would report sex if an        data.
hhp/Phase_3.2 Household Pulse Survey FINAL               applicant had fewer than four principal      General comments. A couple of
ENGLISH.pdf. As of the date of this document, the                                                  commenters opposed collecting
Household Pulse Survey is in Phase 3.7, which
                                                         owners, would have provided an
started on December 9, 2022. See U.S. Census             example, and would have directed          information about principal owners'
Bureau, Household Pulse Survey Phase 3.7(Dec. 9,         financial institutions to proposed        sex. An individual commenter stated
 2022, updated Dec. 14, 2022), https://                  appendix G for additional information     that it does not make sense to collect
 www.census.go v/newsroom/press-releases/2022/                                                     such information because society's view
household-pulse-phase-3-7.htm1. The survey
                                                         on collecting and reporting a principal
 questionnaire used for Phase 3.7 includes the same      owner's sex.                              of gender is still evolving. A lender
three questions noted by the Bureau in the NPRM.           The Bureau sought comment on its        suggested removing the sex of principal
See U.S. Census Bureau, Phase 3.7 Household Pulse        proposed approach to requesting           owners (along with several other data
Survey(undated), https://www2.census.govl                                                           points) to reduce the amount of detail in
programs-surveys/demo/technical-documentation/
                                                         information about a principal owner's
hhp/Phase_3-7 Household_Pulse_Survey                     sex, including the opportunity for self-  the rule.
ENGLISH.pdf.                                             identification (by allowing the applicant    One industry commenter supported
   736 Specifically, the Household Pulse Survey
                                                         to write in or otherwise provide          the collection of sex data as proposed;
includes the following three questions:(1) What sex      additional information). The Bureau       others supported the Bureau's proposal
 were you assigned at birth, on your original birth                                                but suggested that the Bureau use the
certificate?(A respondent could provide a response       also sought comment on whether the
of male or female.);(2) Do you currently describe        sample data collection form should list   term "gender" instead of"sex" to be
 yourself as male, female or transgender?(A              examples from which the applicant         consistent with modern usage. One
respondent also could provide a response of"none         could choose. The Bureau also sought      suggested that the Bureau also include
of these.");(3) Which of the following best
represents how you think of yourself?(A                  comment on whether, alternatively, sex sex category options for transgender and
respondent may select from the following                 should be collected solely via the "I     nonbinary.
responses:(a) Gay or lesbian;(b) Straight, that is not   prefer to self-describe" option (with the    Another commenter said that sharing
gay or lesbian;(c) Bisexual;(d) Something else; or       ability of an applicant to write in or    information about principal owners'
(e) I don't know.                                                                                  gender identity and sexual orientation
   737 See, e.g., Off. of Disease Prevention & Health    otherwise provide additional
Promotion, Healthy People(2020), https://                information). The Bureau also sought      should be voluntary for applicants,
 www.h ealthypeople.go v/2020/topics-objectives/         comment on whether applicants should
 topic/lesbian-gay-bisexual-and-transgender-health;                                                      For a discussion of the comments received by
                                                         be restricted from designating more than the738Bureau
Off. of the Nat'l Coordinator of Health Info. Tech.,                                                           with regard to its request for comment
2021 Interoperability Standards Advisory(2021),          one category for a principal owner's sex. on whether to include a data point to collect
https://www.h ealthit.govlisa/siteslisa/fileslinline-      The Bureau also sought comment on       information about applicants' LGBTQ+-owned
files/2021-ISA-Reference-Edition.pdf-, Ctrs. for         whether financial institutions should be business status, the Bureau refers readers to the
Disease Control & Prevention, Collecting Sexual          required to ask separate questions        section-by-section analyses of §§ 1002.102(k)
 Orientation and Gender Identity Information (Apr.                                                 (definition of LGBTQI+ individual), 1002.102(1)
1, 2020), https://www.cdc.govlhiv/clinicians/
                                                         regarding sex, sexual orientation, and    (definition of LGBTQI+-owned business), and
 transforming-h eaIth/health-care-pro viders/            gender identity and, if so, what          1002.107(a)(18)(minority-owned, women-owned,
 collecting-sexual-orienta tion.html.                    categories should be offered for use in   and/or LGBTQI+-owned business status).




                                                                                                                                  AdminRecord-000213
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noting that individuals that are a part of loans and it should have no bearing on       will enhance the Bureau's and the
the lesbian, gay, bisexual, transgender,   an applicant's ability to qualify for a      public's ability to enforce ECOA for
queer, intersex, and asexual(LGBTQIA) loan.                                             transgender individuals and gender
community are concerned about                Several other industry commenters          minorities and collecting their sexual
harassment and should be protected.        expressed concern that adding more           orientation information will likewise
   Collection of sexual orientation and    inquiries to a demographic data              facilitate the same as to lesbians, gays,
gender identity information. Most of the collection form would add complexity           bisexuals, and other sexual minorities,
comments received by the Bureau in         to the collection process and increase       consistent with the purposes of section
response to its proposal for collecting    the burden on financial institutions.        1071. Another commenter stated that
information about a principal owner's      One urged the Bureau to not include          collecting information about gender
sex were in the context of whether the     inquiries about such personal                identity and sexual orientation would
Bureau should also collect information     information in the business lending          reduce the burden of implementing
about principal owners' sexual             process without more stakeholder input       future legislation requiring such
orientation and gender identity.           as to the benefits and burdens of            collection.739 Another commenter said
   Several banks, trade associations, and collecting the data and before                that collecting data on gender identity
individual commenters opposed adding publishing such sensitive information.             and sexual orientation would allow
inquiries about principal owners' sexual These commenters also suggested that           lenders, especially CDFIs, to be more
orientation and gender identity to the     the Bureau give financial institutions       accountable to their mission of
final rule. A few stated that bank         the option of collecting the information.    economic justice and financial
employees would feel uncomfortable           Some commenters suggested that the         inclusion. Some commenters urged the
requesting this information; that          Bureau should include only "Male" and        Bureau to follow best practices and
applicants would refuse to provide the     "Female" categories as responses to a        directed the Bureau to resources made
information or would be offended by the request for a principal owner's sex             available and research conducted by the
questions; or that separate questions for information. One bank opposed the             Williams Institute at the University of
sex, sexual orientation, and gender        inclusion of options for gender choices      California Los Angeles School of Law.
identity would be invasive.                and free-form text, stating that there are
   A few of these commenters stated that many possible gender categories and               A number of these commenters urged
requiring financial institutions to ask    including those categories or a write-in     the Bureau to not conflate lines of
separate questions for sex, sexual         field could dilute the data and lead to      inquiry for gender identity and sexual
orientation, and gender identity could     inconclusive findings. Several lenders       orientation, with some specifically
potentially further segregate and          also specifically urged use of only          suggesting separate sets of questions,
stigmatize LGBTQ individuals and their "Male" and "Female" categories as                either in addition to or in place of, the
businesses, when members of that           answer options in the final rule, for        inquiry about principal owners' sex as
community already face bias and            alignment with sex categories used to        proposed by the Bureau.740
discrimination. These commenters also      collect HMDA data, on the grounds that          One commenter stated that
raised concerns about the security of the it would avoid confusion among                respondents are unlikely to consider
collected information, noting that         financial institutions and applicants,       sexual orientation and gender identity
storing it with financial institutions and promote efficient implementation and         to be sensitive and would likely provide
in a nationwide database exposes the       reporting, reduce administrative             their information, citing a study as to
information to not only a number of        complexity, and facilitate compliance.       the collection of such information in
persons with authorized access but also One bank expressed concern about use            health centers and another relating to
potentially to hackers. These              of the proposed self-describe sex            attitudes of sexual minorities
commenters stated that although there is response option for applications               responding to a 2020 survey
some protection from employment            reported under both HMDA and section         administered by the Census Bureau.
discrimination under Federal law due to 1071.                                           Commenters also noted that other
Bostock, there are States where              In contrast, a range of commenters,        Federal surveys ask questions about
discrimination against LGBTQ               including many community groups,             gender identity and sexual orientation,
individuals in other forms is legal and    research and advocacy groups,                including the Census Bureau and the
inferences about one's sexuality could     community-oriented lenders, and              Centers for Disease Control and
have serious negative impacts. The         individual commenters, urged the             Prevention, and that questions to
commenters also expressed concern that Bureau to require the collection of more         identify transgender respondents are
the information could be used for other    detailed and accurate information about      included on State and investigator-led
purposes, with one commenter               gender identity and sexual orientation       surveys. One commenter asserted that
additionally expressing a concern that     than would be collected under the            the proposal collects less information
such previously collected data could be Bureau's proposal. These commenters             than other Federal agencies, citing the
used for unintended purposes. Another generally stated that more detailed               example of the Census Bureau.
commenter stated that the information      information is necessary to account for
should be requested only if information small businesses owned by people with              739 The commenter cited the LGBTQ Business
is also provided to applicants to allow    intersectional identities and                Equal Credit Enforcement and Investment Act (H.R.
them to make informed decisions about orientations, to see if they experience           1443, 117th Cong.(2021)), which sought to amend
providing the information, which           discrimination, enforce fair lending         ECOA section 704B to require the collection of an
includes a warning that discrimination     laws, and to allow policymakers and the      applicant's principal owners' sexual orientation and
                                                                                        gender identity, in addition to information about
based on sexual orientation may be         public to have a better understanding of     sex.
allowed in certain States. Some            and address gaps and community needs.           749 For example, some commenters suggested

commenters also opposed collecting         Several commenters asserted that to the      separate categories for gender (Cis woman, Cis man,
information on principal owners' gender final rule should reflect that gender is        Trans woman, Trans man, Non-binary or gender
                                                                                        non-conforming, and Other (with a write-in text
identity and sexual orientation, on the    not binary and be more inclusive.            field)) and sexual orientation (straight/heterosexual,
grounds that such information is not       Others argued that collecting principal      bisexual, and queer, and other (with a write-in text
needed by financial institutions to make owners' gender identity information            field)).




                                                                                                                       AdminRecord-000214
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  Commenters also noted that the                      include discrimination on the bases of               highlighting disparities in home
Federal government has long considered                sexual orientation and gender identity.              ownership between LGBT adults and
what best practices should apply for the                 Need for information on gender                    non-LGBT adults, same-sex couples and
measurement of sexual orientation and                 identity and sexual orientation. Some                different-sex couples, and among sexual
gender identity information, such as                  community groups and research and                    minorities versus heterosexual
through the Federal Interagency                       advocacy organizations generally stated              individuals and also suggesting that
Working Group on Improving                            that data are needed to understand                   home ownership among transgender
Measurement of Sexual Orientation and                 LGBTQI+ individuals' and business                    adults is particularly 10w.745 This
Gender Identity in Federal Surveys, and               owners' experiences in accessing small               commenter also stated that such
by commissioning a study looking at the               business credit. Some emphasized that                research noting disparities among
measurement of sex, gender identity,                  available Federal small business or fair             LGBTQI+ persons based upon race, sex,
and sexual orientation through the                    lending data do not currently include                and sexual orientation suggests that the
National Academies of Sciences,                       sexual orientation and gender identity               data collected under section 1071
Engineering, and Medicine (the National               information. One commenter noted that                should allow identification of
Academies).741                                        the Federal data that exist on LGBTQ                 individuals who may have
  Legal authority. Several research and               individuals' access to credit are                    intersectional identities.
advocacy organizations argued that the                generally limited to the population of                 Commenters also noted that LGBTQI+
Bureau has the legal authority to collect             cohabitating same-sex couples because                individuals and businesses are key parts
information about the gender identity                 such data are often collected through a              of the population and economy in this
and sexual orientation of principal                   marital status question on Census                    country, yet face discrimination and
owners. Generally, these commenters                   Bureau surveys.                                      disparities in a number of areas. They
stated that ECOA and section 1071                        Nevertheless, these commenters                    stated that there are an estimated 11
provide the Bureau with a broad grant                 stated that available research suggests              million LGBT adults, which make up
of authority to issue regulations                     that sexual and gender minorities                    around 4.5 percent of the total U.S.
requiring the collection of gender                    encounter discrimination when                        adult population. They stated that high
identity and sexual orientation data.                 attempting to access credit. The                     numbers of LGBTQ adults have self-
The commenters also highlighted that                  commenters cited research, based on the              reported experiences with physical and
unlawful discrimination based on "sex"                2019 Federal Reserve Board Survey of                 verbal abuse and violence, job loss, and
                                                      Household Economic Decisionmaking,                   workplace harassment and
under ECOA includes discrimination
                                                      finding that LGBT individuals (and                   discrimination. They also noted that
based on sexual orientation and gender
identity, consistent with the U.S.                    particularly LGBT persons of color and               prior to the COVID-19 pandemic,
                                                      depending on gender) are more likely to              LGBTQ individuals were more likely to
Supreme Court's decision in Bostock.                  have their applications for credit
As a result, they said, collecting sexual                                                                  report having experienced economic
                                                      rejected and that they are more likely to
orientation and gender identity data                                                                       hardship, from unemployment,
                                                      be approved for less credit than they                homelessness, and in other areas. The
would facilitate the purposes of section              wanted.742 The commenters stated that
1071 by enhancing the agency's ability                                                                     commenters also emphasized that
                                                      studies based on HMDA data have also
to understand small business lending                                                                       studies show that during the pandemic,
                                                      found that same-sex couples are denied
discrimination based on sexual                        home loans more often and that the                   LGBTQ adults, and particularly LGBTQ
orientation and gender identity, enforce              loans they do receive have higher                    people of color and gender minorities,
fair lending laws, and identify business              interest rates and fees than different-sex           have disproportionately experienced the
and community development needs and                   couples of similar financial and credit              negative financial effects of the COVID-
opportunities of small businesses.                    quality. Similarly, loans made in                    19 pandemic, including food insecurity,
   However, several industry                          neighborhoods with a higher density of               job loss, and housing insecurity.746 One
commenters argued that the collection                 LGBTQI+ individuals generally have                     745 Studies cited by the commenters include, for
of sexual orientation and gender                      higher interest rates and fees than                  example: Adam P. Romero, Shoshana K. Goldberg,
identity information is not clearly                   neighborhoods with a lower density.743               & Luis A. Vasquez, Williams Inst., LGBT People and
required. One stated that there is no                 One commenter stated that the analysis               Housing Affordability, Discrimination, and
indication in the statute that Congress               likely understates these disparities due             Homelessness(2020), https://
intended the term "sex" as used in                                                                         williamsinstitute.law.ucla.edu/wp-content/uploads/
                                                      to HMDA data limitations.744 A research              LGBT-Housing-Apr-2020.pdf; Kerith Conron,
section 1071 to encompass sexual                      and policy organization focusing on                  Williams Inst., Financial Services and the LGBTQ+
orientation and/or gender identity.                   gender identity and sexual orientation               Community: AReview of Discrimination in Lending
Another emphasized that the statute                   issues also cited reports and analyses               and Housing, Testimony Before the Subcommittee
focuses on the collection and reporting                                                                    on Oversight and Investigations (2019), https://
                                                                                                           williamsinstitute.law.ucla.edu/wp-content/uploads/
of data about the defined term "women-                  742Spencer Watson et al., Ctr. for LGBTQ Econ.     Testimony- US-Ho use-Financial-Services-Oct-
owned businesses," and asserted it is                 Advancement & Rsch., The Economic Well-Being of      2019.pdf; Freddie Mac, The LGBT Community:
thus not apparent that the section 1071               LGBT Adults in the U.S. in 2019(2021), https://      Buying and Renting Homes(2018), http://
data collection is meant to include such              Igbtq-oconomics.org/wp-content/uploads/2021/06/      www.fre ddiemac.com/fmac-resources/research/pdf/
                                                      The-Economic-Well-Being-of-LGBT-Adults-in-2019-      Freddie_Mac_LGBT_Survey Results_FINAL.pdf;
data. Another commenter argued that                   Final-1.pdf.                                         Kerith J. Conron, Shoshana K. Goldberg, & Carolyn
neither Congress nor the Supreme Court                   743 See Jason Richardson & Karen Kali, Nat'l      T. Halpern, Sexual Orientation and Sex Differences
in Bostock has taken specific action to                Cmty. Reinvestment Coal., Same-Sex Couples and      in Socioeconomic Status: A Population-Based
change the scope of the prohibition                    MortgageLending(June 22, 2020), https://ncrc.org/   Investigation in the National Longitudinal Study of
                                                      same-sex-couples-and-mortgage-lending/; Hua Sun      A dolescent to Adult Health, 72 J. Epidemiology &
against sex discrimination in ECOA to                 & Lei Gao, Lending Practices to Same-Sex             Cmty. Health 1016(Nov. 2018), https://
                                                      Borrowers, 116 Procs. of the Nat'l Acad. of Sci.     pubmed.ncbi.nlm.nih.gov/3Ol9O439.
  741 Since the comment period for the NPRM           (PNAS)PROCs. NAT'L ACRD. SCI. 9293 (Mar. 16,           746 See Thom File & Joey Marshall, U.S. Census
closed, the National Academies published its report    2019), https://doi.org/iO.1073/pnas.1903592116.     Bureau, Household Pulse Survey Shows LGBT
on the study. See Nat'l Acad. of Scis., Eng'g, &         744 See Jason Richardson & Karen Kali, Nat'l      A dults More Likely to Report Living in Households
Med., Measuring Sex, Gender Identity, and Sexual       Cmty. Reinvestment Coal., Same-Sex Couples and      With Food and Economic Insecurity Than Non-
Orientation (2022), https://www,ncbi.nlm.nih.govl      MortgageLending(June 22, 2020), https://ncrc.org/   LGBT Respondents(Aug. 11, 2021), https://
books/NBK578625/pdf/Bookshelf NBK578625.pdf.          same-sex-co uples-an d-mortgage-len ding/.           www.census.go v/library/stories/2021/08/Igbt-




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commenter also highlighted that                        adding response categories to the            and stated that beneficial owners'
research shows that transgender                        proposed (single) inquiry about a            driver's licenses must be provided as a
individuals are disadvantaged as                       principal owner's sex; by                    result of FinCEN's customer due
compared to their cisgendered                          recommending two separate inquiries          diligence rule when an account is
counterparts across a number of socio-                 for the identification of a principal        opened. The bank acknowledged that
economic factors, such as education                    owner's gender (as opposed to sex) and       different states may not allow the use of
levels and percentages living at or below              sexual orientation; or by suggesting         an "X" marker and that some principal
the poverty level, among others.747                    separate inquiries as to each of a           owners may not identify with the
  One commenter cited a study                          principal owner's sex, gender identity,      gender marker on their driver's license
estimating that about 7.7 million LGBT                 and sexual orientation.                      but suggested that aligning the data
adults live in States without explicit                    Generally, commenters who suggested collection with this supporting
statutory protections against                          additional response categories suggested documentation would remove the
discrimination on the basis of sexual                  adding such options in the context of a      potential for error and regulatory
orientation and gender identity in                     single inquiry for information about a       scrutiny.
credit.748 This commenter also noted                   principal owner's sex. Some                     Some commenters urged the Bureau
research finding that while 30 States                  commenters suggesting adding an              to revise its proposal to include two sets
have laws analogous to ECOA, only                      additional category, such as "Other," to of inquiries, one addressing gender
about half explicitly prohibit                         allow the Bureau to analyze whether          identity and the other sexual
discrimination on the basis of sexual                  nonbinary individuals face                   orientation, each with multiple
orientation or gender identity, leaving a              discrimination from lenders and urged        categories from which an applicant
significant number of LGBT adults in                   the Bureau to avoid a data collection        could select. One community group
the United States without protection                   that forces applicants to provide their      suggested two separate inquiries are
from credit discrimination under State                 principal owners' information on a strict necessary, to accurately measure
law.749 Further, this commenter stated                 binary sex/gender basis. Several             disparities and discrimination. The
that LGBTQ businesses may generally                    industry commenters suggested the            community group suggested that for the
have a particular need for credit,                     Bureau remove the self-describe option       inquiry about gender identity, response
because they often lack the family                     with a write-in text field with a third      options could include "Male,"
support other small business                           category, such as "non-binary." These        "Female," "Transgender," and "Do not
entrepreneurs may rely upon to begin                   commenters expressed concern that the identify as female, male, or
their businesses.                                      write-in text field may create data          transgender." For the inquiry about
  Suggestions for collecting sexual                    integrity problems or add complexity to sexual orientation, the community
orientation and gender identity                        reporting standards.                         group stated response options could
information. A number of commenters                       Other commenters suggested specific include "Straight," "Gay or lesbian,"
suggested specific modifications to the                sex categories for the Bureau's              "Bisexual," and "Transsexual, or gender
Bureau's proposal, generally by either                 consideration. A group of trade              non-conforming." This commenter also
                                                       associations suggested adding sex            suggested the Bureau consult experts on
comm unity-harder-hit-by-econ omic-im pact-of-         categories for transgender and               these issues. Some other community
pandemic.html; Brad Sears, Kerith J. Conron, &         nonbinary. A community group                 groups suggested that, to reflect current
 Andrew R. Flores, Williams Inst., The Impact of the suggested adding a "non-binary" sex            language around gender-identity and
Fall 2020 COVID-19 Surge on LGBT Adults in the
 US(Feb. 2021), https://
                                                       category and any others according to         expression, categories for gender should
 williamsinstitute.law.ucla.edu/wp-content/uploads/ best practices, in order to bring               include "Cis woman," "Cis man,"
 COVID-LGBT-Fall-Surge-Feb-2021.pdf; Christy           transparency as to the treatment of that "Trans woman," "Trans man,""Non-
 Mallory, Brad Sears, & Andrew R. Flores, Williams     population. Another suggested adding         binary or gender non-conforming," and
Inst., COVID-19 and LGBT Adults Ages 45 and            " Non-binary,"   "Transgender    Male,"
 Olderin the US(May 2021), https://
                                                                                                    " Other"(with a write-in text field). For
 williamsinstitute.law.ucla.edu/wp-content/uploads/ "Transgender Female," stating that              sexual orientation, the commenters
 C0VID-LGBT-45-May-2021.pdf; Kerith J. Conron &        these categories are widely accepted by      suggested "Straight/heterosexual,"
Kathryn K. O'Neill, Williams Inst., Food               the LGBTQ community, will provide            "Bisexual," "Queer," and "Other"(with
Insufficiency Among Transgender Adults During          more data, and will be more inclusive.
 the COVID-19 Pandemic (Dec. 2021), https://
                                                                                                    a write-in text field). One commenter
 williamsinstitute.law.ucla.edu/wp-contentluploads/    This  commenter also supported               noted that the answer options for each
 Trans-Food-Insufficiency-Dec-2021.pdf; Movement       allowing applicants to select one or         inquiry should include those to allow
 Advancement Project, The Delta Variant S the          more options. A CDFI lender                  the applicant to choose not to state its
Disproportionate Impacts of COVID-19 on LGBTQ          recommended that the Bureau include a response and an "Other" option (with a
Households in the U.S., Resultsfrom an August/
September 2021 National Poll(Nov. 2021), https://
                                                       list of examples that an applicant could     write-in text field).
 www.Igbtmap.org/file/2021-report-delta-impact-        refer to when self-describing, like             Several research and policy
 v2.pdf                                                intersex, non-binary, or transgender.        organizations focusing on gender
   747 See Kerith J. Conron & Kathryn K. O'Neill,
                                                       This commenter stated that providing         identity and sexual orientation issues
Williams Inst., Food Insufficiency Among               examples    for the self-describe option     generally  stated that because sex, sexual
 Transgender Adults During the COVID-19
Pandemic (Dec. 2021), haps://                          would    streamline  the data collection     orientation,  and gender identity are
 williamsinstitute.la w.ucla.ed u/wp-content/uploa ds/ and analysis.                                related but intellectually distinct
 Trans-Food-Insufficiency-Dec-2021.pdf.                   A bank suggested that instead of          concepts, the Bureau should collect
   748 Kerith J. Conron & Shoshana K. Goldberg,
                                                       requesting information from applicants       such information through three separate
Williams Inst., LGBT People in the US Not              about their principal owners' sex, that      inquiries addressing each concept
Protected by State Non-Discrimination Statutes
(Apr. 2020), https://williamsinstitute.law.ucla.edu/   the  Bureau identify a principal owners' instead of through one question asking
 wp-content/uploads/LGBT-ND-Pro tections- Up da te-    information based on what is listed on       about a principal owner's sex. A
Apr-2020.pdf.                                          the principal owner's driver's license.      community group stated that the
   749 Christy Mallory, Luis A. Vasquez, & Celia       The bank noted that some states, like        Bureau's proposal does not sufficiently
Meredith, Williams Inst., Legal Protectionsfor
LGBT People After Bostock v. Clayton County(Aug.
                                                       New   York,  allow  residents who   identify encompass gender, gender identity, and
2020), https://williamsinstitute.law.ucla.edu/wp-      as nonbinary or intersex to use an "X"       sexual orientation to address fair
content/uploa ds/Bosto ck-State-Laws-ful-2020.pdf.     marker on their State driver's licenses      lending concerns.




                                                                                                                           AdminRecord-000216
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   Research and policy organizations                 commenters supported the Bureau's           field could diminish the accuracy and
also suggested the Bureau take an                    proposal to allow an applicant to select    utility of collected data, because fewer
approach similar to that used in the                 multiple sex categories, stating that       responses would be reported for other
Census Bureau's Household Pulse                      limiting applicants to one answer option    listed categories. One industry
Survey, which they characterized as                  may be viewed as marginalizing the          commenter also noted that a write-in
taking a "two-step" approach to asking               principal owner's personal                  field may add complexity to reporting
about a respondent's sex, with one                   characteristics for individuals whose       standards. Another stated that the
question about the respondent's sex                  gender is fluid. Another suggested          Bureau may encounter varying spellings
assigned at birth and a second question              allowing the selection of just one          and misspellings, which would create
about their current gender. They also                response category, which it said would      reporting burdens and diminish the
recommended the Household Pulse                      streamline data collection. Two research    accuracy of the information received by
Survey approach in asking a separate                 and policy organizations suggested that     the Bureau.
question about sexual orientation,                   the Bureau limit applicants from               A research and policy organization
which the commenters noted aligns                    selecting more than one response to the     stated that because the Bureau will not
with a recommendation from a 2009                    inquiry about sex assigned at birth         be including write-in responses in what
Sexual Minority Assessment Research                  because medical records in the United       is released to or analyzed for the public,
Team report 750 on best practices for                States generally allow only male or         write-in responses allowing applicants
asking questions about sexual                        female sex assignments. They also           to self-describe their principal owners'
orientation on surveys. One also urged               suggested that the Bureau allow just one    sex, sexual orientation, or gender
the Bureau to examine a two-step                     selection in response to a question about   identity would prevent respondents
approach to sex for the final rule, noting           sexual orientation. But for gender          from being included in the data for
that it was based on research and                    identity, the applicant suggested           analysis. The commenter suggested that
recommended by a panel of experts                    allowing applicants to select multiple      the Bureau assess the performance of
known as the Gender Identity in U.S.                 response options.                           questions as to gender identity and
Surveillance group, through the                        Self-describe response option. Several    sexual orientation first and then make
Williams Institute at the University of              commenters supported the Bureau's           revisions as needed. The commenter
California Los Angeles School of Law,                proposed "I prefer to self-describe"        also stated that it also did not
as one that is likely to have high                   option (with the ability to write in or     recommend including the proposed "I
sensitivity and specificity in                       otherwise provide additional                prefer to self-describe" option as a way
distinguishing transgender and gender                information). A business advocacy           to capture individuals with intersex
minority respondents from cisgender                  group stated that the information
                                                                                                 traits, and noted that it is not generally
respondents.751 The commenter also                   collected from the option will bring        recommended that researchers capture
recommended that the Bureau consider                 attention to inequitable lending            information on intersex status through a
if any refinements are necessary in the              practices based on gender identity. As
                                                                                                 question on sex.
context of section 1071, conduct user                noted above, one commenter supported
testing, and also coordinate in the future           the proposed answer option, but                Other research and policy
with other Federal agencies to improve               suggested that the Bureau include a list    organizations stated a concern that free-
its measurements of principal owners'                of examples. The commenter opposed,         form text responses would require
sex.                                                 however, the use of the option as the       substantial effort by the Bureau and
   For the question about sexual                     only way to collect information about       others to distinguish transgender
orientation, research and policy                     principal owners' sex. Another              individuals and gender minorities from
organizations recommended using the                  commenter supported having the "I           respondents using the "I prefer to self-
same or similar questions as presented               prefer to self-describe" option as the      describe" option, even though female or
in the Census Bureau's Household Pulse               only way used to collect sex                male responses would have been
Survey and the 2009 Sexual Minority                  information, stating that this approach     appropriate. This commenter noted that
Assessment Research Team report. A                   would promote diversity and                 analysis of free-form text fields can be
community group also suggested that                  acceptance and that the Bureau's            time-intensive and responses
the Bureau adopt the Census Bureau's                 proposal may make applicants feel           challenging to categorize, leading to
approach with the Household Pulse                    uncomfortable expressing their true         discarded data, reduced sample sizes,
Survey, but stated that more response                gender identity.                            lessened statistical power, and
categories may be necessary to better                  However, several industry and             potentially errors in classification. The
capture the LGBTQIA+ community.                      research and policy organization            commenter also noted that although a
   Selection of multiple responses. The              commenters opposed the proposed "I          write-in response for gender identity to
Bureau received several responses to the             prefer to self-describe" option. One        capture the many gender identities and
Bureau's question about whether                      commenter said it would be confusing        communities that exist may work in
applicants should be restricted from                 for applicants and bank employees, and      some circumstances, it does not
designating more than one category for               recommended having the Bureau's data        recommend it for a data collection of the
a principal owner's sex. Two                         collection for principal owners' sex        anticipated size and complexity of the
                                                     match that under Regulation C. Other        effort under section 1071. With regard to
   750 Sexual Minority Assessment Rsch. Team         commenters generally cited data quality     sexual orientation, the commenter noted
(SMART), Williams Inst., Best Practices for Asking   concerns related to potential write-in      that most people with same-sex
Questions About Sexual Orientation on Surveys                                                    attraction are likely to choose the terms
(2009), https://williamsinstitute.law.ucla.edu/wp-
                                                     field responses. Two such commenters
content/uploads/Best-Practices-SO-Surveys-Nov-       noted that in the HMDA free-form            gay, lesbian, or bisexual if they are the
2009.pdf.                                            ethnicity and race data, they commonly      only terms provided, and thus a self-
   751 The GenIUSS Grp., Williams Inst., Best        see responses that would fit into an        describe option would just reduce the
Practicesfor Asking Questions to Identify            existing category and expressed concern     number of identifiably lesbian, gay, and
 Transgender and Other Gender Minority
Respondents on Population-Based Surveys (Sept.
                                                     that similar issues would arise under       bisexual principal owners in the section
 2014), https:llwilliamsinstitute.law.ucla.edu/      the Bureau's proposal. Two industry         1071 data collection and reduce the
publica tions/geniuss-trans-pop-base d-survey/.      commenters also noted that the write-in     usefulness of the data.




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  Intersex status. Research and policy   "Male" and "Female," for a principal                                   As described above, the Bureau received
organizations suggested that the Bureau  owner's sex/gender. The Bureau has                                     a diverse array of comments
add a specific inquiry regarding         made conforming changes, removed                                       recommending a range of response
variations of sex characteristics in the duplicative content, and updated cross-                                options to the proposed inquiry about a
final rule or in the future, to identify references, in comment 107(a)(19)-15                                   principal owner's sex and suggesting
intersex business owners and their       and other comments that relate to                                      questions in addition to, or instead of,
experiences. They emphasized that        collection of principal owners' sex.                                   the Bureau's proposed query about a
people with variations in sex               As an initial matter, the Bureau                                    principal owner's sex. The Bureau notes
characteristics may comprise as much as  believes that collecting information                                   that at the Federal level, there is wide
1.7 percent of the population. And,      about a principal owner's sex, gender                                  variance in data collection approaches,
although little population-based data    identity, and sexual orientation is                                    question phrasing, and answer options,
exists, according to the commenter,      within section 1071's mandate.                                         and that the Federal government's
intersex people face documented social   Following the Supreme Court's holding                                  approach is in flux.756 For example, on
and health disparities. This in turn, they
                                         in Bostock, even though the term "sex"                                 January 11, 2023, shortly before this rule
said, could affect their economic        is not defined in ECOA or in Regulation                                was issued, OMB released new
opportunities. Moreover, according to    B, the Bureau interprets ECOA's and                                    recommendations for agencies on the
the commenter, the increased visibility  Regulation B's prohibitions against                                    best practices for the collection of
of intersex individuals could also make  discrimination on the basis of"sex" to                                 sexual orientation, gender identity, and
small business owners with intersex      include discrimination based on sexual                                 sex characteristics data on Federal
traits more vulnerable to discrimination.orientation and gender identity.753 As
They also stated that the Department of  stated by the Court, sex discrimination                                   756 See 86 FR 56356, 56482 (Oct. 8, 2021)

Justice's Title IX Legal Manual                                                                                 (discussing approach used by the Census Bureau's
                                         encompasses sexual orientation                                         Household Pulse Survey, asking separate questions
rationale—finding that title IX's        discrimination and gender identity                                     for sex assigned at birth, current gender identity,
prohibition on sex discrimination        discrimination, as those forms of                                       and sexual orientation); id. at 56482 n.686
includes discrimination based on sex     discrimination necessarily involve                                     (discussing other Federal agency approaches in
                                                                                                                 health care settings). See also 31 CFR 35.28(h), (i)
characteristics, including intersex      consideration of sex.754 Because section                               (in annual reports by participants in the U.S.
traits—should also apply to ECOA. They   1071 is an enumerated provision of                                      Treasury's State Small Business Credit Initiative
noted that a consensus study from the    ECOA and the final rule is part of                                     (SSBCI) program, requiring information about
National Academies had recommended       Regulation B, this interpretation as to                                 program beneficiaries' principal owner's gender
that the Federal government develop                                                                             (using categories: female; male; nonbinary; prefer to
                                         what is included within the scope of the                               self-describe, with an option to write in
and evaluate measures to identify        term "sex" necessarily applies to the                                  information; prefer not to respond; or that the
intersex populations and recommended     collection of information about a                                       business did not answer) and sexual orientation
that the Bureau review another pending   principal owner's "sex" under section                                  (using categories: gay or lesbian; bisexual; straight,
National Academies study with                                                                                    that is, not gay, lesbian, or bisexual; something else;
                                         1071 as well.                                                           prefer not to respond; or that the business did not
recommendations on this area.752            The Bureau believes further that                                     answer); 2020 Census Official Questionnaire
Final Rule—Collecting Sex                available research, including that cited                               (inquiring as to each person's sex (e.g., "What is
                                                                                                                Person 1's sex? Mark (x) ONE box."), with answer
                                         by commenters and discussed above,
  For the reasons set forth herein, the                                                                          options: "Male" and "Female" and asking about the
                                         showing disparities in access to credit                                relationships with other household members (e.g.,
Bureau has revised its proposal          across gender identity and sexual                                      "How is this person related to Person 1? Mark (X)
regarding the collection of information  orientation supports the importance of                                  ONE box."), with answer options including, inter
about the sex of the principal owners of collecting gender identity and sexual                                   alia, "opposite-sex husband/wife/spouse",
a small business applicant. Under final  orientation small business lending
                                                                                                                "opposite-sex unmarried partner, "same-sex
                                                                                                                 husband/wife/spouse", and "same-sex unmarried
comment 107(a)(19)-15, if collecting the data.755                                                                partner"); Soc. Sec. Admin., How do I change the
information using a paper or electronic     There was no clear consensus among                                  sex identification on my Social Security record?
form, the financial institution must     commenters as to how information                                       (KA-01453)(last updated Oct. 25, 2022), https://
make the request using the term "sex/                                                                           faq.ssa.gov/en-us/Topic/article/KA-01453
                                         about the sex of small businesses'                                     (individuals can provide sex identification evidence
gender" and must permit applicants to    principal owners should be collected.                                   that is binary or non-binary, but stating that SSA
respond by using free-form text. If                                                                             record systems currently require a sex designation
collecting the information orally, the     753 Bostock, 140 S. Ct. 1731; 86 FR 14363 (Mar.
                                                                                                                 of female or male); U.S. Dep't of State, X Gender
financial institution must inform the                                                                            Marker Available on U.S. Passports Starting April
                                         16, 2021).
                                                                                                                 11, 2022(Mar. 31, 2022), https://www.state.govlx-
applicant of the opportunity to provide    754 See Bostock, 140 S. Ct. 1731.
                                                                                                                gender-marker-a vailable-on-u-s-passports-starting-
each principal owner's sex/gender and      755 See, e.g., Ctr. for LGBTQEcon. Advancement
                                                                                                                 april-11/; U.S. Equal Emp. Opportunity Comm'n,
record the response. As with other       & Rsch., The Economic Well-Being ofLGBT Adults                         EEOC Adds X Gender Marker to Voluntary
protected demographic information, the in   the U.S. in 2019(June 2021), https://Igbtq-
                                         economics.org/research/Igbt-adults-2019/(LGBT
                                                                                                                 Questions During Charge Intake Process(June 27,
                                                                                                                 2022), https://www.eeoc.gov/newsroom/eeoc-adds-
applicant can refuse to provide the      adults more likely than non-LGBT adults to report                       x-gender-marker-voluntary-questions-during-
requested information. Unlike the        being turned down by lenders and to be offered                          charge-intake-process; Admin. for Children &
Bureau's proposal, the final rule does   credit at rates higher than desired); Hua Sun & Lei                    Fams., U.S. Dep't of Health & Hum. Servs.,
                                         Gao, Lending practices to same-sex borrowers,                          Proposed Information Collection Activity; Domestic
not use specific sex categories, such as Proceedings of the Nat'l Acad. Sci. of the U.S. of                      Victims ofHuman Trafficking Program Data(OMB
                                                        Am.(May 2019), https:lldoi.org/10.1073/                 #0970-0542), 87 FR 45107 (July 27, 2022)
  752 See Nat'l Acads. of Scis., Eng'g, & Med.,         pnas.19035921 16(finding same-sex couples more          (proposing changes to collection of participant
Understanding the Well-Being ofLGBTQI+                  likely to be denied a mortgage than different-sex        demographics for Domestic Victims of Human
Populations(2020), https://                             couples); J. Shahar Dillbary & Griffin Edwards, An       Trafficking Services and Outreach Program grant
nap.nationalaca demies.org/catalog/25877/               Empirical Analysis of Sexual Orientation                 programs); Admin. for Children & Fams., U.S. Dep't
un derstan ding-the-well-being-of-Igbtgi-populations.   Discrimination, 86 U. Chi. L. Rev. 1 (2019), https://    of Health & Hum. Servs., Proposed Information
The National Academies has issued the report            la wreview.uchicago.edu/p ublication/empirical-          Collection Activity,- SOAR (Stop, Observe, Ask,
anticipated by the commenter. See Nat'l Acads. of       analysis-sexual-orientation-discrimination (finding     Respond)to Health and Wellness Training(SOAR)
Scis., Eng'g, & Med., Measuring Sex, Gender             that same-sex male home loan co-applicants were         Demonstration Grant Program Data (New
Identity, and Sexual Orientation for the National       less likely to have their loan applications accepted     Collection), 87 FR 52386(Aug. 25, 2022)(indicating
Institutes of Health (2022), https://                   compared to white, different-sex co-applicant pairs;     that data to be collected with regard to the SOAR
www.ncbi.nlm.nih.go v/bo oks/NBK578625/p df/            male same-sex pairs with Black applicants had            program will include client sex, gender identity,
Bookshelf NBK578625.pdf.                                significantly worse acceptance outcomes).               sexual orientation.)




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statistical surveys, including strategies        flexibility and autonomy to use terms                       The Bureau has also considered
to preserve data privacy and safety.757          that they prefer.                                        commenters' statements that small
The Bureau also notes the consensus                 Although some commenters requested                    business applicants may feel
study from the National Academies                that the Bureau require the collection of                uncomfortable and have privacy
cited by a commenter that indicates that principal owners' sexual orientation                             concerns about providing sensitive
the terms used to describe individuals           information and intersex status in                       information to lenders related to the sex
who identify as or exhibit attractions           addition to the collection of information                of their principal owners. As discussed
and behaviors that do not align with             about their gender identity, the final                   in greater detail in part VIII below, after
heterosexual or traditional male-female          rule does not include these specific                     receiving a full year of reported data, the
binary gender norms are evolving.758             inquiries. The Bureau believes that such                 Bureau will assess privacy risks
   As a result of these factors, the Bureau      specific inquiries about individuals                     associated with this data and on that
                                                 would likely be perceived as more                        basis, make appropriate pre-publication
believes that an approach that allows                                                                     modification and deletion decisions.
principal owners to designate their sex/ invasive than a general request as to
                                                 "sex/gender" and, as explained above,                    The Bureau takes the privacy of such
gender with the ability to write-in or                                                                    information seriously and intends to
provide additional information (such as the overall LGBTQI+-ownership status
                                                 of the business. Accordingly, the Bureau                 make appropriate modifications and
in a free-form field on a paper or
                                                 is concerned that questions to this effect               deletions.
electronic form) will encourage                                                                              Commenters also included
applicant self-identification using              could impact the overall willingness of
                                                                                                          suggestions for whether to allow
terminology that may change over time. applicants to provide demographic                                  applicants to select only one or multiple
To increase applicants' autonomy to              information, as noted by some
                                                 commenters.                                              response categories in response to
provide responses they feel best                                                                          questions related to a principal owner's
characterize their principal owners, the            Some commenters expressed concerns
                                                 that collecting data via write-in text                   sex. As explained above, the Bureau has
final rule does not include additional                                                                    decided to include only a self-describe
sex category responses suggested by              fields may lead to data analysis issues.
                                                 The Bureau anticipates that its review of                response option in response to the
commenters nor does it require a                                                                          question about a principal owner's sex/
financial institution to provide a list of       responses to the sex/gender inquiry will
                                                                                                          gender at this time, rendering these
example responses when requesting that result in data that could be used by the                           comments moot.
an applicant provide its principal               Bureau and other regulators and, once
                                                 grouped into categories, publicly                           One commenter stated that providing
owners' sex. This approach mitigates                                                                      information about a principal owner's
the concern of some commenters that a            released  subject to any necessary
                                                                                                          sexual orientation and gender identity
list of disaggregated categories would be modifications or deletions for privacy                          should be optional for the applicant.
difficult for some lender staff to ask and purposes.                                                      The Bureau agrees, and applicants have
for some applicants to be asked.                    The Bureau believes that principal
                                                                                                          a right to refuse to provide responses to
                                                 owners' sex/gender and applicants'
   In partial response to the several            LGBTQI+-owned business status data                       questions about protected demographic
commenters who urged that the Bureau points together strike a balance that                                information. As explained in final
use the term "gender" instead of"sex," respects for small business owners'                                comment 107(a)(19)-1, financial
the Bureau is requiring financial                                                                         institutions must permit an applicant to
                                                 autonomy in self-identification, while                   refuse to answer the financial
institutions to use the term "sex/               also providing the Bureau and the
gender" when requesting information                                                                       institution's inquiry and must inform
                                                 public with information needed to                        the applicant that it is not required to
about principal owners' sex. As                  further section 1071's statutory
explained above, the Bureau interprets                                                                    provide the information.
                                                 purposes.                                                   With regard to some commenters'
ECOA's and Regulation B's prohibitions              The Bureau recognizes that the way
against discrimination on the basis of                                                                    suggestion that questions about a
                                                 financial institutions will collect data                 principal owner's gender identity and
"sex" to also include, inter alia,               about sex under the final rule differs
discrimination based on gender identity; from the collection of information about                         sexual orientation should be optional
this interpretation as to what is                                                                         for financial institutions, the Bureau is
                                                 the sex of home mortgage applicants                      not requiring separate questions for sex,
included within the scope of the term            under Regulation C/HNMA.760 Although
"sex" necessarily also applies to the                                                                     gender identity, and sexual orientation
                                                 the collection of ethnicity, race, and sex               for the reasons above. Thus, these
collection of information about a                data in both contexts serves related fair
principal owner's "sex" under section                                                                     commenters' suggestion is moot.
                                                 lending purposes, the two regulations                       The Bureau does not believe it would
1071.759 The Bureau believes that                have different legal authorities, cover
requiring financial institutions to ask for different markets, and were developed                         be appropriate, however, to remove the
information about "sex/gender" will                                                                       requirement to collect principal owners'
                                                 at different times. The Bureau has                       sex, suggested by some commenters. As
provide principal owners with the                specifically tailored the collection of sex              discussed above, the collection of
                                                 data under this final rule implementing                  information about sex is required under
  757 Off. of Mgmt. & Budget, Off. of the Chief
                                                 section 1071 for the small business                      section 1071.
Statistician of the U.S., Recommendations on the
Best Practices for the Collection of Sexual
                                                 lending context, in consideration of the                    The Bureau is not requiring financial
Orientation and GenderldentityData on Federal    comments received and of continuing                      institutions to report what sex or gender
Statistical Surveys (Jan. 11, 2023), https://    developments in Federal government's                     is indicated on a principal owner's State
www.whiteh o use.govlwp-content/uploads/2023/01/ approach to collecting information
SOGI-Best-Practices.pdf.
                                                                                                          driver's license, as requested by one
  758 Nat'l Acads. of Scis., Eng'g, & Med.,
                                                 about sex, gender identity, and sexual                   commenter. As the commenter
Understanding the Well-Being ofLGBTQI+           orientation.                                             acknowledged, State requirements differ
Populations 1-2. See also Nat'l Acads. of Scis.,                                                          as to what residents may select as to
Eng'g, & Med., Measuring Sex, Gender Identity, and     769 As the Bureau is exempting HMDA-reportable
                                                                                                          their sex and/or gender on their State
Sexual Orientation 1-4 to 1-5 (discussing terms      transactions from the data collection requirements
and identities associated with the concepts of       of the final rule, in § 1002.104(b)(2), strict
                                                                                                          government-issued identification and
gender, sex, and sexual orientation).                consistency between reporting categories is          the available selections may not be
  759 86 FR 14363 (Mar. 16, 2021).                   unnecessary.                                         adequate as to a principal owner's self-




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identified sex and/or gender. As noted                 and race data could be difficult,              institution meets with a principal owner
above, the Bureau believes that the                    significantly undermining section              in person if an employee or officer of
collection of principal owners' sex                    1071's purposes. Historically, one             the financial institution or one of its
information under this rule should be                  challenge under HMDA has been the              affiliates has a meeting or discussion
based solely on an applicant's self-                   reluctance of some applicants to               with the applicant's principal owner
identification. However, as the                        voluntarily provide requested                  about an application and can visually
commenter also pointed out, some                       demographic information, such as               observe the principal owner. The
governmental authorities allow                         ethnicity and race. The Bureau                 proposed comment would have also
individuals to indicate their sex as "X"               explained that the requirement in              provided examples of situations where
in government-issued documents.                        Regulation C to collect race, sex, and         the financial institution meets in person
Nothing in this rule would interfere                   ethnicity on the basis of visual               with a principal owner and where it
with a principal owner choosing to                     observation or surname is an important         does not. The Bureau requested
designate their sex in that way in the                 tool to address that challenge, and that       comment on this approach and whether
self-describe response option.                         it believes that the requirement has           there should be additional or different
  With regard to one commenter's                       resulted in more robust response rates         examples.
statement that the Bureau should not                   in the HMDA data.                                Proposed comment 107(a)(20)-11
allow the use of previously collected                     Accordingly, the Bureau proposed            would have clarified that a financial
information due to concern about                       that financial institutions collect at least   institution uses only aggregate
misuse of such data, the final rule                    one principal owner's ethnicity and race       categories when reporting ethnicity and
specifies how previously collected                     (but not sex) on the basis of visual           race based on visual observation and/or
information may be used, as discussed                  observation and/or surname in the              surname and would have directed
further in the section-by-section                      circumstances described above. Under           financial institutions to proposed
analyses of §§ 1002.107(d) and                         the Bureau's proposal, a financial             appendix G for additional information
1002.110(e) below.                                     institution would not have been                on collecting and reporting ethnicity
  Regarding a commenter's suggestion                   required to collect ethnicity and race via     and race based on visual observation
that the Bureau should consult further                 visual observation and/or surname if the       and/or surname. The Bureau requested
with stakeholders before finalizing any                applicant provided any demographic             comment on whether to permit, but not
publication of information about sexual                information regarding any principal            require, financial institutions to use the
orientation and gender identity of                     owner. For applicants with multiple            disaggregated subcategories as well
principal owners, the Bureau intends to                 principal owners, the financial               when reporting ethnicity and race based
engage further with stakeholders before                institution may not be able to determine       on visual observation and/or surname.
                                                        whether the applicant had provided the           In addition to the specific matters
publishing data, as discussed in part
VIII below.                                            demographic information of the                 identified above, the Bureau sought
                                                        principal owner who met in person with        comment on its proposed approach to
Proposed Rule—Collecting Ethnicity                     the financial institution or for another       this data point, the proposed methods of
 and Race via Visual Observation or                     principal owner. The Bureau sought            collecting and reporting the data, and on
Surname in Certain Circumstances                       comment on this proposed approach.             whether additional clarification
    The Bureau proposed that financial                 The Bureau also sought comment on              regarding any aspect of this data point
 institutions be required to collect and                whether a financial institution should        is needed.
report at least one principal owner's                  be required to collect a principal             Comments Received—Collecting
 ethnicity and race based on visual                    owner's ethnicity and/or race via visual       Ethnicity and Race via Visual
 observation and/or surname in certain                 observation and/or surname if the              Observation or Surname in Certain
 circumstances. This would have been                   applicant has only one principal owner,        Circumstances
required if the financial institution met              the  applicant does not provide all of the
                                                        principal owner's requested                      General comments. The Bureau
 in person with one or more of the                                                                    received comments from many banks,
 applicant's principal owners and the                  demographic information, and the
                                                       financial institution meets in person          trade associations, community groups,
 applicant did not provide ethnicity,                                                                 members of Congress, small business
race, or sex information for at least one               with the principal owner. The Bureau
                                                       noted that in this situation, the financial    owners, service providers, and others on
 principal owner in response to the                                                                   its proposal that financial institutions be
                                                       institution would be able to "match"
financial institution's inquiry pursuant                                                              required to collect at least one principal
to proposed § 1002.107(a)(20).                         any demographic information that the
                                                       applicant provides with the correct            owner's ethnicity and race on the basis
    The Bureau noted that demographic                                                                 of visual observation and/or surname
                                                        principal owner because there is only
response rates in the SBA's Paycheck                                                                  under certain circumstances. A
                                                       one principal owner.
Protection Program data are much lower                    Proposed comment 107(a)(20)-9               community group, a joint letter from
 when compared to ethnicity, race, and                  would have explained that a financial         community and business advocacy
sex response rates in HMDA data.761                    institution would be required to report        groups, and a CDFI lender supported the
The Bureau reasoned that without a                     ethnicity and race based on visual             proposed requirement, emphasizing that
visual observation and/or surname                      observation and/or surname in certain          demographic data collection via visual
collection requirement, meaningful                     circumstances. It would have further           observation and surname analysis has
analysis of principal owner ethnicity                  explained that a financial institution         been required by Regulation C for many
   761 Small Bus. Admin., Paycheck Protection
                                                        would not be required to report based         years. The community group also
Program Weekly Reports 2021, Version 11, at 9          on visual observation and/or surname if        commented that ethnicity and race
(effective Apr. 5, 2021), https://www.sba.gov/sites/   the principal owner only meets in              information, including information
 default/f7les/2021-04/PPP Report_Public_210404-        person with a third party through whom        collected via visual observation and/or
508.pdf. Paycheck Protection Program data were         the applicant is submitting an                 surname as proposed, will allow data
taken from 2021 loans for which the collection form
for principal owner demographics was included in       application to the financial institution.      users to assess how the experiences of
the application itself and, for most of that time, was    Proposed comment 107(a)(20)-10              small businesses differ by approximate
featured on the first page of the application.          would have clarified that a financial         amount of minority ownership in the




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business, particularly when combined        collection process, leading to inaccurate    likewise stated that the Bureau should
with information about an applicant's       or distorted data. Several said that such    only require lenders to report based on
number of principal owners under            purported bias should not be part of the     applicant-provided data to promote
proposed § 1002.107(a)(21).                 underwriting process or that section         accuracy and inclusivity. Several
  Many commenters objected to the           1071 was intended to combat this type        commenters noted that a principal
proposed requirement. A number of           of bias. One commenter said that banks       owner's ethnicity and race could be
industry commenters stated that the         do not consider the ethnicity, race, or      reported differently by different lenders
Bureau should require only the              gender of small business applicants and      under the proposed requirement.
reporting of applicant-provided data. A     argued that they should not be required        Some commenters said that loan
number of agricultural lenders, a trade     to guess such information. Other             officers and bank employees lack the
association, a service provider, a          commenters asserted that inaccuracies        expertise or training to make ethnicity
community group, and a business             in the collected data would not support      and race determinations, and that the
advocacy group stated that while they       rigorous analysis, would not serve the       proposed requirement would lead to
support the collection of demographic       purposes of section 1071, and would be       guessing. Another commenter said the
information and the need for robust         inconsistent with congressional intent       proposed requirement would create
data, they do not support the proposed      to collect reliable data on small business   training and other employment hurdles
requirement. A few industry                 credit. Several other commenters             without producing meaningful
commenters said that the Bureau should      similarly stated that data collected via     information.
only require best efforts to collect        visual observation or surname would            Several commenters noted that the
demographic information.                    impair analyses, conclusions, and            proposed requirement would result in
   Use of visual observation and            policies based on such data.                 inaccurate data when the person filling
surname to collect sex. A number of           Several commenters asserted that data      out the application is not a principal
commenters, including banks, trade          collected pursuant to the proposed           owner of the business, but rather an
associations, community groups, and         requirement would be inaccurate              employee. Commenters also asserted
LGBTQI+ advocacy groups, supported          because the process would be based on        that data would be misleading when the
the Bureau's proposal to not require the    or encourage the use of racial               ethnicity and race of the principal
use of visual observation and/or            stereotypes or assumptions. Several          owner meeting with the bank is not
surname to report a principal owner's       other commenters asserted that               representative of the other principal
sex. Several LGBTQI+ advocacy groups        ethnicity and race determinations made       owners of the business. One commenter
commented that visual observation of        by visual observation have been prone        asserted that the proposed requirement
the gender expression of principal          to error or unreliable, with some citing     could subject lenders to liability
owners would inevitably rely upon sex       materials on own-race bias, other-race       because they do not always interact
stereotypes and lead to inaccurate          effect, and similar issues. Some             with principal owners.
determinations of sex, gender identity,     commenters predicted that the proposed         Some commenters opposed the
or sexual orientation. A community          requirement may cause some lenders to        proposed requirement on the grounds
group similarly stated that it would not    rely on surname alone to avoid               that data collected using this method
be possible in some cases to use visual     determining ethnicity and race based on      would be, they said, generally
observation to accurately identify          visual observation. Others said that the     unrepresentative of small business
gender. Several industry commenters         proposed requirement should not be           applicants. They predicted low response
stated that requiring financial             finalized because it could risk              rates to inquiries about ethnicity and
institutions to determine the sex of        perpetuating discrimination and insert       race for this rule, based on the
principal owners would make                 racial stereotyping into application         experience of the Paycheck Protection
employees uncomfortable and                 processes, posing risks to applicants and    Program, and argued that ethnicity and
potentially offend applicants who had       financial institutions alike. A              race data would be based on visual
declined to provide this information.       community group stated that the              observation and surname analysis for a
  In contrast, some banks requested that    proposed data collection method raises       disproportionate number of
the visual observation and surname          fair lending concerns. With respect to       applications, which these commenters
requirement for this rule be aligned with   reporting ethnicity and race based on        posited would result in inaccurate data.
Regulation C and thus apply to data on      surname, several commenters asserted         Several commenters stated that, as a
sex as well as for ethnicity and race.      that surname analysis was unreliable         result, inaccuracies attributable to the
These commenters said that alignment        and obsolete.                                use of visual observation and surname
with Regulation C would reduce                Commenters also identified specific        analysis would be magnified, making
reporting errors and financial              circumstances that they said could lead      the data collected unrepresentative of
institutions' compliance burden because     to inaccurate ethnicity and race             the applicant population and not useful
financial institutions would not need to    determinations based on visual               for any analyses. Others commented
use additional resources to understand      observation and surname. Some                that ethnicity and race data reported
and implement different data collection     commenters argued that the provision         based on visual observation or surname
requirements.                               does not account for situations such as      would be both inaccurate and
  Data accuracy and related concerns.       adoption, surname changes, and multi-        unrepresentative because of the
Many commenters, including a range of       ethnic or multi-racial identities. Other     increased use of digital application
lenders, trade associations, community      commenters alleged that visual               processes with no visual component. A
groups, several members of Congress,        observation and surname analysis             trade association anticipated low
business advocacy groups, and others,       would likely be inaccurate or unreliable     applicant response rates to the
were concerned that the proposed            as a result of increasing demographic        demographic questions based on its
requirement would yield unreliable          diversity. Several asserted that racial      members' experience that customers
ethnicity and race data.                    and ethnic identities are personal,          express anger or are reluctant to provide
  Some commenters argued that such a        influenced by a number of different          ownership information as required by
requirement would introduce error,          factors, and should be confirmed only        FinCEN's customer due diligence rule.
bias, and subjectivity into the data        by the applicant. Another commenter          This commenter expected that




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applicants would not want to provide        refuse to provide protected demographic      emergency nature, and the rush by all
demographic information due to              information and urged the Bureau to          parties to submit and process
concerns that it would be used in the       respect that right. One commenter said       applications. Commenters also noted
credit process, despite any assurances to   that section 1071 is structured to require   that Paycheck Protection Program may
the contrary on the sample data             financial institutions to make inquiries     not inform the likely response rates
collection form.                            for their customers' information and to      under this rule because that program
   Customer relationships. Many             allow applicants to refuse to provide        covered a wider range of businesses
commenters asserted that the proposed       such information; given this framework,      than the Bureau's proposal.
requirement would impair customer           the commenter questioned whether               Purported conflicts with ECOA and
relationships, citing small business        requiring collection would be                Regulation B. Some commenters raised
lending as more relationship-dependent      permissible under the statute when an        concerns about conflicts between the
than other forms of credit. A number of     applicant has already refused to provide     proposed requirement and subpart A of
commenters stated that it would make        the information. One commenter said          Regulation B and ECOA. One
bank employees and applicants               that applicants may not understand that      commenter stated that the proposed
uncomfortable, with some suggesting         if they decline to answer demographic        requirement is prohibited by 12 CFR
specifically that this could occur when     inquiries that lenders will determine        202.5, which provides that a creditor
in-person applicants witness employees      and report their ethnicity and race          may not inquire about the race, color,
filling out demographic information that    anyway. Several commenters                   religion, national origin, or sex of an
the applicants declined to provide. A       highlighted that HMDA,in contrast to         applicant or any other person in
number of commenters likewise said it       section 1071, does not provide a             connection with a credit transaction.
would negatively impact customer            comparable right of refusal.                 Several commenters said that the
relationships. One argued that because         Burden and cost. A few commenters         proposed requirement would require
banks are more likely to have ongoing       objected to the proposed requirement on      bank employees to consider factors that
interactions with a small business          the grounds that it would impose             ECOA prohibits creditors from
owner than someone seeking a                significant costs on some lenders. One       considering. Commenters also generally
mortgage, offense taken from visual         commenter identified costs to create and     stated that the proposed requirement
observation or surname analysis would       maintain policies and procedures, apply      conflicts with the fair lending training
be more detrimental.                        these consistently, conduct ongoing          provided to bank employees and will
   Several agricultural lenders expressed   training, and audit compliance, while        insert race as a factor in the credit
concern that the disclosure on the          another said the proposal would require      application process.
proposed sample data collection form        substantial changes to its loan                Several commenters said that a visual
informing applicants about the              processes, systems, and compliance           observation and surname requirement
obligation of lenders to report ethnicity   protocols to implement. A commenter          would not align with, or would violate,
and race information through visual         said that reliance on proxying,              the statutory firewall requirement,
observation and/or surname analysis         inference, or visual observation would       noting that the lenders would have to
would be negatively received by             impose a number of cost and                  determine a borrower's ethnicity and
applicants, stating that applicants might   compliance concerns. Several                 race but then have to "forget" and
perceive the notice as an indication that   commenters asserted that lenders may         isolate the information when making
the lender intends to or must contradict    face substantial costs to train employees    credit decisions. One requested that
the applicant's wishes. A trade             to make determinations; one said this        information collected via visual
association suggested that applicants       training could be complex for front-line     observation and/or surname not be
would feel uncomfortable providing          employees who are currently taught that      subject to the firewall provision because
their demographic information if they       ECOA and other laws prohibit the             of the difficulty in maintaining the
receive notice that such information        collection of ethnicity and race             firewall requirements for data collected
would not be subject to a firewall,         information. A CDFI lender stated that       this way.
which would lead to a greater use of        the proposed requirement would                 In-person meetings. A number of
visual observation and surname              impose less burden on larger banks and       commenters raised concerns that the
analyses.                                   online lenders, either because they will     proposed requirement would damage
   Right to refuse. A range of              have a higher number of online loan          the relationships that community banks,
commenters opposed the proposal on          applications or because they already         traditional banks, or small- to mid-sized
the grounds that applicants have a right    report demographic information on the        banks have with their customers. One
to decline to provide demographic           basis of visual observation and surname      asserted that in-person interactions are
information. One commenter said that        under HMDA.                                  important for community lenders, such
the proposed requirement would further         Response rates. Several commenters        as CDFI banks, to understand customers,
damage the public's confidence in           disputed that the higher responses rates     to make customers feel comfortable, and
financial institutions and heighten         in HMDA data, compared with lower            to identify products and services
privacy concerns, because it would          response rates in Paycheck Protection        responsive to the needs of lower income
contradict an applicant's decision to not   Program data, could be attributed to         and other underserved communities.
provide the requested information.          HMDA's visual observation and                Others emphasized that such lenders
Several cited the high percentage of        surname requirement, and also disputed       value and rely on repeated, in-person
Paycheck Protection Program loan            that this proposed requirement could         interactions with customers, saying that
applicants that did not report              improve response rates for financial         the proposed requirement would
demographic data as showing applicant       institutions complying with the small        disproportionately affect them, but
concerns about privacy and the              business lending rule. Some suggested        would favor large banks and online
importance of voluntary reporting.          that the Bureau's concern with low           lenders that did not see applicants and
   Some commenters stated that the          response rates based on the Paycheck         thus would not have to employ the
proposal is inconsistent with, or that it   Protection Program experience is             visual observation or surname analysis.
inappropriately circumvents, section        misplaced, arguing that those response       One commenter suggested that all
1071's provision that an applicant may      rates were attributable to the program's     lenders should be subject to the




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proposed requirement, because online         institutions should not be required to       the information. Other commenters
lenders can still conduct surname            determine if an individual is a principal    stated that automobile and truck dealers
analyses. Another said that the              owner, a necessary condition to collect      had expressed concerns about the
proposed requirement would                   data on a principal owner's ethnicity        proposed requirement and did not think
disproportionately subject CDFI lenders      and race via visual observation and          it would be possible to report detailed
to the risks of reporting inaccurate data,   surname analysis, if the small business      demographic information based on
including reputational damage, and           applicant chooses not to disclose its        visual observation. Another commenter
greater operational and compliance           ownership structure.                         recommended that the Bureau exempt
burden. A commenter urged that the             Litigation and compliance risk. Some       sole proprietors from the proposed
Bureau exempt community banks from           commenters were concerned that the           requirement, noting that sole proprietor
the proposed requirement.                    proposed requirement would subject           transactions are unique and may not
   In contrast, some commenters              financial institutions and their             provide meaningful data on the
suggested that the proposed requirement      employees to enforcement actions or          commercial credit market served by
would not generate much data as a            litigation if they erred in determining a    small, non-bank lenders.
result of a shift away from in-person        principal owner's ethnicity or race.            Several commenters opposed the
interactions, thus limiting or negating      Several stated that despite good faith       proposed requirement, arguing that the
its value. One such commenter                efforts, such errors could subject lenders   use of visual observation and surname
predicted that much small business           to examiner scrutiny, litigation, negative   is outdated. Two commenters stated that
lending will likely be through credit        media, and erroneous discrimination          these methods employed in Regulation
cards, which it said would not provide       claims by third parties, or subject them     C were implemented many years ago,
an opportunity to implement the              to customer complaints. One commenter        and that the Bureau should follow more
requirement, and as a result data            stated that regulators could use financial   current government agency practices,
collected via visual observation and         institutions' best-guess, but erroneous      citing a 2021 policy memo from
surname would be associated with             determinations to pursue disparate           USDA 762 rescinding the use of visual
certain loan types that may be received      impact cases, or customers could bring       observation to determine ethnicity or
by higher revenue applicants.                discrimination cases, if they are able to    race for certain Federal food programs.
   Some commenters suggested that            reverse engineer the inadvertently           One commenter stated that, as with
lenders, their employees, and applicants     incorrect ethnicity or race                  participants in the USDA programs,
would try to avoid visual observation        determinations made by financial             some small business owners may not
and surname analysis. Several said that      institutions. A community group              want their ethnicity or race determined
the proposed requirement would               suggested that financial institutions        by others, may perceive discriminatory
discourage loan officers and applicants      would avoid reporting ethnicity or race      treatment, and may avoid applying for
from meeting in person or by video call.     at all to avoid litigation risk.             credit.
Others stated that some banks may shift        Several business advocacy groups              One commenter stated that the scope
applications online, impairing the           suggested that certain lenders may use       of the proposed requirement was
personal interaction some banks have         this provision to fabricate ethnicity and    unclear, noting that the NPRM preamble
with their communities. One                  race data in order to make their lending     and proposed commentary provided
commenter predicted that the proposed        practices appear more equitable,             that a financial institution would have
requirement would discourage small           accessible, and unbiased.                    to identify at least one principal owner
business applicants from seeking credit.       Implementation and other comments.         by visual observation or surname if the
   Another commenter argued that the         A number of commenters offered               applicant does not provide the ethnicity
proposed requirement is unnecessary          specific suggestions regarding particular    and race of at least one principal owner,
because financial institutions do not        aspects of the proposal, notwithstanding     even though institutions are obligated to
always meet with the principal owners        other objections they may have raised        collect the ethnicity, race, and sex of
of a business. Several commenters said       regarding whether it should be finalized     each of the small business applicant's
that ethnicity and race determinations       at all. Several urged the Bureau to          principal owners. Several commenters
from visual observation and surname          provide guidance materials and sample        requested that financial institutions
analysis may not be representative of        disclosures, and to engage in education      should only be required to collect
the applicant population, would be           efforts to encourage applicants to self-     aggregate ethnicity and race categories.
inconsistent, and would not be               report their demographic information,           One commenter suggested the use of
comparable to other data.                    with some suggesting these options in        an automated proxy analysis of
   One commenter said that the               place of the proposed provision. Some        surnames as an alternative to the
requirement would be difficult to apply      said the Bureau should develop               proposed requirement. Another said
because a financial institution may not      guidance that lenders could use to avoid     that the Bureau could determine
know if the principal owner's                questions of interpretation and to learn     ethnicity and race with the data
demographic information had already          about resources they can use to make         reported by lenders based on surname
been collected to assess if the visual       ethnicity and race determinations on the     analysis.
observation and surname requirement          basis of a principal owner's surname.           Several commenters urged that, if the
applies, such as in the context of a brief   Several suggested that the Bureau            proposed requirement is finalized,
interaction that is later determined to be   provide a uniform surname                    demographic data should note when
an in-person meeting that would trigger      classification standard.                     they are collected via visual observation
the proposed requirement. Others asked          One commenter requested an                or surname.
for clarity on whether the proposed          exemption from the proposed
requirement would be triggered if any        requirement (and the collection of             76z U.S. Dep't of Agric., Collection of Race and

bank employee met in person with a           ethnicity and race generally) for retail     Ethnicity Data by Visual Observation and
principal owner, even if not involved        credit, on the grounds that many             Identification in the Child and Adult Care Food
                                                                                          Program and Summer Food Service Program—
with the credit application (for example     applicants will decline to provide           Policy Recission (May 17, 2021), https://
when signing closing documents).             demographic information about their          www.fns.usda.gov/cn/Race-and-Ethnicity-Da ta-
Another commenter stated that financial      principal owners given the sensitivity of    Policy-Rescission.




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Final Rule—Collecting Ethnicity and                        suggested by some commenters. The                       lending could mean few opportunities
Race via Visual Observation or Surname                     Paycheck Protection Program                             for in-person or video-enabled meetings
in Certain Circumstances                                   experience also suggests that there may                 and thus for the collection of ethnicity
   The Bureau is not finalizing its                        be benefits in such a requirement.                      and race via visual observation or
proposed visual observation and/or                            Nonetheless, the Bureau believes that                surname.
surname analysis requirement for the                       a requirement to collect principal                        The Bureau's decision not require
reasons set forth below. Final                             owners' ethnicity and race via visual                   financial institutions to collect principal
§ 1002.107(a)(19)(proposed as                              observation or surname could pose                       owners' ethnicity and race information
§ 1002.107(a)(20)) no longer includes                      particular challenges for small business                via visual observation or surname at this
references to the reporting of ethnicity                   lending that are not present in mortgage                time renders moot the comments about
and race based on visual observation                       lending. For example, applicants and                    implementation of such a requirement,
and surname. The Bureau is likewise                        co-applicants are clearly identified as                 as well as those suggesting alternatives
not adopting proposed comment                              such in mortgage applications—making                    to the proposal.
107(a)(20)-9, regarding reporting based                    it obvious whose demographic                              The Bureau intends to actively
on visual observation and/or surname;                      information has, or has not, been self-                 monitor financial institutions' response
proposed comment 107(a)(20)-10,                            reported. In contrast, this final rule—as               rates to inquiries regarding demographic
regarding meeting in person with a                         mandated by section 1071—requires a                     data to ensure that applicants are not
principal owner; and proposed                              record of the applicant's responses to a                being discouraged in any way from
comment 107(a)(20)-11, regarding the                       request for protected demographic                       providing their demographic data
use of aggregate categories when                           information to be kept separate from the                pursuant to this final rule and to
reporting using visual observation or                      application, and prohibits inclusion of                 determine whether any future
surname. The Bureau has also removed                       personally identifiable information in                  adjustments to the rule may be
other references to the collection of                      records compiled and maintained                         warranted.
ethnicity and race data via visual                         pursuant to this rule. This could make
                                                           tracking whose information has, or has                  107(a)(20) Number of Principal Owners
observation and/or surname from other
locations in the final rule.                               not, been self-reported by the applicant                Proposed Rule
  In making this decision, the Bureau                      particularly challenging. As commenters
                                                           pointed out, a financial institution                      Proposed § 1002.107(a)(21) would
carefully considered the numerous                                                                                  have required financial institutions to
comments it received, the statute, the                     might be interacting with a
                                                           representative of a small business who                  collect and report the number of the
history of the use of visual observation                                                                           applicant's principal owners. Proposed
and surname analysis under HMDA,                           is not a principal owner, or the
                                                           institution may not know—particularly                   comment 107(a)(21)-1 would have
and the recent history of the collection                                                                           explained that a financial institution
of demographic information related to                      early in the application process—if a
                                                           particular person is a principal owner.                 would be able to collect an applicant's
the Paycheck Protection Program. The                                                                               number of principal owners by
Bureau believes, based on its expertise                       In addition, the Bureau is mindful,
                                                           consistent with the comments it                         requesting the number of principal
and the longstanding use of visual                                                                                 owners from the applicant or by
observation and surname analysis in                        received, that much of the lending to
                                                           small businesses in smaller                             determining the number of principal
HMDA,that collection of demographic                                                                                owners from information provided by
information via visual observation or                      communities and in underserved and
                                                           rural areas occurs through relationship                 the applicant or that the financial
surname analysis has the capacity to                                                                               institution otherwise obtains. If the
improve response rates for demographic                     banking that involves more frequent and
                                                           more personal contact with applicants.                  financial institution asks the applicant
information—without particular risk to                                                                             to provide the number of its principal
                                                           The Bureau is also mindful of concerns
data accuracy,763 introduction of bias or                                                                          owners, proposed comment 107(a)(21)-
                                                           raised by lenders that rely on in-person
racial stereotyping into the underwriting                                                                          1 explained that the financial institution
process,764 increased litigation/                          engagement that their customer
                                                           relationships may be negatively                         would have been required to provide
compliance risk, or violations of                                                                                  the definition of principal owner set
                                                           impacted by customer discomfort with a
existing ECOA/Regulation 13,765 as                         visual observation and surname data                     forth in proposed § 1002.102(0). The
                                                           collection requirement, particularly                    proposed comment also clarified that, if
  783 While some commenters suggested that data

inaccuracies from visual observation and surname           during initial implementation of this                   permitted pursuant to proposed
analysis would have limited the usefulness,                final rule. The Bureau also                             § 1002.107(c)(2), a financial institution
integrity, reliability, or quality of the collected data   acknowledges the concerns expressed                     could report an applicant's number of
and conclusions or policies based upon the data,           by commenters that bank employees                       principal owners based on previously
the Bureau has not found this to be the case in
HMDA and would not expect it to be so here either.         may feel uncomfortable making                           collected data.
A loan officer reporting their perception of an            ethnicity and race determinations on the                  Proposed comment 107(a)(21)-2
applicant's ethnicity and race could not do so             basis of visual observation or surname.                 would have clarified the relationship
"incorrectly" (other than by intentionally mis-            On the other hand, the Bureau                           between the proposed requirement to
reporting their perception); in fact, a loan officer's
perception of an applicant's protected demographic         acknowledges comments that the                          collect and report the number of
information maybe more important for fair lending          prevalence of online lending processes                  principal owners in proposed
analyses than how the applicant self-identifies.           and use of credit cards in small business               § 1002.107(a)(21) with the proposed
  784 Collecting lenders' perceptions of the ethnicity
                                                                                                                   requirement to report verified
and race of applicants, whether or not such                fact, violate Regulation B's prohibition on inquiring   information in proposed § 1002.107(b).
perceptions are what the applicant would consider          about certain protected characteristics of an
"accurate," could have enabled an analysis of                                                                      The proposed comment would have
                                                           applicant in connection with a credit transaction,
potential bias by lenders. But the mere recordation        nor is doing so under HMDA/Regulation C a               stated that the financial institution may
of those perceptions is unlikely to create bias on the     violation. Regulation B implements ECDA, of which       rely on an applicant's statements in
basis of those perceptions.                                section 1071 is a part. Section 1002.5 of Regulation    collecting and reporting the number of
   765 Inquiring about an applicant's ethnicity and
                                                           B, and its amendments under this final rule, make
race (or collecting such information via visual            clear that the collection of ethnicity and race
                                                                                                                   the applicant's principal owners. The
observation or surname, if the Bureau were                 pursuant to this rule would not violate Regulation      financial institution would not have
finalizing that aspect of the proposal) will not, in       B.                                                      been required to verify the number of




                                                                                                                                            AdminRecord-000224
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principal owners provided by the            lending. This commenter also stated           Revenue Service instead. With regard to
applicant, but if the financial institution that in its experience, there are a           indirect vehicle financing transactions,
did verify the number of principal          number of small business lending              a trade association stated that
owners, then the financial institution      programs and funding opportunities            information about the number of
would report the verified number of         that require similar data. Thus, this         principal owners is not part of the data
principal owners.                           commenter stated its expectation that         transmitted between dealers and finance
  Proposed comment 107(a)(21)-3             the reporting requirements in the             companies and is not used for business
would have stated that pursuant to          Bureau's final rule would satisfy             purposes, thus technical and process
proposed § 1002.107(c)(1), a financial      requirements across a number of such          changes would be needed to collect and
institution would be required to            programs and reduce administrative            report the data.
maintain procedures reasonably              burden. Specifically, the commenter              A few industry commenters objected
designed to collect applicant-provided      noted that it had gathered similar data       to the collection and reporting of the
information, which includes the             on owners for Paycheck Protection             number of an applicant's principal
applicant's number of principal owners. Program loans it originated.                      owners on the basis of privacy, stating
However, the proposed comment would           A number of lenders and trade               that the data point could be used to
have explained that if a financial          associations opposed the Bureau's             identify applicants. One said that this
institution is nonetheless unable to        proposal to collect information about         concern was particularly relevant for
collect or determine the number of          the number of an applicant's principal        small communities with limited
principal owners of the applicant, the      owners. Two such commenters stated            numbers of small businesses. Two
financial institution would report that     that the information does not serve the       others urged the Bureau to not publish
the number of principal owners is "not      purposes of section 1071, unless it is to     the data point publicly to protect
provided by applicant and otherwise         allow second guessing of applicant-           applicants' privacy.
undetermined."                              provided responses as to their minority-         An agricultural lender said it was
  In addition to seeking comment on its owned or women-owned status or the                unclear how financial institutions
proposed approach to the collection and Bureau intends to require the collection          should report the number of principal
reporting of the number of principal        of ethnicity, race, and sex data for all of   owners for family farmers. This lender
owners generally, the Bureau also           an applicant's principal owners. One          emphasized that the ownership of many
sought comment on whether to instead, bank stated that the proposed number of             family farm businesses is complex and
or additionally, require collection and     principal owners data point would not         may involve multiple business entities
reporting of similar information about      offer any insight into lending patterns,      for risk management purposes, with
owners (rather than principal owners).      as it is not considered in the                separate entities for different farm
The Bureau raised, as an example,           underwriting process. Another bank            operations. The commenter provided as
whether financial institutions should be argued that the data point is not                an example a situation where a person
required to collect and report the          necessary because there is no evidence        owns only one farm parcel but works
number of owners that an applicant has that lenders use an applicant's number             several farm parcels that are owned by
that are not natural persons.               of principal owners as a basis for            a parent through multiple business
                                            discrimination. One bank questioned           entities and trusts.
Comments Received                                                                           Some industry commenters objected
                                            the benefit of collecting such
  The Bureau received comments on           information, stating that a business's        to this proposed data point as part of
this aspect of the proposal from a          ownership and principals may change           their general objection to the Bureau's
number of lenders, trade associations,      on a day-to-day basis. Another                data points proposed pursuant to ECOA
and community groups. Two lenders           commenter stated that the information         section 70413(e)(2)(H). These
and a community group supported the         collected may inadequately or                 commenters generally argued that such
Bureau's proposal for collecting and        erroneously describe an applicant's           data points, including the number of an
reporting the number of an applicant's      ownership structure, particularly where       applicant's principal owners, do not add
principal owners. The community group the legal structure of the applicant's              value or advance the purposes of
stated that the information would help      ownership may make such                       achieving fair lending or of ECOA; are
determine whether experiences in the        determinations difficult. Several             not used or collected for underwriting
small business lending marketplace are      commenters also stated that the data          or financial analysis; go beyond what
different if an owner is a woman or         point is unnecessary, because similar         other laws require financial institutions
minority, even if a small business does     information is already collected in other     to collect; add unnecessary complexity
not meet the criteria for a minority-       contexts (such as under FinCEN's              and detail to the rule; and would add to
owned or women-owned business.              customer due diligence rule) and              the burden and costs for implementing
Further, knowing the number of a            regulators already examine banks for          the rule, especially for small covered
business's principal owners would help fair lending compliance.                           financial institutions.
data users identify businesses with           Several commenters cited costs and            Two industry commenters objected to
varying percentages of ownership by         burden as the basis for their objections.     the data point on the grounds that in the
women or minorities above or below the Two banks stated that it would be                  absence of other information about an
50 percent threshold for minority-          expensive to collect the information,         applicant's ownership, such as the
owned or women-owned businesses.            with one also noting that the costs           number of owners or percentages of
One lender stated that the number of        would be passed down to customers and         ownership, the information could lead
principal owners data point, along with communities. Another bank stated that             to incorrect assumptions about the
others proposed by the Bureau, would        because it does not collect information       ownership structure of a small business
provide insight on the quality of capital about the number of an applicant's              applicant. For example, the commenters
being accessed by small businesses,         principal owners currently, the               noted that if demographic data are
assist in showing how financial             proposed requirement would entail             reported for one individual, it could
institutions compare across different       changes to its operating procedures and       lead to a conclusion that the applicant
metrics, and help determine if an           suggested that the Bureau could obtain        has only one principal owner, when the
institution is engaged in equitable         this information from the Internal            applicant has several owners, but only




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one with more than a 25 percent              which authorizes the Bureau to require      applicant's business statuses under
ownership share.                             financial institutions to compile and       § 1002.107(a)(18), strikes a balance so
   Two commenters urged the Bureau to        maintain "any additional data that the      that the Bureau is likely to receive
provide a regulatory safe harbor for         Bureau determines would aid in              useful data that will allow it and others
reporting information about an               fulfilling the purposes of [section         to develop a nuanced understanding of
applicant's number of principal owners,      1071]."                                     small business lending practices
as part of a global safe harbor for all        The Bureau believes that the              generally, even if it does not present a
applicant provided data, or a safe harbor    information will provide important          complete picture of each applicant's
similar to that in proposed                  context for other information collected     ownership structure.
§ 1002.112(c).                               and reported under the rule and thus           The Bureau does not believe that the
  Several community groups suggested         serve the purposes of section 1071. The     fact that some applicants have
additional data points related to            Bureau acknowledges that, as argued by      complicated ownership structures
ownership. One such commenter                commenters, the number of an                necessitates removal of this data point
suggested that the Bureau require            applicant's principal owners may not be     from the final rule. Although some
financial institutions collect and report    information considered by financial         small business applicants, such as
the percentage amount of a principal         institutions in the underwriting process    family farmers, may have ownership
owner's ownership. This information,         or, by itself, serve as the basis of        structures where there are many owners
argued the commenter, would enable           discrimination. However, as noted by        and/or where ownership is through
the Bureau to refine its data and reveal     other commenters, information about         various business entities, the rule's
specific disparities in lending by           the number of small businesses'             definition for principal owner means
ownership composition. Another               principal owners will help data users,      that applicants would be required to
commenter suggested that the Bureau          including the Bureau, understand how        identify only individuals, and not
require financial institutions to ask        small business applicants' experiences      entities or trusts, with direct ownership
applicants for the number of individuals     in the lending marketplace differ on the    in the business and would not need to
who own less than 25 percent of the          basis of the demographic composition of     trace ownership through multiple
applicant, to provide more insight on        their ownership and identify business       business entities or provide information
the distribution of small businesses and     and community development needs and         about individuals with small equity
their experiences. One other commenter       opportunities. Thus, even if an             shares in the business. Under comment
instead suggested that the Bureau add        applicant is not a women-owned,             107(a)(20)-1, this definition would be
additional data points to measure the        minority-owned, or LGBTQI+-owned            provided to an applicant in conjunction
percentage of ownership by women and         business under § 1002.107(a)(18),           with the request for the number of its
by people of color, to further enable        through the number of principal owners      principal owners. The Bureau believes
evaluations of access to credit based on     data point, data users will still have      that the straightforward definition in
the proportion of ownership and control      some insight into what proportion of the    § 1002.102(0) will assist applicants in
by such individuals.                         small business's ownership has the          providing this information.
   A joint letter from community and         demographic characteristics provided           Further, the Bureau believes the
business advocacy groups requested that      by the applicant.                           information about the number of an
the Bureau clarify proposed comment            The Bureau acknowledges some              applicant's principal owners will be
107(a)(21)-3, which stated that if a         commenters' concerns that the number        useful and facilitate the purposes of
financial institution is unable to collect   of principal owners data point would        section 1071, even if a specific
or "otherwise determine" an applicant's      not provide a comprehensive picture of      applicant's ownership changes over
number of principal owners, the              an applicant's ownership structure.         time. Under the Bureau's proposal, as
financial institution should report it as    Final § 1002.102(0) defines a principal     with the final rule, applicants are asked
unknown. The community groups asked          owner as an individual who directly         for information in relation to individual,
the Bureau to clarify the meaning of the     owns 25 percent or more of the equity       covered applications to allow data
phrase "otherwise determine," and            interests of a business. As a result, the   users, in the aggregate, to ascertain
specifically whether financial               requirement to collect information about    lending patterns at the institution or
institutions may limit its investigation     the number of an applicant's principal      community levels. The data meets the
to documents obtained from the               owners will not account for individuals     final rule's purposes if it is accurate at
applicant in the normal course of an         with either indirect ownership or less      the time the data are collected.
application, or if they have an obligation   than 25 percent ownership in the            Identifying changes in ownership over
to conduct a due diligence investigation     business. However, the Bureau believes      time will also further the business and
of corporate records.                        that this supports, rather than counsels    community development and fair
                                             against, inclusion of this data point in    lending purposes of section 1071.
Final Rule                                                                                  Some commenters suggested that the
                                             the final rule.
  For the reasons set forth herein, the        The Bureau also is not adding other       number of principal owners data point
Bureau is finalizing the requirement for     data points related to ownership to the     should not be required under the final
financial institutions to collect and        final rule. The Bureau considered the       rule because similar information is
report the number of an applicant's          general likelihood that an individual       collected in other contexts. However,
principal owners, renumbered as              responding for the applicant would          the definition of principal owner under
§ 1002.107(a)(20), and its associated        know the information being requested        § 1002.102(0) has been specifically
commentary. In consideration of the          in formulating its proposal. The Bureau     tailored by the Bureau to meet the
comments received, the Bureau is doing       believes that applicants are likely to      purposes of section 1071. Information
so pursuant to its authority under ECOA      know the number of its principal            about differently defined owners under
section 70413(g)(1) to prescribe such        owners and will be willing to provide       different regulatory regimes, reported to
rules and issue such guidance as may be      that information. Overall, the Bureau       other regulatory authorities, does not
necessary to carry out, enforce, and         believes that the number of principal       facilitate section 1071's purposes of fair
compile data under section 1071 and          owners data point, particularly in          lending enforcement and identification
under ECOA section 70413(e)(2)(H),           combination with information about an       of business and community




                                                                                                                 AdminRecord-000226
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development needs and opportunities,         such information seriously and will be    references to other parts of the final
nor could such data be matched to a          making appropriate modifications and      rule.
particular covered application reported      deletions to any data before making it    107(b) Reliance on and Verification of
under section 1071.                          public.                                   Applicant-Provided Data
   With respect to commenters'                  With respect to commenters' request
arguments that the additional burden         that the Bureau clarify financial         Proposed   Rule
and costs that would result from the         institutions' obligation to determine the    ECOA section 70413(e)(1) provides
number of principal owners data point        number of an applicant's principal        that "[e]ach financial institution shall
warrant its removal from the final rule,     owners, the Bureau believes that the      compile and maintain, in accordance
the Bureau notes first that commenters       proposed commentary is sufficiently       with regulations of the Bureau, a record
did not identify any specific costs or       clear and does not need to be revised.    of the information provided by any loan
burdens with reporting the number of         The Bureau's intent in proposed           applicant pursuant to a request under
principal owners data point in               comment 107(a)(21)-3 that a financial     [section 704B(b)]." 766 Section 1071 does
particular, as much as concern about the     institution report that the number of     not impose any requirement for a
costs and burden of reporting data           principal owners is "not provided by      financial institution to verify the
points adopted pursuant to the Bureau's      the applicant and is otherwise            information provided by an applicant.
statutory authority in ECOA section          undetermined" was to refer to the            During the SBREFA process, a
70413(e)(2)(H) generally. The Bureau         possibility that a financial institution  number of small entity representatives
acknowledges that financial institutions     may not know the number of the            urged the Bureau to require collection
will experience some initial expenses        applicant's principal owners if, despite  and reporting of a number of data points
and burden in implementing new               maintaining reasonably designed           based only on information as provided
regulatory data collection requirements.     procedures to obtain the information,     by the applicant.767 No small entity
However, the Bureau understands that         the applicant does not provide the        representatives   stated that they thought
financial institutions already collect and   information and the financial institution verification should be generally
maintain information about the               does not otherwise verify such            required. The industry stakeholders
ownership of certain businesses under        information. The Bureau has also          who commented on this issue asked that
FinCEN's customer due diligence rule.        revised comment 107(b)-1 to clarify       the Bureau not require verification of
The Bureau does not believe that there       what information may be used to verify    applicant-provided information. The
will be significant costs and burden         information. Given these other            Bureau did not receive any comments
associated with collecting and reporting     statements in the commentary, the         on this issue from community group
information about applicants' principal      Bureau does not believe that further      stakeholders during the SBREFA
owners specifically, as opposed to           clarification of financial institutions'  process.
generally as part of a new data              obligation to determine the number of        The Bureau proposed in § 1002.107(b)
collection regime. The Bureau considers                                                that  unless otherwise provided in
                                             an applicant's principal owners is
the data points it is adopting pursuant      necessary.                                subpart B, the financial institution
to section 704B(e)(2)(H)—including the
number of an applicant's principal              As explained in the section-by-section would be able to rely on statements of
owners and the corresponding costs and       analysis of § 1002.102(o), the Bureau has the applicant when compiling data
                                             changed the definition of principal       unless it verified the information
burden to implement their collection—                                                  provided, in which case it would be
necessary to facilitate the purposes of      owner to use the term "individual"
                                             instead of"natural person" for            required  to collect and report the
section 1071.                                                                          verified information. The Bureau
  The Bureau does not believe that a         comprehensibility reasons. Accordingly,
                                             the commentary for final                  believed that requiring verification of
specific safe harbor is necessary for                                                  collected data would greatly increase
reporting the number of an applicant's       § 1002.107(a)(20) has likewise been
                                                                                       the operational burden of the rule.
principal owners, as urged by                updated to refer to individuals and not
                                                                                       Proposed comment 107(b)-1 would
commenters. As provided in final             natural persons.
                                                                                       have explained that a financial
comment 107(a)(20)-2 (proposed as               To streamline the commentary, the      institution could rely on statements
comment 107(a)(21)-2), a financial           Bureau has revised comment                made by an applicant (whether made in
institution is entitled to rely on the       107(a)(20)-1 (proposed as 107(a)(21)-1) writing or orally) or information
statements provided by the applicant in      to remove the first sentence as to        provided by an applicant when
collecting and reporting the information     requesting the number of an applicant's compiling and reporting applicant-
provided by the applicant. As a result,      principal owners from the applicant or    provided data; the financial institution
any such good faith reporting by a           determining such information from         would not be required to verify those
financial institution of the number of an    other information, as duplicative of      statements. Proposed comment 107(b)-1
applicant's principal owners that the        content in comment 107(b)-1, which        would have further explained, however,
financial institution has no reason to       applies to the number of principal        that if the financial institution did verify
believe is inaccurate will not be a          owners data point. For similar reasons,   applicant statements for its own
violation of the regulation's                it has removed the last sentences of      business purposes, such as statements
requirements.                                comments 107(a)(20)-1 and —2,             relating to gross annual revenue or time
  In response to commenters' concerns        regarding the use of previously collected in business, the financial institution
that information about an applicant's        data and about verification, as           would report the verified information.
number of principal owners may be            straightforward applications of final     The comment would have gone on to
used to identify applicants, the Bureau      § 1002.107(d) and (b), respectively, that explain that, depending on the
will review the data received to             would not provide any new content.        circumstances and the financial
complete the full privacy analysis to        Otherwise, the Bureau is substantially    institution's procedures, certain
determine the privacy risks associated       finalizing the commentary for             applicant-provided data could be
with the publication of the application-     § 1002.107(a)(20) with changes to reflect
level data as discussed in part VIII,        updated numbering for the data point        786ECOA section 700(e)(1).
below. The Bureau takes the privacy of       and also updating and adding cross-         767 SBREFA Panel Report at 26.




                                                                                                                 AdminRecord-000227
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collected without a specific request       sometimes a financial institution would     purposes, such as statements relating to
from the applicant. For example, gross     collect documents such as tax forms that    gross annual revenue or time in
annual revenue could have been             contain information that conflicts with     business, the financial institution
collected from tax return documents. In    applicant statements, for example a         reports the verified information. The
addition, the proposed comment would       different NAICS number, even though         comment also makes clear that when
have made clear that applicant-provided    the financial institution is not            collecting certain applicant-provided
data are the data that are or could be     "verifying" that data point. Other          data, depending on the circumstances
provided by the applicant, including       commenters expressed concern about          and the financial institution's
those in proposed § 1002.107(a)(5)         how reporting information verified later    procedures, a financial institution may
through (7), and (13)through (21).         would affect use of the "firewall." A       collect and rely on information from
  The Bureau sought comment on its         group of trade associations stated that     appropriate third-party sources without
proposed approach to verification of the   collecting the verified information         requesting it from the applicant. The
1071 data points, including the specific   would provide little benefit and the        comment then provides further
guidance that would have been              already difficult implementation of the     guidance on collection and verification
presented in comment 107(b)-1. The         rule would be made even more onerous        of applicant-provided data, including a
Bureau also sought comment on              by this provision. In addition, one         list of applicant-provided data points. In
whether financial institutions should be   commenter stated that the verification      order to facilitate compliance, final
required to indicate whether particular    provision was similar to HMDA, which        comment 107(b)-1 also adds references
data points being reported have been       they considered to be very onerous.         to two comments that explain
verified or not.                             A community group and a women's           restrictions regarding verification of
                                           business advocacy group suggested that      certain data points.
Comments Received                          the final rule should require additional       The Bureau believes that requiring
  The Bureau received comments on          verification. The community group           verification of applicant-provided data
this aspect of the proposal from           stated that verification of a few key data  points would greatly increase the
numerous lenders, trade associations,      points that are generally verified by       operational burden of the rule, and that
community groups, and a business           lenders now, such as gross annual           relying on applicant-provided data,
advocacy group. Several lenders and        revenue, or that can be easily checked,     whether directly from the applicant or
trade associations supported the           such as the NAICS code, should be           through appropriate third-party sources,
proposed provision, agreeing with the      required. A business association urged      will ensure sufficient accuracy to carry
Bureau that requiring verification of      the Bureau to look into ways to verify      out the purposes of section 1071. As
collected data would greatly increase      that the correct information is offered     explained above, section 1071 does not
the operational burden of the rule.        and reports are accurate.                   speak to verification; rather it refers
These commenters did not object to                                                     only to compiling and maintaining a
reporting verified information when a      Final Rule
                                                                                       record of certain information provided
financial institution verifies applicant     For the reasons set forth herein, the     by an applicant. However, the Bureau
statements for its own business            Bureau is finalizing § 1002.107(b) with     believes that requiring financial
purposes. Several of these commenters      additional language making clear that a     institutions to collect and report (for
did, however, object to the possible       financial institution may rely on           this final rule) information that they
inclusion of a provision requiring         information from appropriate third-         have already verified will only add
financial institutions to flag whether or  party sources as well as the applicant,     slight operational difficulty, and will
not they had verified reported data, a     and other edits for clarity. Final          enhance the accuracy and usefulness of
question that the NPRM had sought          § 1002.107(b) provides that unless          the data, thereby furthering the
comment on. Although these                 otherwise provided in subpart B, the        purposes of section 1071. The Bureau is
commenters did not discuss reasons for financial institution may rely on               implementing this requirement
objecting to the verification flag, the    information from the applicant, or          pursuant to its authority under ECOA
context suggests that they were            appropriate third-party sources, when       section 70413(g)(1) to prescribe rules in
concerned about the operational            compiling data. Section 1002.107(b)         order to carry out, enforce, and compile
difficulty of carrying out such a          further states that if the financial        data pursuant to section 1071, and as an
provision.                                 institution verifies applicant-provided     interpretation of the statutory phrase
  Several banks and trade associations     data, however, it shall report the          "compile and maintain" in ECOA
supported the ability to rely on           verified information.                       section 70413(e)(1). In the Bureau's view,
unverified applicant-provided data, but      The Bureau is also finalizing             the fact that the statute does not use the
objected to the requirement to report      associated comment 107(b)-1 with            specific word "verification" is not
verified information when the financial phrasing edits similar to those in the         relevant to this issue because the
institution verifies applicant statements regulation text, and revised and             verification that the financial institution
for its own business purposes. Some of     additional cross-references to facilitate   chooses to carry out is a standard part
these commenters pointed out that          compliance. Final comment 107(b)-1          of compiling and maintaining the
verification may happen after the initial explains that a financial institution may information provided by the applicant.
application, different lenders have        rely on statements made by an applicant The Bureau also believes that this
different methods of verification, and     (whether made in writing or orally) or      requirement will improve the quality
updating the information for reporting     information provided by an applicant        and usefulness of the resulting dataset,
would be operationally difficult. One of when compiling and reporting                  thereby furthering the purposes of
these commenters stated that the           applicant-provided data; the financial      section 1071.
verification may be carried out by         institution is not required to verify those    In regard to the possibility of the final
different staff using different platforms, statements or that information.             rule requiring financial institutions to
and section 1071 does not mention          Comment 107(b)-1 further explains,          report whether or not certain data points
verification. Other commenters             however, that if the financial institution have been verified, the Bureau notes
suggested that the term "verification"     does verify applicant statements or         that no commenters expressed support
was not sufficiently clear, and            information for its own business            for this idea, while several opposed it.




                                                                                                                 AdminRecord-000228
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The Bureau believes that such a                 The Bureau does not believe that                      institution's latitude to establish
requirement would impose considerable requiring the reporting of data that is                         procedures concerning the time and
operational difficulty, and it is not clear later verified will interfere with the final              manner that it collects applicant-
that any uses of this information would rule's firewall provision, which exists to                    provided data, provided that those
justify the increased burden.                protect against disclosure of protected                  procedures are reasonably designed to
Consequently, the final rule does not       demographic information for which                         collect the applicant-provided data in
include this provision.                     verification is not allowed. For further                  proposed § 1002.107(a). Proposed
   As discussed above, several              discussion of the firewall provision see                  comment 107(c)(1)-3 would have
commenters suggested that verification      the section-by-section analysis of                        clarified what constitutes "applicant-
might occur at different times on           § 1002.108 below.                                         provided data" in proposed
different platforms and be carried out by       The Bureau does not believe it would                  § 1002.107(c)(1).
different personnel. Although credit        be appropriate, as suggested by some                        Proposed comment 107(c)(1)-4 would
processing is complex, the Bureau           commenters, require financial                             have provided additional guidance on
anticipates that financial institutions     institutions to verify applicant-provided                 financial institutions' procedures that
will report data using the applicant's      data when they do not already do so for                   are reasonably designed to obtain a
whole credit file in order to provide       their own business purposes. As stated                    response. Proposed comment 107(c)(1)-
accurate information, as is done with       by several commenters and explained                       4 would have provided that a financial
HMDA. Although implementing the             above, requiring verification merely for                  institution shall assess on a periodic
final rule so that verified information     the purpose of data collection would                      basis whether its procedures are
can be reported will add operational        impose significant operational difficulty                 reasonably designed. Proposed
difficulty, such difficulty should be       and expense on reporters.                                 comment 107(c)(1)-4 would have
greatly reduced once the rule is                                                                      explained that one way a financial
implemented and the gathering of data       107(c) Time and Manner of Collection                      institution may be able to assess
is standardized within the financial        Proposed Rule                                             whether its procedures are reasonably
institution. In addition, the fact that                                                               designed would be, once 1071 data are
                                                Although the definition of
different financial institutions have                                                                 made publicly available, to compare its
                                            "application" triggers a financial                        response rate with similarly situated
different processes should not cause a      institution's duty to collect 1071 data,
problem because each financial                                                                        financial institutions (for example, those
institution can implement the rule to       the application definition does not
                                                                                                      that offer similar products, use a similar
                                            necessarily govern when that data must
coordinate with its own processes. As                                                                 lending model, or are of a similar size).
                                            be collected. The language and structure                    Proposed comments 107(c)(1)-5 and
explained above, the Bureau believes
that requiring reporting of the verified    of section 1071—which applies to                          —6 would have provided examples of
information when the financial              " applications" from "applicants"—                        procedures that generally are and are
institution verifies for its own purposes indicates that the data must be collected                   not reasonably designed to obtain a
will benefit data users in carrying out     sometime during the application                           response. Proposed comment 107(c)(1)-
the purposes of section 1071 by              process, but does not provide further                    5 would have provided that, although a
enhancing the quality of the data           detail.7s$                                                fact-based determination, a procedure
reported.                                       Proposed § 1002.107(c)(1) would have                  reasonably designed to obtain a
   Several commenters were concerned        required      a covered financial institution             response is one in which a financial
about how the term "verification"           to maintain procedures to collect                         institution requests applicant-provided
would be interpreted in relation to         applicant-provided data under proposed                    data at the time of a covered
unused information in the credit file       § 1002.107(a) at a time and in a manner                   application; the earlier a financial
that might conflict with applicant-         that is reasonably designed to obtain a                   institution seeks to collect applicant-
provided data. The Bureau interprets        response. The Bureau believed there                       provided information, the more likely
the word "verification" to mean the          would be benefits to providing a flexible                the timing of collection is reasonably
intentional act of determining the          approach       concerning when applicant-                 designed to obtain an applicant
accuracy of information provided, in         provided data must be collected during                   response. Conversely, proposed
this case for the purpose of processing     the application process. Given the                        comment 107(c)(1)-6 would have
and underwriting the credit applied for, variety of application processes in the                      provided that, as a general matter, a
and potentially changing that               small business lending space, the                         procedure is not reasonably designed to
information to reflect the determination. Bureau believed that requiring data                         obtain a response if a financial
Loan file information that may or may       collection to occur within a narrow                       institution requests applicant-provided
not be more accurate than applicant-         window could affect data quality and                     data simultaneous with or after
provided data and is not part of a          disrupt financial institution practices.                  notifying an applicant of action taken on
financial institution's verification of the On the other hand, the Bureau believed                    the covered application. Proposed
file's applicant-provided data or used by that safeguards would be necessary to                       comment 107(c)(1)-6 would have
the institution in processing or            ensure that financial institutions are not                provided that depending on the
underwriting the loan need not be           evading or delaying their obligation to                   particular facts, however, these
reported. For example, a financial          collect data in a manner that                             procedures may be reasonably designed
institution that uses a tax form to verify detrimentally affects response rates.                      to obtain a response; for example, if the
gross annual revenue, but does not              Proposed comments 107(c)(1)-1 and                     financial institution has evidence or a
consider or use the NAICS information       —2 would have clarified the meaning of                    reason to believe that under its
on the tax form, may continue to rely on financial institution "procedures" and                       procedures the response rate would be
the applicant-provided NAICS                 would have emphasized a financial                        similar to or better than other
information. However, if a financial                                                                  alternatives.
                                               lea See, e.g., ECOA section 704B(b)("[11n the case       Proposed comment 107(c)(1)-7 would
institution believes the tax form
                                            of any application to a financial institution . . . ...
information to be more accurate and         and 704B(c)("Any applicant. . . may refuse to
                                                                                                      have explained that a financial
chooses to report it instead of the          provide any information requested .                      institution reports updated applicant-
applicant-provided data, it may do so.      (emphases added)).                                        provided data if it obtains more current




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data during the application process.        to trigger reporting. They further stated   financial institutions have flexibility to
Proposed comment 107(c)(1)-8 would          that community banks are good at            design self-assessment methods best
have provided guidance in the event a       satisfying regulatory requirements, do      suited to their products, processes, and
financial institution changes its           not need to be second-guessed in how        business models.
determination regarding an applicant's      or when they accomplish data                   Among the proposed examples of
status as a small business.                 collection, and that the Bureau should      reasonably designed procedures, the
  The Bureau sought comment on              not be concerned about community            Bureau received the most comments
proposed § 1002.107(c)(1) and               banks' ability to maintain data quality     related to the timing of collection. The
associated commentary.                      and completeness. Even with the             comments spanned a range of positions,
                                            proposed flexibility, a community bank      with some commenters advocating for a
Comments Received
                                            generally opposed proposed                  more restricted time period for
   The Bureau received comment on           § 1002.107(c)(1), stating that the          collection of applicant-provided data
proposed § 1002.107(c)(1) from a            requirements are similar to HMDA,           while other commenters sought a more
number of lenders, trade associations,      which are very onerous and unduly           flexible approach. For example, some
and community groups. Commenters            burdensome on small and mid-size            community groups argued that financial
expressed a range of views.                 institutions.                               institutions should be required to
   General comments related to                 Comments related to the reasonably       collect applicant-provided data at the
proposed § 1002.107(c)(1). A number of designed standard. As described above,           time of a covered application. One of
commenters, mainly from industry,           proposed comments 107(c)(1)-4 through       these commenters said that requiring
supported the flexibility provided in       —6 would have provided additional           collection at the time of application
proposed § 1002.107(c)(1), including        guidance and examples of reasonably         would increase the likelihood of
provisions that would have allowed          designed procedures. The Bureau             successfully receiving the requested
financial institutions leeway to establish received numerous comments                   information, and that the benefits of
data collection procedures that best fit    concerning proposed comments                early collection outweigh the costs.
 within their processes and business        107(c)(1)-4 through —6 from a range of      Another commenter similarly asserted
 models. A CDFI lender emphasized that stakeholders.                                    that collection at the time of a covered
lenders have varying intake processes.         The Bureau received a number of          application would maximize responses
Similarly, a trade association noted that comments on its general approach in           and urged the Bureau to make it a
 while it anticipates most CDFIs will       proposed comments 107(c)(1)-4 through       requirement, rather than merely a
collect 1071 data as early in the           —6 to provide examples of procedures        suggestion, as set forth in the proposal.
application process as possible,            that are and are not reasonably designed    A credit union also said that if a
including at the time an application is     to obtain a response. A CDFI lender and     customer does not provide 1071 data
triggered, lenders should have flexibility a trade association representing CDFIs       with an application, it will be
to respond to market concerns. Trade        supported the proposed commentary           challenging for a financial institution to
associations representing automobile        and the description of"reasonably           accurately collect and report the
dealers urged the need for flexibility, for designed" procedures for collecting         required data.
example, to accommodate the different       applicant-provided data. The trade             In contrast, a number of industry
 methods by which data is collected         association noted that the examples         commenters took issue with proposed
(online and in-person) and the different were helpful to identify what lenders          comment 107(c)(1)-6, which would
parties involved in a credit transaction. should avoid and agreed that it is            have provided that collection of
 A CDFI lender argued that the              important to have safeguards to ensure      applicant-provided data simultaneous
application and timeline often depends the data are collected in a manner               with or after notifying an applicant of
on the applicant themselves, further        reasonably designed to obtain a             action taken is generally not reasonably
supporting the need for flexibility. A      response.                                   designed to obtain a response. Many of
number of commenters argued for               In contrast, other commenters argued      these commenters argued that financial
flexible collection, pointing out that      that proposed § 1002.107(c)(1) and          institutions should have flexibility to
small business lending, unlike mortgage associated commentary are ambiguous             collect applicant-provided data after
lending, does not involve highly            or incomplete and urged the Bureau to       decisioning an application. A few
regimented application procedures.          provide further guidance. A trade           commenters went further, arguing that
Trade associations representing             association representing online small       collection should be permitted or
automobile dealers further argued that      business lenders expressed concern that     required to occur after finalizing credit
flexibility would facilitate compliance     financial institutions would have           documents, after a credit decision is
 without diminishing the information        increased compliance costs to avoid         made, or during closing. One
reported.                                   unintentional non-compliance. For           commenter stated that although the
   Commenters representing community example, financial institutions may                proposed rule asserts to provide
banks similarly stressed the need for       believe they are required to compare        flexibility for financial institutions,
flexibility. A trade association asked the response rates at different parts of the     proposed comments 107(c)(1)-5.i and
Bureau to provide community banks           loan application cycle, compare results     —6.i (identifying procedures concerning
 with flexibility in how and when to        similar to an A/B testing scheme, or        the timing of collection of applicant-
collect 1071 data during the lending        otherwise consistently seek to ascertain    provided data that generally would and
process and latitude to determine what      the best ways to obtain 1071 applicant-     would not be reasonably designed to
are reasonable collection practices. The provided data. The commenter                   obtain a response) claw back that
commenter emphasized the iterative          suggested the Bureau provide additional     flexibility by expressing a clear
nature of small business lending, noting guidance so that financial institutions        preference that would discourage
that the application process can span       can ensure they meet the reasonableness     financial institutions from collecting
 weeks or months to complete. The           standard. Another commenter similarly       1071 data at any time except early in the
commenter urged the Bureau to avoid         requested that the Bureau provide more      application process. The commenter
designating a prescriptive point in time guidance on the reasonableness                 suggested the Bureau instead clarify that
 when sufficient data has been gathered     standard, and in particular clarify that    a financial institution has flexibility to




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sequence collection at a time it                        commenters argued that requiring                 commenter further stated that collecting
determines is reasonable for its business               collection of applicant-provided data            1071 data during the application stage
and products, subject to the self-                      before a credit decision is made would           would be particularly problematic for
assessment process articulated in                       exacerbate identified concerns of                vendor finance transactions because the
proposed 107(c)(1)-4.                                   discouragement and undermine the                 vendor collecting application
   Commenters advanced several                          purposes of section 1071. Similarly, a           information has no regulatory
arguments for why financial institutions                couple commenters expressed concerns requirement to do so, and so would
should be permitted to collect                          about discouragement if demographic              unlikely take the time to gather the
applicant-provided data after a credit                  information is collected early in the            required information. Another
decision is made on a covered                           application process. Two CDFI lenders            commenter asserted that post-decision
application. First, a couple of                         stated that they had received feedback           collection would also ensure that
commenters stated that it would                         from applicants that providing                   underwriters would not have access to
minimize friction during the application                demographic data early in the                    an applicant's responses related to
process; they asserted that mandating                   application process felt intrusive and           ethnicity, race, and sex. The commenter
1071 data collection while the                          raised concerns for the applicant that           asserted that financial institutions could
application is pending would frustrate                  their responses would negatively affect          ensure data is collected by making it
the application process, create                         their application. As a result, one said         part of the closing procedures for
additional obstacles, and increase the                  that it had moved collection of                  approved loans and as part of
likelihood of abandoned applications.                   demographic information from the loan remediation efforts for non-approved
Several technology providers and a                      application stage to the loan closing            loans.
trade association representing                          stage.                                             In addition to seeking comment
technology providers said that the                         A couple of commenters challenged             related to the timing of collection, the
application process is already lengthy                  the Bureau's assertion that applicants           Bureau sought comment on proposed
enough given existing legal and                         will be less likely to respond to requests § 1002.107(c)(1) and associated
underwriting requirements. The                          for the action taken. One commenter              proposed commentary generally,
commenters further stated that the                      noted that the proposed rule improperly including on the other examples in
streamlined and user-friendly                           places the burden on the financial               proposed comments 107(c)(1)-5 and —6
application experience that technology                  institution that wants to collect 1071           of procedures that generally would and
companies have sought to establish                      data after action is taken on an                 would not be reasonably designed to
would be further frustrated if 1071 data                application to show that response rates          obtain a response. The Bureau further
is required to be collected early in the                would be similar to or better than               asked commenters whether it would be
application process. Some of the                        alternative collection methods. Another useful to provide additional examples.
commenters argued that sequencing of                    asserted that Paycheck Protection                In response, commenters raised a
1071 data collection involves a tradeoff                Program data demonstrate that                    number of issues related to the
between getting small businesses to                     applicants are less likely to answer a           commentary on reasonably designed
respond to 1071 data requests and                       question about their race on a credit            procedures in proposed comments
getting small businesses to apply for                   application. A trade association                 107(c)(1)-4 through —6.
credit at all. Another trade association                representing equipment and leasing                 Several commenters weighed in on
similarly emphasized the need for                       finance companies similarly asserted             the provision in proposed comment
flexibility, particularly for fast-paced                that post-decision collection would              107(c)(1)-4 that financial institutions
processes that render a decision in                     improve response rates.                          shall "reassess on a periodic basis"
minutes.                                                  Commenters advanced several other              whether its procedures are reasonably
   Several of the commenters argued that                arguments for why applicant-provided             designed to obtain a response. One
collection of applicant-provided data                   collection should be permitted or                commenter stated that it would be
early in the process could cause an                     required to occur after decisioning an           appropriate for financial institutions to
applicant to believe that such                          application. A trade association                 conduct periodic reassessments of their
information would be considered as part                 representing equipment and leasing               collection procedures, but urged that
of the credit decision, therefore                       finance companies predicted that                 procedures should not need to be
potentially discouraging an applicant                   collecting applicant-provided data with reexamined more frequently than once
from applying for credit. A group of                    the credit application would lead                every three years. The commenter
technology providers stated that                        applicants to provide little information         suggested an additional safeguard
collection of demographic information                   given the speed of the transaction,              would be to encourage consistent
before a credit decision is made may                    which is often completed in minutes.             collection across individual institutions
invite the perception of bias in the                    The commenter also asserted that the             and small business lending sectors.
application process, especially if an                   person initially completing the                  Another commenter urged the Bureau to
applicant is later denied credit. The                   application is often not the business            provide greater clarity on how frequent
commenters cited a Federal Reserve                      owner or familiar with the owner, and            "periodic" testing must occur so that
Banks survey, which they stated showed                  so would lack the requisite knowledge            financial institutions can allocate
that minority-owned businesses were                     to provide certain 1071-required                 resources accordingly, and encouraged
more likely than white-owned                            information. If, on the other hand, the          the Bureau to take into account different
businesses to report that they did not                  financial institution can follow-up              products and resources among financial
apply for financing because they either                 electronically or through other means            institutions. A business advocacy group
believed they would be turned down or                   with the business, the commenter                 urged the Bureau not to treat an
found the application process too                       asserted that the request could be               applicant's decision to not to provide
                                                        directed to the person in the best               1071 data as evidence that a lender
difficult or confusing.769 The
                                                        position to provide the information. The lacks reasonably designed procedures.
  789 Citing Fed. Rsrv. Bank of Atlanta et al., Small
                                                                                                            A couple of commenters provided
Business Credit Survey: 2021 Report on Firms            https://www.fedsmallbusiness.org/surveyl202l/    feedback on the use of response rates. A
Owned by People of Color, at 25 (Apr. 15, 2021),        2021-repo rl-on-firms-o wned-by-people-of-color. community group and a minority




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business advocacy group asked the            used. A community bank and a                          point of sale transactions. One stated
Bureau to reconsider guidance in             community group urged the Bureau to                   that credit applications are taken at the
proposed comment 107(c)(1)-4 that a          provide a data collection form for                    point of sale or at a customer service
financial institution may assess the         financial institutions to use when                    desk using interview-style or interactive
reasonableness of its procedures by, for     collecting 1071 data from applicants.                 processes. The commenters asserted that
example, comparing its response rate         The community bank asserted that use                  customers would feel uncomfortable
with similarly situated financial            of a data collection form would increase              answering questions related to their
institutions. The commenters argued          borrower response rates, as                           race, sex, and ethnicity in such a public
that peers may also not be making a          demonstrated by Paycheck Protection                   place, without the necessary privacy
reasonable effort to collect the data, and   Program statistics. The commenter also                accommodations. They also argued that
that it would be better to have a            argued that absent a uniform CFPB-                    collecting applicant-provided data
concrete metric, for example, based on       issued form, collection will be flawed                would significantly lengthen the
other data collection efforts with good      and the data useless. A community                     application process, frustrating retailers'
response rates.                              group stated that the Bureau may want                 focus on speed, efficiency, and limiting
   A handful of commenters asked the         to create a sample application form with              time spent in the checkout line. The
Bureau to take other actions related to      all required data elements in order to                commenters further asserted that
proposed § 1002.107(c)(1), including to      facilitate data collection. Finally, a bank           requiring 1071 data collection at the
provide additional clarifications and        and a trade association urged the Bureau              point of sale would impede the
guidance. First, a trade association         to expressly permit covered financial                 availability of commercial credit
asked the Bureau to clarify that lenders     institutions to collect required data from            applications in-store, both because
need only request 1071-required data         applicants through a variety of means,                businesses would not want to apply for
once. Next, a group of trade associations    including on an application form, on                  credit and because retailers would no
asked for clarification on proposed          supplemental documents or forms, or on                longer offer in-store private label credit.
comment 107(c)(1)-7, which would             the proposed sample data collection                   One also argued that point of sale
have provided that a financial               form. The commenters stated that                      transaction data would be of reduced
institution reports updated applicant-       certain applicant-provided data points,               data quality: the data may be collected
provided data if it obtains more current     such as number of workers, time in                    from persons who are not the principal
data during the application process. The     business, and NAICS code, are not on                  owners of a business and may therefor
commenter said that the requirement to       the sample data collection form. The                  lack the relevant knowledge, the
"update" information is ambiguous, and       commenters stated that except for data                environment is not conducive to
inquired whether a financial institution     points required to be collected on the                collecting detailed information, and the
would be required to update                  sample data collection form and kept                  data would reflect the retailer's, rather
information if an applicant supplies         separate, financial institutions should               than a financial institution's, clientele.
updated data without a request from the      be permitted to collect the other data                The commenter also said that retail staff
financial institution. The commenter         points through various means or forms.                are unable to manage sensitive
also asserted that it was unclear how           Comments requesting special                        demographic information and that
proposed comment 107(c)(1)-7 relates         treatmentfor particular transactions or               retailers will not appreciate allegations
to proposed § 1002.107(b) related to the     financial institutions. Several                       of discrimination if an application is left
reporting of verified information where      commenters urged the Bureau exempt                    pending or denied. A few commenters
obtained. A network of financial             particular types of transactions or                   suggested that if the Bureau were to
institutions specializing in agricultural    lenders from coverage under the rule,                 include private label or co-branded
lending stated that certain lenders use      primarily due to concerns about the                   transactions (which often occur as point
the information included in scoring          specific characteristics of these                     of sale transactions) in the final rule, it
models to determine whether the              application processes and the particular              should exempt transactions under
applicant business is a "small               difficulty of collecting demographic                  $50,000 to mitigate the impact of
business," and so would not be able to       information in light of these                         inclusion and provide consistency with
identify applications involving a small      characteristics.770 As discussed in the               FinCEN's customer due diligence rule.
business for which demographic               NPRM,the proposed rule would not                      Similarly, a trade association stated that
information must be collected, until         have made any exceptions concerning                   if point of sale transactions are
after a credit decision is made. The         the time and manner of collecting 1071                included, credit lines below $50,000
commenter argued that because ECOA           data for point of sale transactions.771 In            should be excepted from the
and the Fair Credit Reporting Act            response to the Bureau's request for                  requirement to obtain demographic
require a timely decision be made and        comment on point of sale transactions,                information.
communicated, it would be a direct           two trade association commenters and a                   In contrast, a community group urged
conflict of the regulations to delay         community group stated that such                      the Bureau not to provide special
communicating a credit decision to a         transactions should be provided special               treatment for point of sale transactions,
customer solely to acquire data for          treatment or exceptions. The two trade                arguing that point of sale transactions
demographic reporting purposes.              associations, one representing industry               should follow a similar procedure as
  Several commenters asked the Bureau        and another representing retailers,                   other covered transactions. The
to provide additional guidance on the        opposed rule coverage for private label               commenter voiced agreement for the
manner in which applicant-provided           applications, focusing particularly on                Bureau's suggestion in the proposed
data can be collected, including                                                                   rule that retail stores can use the sample
disclosures and sample forms for               770 See also the section-by-section analysis of     data collection form (printed or online)
collection. A CDFI lender asked the          § 1002.104 (covered credit transactions) concerning   for point of sale transactions.
Bureau to share best practices on            additional comments related to private-label credit      Next, a trade association representing
disclosures or assurances a lender can       and insurance premium finance transactions, and       insurance premium finance lenders and
                                             the section-by-section analysis of § 1002.105
provide applicants when collecting           (covered financial institutions and exempt            insurance agents and brokers similarly
demographic information to allay             institutions) concerning indirect lending.            argued that the Bureau's rule should not
concerns about how the data will be             771 86 FR 56356, 56487-88 (Oct. 8, 2021).          apply to insurance premium finance




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lenders, asserting that such lenders       rates for applicant-provided data.           and requesting further clarity and
cannot collect 1071 data until after       Finally, new § 1002.107(c)(4) provides       guidance. The revisions to final
funding. Comments regarding insurance      that low response rates for applicant-       § 1002.107(c) and responses to
premium finance are discussed in the       provided data may indicate that a            commenter feedback are discussed in
section-by-section analysis of             financial institution is discouraging        depth below.
§ 1002.104(b)(3).                          applicants from responding to requests
  Finally, one trade association argued                                                 Final Rule—§ 1002.107(c)(1) in General
                                           for applicant-provided data or otherwise
for the exemption of captive vehicle       failing to maintain procedures to collect       Final § 1002.107(c)(1) requires a
finance lenders, based in part on          applicant-provided data that are             covered financial institution to not
concerns about the collection of small     reasonably designed to obtain a              discourage applicants from responding
business lending data. The commenter       response. The Bureau is finalizing           to requests for applicant-provided data
argued that because indirect lenders do    § 1002.107(c) pursuant to its authority      under § 1002.107(a) and to otherwise
not interact with the applicant, they      in ECOA section 704B(g)(1) to prescribe      maintain procedures to collect such data
cannot gather certain data required by     such rules and issue such guidance as        at a time and in a manner that are
section 1071, and therefore the motor      may be necessary to carry out, enforce,      reasonably designed to obtain a
vehicle dealer would be the only party     and compile data pursuant to section         response. As discussed above, the
capable of requesting the applicant's      1071. For the reasons discussed below,       Bureau believes this general standard
protected demographic information.         final § 1002.107(c) is necessary to          provides flexibility to accommodate
However, the commenter asserted, the       collect 1071 data from applicants and        various small business lending models
dealer is outside the CFPB's authority     prevent financial institutions from          while also imposing a general duty to
and is currently prohibited by ECOA        discouraging or influencing an               maintain procedures concerning the
from gathering this information. The       applicant's response.                        collection of applicant-provided data
commenter stated that the proposal           Final § 1002.107(c) seeks to provide a     that are reasonably designed to obtain a
would put pressure on dealers to collect   balance between flexibility and ensuring     response, including not discouraging
otherwise protected information. The       data collection occurs without               applicant responses. In general,
commenter further noted that the           discouragement and otherwise in a time       reasonably designed procedures will
employee acquiring the vehicle may not     and manner likely to generate a robust       seek to maximize collection of
be familiar with the requested data,       response. On the one hand, the Bureau        applicant-provided data and minimize
such as total revenue or ownership         believes there are benefits to preserving    missing or erroneous data, and
structure. In addition, the commenter      some flexibility concerning the time and     procedures cannot be reasonably
voiced concerns about purportedly          manner in which applicant-provided           designed if they permit financial
having to collect data at each stage of    data are collected. As noted by a            institutions to engage in conduct that
the process, potentially by multiple       number of commenters, there are              discourages applicants from responding
covered financial institutions. The        benefits to providing a flexible approach    to requests for applicant-provided data.
commenter argued that requiring            given the variety of application             While the Bureau believes that
collection of 1071 data (such as           processes in the small business lending      reasonably designed procedures to
ethnicity, race, and sex information) at   space. The Bureau believes that              collect applicant-provided data
multiple points in the process would be    financial institutions may need latitude     inherently must not discourage
unnecessary, costly, and duplicative,      to adjust data collection practices to fit   applicants from responding, in response
and could expose financial institutions    within their own processes and business      to comments seeking additional clarity
to liability.                              models; requiring data collection at a       on the Bureau's understanding of
                                           single point in time, or only through a      reasonably designed procedures, the
Final Rule—Overview of Final                                                            Bureau is now clearly articulating the
§ 1002.107(c)                              particular method, may affect data
                                           quality and disrupt financial                prohibition against discouragement.
  For the reasons set forth below, the     institutions' practices.                        Comments 107(c)(1)-1 and —3 are
Bureau is finalizing § 1002.107(c)(1) to      On the other hand, the Bureau             finalized with minor revisions for
require a covered financial institution to believes that collection of applicant-       clarity and consistency. Final comment
not discourage an applicant from           provided data is essential to fulfilling     107(c)(1)-2 is revised to affirm a
responding to requests for applicant-      the purposes of section 1071. The            financial institution's flexibility to
provided data under final § 1002.107(a) Bureau therefore believes that                  establish procedures concerning the
and to otherwise maintain procedures to substantial safeguards are necessary to         time and manner that it collects
collect such data at a time and in a       ensure that financial institutions do not    applicant-provided data, provided that
manner that are reasonably designed to     discourage applicants from responding        its procedures otherwise meet the
obtain a response. The Bureau is           to requests for applicant-provided data      requirements of final § 1002.107(c).
adopting new § 1002.107(c)(2) to           or otherwise evade or delay their               New comment 107(c)(1)-4 (part of
identify certain minimum components        obligation to collect 1071 data in a         which was proposed as part of comment
when collecting data directly from the     manner that detrimentally affects            107(c)(1)-3) clarifies that applicant-
applicant that must be included within     response rates.                              provided data can be obtained without
a financial institution's procedures to      The Bureau is also implementing            a direct request to the applicant and can
ensure they are reasonably designed to     revisions to final § 1002.107(c) to          be based on other information provided
obtain a response. The Bureau is also      provide additional clarity to covered        by the applicant or through appropriate
adopting new § 1002.107(c)(3) to           financial institutions concerning the        third-party sources.
provide the additional safeguard that a    reasonably designed standard and                The Bureau is revising comment
covered financial institution must         minimum requirements. These changes          107(c)(1)-5 (proposed as comment
maintain procedures to identify and        are responsive to feedback from              107(c)(1)-7) to clarify that a financial
respond to indicia that it may be          commenters that proposed                     institution reports updated data if it
discouraging applicants from               1002.107(c)(1) and associated                obtains more current data from the
responding to requests for applicant-      commentary would have been                   applicant during the application
provided data, including low response      ambiguous and potentially inconsistent,      process. In response to a commenter's




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request for additional guidance on           New comment 107(c)(2)-1 provides          application.772 Not only will late
whether a financial institution must      general guidance on what are reasonably      collections miss withdrawn or
update data if the applicant provides the designed procedures and the minimum          incomplete applications—information
information without a request from the    criteria required under final                about which is essential to the purposes
financial institution, the Bureau notes   § 1002.107(c)(2). Comment 107(c)(2)-1        of section 1071—but it will also likely
that final comment 107(c)(1)-5 requires   clarifies that whether a financial           jeopardize the probability of responses
a financial institution to report data    institution's procedures are reasonably      from declined applicants. Unlike
updated by the applicant regardless of    designed is a fact-based determination       originated applications, which have
whether the financial institution solicitsthat may depend on a number of factors,      continuous touch points between an
the information. The commenter also       and that procedures that are reasonably      applicant and a lender, the Bureau
asked how proposed comment                designed to obtain a response may            believes it is highly unlikely that an
107(c)(1)-7 differs from proposed         therefore require additional provisions      applicant will continue to engage in any
§ 1002.107(b), which would have           beyond the minimum criteria set forth        information gathering process after
permitted a financial institution to rely in § 1002.107(c)(2). In general,             being denied a request for credit.
on statements of the applicant when       reasonably designed procedures will          Significantly, no commenter provided a
compiling data, unless verified           seek to maximize collection of               viable solution for ensuring collection of
information was available. Both final                                                  1071 data after an application is denied.
                                          applicant-provided data and minimize            Next, final § 1002.107(c)(2)(i) provides
comment 107(c)(1)-5 and final             missing or erroneous data.
§ 1002.107(b) require reporting of                                                     a bright line point in the application
updated information where available;         The specific components that must be      process before which financial
the former is focused on data provided    included within a financial institution's    institutions must initially seek to collect
by the applicant, while the latter is     procedures pursuant to final                 applicant-provided data, therefore
focused on data verified by the financial § 1002.107(c)(2) are each discussed in       responding to certain commenter
institution. Thus, no matter the source,  turn below.                                  feedback that the proposed standard
a financial institution should report       Provisions primarily related to the        would be ambiguous. As noted by one
updated data where available. To the      timing of collection. The Bureau is          commenter, although the proposal
extent a financial institution receives   adopting new § 1002.107(c)(2)(i), which      asserted to provide flexibility for
updates from the applicant on data the    requires covered financial institutions to   financial institutions to collect
financial institution has already         maintain procedures that provide for the     applicant-provided data at any point
verified, final comment 107(c)(1)-5 is    initial request for applicant-provided       during the application process, so long
revised to clarify that a financial       data to occur prior to notifying an          as the procedures are reasonably
institution reports the information it    applicant of final action taken on a         designed, the proposed commentary
believes to be more accurate, in its      covered application. The Bureau              clawed back that flexibility by
discretion.                                                                            expressing a clear preference for
                                          believes this requirement strikes the
                                                                                       collection before notifying an applicant
Final Rule—§ 1002.107(c)(2) Applicant- right balance between providing                 of the outcome of its application. The
Provided Data Collected Directly From     financial institutions some flexibility to   Bureau agrees this fluid framing may
the Applicant                             time the initial collection of applicant-    cause confusion, and believes providing
                                          provided data at a point that works for      a defined time frame early enough in the
   The Bureau is adopting new             their business models, while also
§ 1002.107(c)(2), which provides that for putting in place a guardrail to ensure       process when applicant-provided data
                                                                                       must be collected will assist financial
data collected directly from the          that applicant-provided data is not          institutions with compliance.
applicant, procedures that are            collected so late in the process that it       Finally, other changes in the final rule
reasonably designed to obtain a           jeopardizes the likelihood of receiving a    counsel in favor of adopting a more
response must include four specific       response from an applicant. Unlike           concrete timing standard for the
components, which are further             proposed § 1002.107(c)(1), which did         collection of applicant-provided data.
described below. The Bureau is            not set forth any concrete timing            Unlike the proposal, which would have
adopting new § 1002.107(c)(2) to          deadlines for the collection of applicant-   included a requirement in certain
provide financial institutions additional provided data, final § 1002.107(c)(2)(i)     circumstances for financial institutions
clarity on minimum criteria the Bureau    requires financial institutions to           to collect information about an
believes are necessary for a financial    initially seek to collect applicant-         applicant's ethnicity and race based on
institution's procedures to be            provided data, at the latest, before         visual observation and/or surname
"reasonably designed" to obtain a         notifying the applicant of final action      analysis if the applicant did not itself
response. Although proposed comments taken on a covered application. The               provide such information, as discussed
107(c)(1)-4 through —6 would have         Bureau is adopting this revision for         in the section-by-section analysis of
provided examples of procedures that      several reasons, described below.            § 1002.107(a)(19) above, the final rule
generally were and were not reasonably                                                 does not include such a requirement. As
designed, as discussed above, the            Foremost among them, the Bureau
Bureau received feedback that proposed believes that initial attempts to collect          77z As discussed above, proposed comment
§ 1002.107(c)(1) and associated           applicant-provided data after notifying
                                                                                       107(c)(1)-5 would have provided that although a
comments would have been ambiguous, an applicant of action taken on an                 fact-based determination, a procedure reasonably
been incomplete, or increased             application—particularly if the action       designed to obtain a response is one in which a
compliance burdens on financial           taken is a denial are likely to result in    financial institution requests applicant-provided
                                          higher rates of missing data. This view      data at the time of a covered application.
institutions seeking to avoid                                                          Conversely, proposed comment 107(c)(1)-6 would
unintentional non-compliance. The         is unchanged from the Bureau's initial       have provided that a procedure is generally not
Bureau also believes that greater clarity position at the NPRM stage, which            reasonably designed to obtain a response if a
                                          similarly encouraged collection early in     financial institution requests applicant-provided
will increase compliance and help                                                      data simultaneous with or after notifying an
ensure financial institutions put such    the process and before notifying the         applicant of action taken on the covered
safeguards into place.                    applicant of action taken on the             application.




                                                                                                                    AdminRecord-000234
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a result, financial institutions might be   As set forth in final comments                        unwilling and unmotivated to provide
less motivated to obtain demographic        107(a)(18)-1 and 107(a)(19)-1, a                      information after being denied a request
information early enough in the process,    financial institution must permit an                  for credit. After a denial, an applicant
when the applicant is still actively        applicant to refuse or decline to answer              will have no independent reason to
engaged and more likely to respond to       inquiries regarding the applicant's                   continue discussions with the lender,
data requests.                              protected demographic information and                 much less respond to new requests for
   As described above, some                 must inform the applicant that the                    information. In this respect, 1071 data
commenters urged the Bureau to tighten      applicant is not required to provide the              collection is distinct from current
the timing requirement to require           information. These protections ensure                 collection efforts by CDFIs that
collection in a narrow timeframe, while     that any applicant who does not feel                  generally seek to collect demographic
others asked the Bureau to expand the       comfortable providing a response to the               information for originated loans, but not
timing requirement to widely permit         demographic inquiries, is not required                denied loans. While CDFI commenters'
collection even after notifying an          to do so.                                             practice of collecting demographic data
applicant of action taken on a covered         Similarly, the Bureau does not believe             at loan closing may make sense for other
application. The Bureau is not adopting     that requiring an initial collection                  regulatory regimes, it would not be
either approach. Although the Bureau        attempt before notifying an applicant of              effective at capturing data on denied,
agrees with commenters who argued           action taken will result in fewer                     incomplete, or withdrawn
that collection at the time of a covered    applicants voluntarily providing certain              applications.774 Although some
application will likely increase            demographic information. The Bureau                   commenters asserted that response rates
applicant responses rates in most           notes that financial institutions                     would be better if demographic
instances, given the fluid and              regularly collect, at the time of                     information is collected post-decision,
heterogenous nature of small business       application, demographic information                  significantly, none of the commenters
lending, the Bureau believes designating    required by Regulation C without issue.               were able to provide persuasive
a narrow time-frame may be overly           Although certain commenters cited to                  evidence in support of their assertion, to
restrictive.                                the Paycheck Protection Program as                    rebut the belief that applicants are
   On the other hand, the Bureau is also    evidence that the collection of                       unlikely to respond to information
not permitting financial institutions to    demographic information at the time of                requests once they are no longer
attempt the initial collection of           application results in low response                   involved in the application process, or
applicant-provided data after notifying     rates, the demographic response rates                 to offer a workable solution to ensure
an applicant of action taken on an          for Regulation C are significantly higher             robust data collection post-decision.
application. Industry commenters'           than for the Paycheck Protection                      While one commenter suggested that
principal argument was that collection      Program, with only 14.3 and 14.7                      financial institutions could collect
of sensitive applicant-provided data        percent of HMDA respondents not                       applicant-provided data "as part of
before decisioning an application could     providing a response for race and                     remediation efforts for non-approved
lead to discouragement: applicants may      ethnicity, respectively.773 Thus, the                 loans," the commenter provided no
be concerned that the information will      lower response rate for Paycheck                      specifics as to what this would entail, or
be used against them in the credit          Protection Program applicants is likely               how or why it would be effective.
decision and thus will either not           due to independent factors. Moreover,                    Next, commenters stated that
provide the information or not proceed      to the extent that a financial institution            permitting post-decision collection
with the credit transaction altogether.     believes that applicants may be                       would minimize friction in the
Industry commenters also raised the         reluctant to provide demographic data                 application process. These commenters
concern that financial institutions could   before an application is decisioned, new              argued that streamlining the application
be accused of bias if an applicant is       § 1002.107(c)(2)(i) only requires a                   process is of paramount importance to
ultimately denied credit after providing    financial institution to make an initial              their business, and any additional delay
protected demographic information.          collection attempt before notifying an                could frustrate the application process
  The Bureau does not believe that early    applicant of action taken; nothing                    and lead to abandoned applications.
collection will discourage applicants       prevents a financial institution from                 The Bureau agrees that new
from disclosing certain demographic         making another attempt to collect data                § 1002.107(c)(2)(i) may require financial
information and does not believe this       required by this rule after the                       institutions to take some minimal
concern expressed by commenters             application is decisioned.                            additional steps during the information
outweighs the benefits of early data           Ultimately, any applicant reluctance               gathering stage of the application
collection. Initially, concerns of          to provide demographic (or other                      process, but believes that these
discouragement may be mitigated by the      applicant-provided data) pre-decision is              additional minimal steps are necessary
mandatory disclosure language set forth     not outweighed by the commonsense                     to fulfill the purposes of section 1071
in final comments 107(a)(18)-3 and          conclusion that applicants will be                    and should not impact meaningfully the
107(a)(19)-3, and included on the                                                                 rate of abandoned applications.
sample data collection form in appendix       773 See 86 FR 56356, 56483 (Oct. 8, 2021)(noting    Moreover, as discussed in the section-
E, which explains to applicants the         that demographic response rates in the SBA's
                                            Paycheck Protection Program data are "much lower
                                                                                                  by-section analysis of § 1002.107(d), the
reason the information is being             when compared to ethnicity, race, and sex response    Bureau has provided flexibilities for
collected and that the information          rates in HMDA data. For instance, roughly 71          financial institutions to reuse some
cannot be used to discriminate against      percent of respondents in the [Paycheck Protection    applicant-provided data under certain
the applicant. If, however, an applicant    Program] data did not provide a response for race,
                                            compared to only 14.7 percent in the HMDA data.       circumstances, which may alleviate the
remains concerned about providing           Roughly 66 percent of respondents in the [Paycheck
applicant demographic information, the      Protection Program] data did not provide a response      774 See, e.g., 12 CFR 1805.803 (identifying data

applicant can always choose to not          for ethnicity, compared to only 14.3 percent in the   collection and reporting requirements for the CDFI
provide any requested information (e.g.,    HMDA data.") (citing Small Bus. Admin.,Paycheck       program, which provides that a financial institution
                                            Protection Program Weekly Reports 2021, Version       recipient shall "compile data on gender, race,
by selecting "I do not wish to provide      11, at 9 (effective Apr. 5, 2021), https://           ethnicity, national original, or other information on
this information" or similar for any of     www.sba.gov/sites/default/files/2021-04/PPP_          individuals that utilize its products and services
the demographic information inquiries).     Report Public_210404-508.pdf.                         . . . .")(emphasis added).




                                                                                                                                 AdminRecord-000235
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need for repeated collections. In                    advance of notifying an applicant of                    applicant-provided data. New comment
response to an industry commenter's                  action taken by noting that certain                     107(c)(2)-2.i clarifies that
argument that applicants are unlikely to             lenders would use decision scoring                      § 1002.107(c)(2) requires that under no
respond to 1071 data requests given the              models to also determine whether the                    circumstances may the initial request
speed of certain application processes,              applicant is a "small business," such                   for applicant-provided data occur
the Bureau notes that the applicant is               that demographic information could                      simultaneous with or after notifying an
less likely to respond if the data is                only be collected after a decision is                   applicant of final action taken on a
requested post-decision when the                     made on the application. Initially, the                 covered application.779
applicant is no longer engaged in the                Bureau notes that nothing prevents a                       Although new § 1002.107(c)(2)(i)
process at all. Given the relatively                 financial institution from inquiring                    requires a financial institution to make
limited time it would take to collect                whether the applicant is a "small                       an initial collection attempt prior to
1071 data, the Bureau also rejects                   business," and if so, seeking applicant-                notifying an applicant of action taken,
commenters' assertion that requesting                provided data before decisioning the                    new comment 107(c)(2)-2.v clarifies
1071 data will negatively impact                     covered application. Indeed, as                         that a financial institution has latitude
whether a small business applies for                 discussed in final comment 107(c)(2)-                   to make additional requests for
credit at all. No commenter provided                 2.i, the earlier in the application process             applicant-provided data, including after
persuasive evidence that applicants will             the financial institution initially seeks               notifying the applicant of action taken.
avoid seeking credit because of data                 to collect applicant-provided data, the                 In response to a trade association's
collection under this rule.                          more likely the timing of collection is                 request that the Bureau clarify how
  Commenters raised a handful of                     reasonably designed to obtain a                         many times a financial institution must
additional arguments. In response to a               response. The Bureau also does not                      request 1071 data, new comment
commenter's argument that the person                 agree that delaying communicating a                     107(c)(2)-2.v clarifies that a financial
initially completing the application may             credit decision to an applicant in order                institution is permitted, but not
not be the business owner or have the                to acquire demographic or other                         required, to make more than one
requisite knowledge, the Bureau notes                applicant-provided data would violate                   attempt to obtain applicant-provided
that new comment 107(c)(2)-2.v permits               ECOA and the Fair Credit Reporting                      data if the applicant does not respond
a financial institution to follow-up with            Act. The Bureau does not believe there                  to an initial request. For example, a
additional attempts to collect the                   is a conflict between the laws; any delay               financial institution may decide to make
information through different means or               would be minimal, would not affect the                  multiple requests if it is concerned that
at another time. Moreover, given that                timeframes under existing Regulation B                  applicants may not be as forthcoming
approximately 82 percent of small                    to provide required notices when                        early in the process, if it has multiple
businesses are non-employer firms,775                decisioning a credit application,776 and                opportunities to request 1071 data that
the Bureau believes in most instances                could be avoided by collecting                          work well within its business processes,
the individual completing the form will              applicant-provided data in advance, as                  or as another method to encourage
have the relevant information.                       discussed above.777                                     greater applicant response.
   Next, in response to a comment that                  For the reasons discussed above,                       Provisions primarily related to the
post-decision collection would ensure                including that collection occurring post-               manner of collection. New
underwriters do not have access to                   final action would undermine the                        § 1002.107(c)(2)(ii) through (iv) sets
protected demographic information, the               purposes of section 1071, the Bureau is                 forth provisions that financial
Bureau agrees, but does not believe that             requiring financial institutions to                     institutions must incorporate into their
such considerations trump the                        maintain procedures to collect                          procedures for collecting applicant-
importance of ensuring data are                      applicant-provided data before notifying                provided data directly from the
collected in the first place. Indeed, the            the applicant of final action on the                    applicant to ensure that such
fact that ECOA section 70413(d)(2)                   application.778 The Bureau is also                      procedures are reasonably designed to
contemplates that underwriters and                   adopting new comment 107(c)(2)-2.i,                     obtain a response and do not discourage
other employees involved in making a                 which provides additional guidance                      a response. New § 1002.107(c)(2)(ii)
credit determination may have access to              concerning when financial institutions                  requires financial institutions to
applicant-provided data demonstrates                 must initially seek to collect 1071                     maintain procedures that provide the
that Congress envisioned that financial                                                                      request for applicant-provided data is
institutions may collect 1071 data before               776 Existing Regulation B § 1002.19(a)(1) requires   prominently displayed or presented.
decisioning an application. In any                   a creditor to notify an applicant of action taken       New comment 107(c)(2)-2.ii provides
                                                     within 30 days after receiving a completed              further guidance on the requirement,
event, concerns about access to                      application.
demographic information are adequately                  777 See Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612,
                                                                                                             clarifying that a financial institution
addressed by the firewall provision in               1624 (2018)("When confronted with two Acts of
                                                                                                             must ensure an applicant actually sees,
final § 1002.108, as well as the general             Congress allegedly touching on the same topic, this     hears, or is otherwise presented with the
prohibition from discriminating on a                 Court is not at `liberty to pick and choose among       request for applicant-provided data, and
                                                     congressional enactments' and must instead strive       that if the request is obscured or likely
prohibited basis in any aspect of a credit           `to give effect to both."'(citation omitted)).
transaction in existing ECOA and                        77s Although final § 1002.107(c)(2)(i) requires
                                                                                                             to be overlooked or missed by the
Regulation B.                                        collection before notifying an applicant of final       applicant, it is not reasonably designed.
  Finally, one commenter indirectly                  action on an application, the Bureau anticipates        For example, a financial institution
took issue with the requirement to                   that in the vast majority of cases financial
                                                     institutions will also collect applicant-provided          779 Nor may a financial institution seek to evade
collect applicant-provided data in                   data before decisioning an application. The Bureau      § 1002.107(c)(2)(i) by initially seeking to collect
                                                     is requiring collection based on when an applicant      applicant-provided data after it has signaled to the
  775 White Paper at 8; see also U.S. Small Bus.     is notified of final action on the application,         applicant that its application has been decisioned
Admin., Off. of Advocacy, 2022 Small Business        however, given the concerns noted above                 and the likely outcome, even if the financial
Profile, at 2(2022), https:11cdn.advocacy.sba.gov1   (particularly related to the applicant's willingness    institution has not yet formally notified the
wp-content/uploa ds/2022108130121338ISmall-          to stay engaged) and because a financial institution    applicant of action taken on the covered
Business-Economic-Profile-US.pdf(identifying         may have an easier time controlling when an             application. Such conduct would not constitute
33,185,550 small businesses, of which 27,104,006     applicant is notified, versus when an application is    procedures reasonably designed to obtain a
have no employees).                                  decisioned.                                             response, as required pursuant to § 1002.107(c)(1).




                                                                                                                                            AdminRecord-000236
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seeking to collect 1071 data in              form in appendix E, are important to     that the particular components of a
connection with a digital application        inform applicants why the request is     financial institution's procedures will
likely does not have reasonably              being made and to assure them that       vary from institution to institution, to
designed procedures if it uses a             financial institutions may not use the   provide regulatory clarity, new
bypassable hyperlink for 1071 data           information collected for a              comment 107(c)(3)-1 provides a list of
collection while other data are              discriminatory purpose.780               procedures the Bureau generally expects
requested through click-through                Finally, new § 1002.107(c)(2)(iv)      financial institutions will maintain in
screens.                                     requires that the financial institution'sorder to identify and respond to indicia
  New § 1002.107(c)(2)(iii) requires that    procedures include provisions that       of potential discouragement.781
the financial institution's procedures       ensure applicants can easily respond to    In response to commenters' request
must not have the effect of discouraging     a request for applicant-provided data.   for additional guidance on proposed
applicants from responding to a request      New comment 107(c)(2)-2.iv provides      comment 107(c)(1)-4, which would
for applicant-provided data. New             additional guidance and examples of      have required financial institutions to
comment 107(c)(2)-2.iii clarifies that a     procedures that would and would not      reassess on a periodic basis, based on
covered financial institution that           make it easy for an applicant to provide available data, whether its procedures
collects applicant-provided data in a        a response. The comment further          are reasonably designed to obtain a
time or manner that directly or              clarifies that a financial institution   response, the Bureau notes that new
indirectly discourages or obstructs an       complies with § 1002.107(c)(2)(iv) if it § 1002.107(c)(3) and comment
applicant from responding or providing       requests the applicant to respond to     107(c)(3)-1 clarify the type of
a particular response violates the rule.     inquiries made pursuant to               monitoring expected of financial
The comment also provides further            § 1002.107(a)(18) and (19) through a     institutions. In response to a
guidance on procedures that may avoid        reasonable method intended to keep the   commenter's question about whether a
the effect of discouraging a response.       applicant's responses discrete and       financial institution is permitted or
For example, comment 107(c)(2)-2.iii.B       protected from view. For example, if an  required to engage in testing beyond
explains a covered financial institution     applicant is completing a paper          peer analysis, such as A/B testing or
avoids discouraging a response by            application form, a financial institutionother methods, the Bureau notes that
requiring an applicant to provide a          may request that the applicant return a  nothing in the final rule requires a
response in order to proceed with a          paper data collection form requesting    financial institution to do so. While a
covered application, including, as           demographic data in a sealed envelope    financial institution is certainly free to
applicable, a response of"I do not wish      provided by the financial institution.   experiment with different procedures to
to provide this information" or similar.       In response to a commenter's           see which are most effective for its
While optional, requiring an applicant       suggestion that the Bureau permit        business model, a financial institution
to provide a response, particularly for      financial institutions to collect        may typically comply with final
the collection of demographic applicant      applicant-provided data through a        § 1002.107(c) by following the minimum
information, may be one of the most          variety of means, the Bureau notes that  factors and guidelines set forth in final
effective methods a financial institution    nothing requires a financial institution § 1002.107(c)(1) through (3) and
can use to maximize collection of such       to request applicant-provided data in a  associated commentary. In response to a
data.                                        single format or manner, and indeed      commenter's request for further
  The Bureau notes that other aspects of     new comment 107(c)(2)-2.iv expressly     guidance on what constitutes "periodic"
this final rule are similarly directed at    contemplates that a financial institutionpeer testing, the Bureau notes initially
ensuring applicants are not discouraged      may use multiple methods to collect      that the term "periodic" does not appear
from providing a response. For example,      applicant-provided data.                 in new § 1002.107(c)(3) or its associated
in response to a commenter's request
                                             Final Rule—§ 1002.107(c)(3) Procedures commentary. The Bureau does
that the Bureau provide potential                                                     anticipate, however, regular monitoring
                                             To Monitor Compliance
disclosure language and sample                                                        under new § 1002.107(c)(3) in order to
collection forms financial institutions         The Bureau is adopting new            identify and respond to indicia of
can use with applicants to allay             § 1002.107(c)(3) to require that a       potential discouragement. There is no
concerns about how data will be used,        covered financial institution maintain   designated number or time frame for
the Bureau notes that the final rule         procedures designed to identify and      how often that monitoring must occur;
provides for such required disclosure        respond to indicia of potential          rather, the precise cadence and scope
language and a sample disclosure form.       discouragement, including low response will vary depending on the financial
For instance, final comments                 rates for applicant-provided data. The   institution's procedures for collecting
107(a)(18)-4 and 107(a)(19)-4,               Bureau is adopting new § 1002.107(c)(3) applicant-provided data, its business
concerning collection of applicant           in order to provide greater clarity and  model, and other relevant factors.
demographic information, require             safeguards on the type of infrastructure
financial institutions to inform the         financial institutions are expected to   Final Rule—§ 1002.107(c)(4) Low
applicant both that a financial              have in place in order to ensure         Response Rates
institution cannot discriminate on the       compliance with final § 1002.107(c)(1)      The Bureau is adopting new
basis of the applicant's responses to data   and (2). Although the Bureau anticipates § 1002.107(c)(4) to provide that a low
collected pursuant to § 1002.107(a)(18)
and (19) and that Federal law requires         MO In response to a community group's suggestion          X81 The Bureau acknowledges that financial

them to ask for an applicant's               that the Bureau create a sample form with all            institutions may not have all the necessary data to
                                             required data elements, the Bureau notes that,           conduct a robust peer analysis of response rates
demographic information to help ensure       except for collection of certain demographic             until after 1071 data collection has been in effect
that all small business applicants for       information, many financial institutions already         for some period of time, and that the availability
credit are treated fairly and that           collect some or all of the data required by this final   and robustness of a peer analysis will also depend
communities' small business credit           rule, or may opt do so in a myriad of ways. See the      on the extent to which 1071 data are made publicly
                                             section-by-section analysis of appendix E for further    available. In the meantime, the Bureau still expects
needs are being fulfilled. The Bureau        discussion of why the Bureau is not adopting             financial institutions to monitor response rates
believes such explanations, which are        sample or model forms for the collection of other        internally and in comparison to public data, as
included in the sample data collection       types of data required by this rule.                     available.




                                                                                                                                     AdminRecord-000237
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response rate for applicant-provided           commensurate with its peers, if all peers   accommodate collection in this setting,
 data may indicate discouragement or           have low response rates overall or          including by using the sample
 other failure by a covered financial          maintain procedures not reasonably          collection form developed by the
institution to maintain procedures to          designed to obtain a response, the          Bureau (in paper or electronic format) or
collect applicant-provided data that are       financial institution may still violate     creating more private locations for the
reasonably designed to obtain a                § 1002.107(c). The Bureau does not          collection of data in-store. The Bureau
response. Similar to proposed comment          believe it would be appropriate at this     also does not believe that specialized
107(c)(1)-4, which would have                  time, however, to set a specific            knowledge is necessary to collect these
 provided that a financial institution may     percentage or metric for response rates,    data, and believes that retailers and
compare its response rate to peer              as suggested by some commenters, as         their employees can collect and
institutions as a method to assess             the appropriate response rate may           maintain data with the necessary
 whether its procedures are reasonably         depend on a number of factors, differ       precautions to safeguard applicant
 designed, final § 1002.107(c)(4)              from institution to institution, and        information, as they do with other
identifies the importance of response          change over time, for example, as           sensitive data provided in connection
rates as a method to assess whether a          financial institutions refine their         with a credit application. As to a
financial institution has reasonably           collection methods.                         commenter's argument that retailers will
 designed procedures. The Bureau                                                           have limited motivation to collect small
                                               Requests for Special Treatment for
 anticipates that in many instances, a         Particular Types of Transactions or         business lending data, the Bureau notes
low response rate may indicate a failure                                                   that a financial institution that retains a
                                               Types of Financial Institutions
to comply with final § 1002.107(c)(1)                                                      third party to offer its financial products
 and (2). The Bureau is adopting                 The Bureau is not adopting                has significant control and
§ 1002.107(c)(4) in order to provide           exceptions concerning the time and          responsibility over how its products are
covered financial institutions clarity on      manner of collection of demographic         offered, including the power and
the type of information that may be used       information for particular types of         responsibility to require third-party
to assess a financial institution's            transactions or by particular financial     partners to seek to collect required data
 procedures.                                   institutions, as requested by some          and otherwise comply with applicable
   The Bureau is adopting new comment          commenters. For the reasons described       law. In response to a commenter's
107(c)(4)-1 to provide further guidance        below, the Bureau believes the same         argument that data collected on point of
 on how to assess response rates. The          time and manner rules should apply          sale transactions will reflect the
comment clarifies that "response rate"         across all covered credit transactions      retailer's, rather than the financial
generally refers to whether the financial      and all covered financial institutions.     institution's, footprint, the Bureau notes
institution has obtained some type of            Initially, the Bureau believes that
                                               point of sale transactions should follow    that a financial institution chooses its
response to requests for applicant-                                                        retail partners. Finally, although some
 provided data (including, as applicable,      the same rules as all covered credit
                                               transaction types, and thus does not        commenters asserted that the collection
 a response from the applicant of "I do                                                    of 1071 data will deter applicants from
not wish to provide this information" or       believe that an exemption for such
                                               transactions, as suggested by some          seeking credit or retailers from
similar). However, significant                                                             providing in-store private label credit,
irregularities in a particular response        commenters, would be appropriate. The
                                               Bureau understands that many (though        they provided no evidence to support
(for example, very high rates of"I do not                                                  this claim.
 wish to provide this information" or          not all) point of sale applications,
                                               particularly those for smaller credit          Several commenters requested that if
similar) may also indicate that a
financial institution does not have            amounts or to purchase particular goods     the Bureau includes point of sale or
                                               in a store, are submitted on-site at the    similar transactions in the final rule, the
reasonably designed procedures. In
                                               point of sale and decisioned in real        Bureau should nonetheless exempt such
 particular, significant irregularities may
indicate the financial institution is          time. Many of the commenters'               transactions under $50,000 or except
                                               arguments for exclusion of point of sale    such transactions from the requirement
somehow steering, improperly
interfering with, or otherwise                 transactions were identical to the          to obtain demographic data. These
                                               arguments set forth by commenters           commenters stated that such an
 discouraging or obstructing an
 applicants' preferred response. New           above for why financial institutions        exemption would be consistent with
comment 107(c)(4)-1 further clarifies          should be permitted to collect 1071 data    FinCEN's customer due diligence rule,
                                               after decisioning an application,           which excludes from certain of its
that response rates may be measured, as
 appropriate, as compared to financial         including arguments based on the speed      requirements point of sale transactions
institutions of a similar size, type, and/     and fast-paced nature of the application    to provide credit products solely for the
 or geographic reach, or other factors, as     process, that applicants would be           purchase of retail goods/services up to
 appropriate.                                  discouraged from responding or              a limit of $50,000. The Bureau is not
   In response to commenters' concern          proceeding with the transaction, and        adopting such an approach here, given
that peer comparisons may not be an            that the person completing the              the different purposes and requirements
effective method to assess the                 application may lack the requisite          of the customer due diligence rule and
reasonableness of a financial                  knowledge. For the same reasons             section 1071. The purpose of FinCEN's
institution's procedures if all peers are      discussed above, the Bureau likewise        rule is to improve financial
not making reasonable efforts, the             does not believe that an exemption          transparency and prevent criminals and
Bureau agrees that peer comparisons            would be appropriate for point of sale      terrorists from misusing companies to
 alone are not determinative. Comparing        transactions.                               disguise their illicit activities and
 a financial institution's response rates to     In response to commenters' concerns       launder their ill-gotten gains.782 The
its peers is just one possible indicator of    that applicants will not feel comfortable
                                                                                             782 See Fin. Crimes Enf't Network, Information on
 whether a financial institution has           answering questions related to their
                                                                                           Complying with the Customer Due Diligence(CDD)
 procedures reasonably designed to             ethnicity, race, and sex in a public        Final Rule, https://www.fincen.gov/resources/
 obtain a response. Even if a financial        place, the Bureau believes that financial   statutes-and-regulations/cddfinal-rule (last visited
institution maintains a response rate          institutions can develop procedures to      Mar. 20, 2023).




                                                                                                                         AdminRecord-000238
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customer due diligence rule's exclusion                 notes that dealers are often the last      requests during the year, and expressed
for certain point of sale transactions is               entity with authority to set the material  concern about what it referred to as
based on the "very low risk posed by                    credit terms of the covered credit         "repetitive completion" of data points.
 opening such accounts at [a] brick and                 transaction, and so are generally          A trade association similarly noted that
 mortar store." 783 While the customer                  unlikely to be collecting 1071 data on     financial institutions often have
 due diligence rule focuses on accounts                 behalf of other reporting financial        customers with multiple facilities,
(including certain originated loans),                   institutions. Second, even in situations   which may have been obtained all at
 obtaining data on denials is essential to              where the dealer is acting as a mere       once or over time.
section 1071's purposes. Moreover,                      conduit, and thus may be collecting           Some commenters generally
 unlike FinCEN's rule, which requires                   information on behalf of another           supported a provision that would allow
covered financial institutions to collect               financial institution, the Bureau expects financial institution to reuse certain
certain essential information, section                  that the dealer can request 1071 data      data for some period of time. A
1071 only requires that financial                       from the applicant, just like a covered    community group supported allowing
institutions seek to collect applicants'                financial institution would do. Finally,   lenders to use previously collected data
 protected demographic information, and                 the commenter's concerns that data         if an application is continued at a later
 permits applicants to refuse to provide                must be collected at each stage of the     date. However, the commenter urged
that information. Given these key                       process, potentially by multiple covered against permitting reuse beyond a year,
 differences, the Bureau is not adopting                financial institutions, may be             noting that the characteristics of the
 an exclusion for point of sale                         misplaced; nothing in the proposed or      small business may change (such as
 applications below $50,000. See also the               final rule would require a financial       revenue size).
section-by-section analysis of                          institution (or a third party collecting      In response to the Bureau's request for
§ 1002.104, which discusses requests for                data on its behalf) to collect data        comment on the issue, a number of
 minimum transaction amount                             multiple times in connection with a        commenters urged the Bureau to adjust
thresholds.                                             single covered application.                the  time frame for reuse. A CDFI lender
   Next, trade associations representing                                                           urged that, at a minimum, the Bureau
insurance premium finance lenders and                   107(d) Previously Collected Data           update the time frame to "within 12
insurance agents and brokers similarly                  Proposed Rule                              months," rather than the same calendar
 argued that the Bureau's rule should not                                                          year, noting that there is no reason to
                                                          Proposed § 1002.107(c)(2) would have believe data are inaccurate for
 apply to insurance premium finance                     permitted, but not required, a financial
lenders, in part because such lenders                                                              applications submitted close in time,
                                                        institution to reuse previously collected but that fall between two calendar years.
cannot collect 1071 data until after                    data to satisfy proposed
funding. New § 1002.104(b)(3) excludes                                                             A trade association urged the Bureau to
                                                        § 1002.107(a)(13) through (21) if the data permit reuse for "the same or prior
insurance premium financing, therefore                  were collected within the same calendar calendar year." The commenter argued
resolving these commenters' concerns.                   year as the current covered application
   Finally, the Bureau does not believe it                                                         that permitting reuse of data would
                                                        and the financial institution had no       reduce applicant burden and that it
 would be appropriate to categorically                  reason to believe the data are inaccurate. would be unnecessarily restrictive to
exclude captive vehicle finance lenders                 The Bureau believed that, absent a
should be excluded from coverage. The                                                              require financial institutions to collect
                                                        reason to suspect otherwise, recently      anew previously obtained data that is
commenter's request was primarily                       collected 1071 data are likely to be
based on the argument that dealers—                                                                still likely to be accurate. The
                                                        reliable.                                  commenter further noted that a financial
 who primarily interact with                              Proposed comments 107(c)(2)-1
 applicants—are currently prohibited by                                                            institution can repopulate previously
                                                        through —7 would have provided             provided data, and the applicant can
ECOA from gathering certain protected                   additional guidance and examples of
 demographic information. As further                                                               certify that the data are still accurate or
                                                        when certain data can be reused by a       update the data. A community bank
 discussed in the section-by-section                    financial institution, including what
 analysis of § 1002.109(a)(3), Regulation                                                          argued that a one-year period was too
                                                        data can be reused, when information is short considering that its agricultural
B issued by the Board of Governors of
                                                        considered collected in the same year,     clients often annually reapply for draw
the Federal Reserve System (12 CFR part                 when a financial institution may have
 202) and applicable to dealers provides                                                           down lines of credit (used to purchase
                                                        reason to believe data are inaccurate,     crop inputs for the year), during which
in comment 5(a)(2)-3 that "[p]ersons                    and when a financial institution may       period a borrower's small business and
such as loan brokers and correspondents                 reuse data regarding minority-owned        principal owner status are unlikely to
 do not violate the ECOA or Regulation                  business status, women-owned business change.
B if they collect information that they                 status, and data on the principal             A couple of community banks and
 are otherwise prohibited from                          owners' ethnicity, race, and sex.          group of trade associations urged the
collecting, where the purpose of                           The Bureau sought comment on            Bureau to permit reuse for a 24-month
collecting the information is to provide                § 1002.107(c)(2) and associated            or two-year period. One of the banks
it to a creditor that is subject to [HMDA]                                                         stated that it is common for businesses
                                                        commentary.
 or another Federal or State statute or                                                            to obtain a new product from a financial
regulation requiring data collection." In               Comments Received                          institution in the first three years, rather
response to the commenter's concern                        The Bureau received comment on          than the first year alone. Another trade
that dealers may not be familiar with all               proposed § 1002.107(c)(2) from a range     association argued for a three-year reuse
required data under section 1071, such                  of lenders, trade associations, and        period. The commenter also argued that
 as gross annual revenue or ownership                   community groups. A few commenters         reuse should be permitted for any data
structure information, the Bureau first                 noted that it is commonplace for lenders the financial institution does not
                                                        to receive multiple applications from a    normally gather in connection with
  783 Fin. Crimes Enf't Network, Guidance, at Q29
(Apr. 3, 2018), https://www.fincen.gov/sites/default/
                                                        borrower. For example, a community         credit applications, such as data
files/2018-04/FinCEN Guidance_CDD_FAQ_                  bank stated that it is typical for         regarding minority-owned business
FINAL_508_2.pdf.                                        borrowers to submit numerous loan          status, women-owned business status,




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and data on the principal owners'          changed, to inform the applicant's            the data are likely to be reliable, while
ethnicity, race, and sex, as well as gross lender.                                       also permitting a long enough period of
annual revenue information if not             A community bank asked how the             reuse to avoid a financial institution
typically collected. A community bank      reuse provision could be implemented          from having to make repeated
argued that if there are no changes to the in light of the proposed firewall             information requests to returning
data, a financial institution should be    provision. The commenter noted that           customers.
permitted to reuse data indefinitely.      because the firewall provision prohibits        In response to a commenter's concern
Finally, a community bank asserted that review by underwriters of demographic            that characteristics of a small business
prior collected data should be reusable    information, it is unclear how a              may change during a time period greater
for the same amount of time across all     financial institution can reasonably rely     than a year, the Bureau notes that any
data points, unless there is a reason to   on data collected in the same calendar        dramatic shifts will likely be known to
believe they are inaccurate. However,      year if that data is inaccessible to the      a financial institution considering a new
the commenter continued, reuse of gross lender. Another commenter asked for              covered application. In those
annual revenue data should be updated clarification whether data (specifically           circumstances, the financial institution
every fiscal year and gender should be     demographic data) collected in prior          either will have already collected
updated every year given that gender       years could be reused, and what to do         updated information (in which case the
identity may change. The commenter         if there are multiple collections.            updated information would be reported
asserted that ethnicity and race           Specifically, the commenter gave the          pursuant to final comment 107(d)-4) or
information about the principal            example of an applicant that provides         the financial institution will have
owner(s) should not change absent a        demographic information for one               reason to believe certain data are
change in principal owner(s).              application, and then chooses not to          inaccurate, in which the case the
  In contrast, a community groups,         provide demographic information for a         financial institution cannot reuse that
community-oriented lenders, and            subsequent application, and asking            data pursuant to final § 1002.107(d)(2).
business advocacy groups, as well as an which collection should be reported.             Indeed, the Bureau believes that final
individual commenter opposed reuse of                                                    § 1002.107(d)(2), the provision
                                           Final Rule
prior collected data in certain                                                          prohibiting reuse of data if the financial
circumstances. The joint letter and the       For the reasons set forth herein, the      institution has reason to believe the
minority business advocacy group           Bureau is finalizing § 1002.107(d)            prior collected data are inaccurate, will
specifically opposed reuse of              (proposed as § 1002.107(c)(2)) to permit,     identify the majority of situations where
information about a principal owner's      but not require, a financial institution to   the data are no longer reliable. For
ethnicity, race, and sex information if    reuse previously collected data to satisfy    example, as set forth in final comment
the business previously responded "I do § 1002.107(a)(13) through (20) if(a) the         107(d)-6, a financial institution may
not wish to provide this information."     data were collected within the 36             have reason to believe data are
The commenters asserted that opinions      months preceding the current covered          inaccurate if it knows that the applicant
may shift, which may make a person         application (except that to satisfy           has had a change in ownership or a
more likely to provide the requested       § 1002.107(a)(14), on gross annual            change in an owner's percentage of
information. The commenters further        revenue, the data must be collected           ownership. Similarly, a financial
noted that it is not a big burden on       within the same calendar year as the          institution may also have reason to
financial institutions to attempt to       current covered application) and (b) the      know data are inaccurate if the business
gather the information again and doing     financial institution has no reason to        indicates that is has opened several new
so goes to the purposes of section 1071. believe the data are inaccurate. As             store locations recently. In that case, the
An individual commenter argued that        discussed above, the majority of              financial institution may have reason to
the proposed reuse of previously           commenters to weigh in on this issue          ask for updated data on gross annual
collected data about an applicant's sex, supported reuse of data for some period         revenue, number of workers, and
sexual orientation and gender              of time, with many commenters urging          potentially other data points.
identification would have a negative       the Bureau to extend the time period for        Some commenters raised concerns
impact on members of the LGBTQ             reuse from the same calendar year to          about reuse of data regarding a principal
community. The commenter was               multiple years. As noted by one bank,         owner's race, sex, and ethnicity
concerned that information collected for it is common for businesses to seek a           information, particularly if the business
one purpose would be used for a non-       new product within three years of a           previously responded "I do not wish to
intended purpose, such as to classify      prior origination, with fewer requests        provide this information." Another
and segregate LGBTQ members applying occurring within one year. Allowing                 commenter stated that identities, and
for a small business loan. The             reuse will also reduce the need for           particularly gender identity, may shift,
commenter stated that by collecting data applicants to repeatedly provide the            and so the information should be
on an applicant's sex, sexual              same information over a short period of       collected at least every year. The Bureau
orientation, and gender identification,    time, as noted by some commenters.            understands that how an applicant
LGBTQ members are at risk that their       The Bureau also believes permitting           wishes to identify may shift over time.
data may be used for unintended            reuse will reduce burden on financial         However, as noted above, the Bureau
purposes outside 1071 data collection.     institutions, particularly those with an      believes that a 36-month period
  In response to the Bureau's request for established relationship with a business.      provides the right balance of permitting
comment on whether financial               In addition, the Bureau believes that         reuse for a period of time to reduce
institutions should be required to notify permitting reuse will assist in fast-paced     repetitive collections, but also require
applicants that information they provide transactions, such as requests for              financial institutions collect the data
may be reused for subsequent               additional credit amounts on an existing      anew once a substantial amount of time
applications, one community bank           account. Based on these reasons and the       has passed. Although the final rule
suggested the Bureau add a disclosure      feedback from commenters, the Bureau          permits reuse of applicant demographic
on the sample data collection form         now believes that 36 months strikes the       data pursuant to final § 1002.107(d),
noting that the information may be         appropriate balance of permitting reuse       final comment 107(d)-9 provides that a
reused, and if the information has         for a short enough period of time that        financial institution may not reuse data




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to satisfy § 1002.107(a)(18) and (19)          LGBTQI+-owned business under                   Final comment 107(d)-1 (proposed as
unless the data were collected in              § 1002.107(a)(18) and regarding the         comment 107(c)(2)-1) is revised to
connection with a prior covered                ethnicity, race, and sex of the             clarify that reuse of data pursuant to
application pursuant to subpart B. The         applicant's principal owners under          final § 1002.107(d) is limited to reuse for
Bureau believes that reuse of applicant        § 1002.107(a)(19), but not other            the purpose of reporting such data
demographic data should be limited in          applicant-provided data. In any event, if pursuant to § 1002.109. In response to
this manner to ensure that data reported       an employee or officer is typically         an individual commenter's concern
were collected in a manner that aligns         tasked with collecting data required        about potential misuse of 1071 data, the
with the protections and selection             under § 1002.107(a)(18) and (19), and is Bureau has adopted new § 1002.110(e),
options set forth in final                     otherwise not involved in making any        which prohibits a financial institution
§ 1002.107(a)(18) and (19).                    determination concerning a covered          from disclosing or providing to third
   Although the Bureau is finalizing           application, providing that employee        parties the information it collects
§ 1002.107(d) to permit reuse of certain       with access to an applicant's prior         pursuant to final § 1002.107(18) and (19)
data collected within a 36-month               responses to data requests under            except in limited circumstances. In
period, the Bureau notes that a financial      § 1002.107(a)(18) and (19) would not        addition, financial institutions remain
institution may—at any time, even              violate the firewall. Thus,final            prohibited from using 1071 data—
outside a three-year period—use                comment 108(a)-1(ii)(f) provides the        particularly data about whether the
reasonable procedures to reaffirm data         example that reviewing previously           business is minority-owned, women-
previously collected. The Bureau               collected data to determine if it can be    owned, or LGBTQI+-owned, and the
understands that many financial                used for a later covered application        ethnicity, race, and sex of the principal
institutions have years of experience          pursuant to § 1002.107(d) is not an         owners of the business—in a manner
serving a particular small business's          activity that constitutes being involved    that violates ECOA, existing Regulation
credit needs and so may seek to                in making a determination regarding a       B, or any other applicable law. For
streamline new credit requests to avoid        covered application. Finally, if a          example, existing § 1002.4(a) prohibits a
duplicative or unnecessary collection          financial institution determines that it is creditor from discriminating against an
efforts. In this respect, it is important to   not feasible to limit an employee's or      applicant on a prohibited basis in any
note that the final rule does not prevent      officer's access to an applicant's prior    aspect of a credit transaction. Similarly,
a financial institution from identifying       responses to the financial institution's    existing § 1002.6(b)(1) prohibits a
efficient ways to gather 1071 required         inquiries under final § 1002.107(a)(18)     creditor from taking a prohibited basis
data, including by leveraging prior 1071       and (19) and provided the notice            into account in any system of evaluating
data to streamline the collection              required under final § 1002.108(d)to the the creditworthiness of an applicant,
process. For example, even if it has been      applicant at the time the data were         except as expressly provided for by
more than three years since a business         collected, the financial institution can    ECOA or Regulation B. Thus,just
submitted an application for credit, a         permit that employee or officer to reuse because this final rule gives a financial
financial institution may reaffirm prior       the collected data for a 36-month period institution permission to collect
collected data about whether the               as set forth in final § 1002.107(d).        ethnicity, race, and sex/gender
business is minority-owned, women-               In response to a commenter's question information for the limited purposes of
owned, and LGBTQI+-owned, and the              concerning what previously reported         section 1071, a financial institution still
ethnicity, race, and sex of the principal      data can be used, and how to resolve        remains prohibited from considering
owners of the business by, for example,        conflicting answers provided at             that data in a manner that violates
providing the applicant with a data            different times, the Bureau notes that      ECOA,existing Regulation B, or any
collection form pre-populated with its         final comment 107(d)-4 provides that a
                                                                                           other applicable law.
prior responses and confirming with the        financial institution should use updated
applicant that the information remains         information if available.                     Final comments 107(d)-2 and —3
accurate or making any changes noted             In response to its request for comment (proposed as comments 107(d)-2 and
by the applicant. Methods that reaffirm        on the issue in the NPRM,the Bureau         —3) contain minor revisions for
prior collected data may be particularly       received feedback from an industry          consistency and clarity. Final comment
useful in faster-paced transactions, such      commenter that the sample data              107(d)-2 identifies the particular data
as requests for additional credit              collection form should include a            that can be reused. The comment also
amounts.                                       disclosure that information can be          clarifies that other data required by final
   A bank asked how the reuse provision        reused for section 1071 reporting           § 1002.107(a) cannot be reused, as those
can be implemented in light of the             purposes, and that an applicant should      data points are specific and unique to
proposed firewall provision, noting that       inform its lender if there have been any each covered application. Final
because the firewall provision prohibits       changes. The Bureau is finalizing the       comment 107(d)-3 clarifies instances
review by underwriters of demographic          sample data collection form without a       where data have not been "previously
information, it is unclear how a               disclosure about potential reuse of data. collected" and so cannot be reused
financial institution can reasonably rely      Including such language could distract      under final § 1002.107(d).
on previously collected data if it is          an applicant from other language on the       The Bureau is adopting new comment
inaccessible to the lender. The Bureau         form (such as why the data is being         107(d)-4 to clarify that if a financial
does not believe that the firewall             collected) and risks potentially            institution obtains updated information
provision in final § 1002.108 will             confusing an applicant, who might not       relevant to the data required to be
conflict or render unusable the reuse          understand that reuse is limited to 1071. collected and reported pursuant to final
provisions in final § 1002.107(d), as          Relatedly, the collection form accurately § 1002.107(a)(13) through (20), and the
suggested by some commenters.                  identifies why the information is being     applicant subsequently submits a new
Initially, the Bureau notes that the           collected whether or not the data are       covered application, the financial
firewall provision only applies to             later reused—to help ensure that all        institution must use the updated
information regarding whether the              small business applicants are treated       information in connection with the new
applicant is a minority-owned business,        fairly and that communities' small          covered application or seek to collect
a women-owned business, or an                  business credit needs are being fulfilled. the data again. Final comment




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107(c)(2)-4 also provides an example of      Section 1002.108 Firewall                    the scope of 70413(b) is much broader. It
updated information.                                                                      instructs financial institutions that
                                             Background
   Final comment 107(d)-5 (proposed as                                                    "information provided by any loan
                                                ECOA section 70413(d) generally           applicant pursuant to a request under
comment 107(c)(2)-4) is revised to           limits the access of certain individuals
provide guidance on how to measure                                                        subsection (b). . . shall be itemized in
                                             at a financial institution or its affiliates order to clearly and conspicuously
the 36-month period for potential reuse      to certain information provided by an        disclose" data including the loan type
of certain data, and provides an             applicant pursuant to section 1071. The and purpose, the amount of credit
illustrative example.                        Bureau calls this requirement in 70413(d) applied for and approved, and gross
   Final comment 107(d)-6 (proposed as       to limit access to information a             annual revenue, among other things. In
comment 107(c)(2)-5) contains minor          "firewall."                                  other words, 70413(e) designates all of
revisions for consistency and clarity,          More specifically, ECOA section           the information that financial
and an example of when a financial           70413(d)(1) states that "[w]here feasible," institutions are required to compile and
institution has reason to believe data       underwriters and other officers and          maintain—not simply an applicant's
 may be inaccurate and so cannot be          employees of a financial institution or      status as a women-owned, minority-
reused for a subsequent covered              its affiliates "involved in making any       owned, or small business—as
application.                                 determination concerning an                  information provided by an applicant
                                             application for credit" cannot have          "pursuant to a request under subsection
   As noted above, final § 1002.107(d)(1)    access to any information provided by            „
permits a financial institution to reuse     the applicant pursuant to a request          (b)
gross annual revenue data if collected                                                      Information deemed provided
                                             under 70413(b). That is, the statute limits
 within the same calendar year as the        access not only by underwriters and          pursuant   to 70413(b) is subject not only
current covered application. The Bureau      persons making an underwriting               to the firewall under 70413(d) but also to
is adopting a narrower window for the        decision but also by anyone else             a right to refuse under 704B(c) and
reuse of gross annual revenue data than      involved in making any determination         separate recordkeeping requirements
                                             concerning an application. However, it       under 70413(b)(2). Applying these
other previously collected data given
                                             does not expressly define the term           special  protections to many of the data
the language in ECOA section
                                             "feasible" or provide clarification          points in 70413(e), such as an applicant's
 70413(e)(2)(F) requiring financial
institutions to compile "gross annual        regarding what it means to be "involved gross annual revenue or the amount
                                             in making any determination                  applied for, would be extremely
revenue of the business in the last fiscal                                                difficult to implement because this
year . . . preceding the date of the         concerning an application for credit."
                                                Additionally, under ECOA section          information is critical to financial
application." Given that the statute                                                      institutions' ordinary operations in
identifies a specified time frame for the    70413(d)(2), if a financial institution
                                             determines that an underwriter,              making credit decisions.
collection of gross annual revenue, it                                                      In order to resolve these ambiguities,
 would be more consistent with the           employee, or officer involved in making
statute to permit reuse of gross annual      a determination "should have access" to the Bureau gave different meanings to
                                             any information provided by the              the phrase "any information provided
revenue only within the same calendar                                                     by the applicant pursuant to a request
                                             applicant pursuant to a request under
year. Moreover, given that gross annual      704B(b), the financial institution must      under subsection (b)" with respect to
revenue data already looks back to the       provide a notice to the applicant of the     ECOA section 70413(e) as opposed to
prior fiscal year, adding an additional      underwriter's access to such                 70413(b)(2),(c), and (d). With respect to
36-month period could affect data            information, along with notice that the      the scope of the firewall, the Bureau
quality. The Bureau is also adopting         financial institution may not                interpreted the phrase to refer to the
new comment 107(d)-7 to provide              discriminate on the basis of such            data points in proposed
guidance on when gross annual revenue        information. Section 70413(d)(2) does        § 1002.107(a)(18)(minority-owned
information is considered collected in       not expressly define or describe when        business status) and proposed
the same calendar year, and so may be        an underwriter, employee, or officer         § 1002.107(a)(19)(women-owned
reused by a financial institution in         "should have access," nor does it            business status), as well as proposed
certain circumstances. In particular, the    explain the relationship, if any, between § 1002.107(a)(20)(ethnicity, race, and
comment discusses applications that          when a financial institution determines sex of principal owners). None of these
span more than one calendar year.            that an individual "should have access" data points has any bearing on the
   The Bureau is adopting new comment        under 70413(d)(2) and whether it is          creditworthiness of the applicant.
107(d)-8 to clarify that if a financial      "feasible" to implement and maintain a Moreover, a financial institution
institution decides to reuse data about      firewall under 704B(d)(1).                   generally could not inquire about this
the applicant's time in business, the                                                     demographic information absent section
                                             Proposed Rule                                1071's mandate to collect and report the
financial institution must update the
data to reflect the passage of time, and        Scope of the firewall. In the NPRM,       information, and ECOA prohibits a
                                             the Bureau explained its belief that         financial institution from discriminating
provides an illustrative example.
                                             section 1071 is ambiguous with respect against an applicant on the basis of the
   Lastly, final comment 107(d)-9            to the meaning of"any information            information. Thus, the Bureau believed
(proposed as comments 107(c)(2)-6 and        provided by the applicant pursuant to a that the best effectuation of
—7) is revised to provide guidance on        request under subsection (b)." On the        congressional intent was to apply
 when data regarding minority-owned          one hand,ECOA section 70413(b)(1)            section 1071's limitation on access and
business status, women-owned business        directs financial institutions to inquire    right to refuse provisions to all
status, LGBTQI+-owned business status,       whether a business is "a women-owned, demographic information collected
and data on the principal owners'            minority-owned, or small business," so       pursuant to section 1071 and not to
ethnicity, race, and sex may be reused       the phrase could be interpreted as           whether an applicant is a small business
by a financial institution in a              referring only to these three data points. or any of the non-demographic data
subsequent covered application.              However, section 70413(e) indicates that points proposed in § 1002.107(a).




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   Accordingly, the Bureau proposed       officer would not be involved in making       § 1002.108(b) would not apply to an
that financial institutions need only     a determination concerning a covered          employee or officer if the financial
limit access under ECOA section           application if the employee or officer is     institution determines that it is not
70413(d) to an applicant's responses to   involved in making a decision that            feasible to limit that employee's or
the financial institution's specific      affects covered applications generally,       officer's access to one or more of an
inquiries regarding women-owned           the employee or officer interacts with        applicant's responses to the financial
business status and minority-owned        small businesses prior to them                institution's inquiries under proposed
business status and the ethnicity, race,  becoming applicants or submitting a           § 1002.107(a)(18) through (20), and the
and sex of principal owners, but not to   covered application, or the employee or       financial institution provides the notice
an applicant's small business status.784  officer makes or participates in a            required under proposed § 1002.108(d)
Additionally, the proposal would have     decision after the financial institution      to the applicant.
clarified that this prohibition on        has taken final action on the                    The Bureau further proposed that it is
allowing certain employees and officers application, such as decisions about            not feasible to limit access as required
to access certain information does not    servicing or collecting a covered credit      pursuant to proposed § 1002.108(b) if
extend to ethnicity or race information   transaction.                                  the financial institution determines that
about principal owners that the             Feasibility of establishing and             an employee or officer involved in
financial institution collects via visual maintaining a firewall. In the NPRM,          making any determination concerning a
observation or surname. It would have     the Bureau also noted that ECOA               covered application should have access
also clarified that the prohibition does  section 70413(d) contains significant         to one or more applicants' responses to
not extend to an applicant's responses    ambiguities with respect to how               the financial institution's inquiries
to inquiries regarding demographic        financial institutions, in practical terms,   under proposed § 1002.107(a)(18)
information made for purposes other       should determine how to implement a           through (20). The Bureau proposed to
than data collection pursuant to section firewall to limit access to certain            define the phrase "should have access"
1071 or to an employee's or officer's     information provided by applicants            to mean that an employee or officer may
knowledge due to activities unrelated to pursuant to section 1071. Indeed, based        need to collect, see, consider, refer to, or
the inquiries made to satisfy the         on feedback from stakeholders during          otherwise use the information to
financial institution's obligations under the SBREFA process, it appeared that in       perform that employee's or officer's
section 1071 (e.g., an employee knows     many instances financial institutions         assigned job duties. As proposed, a
that the applicant is a minority-owned    that find it not "feasible" to implement      financial institution may determine that
business or women-owned business due and maintain a firewall will be the same           an employee or officer should have
to information provided to qualify for a  institutions determining that relevant        access for purposes of proposed
special purpose credit program or an      individuals "should have access" to the       § 1002.108 if that employee or officer is
officer knows a principal owner's         information provided by an applicant          assigned one or more job duties that
ethnicity, race, or sex due to            pursuant to 70413(b). The Bureau              may require the employee or officer to
participation in a community group or     believed that reading these two               collect (based on visual observation,
association).                             provisions in isolation from each other       surname, or otherwise), see, consider,
   As noted above, section 1071           would likely result in significant            refer to, or use information otherwise
prohibits access to certain information   confusion and challenges, particularly        subject to the prohibition in proposed
by underwriters and other officers and    for smaller financial institutions.           § 1002.108(b). The employee or officer
employees of a financial institution or      Accordingly, the Bureau proposed           would not have to be required to collect,
its affiliates "involved in making any    that section 1071's firewall requirement      see, consider, refer to or use such
determination concerning an               be implemented by reading the "should         information or to actually collect, see,
application for credit." Consistent with  have access" language in ECOA section         consider, refer to or use such
the statute, the Bureau proposed that a   704B(d)(2) in conjunction with the            information. It would be sufficient if the
financial institution need only prohibit "feasibility" language in 70413(d)(1). As      employee or officer might need to do so
the access of an employee or officer to   proposed, it would not be feasible for a      to perform the employee's or officer's
demographic information pursuant to       financial institution to implement and        assigned job duties. Additionally, a
section 1071 if that employee or officer  maintain a firewall with respect to a         financial institution may determine that
is involved in making a determination     given employee or officer involved in         all employees or officers with the same
concerning an applicant's covered         making a determination concerning a           job description or assigned duties
application. The Bureau further           covered application if the financial          should have access for purposes of
proposed defining the phrase "involved institution determines that employee or          proposed § 1002.108. However, if a
in making any determination               officer should have access to one or          financial institution determines that one
concerning a covered application" to      more of the applicant's responses to the      or more employees or officers involved
mean participating in a decision          financial institution's inquiries under       in making any determination
regarding the evaluation of a covered     proposed § 1002.107(a)(18) through (20).      concerning a covered application
application, including the                Conversely, it would be feasible for a        should have access for purposes of
creditworthiness of an applicant for a    financial institution to implement and        proposed § 1002.108, the financial
covered credit transaction. The NPRM      maintain a firewall if the financial          institution would have been responsible
noted that this group of employees and    institution determines that no employee       for ensuring that the employees or
officers includes, but is not limited to, or officer involved in making a               officers only access and use the
employees and officers who serve as       determination concerning a covered            protected information for lawful
underwriters. Additionally, the NPRM      application should have access to the         purposes.
would have explained that the decision applicant's responses to the financial             Exception to establishing and
that the employee or officer makes or     institution's inquiries under proposed        maintaining a firewall. As explained
participates in must be about a specific  § 1002.107(a)(18) through (20). Thus, the     above, the Bureau proposed to
covered application. An employee or       Bureau proposed that the prohibition on       implement the statutory exception to
                                          certain individuals accessing                 the requirement to establish and
  784 SBREFA Outline at 36-37.            information as set forth in proposed          maintain a firewall in § 1002.108. The




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exception would allow financial               If the financial institution provided the  NPRM provided sufficient flexibility in
institutions to give certain employees or     notice required by proposed                its firewall provisions to facilitate
officers access to protected demographic      § 1002.108(d) in an electronic or paper    implementation. A women's business
information if the financial institution      document that is separate from the data    advocacy group encouraged the Bureau
determines that they should have access       collection form inquiring about the        to look at ways to make a more secure
to that information. However, in such         applicant's minority-owned business        firewall and noted that the feasibility
circumstances, the financial institution      status, its women-owned business           standard in the proposed rule seemed to
would need to comply with the                 status, and its principal owners'          remove the firewall's effectiveness.
statutory requirement to provide a            ethnicity, race, and sex, the financial    Another commenter cautioned that the
notice in lieu of limiting access. Thus,      institution would have been required to    proposed firewall would not stop
the Bureau proposed that, in order to         provide the notice at the same time as     lenders from using information
satisfy the exception, as set forth in        or prior to providing the data collection  inappropriately and in a manner that
proposed § 1002.108(c), a financial           form. Additionally, the NPRM would         harms small business applicants.
institution would be required to provide      have clarified that the notice required       In contrast, a large number of lenders,
a notice.                                     pursuant to proposed § 1002.108(d)         trade associations, and individual
  The Bureau proposed that the                must be provided with the non-             commenters requested that the Bureau
financial institution be required to          discrimination notices required            eliminate the firewall. Some of these
provide the notice to, at least, each         pursuant to proposed § 1002.107(a)(18)     commenters said that the firewall
applicant whose responses to the              through (20).                              should be eliminated because it would
financial institution's inquiries under          Requests for comment. The Bureau        create competitive disadvantages or
proposed § 1002.107(a)(18) through (20)       sought comment on its proposed             overburden certain financial
would be accessed by an employee or           approach to the statutory firewall         institutions. Others said that it should
officer involved in making a                  requirement and whether a different        be eliminated because the firewall
determination concerning that                 approach might result in a better policy   would overburden all covered financial
applicant's covered application. As an        outcome. The Bureau also sought            institutions. Many commenters said that
alternative, the Bureau proposed that         comment on the scope of the proposed       the firewall will add complexity, create
the financial institution could provide       firewall requirement and the exception     burden and regulatory risk, and/or
the required notice to a larger group of      to establishing and maintaining a          increase the cost of compliance. A few
applicants, including all applicants, if it   firewall. The Bureau specifically sought   commenters said that the firewall
determines that one or more officers or       comment on whether the proposed            provisions could result in financial
employees should have access to               firewall should apply to information       institutions being required to purchase
protected demographic information.            about principal owners' ethnicity and      or create new technology or systems.
  The Bureau further proposed that the        race that is obtained via visual           Some commenters noted that the
notice provided to satisfy the exception      observation and/or surname analysis.       additional expense could result in an
in proposed § 1002.108(c) must inform         Finally, the Bureau generally requested    increased cost of credit, limited access
the applicant that one or more                comment on whether additional              to credit, and/or the cessation of certain
employees and officers involved in            clarification is needed regarding the      products being offered. One commenter
making determinations concerning the          firewall requirement.                      further stated that the costs of such a
applicant's covered application may                                                      requirement would likely decimate
have access to the applicant's responses      Comments Received
                                                                                         small businesses' access to credit
regarding the applicant's minority-             The Bureau received comments on its because financial institutions will either
owned business status, its women-             proposed approach to the firewall          decrease or stop their small business
owned business status, and its principal      requirement from a wide range of           lending.
owners' ethnicity, race, and sex. The         commenters including lenders, trade           One bank commenter asked that the
Bureau proposed language for the              associations, business advocacy groups, Bureau create a simple way for the
required notice and stated that a             community groups, small business           commenter to certify that the firewall
financial institution would be required       owners and other individuals, and          concept cannot work for its entire
to use the language set forth in proposed     members of Congress. A majority of         institution without exception,
comment 108(d)-2 or substantially             these comments addressed the               equivocation, or a repetitive review.
similar language when providing the           feasibility of establishing and            This commenter further indicated that it
notice.                                       maintaining a firewall and/or addressed would provide a short and simple
  The Bureau also proposed timing             the notice required to rely on the         disclosure (one half of a letter size page
requirements for providing the notice.        exception. Numerous commenters             or less) to all of its commercial
The Bureau proposed that, if the              sought the elimination of or exemptions applicants to document its compliance.
financial institution provides the notice     to the firewall requirement. Other         The commenter said that the proposed
orally, it must provide the notice prior      commenters sought additional guidance firewall requirements gave it concern
to asking the applicant if it is a            on some or all of the firewall provisions, and appeared to be a "gotcha" clause in
minority-owned business or women-             including the scope of the firewall and    the proposed rule. In particular, they
owned business and prior to asking for        determining who "should have access" indicated it was concerned with a
a principal owner's ethnicity, race, or       to the protected information.              portion of proposed comment 108(c)-1
sex. If the financial institution provided       General. A community group              that would have said that a financial
the notice on the same paper or               commenter said that the proposed           institution cannot permit all employees
electronic data collection form as the        firewall provisions appropriately protect and officers to have access simply
inquiries about minority-owned                applicants, and another stated that the    because it has determined that one or
business status, women-owned business         formulation of the proposed firewall       more employees or officers should have
status, and the principal owners'             provisions was reasonable. A CDFI          access.
ethnicity, race, or sex, the financial        lender said that while smaller financial      Some commenters said that they had
institution would have been required to       institutions might not be able to          not been able to devise a workable
provide the notice at the top of the form.    establish and maintain a firewall, the     method for improving what they called




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the firewall's "prohibit-or-disclose          Regarding application of the proposed      Specifically, some commenters said that
regime," and suggested that the Bureau      firewall requirement to demographic          the firewall would not be feasible for
needed to exercise its statutory            information collected via visual             larger institutions because they would
authority to eliminate the firewall         observation or surname, one commenter        have to make substantial investments in
provision. These commenters and others      requested guidance on how to comply          technology to implement a firewall. One
also noted that eliminating the firewall    with the firewall for such information.      commenter said that while it was a
requirement would align the rule            Another commenter urged the Bureau           larger financial institution, its business
implementing section 1071 with              not to include information collected via     lending department was small, which
HMDA/Regulation C, which they said          visual observation or surname within         would make establishing and
has required collection of demographic      the scope of the firewall. In contrast,      maintaining a firewall impossible,
information for decades without any         another commenter noted that if the          infeasible, or burdensome.
known incidents, despite the absence of     firewall is meant to prevent a credit           Many commenters said that lenders
any firewall.                               decision based on protected                  would need to change their operations,
  Some commenters said that the             information, it should not matter how        hire additional staff, reconfigure
Bureau should eliminate the firewall        the demographic information is               systems, and/or invest significant sums
because it is unnecessary. A commenter      collected.                                   in technology in order to establish and
also noted that the firewall requirement      Some commenters requested                  maintain a firewall. Some commenters
presents unique compliance challenges       clarification or guidance regarding the      asserted that the costs of doing these
because the requirement is different        firewall's applicability to information      things may be prohibitive. A few
than HMDA and will require unique           collected pursuant to HMDA or other          commenters said that the firewall would
systems. A few commenters said that         laws or regulations. One commenter           disrupt their process, and one
the firewall serves no purpose or has no    said that an employee or officer should      commenter said that the firewall
practical value. A few other commenters     not be subject to the firewall if the        requirement could diminish a loan
noted that the firewall is impractical or   employee or officer accessed                 officer's ability to fully engage with
serves no purpose when applications         demographic information collected            their clients efficiently and timely. With
are not anonymous, such as in smaller       pursuant to section 1071 in order to         regard to indirect vehicle financing, a
communities or where the employee or        satisfy HMDA or another regulatory           few commenters said that there is not
officer making determinations has an        requirement.                                 currently a mechanism to shield and
existing relationship with the applicant.      A commenter said that the firewall        transmit data for such transactions and
  A few commenters asked the Bureau         should only apply to applications            noted there would be a one-time cost
to create a platform, portal, or other      originated completely online.                exceeding $4 million to develop such a
system for applicants to report               Feasibility of establishing and            mechanism.
demographic information directly to the     maintaining a firewall. A significant           Some commenters requested
Bureau so that financial institutions       majority of the comments about the           additional clarification or guidance on
could avoid having to intake such           firewall provisions specifically             the feasibility standard. A few
information at all.                         addressed the feasibility of establishing    commenters specifically requested a
  Scope of the firewall. Comments on        and maintaining a firewall.                  clearer feasibility standard. Some
the scope of the proposed firewall          Overwhelmingly, these commenters             recommended that the Bureau provide
requirement largely requested               said that the firewall would be              clear guidance about when a firewall is
clarification. These commenters             impossible, difficult, inefficient, and/or   or is not feasible and how a covered
requested additional guidance regarding     costly to implement for certain financial    financial institution may determine the
the types of employees and officers that    institutions.                                feasibility of establishing and
would be subject to the firewall with          Numerous commenters said that the         maintaining a firewall. A few
one commenter asserting that the            firewall is not or may not be feasible for   commenters said that the Bureau should
standard in the proposed rule was vague     smaller institutions, such as credit         clarify the operational factors (such as
and subjective. This commenter also         unions and other community-based             existing staffing, software capability,
requested additional clarity regarding      financial institutions with limited staff    other existing systems and operations,
the definition of the phrase "involved in   and resources. Numerous commenters           and costs of making changes) that a
making any determinations concerning        also said that the firewall would not be     financial institution may consider when
an application for credit." Some            workable with some business models,          determining feasibility and when an
commenters requested that specific          loan processes, and/or decision-making       employee or officer should have access
groups of employees (such as software       structures. Specifically, commenters         to protected demographic information
engineers and data scientists, bankers      asserted that the firewall would be          collected pursuant to section 1071. Two
and managers who provide information        impossible or impractical with high-         of these commenters requested that the
or counseling on available credit           contact and relationship-based lending       commentary specifically state that a
products, and employees who gather          models and with lending models that          financial institution may determine that
information and submit applications to      rely on loan officers to collect             a firewall is not feasible if it would need
unrelated financial institutions who        information from applicants. One             to hire additional staff in a line of
may take assignments of the credit          commenter said that the logistics of         business. Another commenter said that
contract) explicitly be excluded from       implementing a firewall would be too         a financial institution should be
the scope of the firewall requirement.      much for most lenders.                       permitted to consider department size
However, a trade association said it           While some commenters said that the       in determining feasibility.
supported the proposed definition of the    firewall requirement would unfairly             Two commenters said that the Bureau
phrase "involved in making any              burden and punish smaller financial          should expressly state that a financial
determination concerning a covered          institutions or traditional financial        institution has discretion to determine
application."                               institutions in favor of larger financial    when a firewall is or is not feasible.
  One commenter specifically agreed         institutions and online lenders, others      These commenters further said that a
that the firewall should not extend to an   said that the firewall may not be feasible   financial institution's determination
applicant's status as a small business.     for larger institutions or online lenders.   that a firewall is not feasible should be




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left to the sole and exclusive discretion     financial institutions are inherently        inquiries pursuant to section 1071 will
of financial institutions, effectively        more likely to engage in unfair lending,     be making determinations regarding
creating a safe harbor for institutions'      to the extent that a "government             applications. Another bank said that the
determinations of feasibility. Another        warning" is necessary. The commenter         notice is useless because no one reads
commenter said that the Bureau should         further stated that this implication is an   disclosures, and customers already
also consider adding a feasibility-related    unwarranted insult to the integrity and      know that lenders cannot discriminate.
safe harbor provision in § 1002.112(c)        fairness of the shareholders and                A few commenters requested specific
that allows for variations in determining     management of smaller community              revisions to the notice. One commenter
feasibility. Other commenters                 banks, and they would most likely            said that the Bureau should revise the
recommended that a determination of           prefer to withdraw from or significantly     notice to align with a HMDA notice.
feasibility or infeasibility should satisfy   curtail small business lending than rely     Another commenter requested that the
the rule if done in conformity with           on the proposed exception to the             Bureau align the notice with the
written procedures. Finally, one              firewall requirement by providing the        disclosure used for HIVMA and stated
commenter said that it did not believe        notice.                                      that this means that the disclosure
that the Bureau could create a feasibility      Different commenters identified            would be provided with requests for
standard that would allow a financial         financial institutions that would need to    demographic information on covered
institution to determine whether it is        provide the notice as smaller financial      applications, regardless of whether the
required to implement a firewall              institutions, mid-sized financial            financial institution can maintain a
pursuant to the rule.                         institutions, community banks, credit        firewall, and would emphasize that the
  Providing o notice in lieu of               unions, or more traditional financial        information is being requested/collected
establishing and maintaining a firewall.      institutions (i.e., not online lenders).     for government monitoring of lenders'
A significant number of the commenters        However, one commenter predicted that        fair lending performance and
who said that it would not or may not         lenders of many sizes, business models,      compliance, cannot influence credit
be feasible to implement and maintain         and regulatory levels will conclude that     decisions, and is voluntary for
a firewall also opposed providing a           employees and officers involved in           applicants to provide. A third
notice in lieu of establishing and            making a determination concerning an         commenter said that in lieu of having a
maintaining a firewall. Generally,            application should have access to            firewall requirement, the Bureau should
commenters said that the notice may           demographic information collected            develop a model disclosure to
raise privacy concerns among some             under section 1071 and provide the           applicants explaining the data gathering
applicants, create confusion, and/or          notice.                                      process, similar to the disclosure
create competitive disadvantages for            A number of commenters suggested
                                                                                           provided in the government monitoring
financial institutions that provide the       that the notice could inhibit the
                                              collection of demographic information        section of the home mortgage
notice. Some commenters said that                                                          application.
requiring a notice would create an            and/or undercut section 1071's statutory
                                              purposes because it might influence             A commenter said that the Bureau
additional compliance and/or
administrative burden, and one said that      applicants not to provide the requested      should exercise its authority to allow
the notice may slow down the loan             information. One commenter said the          institutions to provide a Bureau-
process because financial institutions        notice might result in more applicants at    developed disclosure to applicants
will need to explain the required             community banks opting not to provide        explaining that there may be access to
language. Several commenters said that        their demographic information, and in        the data and explain that the institution
the notice could cause customer               turn, more community banks having to         must not discriminate based on the
complaints (as well as customer               report ethnicity and race information        information. The commenter further
confusion) if some financial institutions     based on visual observation or surname.      said that the Bureau should develop and
are not required to provide the notice.       Another commenter said that providing        provide the disclosure in Spanish as
Several commenters said that applicants       the notice may affect an applicant's         well as English when it publishes the
may want to obtain loans from financial       willingness to provide demographic           final rule and add other translations
institutions that do not provide the          information as the notice gives the          over time.
notice, and some said this ultimately         perception that the information would           A trade association supported the
could result in a reduction of applicant      likely be used to discriminate. Likewise,    Bureau's proposal to develop model
choice, a reduction of applicant access       some commenters said that providing          disclosures that lenders could use when
to credit, or increased cost of credit.       the notice to qualify for the firewall       notifying applicants of an employee's or
   A number of commenters said that           exception at the same time as the non-       officer's access to personal information.
providing the applicant with notice of        discrimination notice is especially          Another trade association supported an
the fact that their demographic data will     problematic and could result in              exception to the firewall requirement
be shared could raise questions or            applicants declining to provide the          and a model disclosure that alerts
suspicions of whether the data plays a        requested information. Some                  applicants that an employee or officer
role in credit decisions or doubts about      commenters said that giving the notices      may have access to demographic
the impartiality of the credit decision, or   together could result in other harms,        information, but does not tell applicants
could cause unwarranted scrutiny from         such as harm to existing customer            that such individuals will have access to
individuals receiving the notice. Some        relationships. Two commenters                such information. Two other
commenters said that the notice may           suggested that the notice requirement is     commenters supported allowing
cause applicants to think the financial       counterproductive because applicants         financial institutions to provide a notice
institution is not adequately staffed or      may be less inclined to provide              to applicants in lieu of restricting access
cannot maintain the confidentiality of        demographic information if they are          to applicants' protected demographic
applicant information. One commenter          told that decision makers may access         information if a financial institution
suggested that the language of the            their demographic information.               determines that it is not feasible to limit
proposed notice is inflammatory.                A bank said that the Bureau should         access to one or more of an applicant's
Another commenter said that the               eliminate the notice because applicants      responses to the financial institution's
proposed notice implied that some             will know that the person making the         inquiries. A community group




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commenter said that the notice is an                 exception, and applying the exception        of the HMDA data collection regime
important aspect of the proposed rule.               to a specific employee or officer or        (including its lack of a firewall) at the
    Requests for exemptionsfrom the                  group of similarly situated employees or time that section 1071 was enacted,
firewall requirements. Many                          officers. In addition, the Bureau has       specifically required that financial
 commenters requested that the Bureau                eliminated the requirement to use           institutions limit certain employees' and
 exempt certain financial institutions               specific language when providing the        officers' access to demographic
from the firewall requirement, though                notice required to qualify for the          information that financial institutions
 not all commenters agreed on which                  exception and, instead, has provided        request from applicants in order to
 institutions should be exempted. One                sample language for the notice. This        comply with section 1071. While
 commenter requested an exemption for                sample language appears in the sample       Congress allowed an exception to the
financial institutions with assets of less data collection form at appendix E. The general requirement to establish and
 than $1.384 billion (the CRA small bank Bureau has also revised the firewall                     maintain a firewall in certain
 threshold as of January 1, 2022),785 and            provisions to align with other changes      circumstances (i.e., when the financial
another for institutions with assets of              to the final rule, such as the inclusion    institution determined that an employee
less than $5 billion. A few commenters               of LGBTQI+-owned business status            or officer should have access to the
said that financial institutions with                collected pursuant to final                  demographic information and a firewall
assets of less than $10 billion should be § 1002.107(a)(18) as protected                          would not be feasible), the language of
exempted. Other commenters said that                 demographic information subject to the the statute suggests that Congress did
"smaller" or "community based                        firewall and the elimination of the         not intend for the Bureau to eliminate
institutions" or "community banks" or                requirement to collect certain              the prohibition on access more broadly.
"credit unions" should be exempted.                  information via visual observation or       Furthermore, Congress only authorized
One commenter said that community                    surname.                                    the Bureau to create exceptions to the
banks should be exempt from the notice                  Final § 1002.108(b) states the general   requirements in section 1071 where
requirement.                                         prohibition on access to applicants'        necessary or appropriate to carry out
    Other commenters said that certain               protected demographic information by        section 1071's purposes. The Bureau
institutions should be provided an                   certain persons. The Bureau is finalizing does not believe that eliminating the
"automatic" exception to the firewall,               § 1002.108(b) and comments 108(b)-1         firewall is necessary or appropriate to
such that smaller institutions could                 and 108(b)-2 with changes for clarity       carry out section 1071's purposes.
avoid the analysis and documentation                 and consistency with other portions of         Moreover, the Bureau believes that it
required to show that an institution                 the final rule. Specifically, § 1002.108(b) has separately addressed many of the
 qualifies for the exception.                        has been revised to include LGBTQI+-        concerns about the ability of smaller
    Several commenters said that, due in             owned business status, and cross-           institutions and institutions with
 whole or in part to the firewall                    references have been updated to reflect     limited staff to implement a firewall in
requirement, certain institutions should changes elsewhere in the final rule.                    other sections of the final rule. In
be exempted from the entire rule. One                Final § 1002.108(b) states that unless the particular, the Bureau has increased the
commenter said that banks under $1                   exception under final § 1002.108(c)         origination threshold for coverage in
billion should be exempted on this                   applies, an employee or officer of a        § 1002.105(b). As a result, many smaller
basis, a few said community banks                    covered financial institution or a          institutions and institutions with
should be exempted on this basis, and                covered financial institution's affiliate   limited staff will not be subject to any
one commenter said that all but the                  shall not have access to an applicant's      provisions of the final rule, including
largest lenders or all depository lenders responses to inquiries that the financial the firewall requirement.
should be exempted.                                  institution makes pursuant to this             Because the requirement to collect
    One commenter said that as an                    subpart regarding whether the applicant certain information via visual
alternative to exempting community                   is a minority-owned business, a women- observation or surname is not included
banks from the firewall requirement, the owned business, or an LGBTQI+-owned in final § 1002.107(a)(19), it is not
Bureau could require all financial                   business under final § 1002.107(a)(18),     necessary to address the comments
institutions to provide the notice to all            and regarding the ethnicity, race, and       about the applicability of the firewall
applicants, regardless of whether                    sex of the applicant's principal owners     requirements to information collected
information is firewalled.                           under final § 1002.107(a)(19), if that      via those methods. The Bureau has
Final Rule                                           employee or officer is involved in           accordingly removed references to
                                                     making any determination concerning         collecting information via visual
    For the reasons set forth herein, the            that applicant's covered application.       observation or surname from final
Bureau is generally finalizing the                   Comments 108(b)-1 and —2 have been          comments 108(a)-2.i and 108(b)-2.ii.
firewall requirement with additional                 re-ordered. Final comment 108(b)-1 and Similarly, because HMDA reportable
clarifications in the commentary                     final comment 108(b)-2 have been            loans are excluded transactions
regarding the definitions of "involved in revised to clarify the scope of the                     pursuant to final § 1002.104(b)(2), it is
 making any determination concerning a prohibition.                                              not necessary to address comments
covered application" and "should have                   While many commenters said that the asking for guidance on how to apply the
access," the scope of the firewall,                  Bureau should eliminate the firewall        firewall requirement if a loan is subject
 determining feasibility, the nature of the requirement, or should exempt certain                to both HMDA and this final rule.
                                                     covered financial institutions or certain      Regarding comments that the Bureau
   785Ed. of Governors of the Fed. Rsrv. Sys. & Fed. types of transactions from the firewall     establish a platform or system that
Deposit Ins. Corp., Agencies release annual asset-
size thresholds under Community Reinvestment Act requirement, the Bureau does not
                                                                                                  applicants can use to report
regulations(Dec. 16, 2021), https://                 believe it is appropriate to abrogate this demographic data directly to the
 www.federalreserve.gov/newsevents/pressreleases/    statutory requirement through section       Bureau, thereby eliminating the need for
 bcreg202ll2l6a.htm;Fed. Fin. Insts. Examination     1071's general exception authority          institutions to implement a firewall, in
Council, Explanation of the Community
Reinvestment Act Asset-Size Threshold Change
                                                     beyond   the exception  provided   in the   line with its discussion of this issue in
(Dec. 16, 2021), https://www.ffiec.govlcralpdfl      statutory firewall provision itself.        the section-by-section analysis of
2022 Asset Size_Threshold.pdf                        Congress, which would have been aware § 1002.107(a)(19), the Bureau does not




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intend to create such a system at this     application. Furthermore, an employee         Specifically, the Bureau has added
time but is open to engaging further       or officer is not involved in making a        language in final comment 108(c)-1 to
with stakeholders on alternative           determination concerning a covered            clarify that a financial institution is not
approaches for how financial               application if the employee or officer is     required to separately determine the
institutions might collect and report      only involved in making a decision that       feasibility of maintaining a firewall. A
protected demographic information.         affects covered applications generally.       determination that an employee or
  Final § 1002.108(a) provides certain     Finally, the comment clarifies that an        officer should have access means that it
relevant definitions, including the        employee or officer may be participating      is not feasible to maintain a firewall as
definition of the phrase "involved in      in a determination even if the employee       to that particular employee or officer,
making any determination concerning a or officer is not the ultimate or sole             and the exception applies to that
covered application from a small           decision maker and provides examples.         employee or officer if the financial
business." Generally, the Bureau is           Additionally, in response to               institution provides the notice required
finalizing the definition of the phrase    comments requesting further                   by final § 1002.108(d).
"involved in making any determination clarification regarding the definition of             The comment also clarifies the nature
concerning a covered application" in       the statutory phrase "involved in             of the exception (i.e., that it applies on
§ 1002.108(a)(1) with revisions for        making any determination concerning           an individual employee or officer basis,
clarity. The Bureau also is revising       an application for credit," the Bureau        not an institution-wide basis). The
comment 108(a)-1 to provide additional has added several examples to the list            comment states that the fact that a
clarity that the covered application must of the types of activities in final            financial institution has made a
be from a small business and to provide comment 108(a)-1.ii that do not                  determination that an employee or
clarity and examples regarding which       constitute being involved in making a         officer should have access does not
employees and officers are subject to the determination concerning a covered             mean that the financial institution can
prohibition set out in final § 1002.108(b) application from a small business for         permit other employees and officers
and which employees and officers are       purposes of § 1002.108. The Bureau has        who are involved in making
not subject to the prohibition. In         also added a list of examples in              determinations concerning a covered
response to the comments, the Bureau       comment 108(a)-1.iii of the types of          application to have access to the
has clarified that certain activities do   activities that do constitute being           information collected pursuant to final
not constitute being involved in making involved in making a determination               § 1002.107(a)(18) and (19). A financial
a determination concerning a covered       concerning a covered application from a       institution may only permit an
application from a small business and      small business for purposes of                employee or officer who is involved in
that other activities do constitute being  § 1002.108.                                   making a determination concerning a
involved in making such                      Section 1002.108(c), which the              covered application to have access to
determinations.                            Bureau is finalizing with updated cross-      information collected pursuant to final
   While the Bureau recognizes that the    references to reflect other changes in the    § 1002.107(a)(18) and (19) if it has
"involved in making any determination rule, explains the exception to the                determined that employee or officer or
concerning an application for credit"      general prohibition set forth in final        a group of which the employee or officer
standard that Congress created in the      § 1002.108(b). Final § 1002.108(c)            is a member should have access to the
statute is broad, the Bureau does not      establishes an exception to the               information.
believe that the standard in final         prohibition in final § 1002.108(b) and           The Bureau is not adopting one
§ 1002.108(a)(1), as further explained in states that the prohibition does not           commenter's suggestion that the Bureau
the commentary, is unduly vague or         apply to an employee or officer if the        permit a financial institution to
subjective, as asserted by some            financial institution determines that it is   determine that a firewall is not feasible
commenters.                                not feasible to limit that employee's or      for a single employee and then allow all
   As explained in final comment           officer's access to an applicant's            employees and officers to have access to
108(a)-1.i, an employee or officer is      responses to the financial institution's      protected demographic information. As
involved in making a determination         inquiries under final § 1002.107(a)(18)       explained above, the final rule clarifies
concerning a covered application from a or (19) and the financial institution            that a financial institution can permit an
small business for purposes of final       provides the notice required under final      employee or officer who is involved in
§ 1002.108 if the employee or officer      § 1002.108(d) to the applicant. It further    making a determination concerning a
makes, or otherwise participates in, a     provides that it is not feasible to limit     covered applications from a small
decision regarding the evaluation of a     access as required pursuant to final          business to access that small business's
covered application or the                 § 1002.108(b) if the financial institution    protected demographic information only
creditworthiness of a small business       determines that an employee or officer        if the financial institution has
applicant for a covered credit             involved in making any determination          determined that employee or officer
transaction. Final comment 108(a)-1.i      concerning a covered application from a       should have access (i.e., either
also explains that the decision that an    small business should have access to          individually or as part of a group). This
employee or officer makes or               one or more applicants' responses to the      requirement is not intended to be a
participates in must be about a specific   financial institution's inquiries under       "gotcha," as suggested by the
covered application or about the           final § 1002.107(a)(18) or (19).              commenter, but rather a reasonable
creditworthiness of a specific applicant.     However, in response to comments           means of allowing a financial institution
Thus, activities undertaken prior to the (including comments requesting                  to provide employees and officers to
submission of a covered application do     clarification about how a financial           have access to protected demographic
not constitute being involved in making institution should be permitted to               information when such access may be
a determination about a covered            determine feasibility pursuant to the         necessary to perform assigned job duties
application. Similarly, activities         final rule) and to provide additional         without allowing such information to be
undertaken after a financial institution   clarity and guidance, the Bureau has          widely accessible to those employees
has taken final action on a covered        divided proposed comment 108(c)-1             and officers who make determinations
application do not constitute making a     into two comments and revised and             concerning covered applications but do
determination regarding a covered          supplemented both comments.                   not need the information to perform




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their jobs. The sample data collection       tasks that may require access to one or      suggested by some commenters, would
form at appendix E includes sample            more applicants' protected demographic      be appropriate.
language for the firewall notice, but the    information to a particular job title, the      Final § 1002.108(d) explains the
Bureau is not requiring use of that          financial institution may determine that     requirement to provide a notice in order
specific language for the firewall notice. all employees and officers who share           to qualify for the exception. The Bureau
   Final comment 108(c)-2 addresses          that job title should have access for        is finalizing § 1002.108(d) and
how a financial institution may apply         purposes of § 1002.108.                     comments 108(d)-1 and —3 largely as
the exception to a specific employee or         Although the final rule does not          proposed, and has revised comment
officer or a group of similarly situated      provide a safe harbor for a financial       108(d)-2 regarding the content of the
employees or officers. It clarifies that a   institution's determination to account       notice. Final § 1002.108(d) has been
financial institution may determine that for variations in determining feasibility        revised to include LGBTQI+-owned
several employees and officers, all of a     (i.e., determining which employees and       business status, and cross-references
group of similarly situated employees or officers should have access) as two              have been updated to reflect changes
officers, and multiple groups of             commenters requested, new comment            elsewhere in the final rule. Specifically,
similarly situated employees or officers 108(a)-2.iii states that a financial             final § 1002.108(d) states that in order to
should have access to information            institution is permitted to choose what      satisfy the exception set forth in final
collected pursuant to § 1002.107(a)(18)      lawful factors it will consider when         § 1002.108(c), a financial institution
and (19). It also provides examples.         determining whether an employee or           shall provide a notice to each applicant
Final § 1002.108(a)(2) defines the phrase officer should have access to protected         whose responses to inquiries for
"should have access," which is used in       demographic information. A financial         protected demographic information will
§ 1002.108(c) and related commentary.        institution's determination that an          be accessed, informing the applicant
This phrase means that an employee or        employee or officer should have access       that one or more employees or officers
officer may need to collect, see,             may take into account relevant              involved in making determinations
consider, refer to, or otherwise use the     operational factors and lawful business      concerning the covered application may
information to perform that employee's        practices. For example, a financial         have access to the applicant's responses
or officer's assigned job duties.            institution may consider its size, the       to the financial institution's inquiries
However, in response to comments, the number of employees and officers                    regarding whether the applicant is a
Bureau has revised comment 108(a)-2           within the relevant line of business or     minority-owned business, a women-
and added a comment 108(a)-2.iii. The        at a particular branch or office location,   owned business, or an LGBTQI+-owned
Bureau has also revised comment              and/or the number of covered                 business, and regarding the ethnicity,
108(a)-2 to align with other changes         applications the financial institution has   race, and sex of the applicant's principal
finalized in the rule (i.e., the elimination received or expects to receive.              owners. The financial institution shall
of requirements to collect information        Additionally, a financial institution may   provide the notice required by final
via visual observation or surname and        consider its current or its reasonably       § 1002.108(d) when making the
the inclusion of the LGBTQI+-business        anticipated staffing levels, operations,     inquiries required under final
status in final § 1002.107(a)(18)). These    systems, processes, policies, and            § 1002.107(a)(18) and (19) and together
comments clarify how a financial              procedures. A financial institution is      with the notices required pursuant to
institution may determine who should         not required to hire additional staff,       § 1002.107(a)(18) and (19).
have access.                                 upgrade its systems, change its lending         Final comment 108(d)-1, which
   Final comment 108(a)-2.i explains         or operational processes, or revise its      includes minor revisions for clarity,
that a financial institution may              policies or procedures for the sole         explains that if a financial institution
determine that an employee or officer         purpose of determining who should           determines that one or more employees
who is involved in making a                  have access.                                 or officers should have access pursuant
determination concerning a covered              The Bureau believes this new              to § 1002.108(c), the financial institution
application should have access to            comment makes clear that different           must provide the required notice to, at
protected demographic information if         financial institutions may make              a minimum, the applicant or applicants
that employee or officer is assigned one different determinations regarding               whose responses will be accessed by an
or more job duties that may require the       which employees and officers should         employee or officer involved in making
employee or officer to collect, see,         have access and that those different         determinations concerning the
consider, refer to, or use such              determinations are permissible.              applicant's or applicants' covered
information. The employee or officer          Additionally, in response to                applications. Alternatively, a financial
does not have to be required to collect,     commenters' suggestions that                 institution may also provide the
see, consider, refer to, or use such         determinations of feasibility should         required notice to applicants whose
information or to actually collect, see,     satisfy the final rule if they are made in   responses will not or might not be
consider, refer to or use such               conformity with written procedures, the      accessed. For example, a financial
information in order for the financial       Bureau notes that a financial institution    institution could provide the notice to
institution to determine that the             may choose to make its determinations       all applicants for covered credit
employee or officer should have access. regarding who should have access to               transactions or all applicants for a
It is sufficient if the employee or officer protected demographic information             specific type of product.
might need to do so to perform the            pursuant to written procedures, but is         Final comment 108(d)-3, which
employee's or officer's assigned job         not required to do so in order to have       includes minor revisions to align with
duties.                                      a determination satisfy the final rule.      changes made elsewhere in the final
   Final comment 108(a)-2.ii explains        Furthermore, in light of the flexibility     rule, explains the timing for providing
that a financial institution may              provided in § 1002.108, and because the     the notice. Generally, the financial
determine that all employees or officers firewall requirement was explicitly set          institution must provide the notice
with the same job description or             forth by Congress in section 1071, the       required by § 1002.108(d) prior to asking
assigned duties should have access for       Bureau does not believe that providing       the applicant if it is a minority-owned,
purposes of final § 1002.108. If a           further discretion in determining            women-owned, or LGBTQI+-owned
financial institution assigns one or more feasibility or adopting a safe harbor, as       business and prior to asking for a




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principal owner's ethnicity, race, or sex.               firewall, and one commenter said that                 collected on a calendar year basis and
Additionally, the notice must be                         the notice was an important aspect of                reported to the Bureau by June 1 of the
provided with the non-discrimination                     the proposed rule.                                   following year, and addresses several
notices required pursuant to                                Nonetheless, in order to address                  related issues. Second, § 1002.109(b)
§ 1002.107(a)(18) and (19).                              commenters' concerns about the specific details the information that financial
   While many commenters said that the                   content proposed for the notice, the                  institutions must provide about
Bureau should eliminate the notice                       Bureau has revised comment 108(d)-2.                 themselves when reporting data to the
requirement or should exempt certain                     That comment reiterates that the notice              Bureau. Finally, § 1002.109(c) addresses
covered financial institutions from the                  must inform the applicant that one or                technical instructions for submitting
notice requirement, the Bureau does not                  more employees and officers involved                  data to the Bureau.
believe it is appropriate to eliminate this              in making determinations concerning                      The Bureau is finalizing § 1002.109 to
statutory requirement or to except                       the applicant's covered application may implement ECOA section 704B(f)(1) and
certain financial institutions from                      have access to the applicant's responses pursuant to its authority under
providing the notice if they are relying                 regarding the applicant's minority-                   704B(g)(1) to prescribe such rules and
on the exception to the firewall                         owned business status, women-owned                    issue such guidance as may be
requirement. Congress explicitly                         business status, LGBTQI+-owned                        necessary to carry out, enforce, and
required that a financial institution                    business status, and its principal                    compile data pursuant to section 1071.
provide a notice to an applicant if the                  owners' ethnicity, race, and sex.                    The Bureau is also finalizing
financial institution does not limit                     However, the comment no longer                       § 1002.109(b) pursuant to 704B(e)(2)(H),
certain employees' and officers' access                  prescribes language to be used for the                which requires financial institutions to
to protected demographic information.                    notice and, instead, directs financial                compile and maintain as part of their
Congress also required that applicants                   institutions to the sample data                       data any additional data that the Bureau
be permitted to refuse to provide the                    collection form included in the final                 determines would aid in fulfilling the
requested demographic information.                       rule for sample language that a financial purposes of section 1071.
Thus, an applicant should be told that                   institution may opt to use when                          Details regarding each aspect of final
certain employees and officers may have                  providing the notice.787 Alternatively, a § 1002.109, including a discussion of
access to the protected demographic                      financial institution may opt to use                  what the Bureau proposed and
information so that the applicant can                    different language as long as the notice              comments received, are provided in the
make an informed decision of whether                     provides an applicant with the                       section-by-section analyses that follow.
to exercise the applicant's statutory                    statutorily required information (i.e.,
right to refuse. The Bureau does not                     that one or more employees and officers 109(a) Reporting to the Bureau
believe it would be appropriate to allow                 involved in making determinations                    109(a)(1) Annual Reporting
some or all financial institutions to                    regarding the applicant's covered                    Proposed Rule
forego providing applicants with the                     application may have access to the
information they may need to determine                   applicant's responses regarding the                      ECOA section 704B(f)(1) provides that
whether to exercise this statutory right.                applicant's minority-owned business                  "[t]he data required to be compiled and
Although some commenters said that                       status, women-owned business status,                  maintained under [section 10711 by any
the notice may undercut section 1071's                   LGBTQI+-owned business status, and its financial institution shall be submitted
purposes because the notice may cause                    principal owners' ethnicity, race, and                annually to the Bureau."
applicants to refuse to provide the                      sex). Final comment 108(d)-2 also                        Proposed § 1002.109(a)(1)(i) would
requested demographic information, the                   notes, for clarity, that if a financial               have  required that by June 1 following
Bureau believes that Congress was                        institution establishes and maintains a              the calendar year for which data are
aware of this potential result when it                   firewall and chooses to use the sample                collected and maintained as required by
provided applicants with the right to                    data collection form, it may delete the               proposed § 1002.107, a covered
receive a notice and the right to refuse                 sample language for the firewall notice              financial institution shall submit its
to provide the requested information.                    from the form because employees and                  small business lending application
   Additionally, other commenters                        officers involved in making                          register in the format prescribed by the
undercut or contradicted the reasoning                   determinations concerning applicants'                Bureau. This approach to reporting
put forth by commenters opposed to                       covered applications will not have                   frequency and reporting period is
providing the notice. For example,                       access to the applicants' responses to                consistent with the annual submission
while a group of commenters opposed                      inquiries for protected demographic                  schedule specified in the statute. The
providing the notice based on the belief                 information.                                         Bureau sought comment on this aspect
that it would create competitive                                                                               of the proposal, and how best to
                                                         Section 1002.109 Reporting ofData to implement it in a manner that
disadvantages or burdens only for                        the  Bureau
smaller institutions, other commenters                                                                         minimizes cost and burden to small
said that larger institutions would also                    Final § 1002.109 addresses several                financial institutions.
likely provide the notice in lieu of                     aspects of financial institutions'                       Proposed § 1002.109(a)(1)(ii) would
establishing and maintaining a                           obligations to report small business                  have required that an authorized
firewall.786 Other commenters                            lending data to the Bureau. First,                   representative of the covered financial
supported allowing financial                             § 1002.109(a) requires data to be                     institution with knowledge of the data
institutions to provide a notice in lieu                                                                      submitted certify to the accuracy and
of establishing and maintaining a
                                                           787 Regarding the comment that the Bureau
                                                                                                               completeness of data submitted
                                                         should develop and provide the notice in Spanish      pursuant to proposed § 1002.109(a). A
                                                         as well as English when it publishes the final rule
   786 Aside from being speculative, such a              and add other translations over time, the Bureau     similar provision exists in Regulation C
competitive effect, if it existed, would be a direct     notes that it will be translating the sample data    (§ 1003.5(a)(i)), and the Bureau believed
consequence of the statutory mandate regarding the       collection form in appendix E (including the          it appropriate to adopt a similar
firewall: if the financial institution determines that   sample language for the notice on the form) into
an employee or officer should have access to             several languages. See also the discussion regarding
                                                                                                              requirement    here as well. Based on the
protected demographic information, the notice must       compliance and technical assistance at the end of    Bureau's experience with HMDA and
be provided.                                             part I above.                                        Regulation C, the Bureau believed that




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having a specific person responsible for  Both commenters mentioned the burden           perform data integrity reviews for those
certifying to the accuracy and            that would come along with                     lenders that are HMDA and/or CRA
completeness of data is likely to lead to  maintaining a database internally, as         reporters. Several commenters
financial institutions providing better    well as concerns about system                 requested, as a general matter, that
quality data.                              maintenance, cost, and risk. One of           reporting-related changes be effective
   Proposed § 1002.109(a)(1)(iii) would   those trade associations also described        January 1 rather than midyear.
have clarified that when the last day for an alternative whereby the Bureau could           Finally, several lenders urged the
submission of data prescribed under       provide a link where small business            Bureau to coordinate section 1071
proposed § 1002.109(a)(1) falls on a date loan applicants could input their own          reporting with CDFI Fund reporting.
that is not a business day, a submission  data or opt out of sharing their data          They argued that CDFIs are required to
is considered timely if it is submitted noaltogether.                                    report for a three-year period through
later than the next business day.           One bank did not support any aspect          the CDFI Fund's Transaction Level
   The Bureau sought comment on its       of proposed § 1002.109(a)(1)(i). This          Reporting data points that are well
proposed approach to the aspects of       bank argued that adding another                beyond the scope of section 1071. They
reporting addressed in proposed           reporting regime, in addition to HMDA          also suggested that the Bureau
§ 1002.109(a), including that the         and CRA, would add significant burden          standardize data formats to match those
reporting frequency be annual, that the   to their staff, both at the loan origination   used in CDFI Fund reporting, and to
reporting period be the calendar year,    stage and at the reporting stage. It also      coordinate across agencies in order to
and that the submission date be June 1    argued that having a mid-year reporting        streamline data collection and reporting
of the next calendar year. In particular, deadline would tie up critical                 requirements. This, they argue, would
the Bureau sought comment with            compliance resources and would                 minimize the burden on CDFIs.
respect to proposed § 1002.109(a)(1)(i)   require them to spend one quarter of the          The Bureau did not receive any
on whether requiring the submission of    year on reporting requirements.                comments in response to proposed
small business lending application          Two trade associations touched on
                                                                                         § 1002.109(a)(1)(ii) and (iii).
registers by June 1 might give rise to    quarterly reporting. The first
complications for any persons or          commented that large banks (for CRA            Final Rule
entities relying on data from the         purposes) should be required to provide           For the reasons set forth herein, the
registers for other purposes, such as     their data within 30 days of a request to      Bureau is finalizing § 1002.109(a)(1)(i)
Federal regulators scheduling             do so. They argued that if the Bureau
                                          absolves lenders of the requirement to         and (ii) as proposed, and finalizing
examinations.                                                                            § 1002.109(a)(1)(iii) with a revision for
                                          respond to individual requests, then
Comments Received                                                                        clarity. Specifically, under final
                                          data should be reported quarterly. The
  In response to proposed                 second commented that the frequency of         § 1002.109(a)(1)(i), on or before June 1
§ 1002.109(a)(1)(i), the Bureau received  reporting that financial and regulatory        following the calendar year for which
comments from lenders, trade              agencies expect to receive is quarterly        data are compiled and maintained as
associations, community groups, and       (Call Reports). They also stated that          required by § 1002.107, a covered
others. Commenters discussed the          non-regulated lenders, CDFIs and other         financial institution shall submit its
reporting deadline of June 1, the         similar providers should be required to        small business lending application
calendar year reporting period, and the   report no less than semi-annually.             register in the format prescribed by the
annual reporting frequency. Several          Many commenters did not support the         Bureau. While several commenters
commenters supported the Bureau's         June 1 reporting deadline and the              advocated for more frequent reporting,
reporting frequency and period, as well calendar year reporting period in                the Bureau believes that its approach is
as the reporting deadline of June 1. One particular. A lender and a business             consistent with the annual submission
bank urged the Bureau to permit           advocacy group urged the Bureau to             schedule specified in the statute. The
reporting as early as March 1 for         adopt a reporting deadline of July 1           Bureau is not permitting financial
institutions who wished to do so. A few instead of June 1 to provide more time           institutions to submit their data on a
community groups and a CDFI lender        between HMDA reporting and section             real-time basis or ongoing basis, as this
supported the reporting frequency and     1071 reporting. The business advocacy          approach could result in financial
period, but only supported the proposed group stated that for institutions who           institutions treating the Bureau as their
deadline of June 1 contingent upon the    report HMDA data quarterly, 60 days            official recordkeeper for their data.7$$
Bureau's timely publication of the data   after quarter end, a deadline of June 1        Regarding the comments supporting a
later on in the year.                      would leave no separation between             June 1 submission date, contingent on
   Some commenters supported the          reporting requirements. A cross-sector         rapid publication of data soon after, the
reporting frequency and period but did    group of lenders, community groups,            Bureau addresses such comments in the
not support the reporting deadline. Of    and small business advocates urged the         section-by-section analyses of
this group of commenters, one trade       Bureau to adopt a May 1 to April 30            § 1002.110(a) and (b), and the privacy
association urged the Bureau against      reporting period with a reporting              section in part VIII. While some
aligning the section 1071 reporting       deadline in July, citing that staggering       commenters requested that financial
deadline with the HMDA reporting          reporting periods would ease regulatory        institutions have the ability to submit
deadline of March 1, citing a strain on   burden for lenders who also report             data as early as March 1, the Bureau
resources. A trade association and a      HMDA data. A joint letter from                 intends to make it possible for financial
bank supported annual reporting but       community groups suggested a reporting         institutions to report as early as possible
requested a later deadline. Finally, two  period of July 1 to June 30, citing that       before June 1 each year once the small
trade associations requested the Bureau covered lenders would benefit by
to permit ongoing reporting alongside     having six months to prepare before              7- With respect to comment that it should build

annual reporting. Both of these           data collection begins.                        an online platform to receive data from applicants
                                                                                         on a real-time basis, the Bureau does not, at this
commenters suggested the Bureau create      Several banks requested the reporting        time, intend to take this step, in line with its
a portal or centralized system where      deadline be no earlier than June 30 so         analysis of demographic data submission in the
banks could input data as it is received. that there would be more time to               section-by-section analysis of § 1002.107(a)(19).




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business lending data reporting platform                within 60 days of a quarterly HMDA             to dissuade financial institutions from
is established.                                         filing deadline).                              creating subsidiaries for the sole
   While some commenters suggested                         Final § 1002.109(a)(1)(ii) specifies that   purpose of avoiding the collection and
alternate reporting periods, the Bureau                 an authorized representative of the            reporting of 1071 data. The Bureau also
believes there are advantages to having                 covered financial institution with             sought comment on all other aspects of
data collected and reported on a                        knowledge of the data shall certify to         this proposal.
calendar year basis. Calendar year                      the accuracy and completeness of the
reporting may facilitate other aspects of               data reported pursuant to                      Comments Received
the rule that depend on data that is                    § 1002.109(a)(1)(i). The Bureau has              The Bureau received comments from
typically recorded on a calendar year                   modified final § 1002.109(a)(1)(iii) for       a bank, a trade association, and a
basis. For instance, other parts of the                 clarity; it now provides that when June        community group on the proposed
rule look to annual data, such as                       1 falls on a Saturday or Sunday, a             provision regarding reporting by
§ 1002.105(b), which would use a                        submission shall be considered timely if       subsidiaries. The community group had
financial institution's loan volumes over               it is submitted on the next succeeding         no objections to the Bureau's proposal.
the prior two calendar years to                         Monday.                                        The bank recommended that the Bureau
determine whether it is a covered                                                                      define subsidiary in subpart B, stating
financial institution. Further, the                     109(a)(2) Reporting by Subsidiaries
                                                                                                       that the term was used extensively in
Bureau understands that financial                       Proposed Rule                                  this proposed provision and to dissuade
institutions would generally prefer to                                                                 financial institutions from creating
                                                          ECOA section 704B(f)(1) states that
have such data collections occur on a                                                                  subsidiaries in order to avoid reporting
                                                        "any" financial institution obligated to
calendar year basis because such an                                                                    data. The community group
                                                        report data to the Bureau must do so
approach would be generally consistent                                                                 recommended that the Bureau create
with their operations. An annual                        annually; the statute does not expressly
                                                        address financial institutions that are        safeguards against the possibility that a
reporting period other than the calendar                                                               lender will develop an ownership
year—such as July 1 to June 30—could                    themselves subsidiaries of other
                                                        financial institutions.                        structure that will evade reporting
result in additional challenges for                                                                    requirements, specifically that
financial institutions in complying with                  Proposed § 1002.109(a)(2) would have
                                                        stated that a covered financial                originations be counted at the parent or
the rule, which could in turn increase                                                                 holding company level for the purposes
the probability of errors in collecting                 institution that is a subsidiary of
                                                        another covered financial institution          of determining institutional coverage
and reporting data to the Bureau.789                                                                   under § 1002.105(b).
   Regarding submission date, several                   shall complete a separate small business
commenters requested alternate                          lending application register. The              Final Rule
deadlines such as March 1 or July 1.                    proposal would have provided that a
                                                        subsidiary shall submit its small                For the reasons set forth herein, the
However, the Bureau believes that --
June 1 submission deadline gives the                    business lending application register,         Bureau is finalizing § 1002.109(a)(2) and
compliance staff of financial                           directly or through its parent, to the         associated commentary as proposed.
institutions, especially smaller                        Bureau. Proposed comment 109(a)(2)-1           The Bureau believes that this provision
institutions, adequate time and                         would have explained that a covered            will help facilitate compliance through
resources to dedicate to preparing a                    financial institution is considered a          consistency with an existing provision
small business lending application                      subsidiary of another covered financial        in a separate regulation (Regulation C)
register, after meeting other reporting                 institution for purposes of reporting          familiar to many financial institutions
obligations earlier in the year, such as                data pursuant to proposed § 1002.109 if        and by also permitting financial
under HMDA or CRA. This remains true                    more than 50 percent of the ownership          institutions to coordinate the reporting
even though the final rule excludes all                 or control of the first covered financial      of all their subsidiaries' small business
HMDA-reportable loans and even                          institution is held by the second              lending data. The final rule provides a
though the Federal prudential regulators                covered financial institution. This            definition of subsidiary in comment
have proposed amendments to the CRA                     proposed provision would have                  109(a)(2)-1.
rules that would use small business and                 mirrored one that exists for HMDA                The Bureau does not believe it is
small farm data from this rule. Many                    reporting under Regulation C in                necessary to add to the rule a
institutions will still have March                      § 1003.5(a)(2). The Bureau believed that       requirement to count originations at the
deadlines for their HMDA and CRA                        the proposed provision would facilitate        parent or holding company level for the
reporting obligations unrelated to small                compliance by permitting parent                purposes of determining whether a
business lending, and the Bureau                        financial institutions to coordinate the       financial institution has met the
believes a later deadline for reporting                 reporting of all their subsidiaries' small     institutional coverage threshold. Final
data collected under this final rule                    business lending data together.                § 1002.105(b) defines a covered
remains appropriate. Financial                             The Bureau sought comment on this           financial institution as a financial
institutions with quarterly HMDA filing                 aspect of its proposal. Additionally, the      institution that originated at least 100
deadlines generally handle a high                       Bureau sought comment on proposed              covered credit transactions for small
volume of mortgage loan originations                    § 1002.109(a)(2) in light of proposed          businesses in each of the two preceding
and are more likely to have sufficient                  § 1002.105(b), which would have                calendar years. The Bureau believes that
resources to cope with a June 1 deadline                defined a covered financial institution        the process and costs of establishing a
for this rule (and, indeed, any filing                  as a financial institution that originated     new charter to avoid reporting data,
deadline set by the Bureau would be                     at least 25 covered credit transactions        along with other associated obligations
                                                        for small businesses in each of the two        in forming a new legal entity, will
   789 Regarding concerns that a January 1 collection   preceding calendar years. The Bureau           generally dissuade lenders from creating
date would be too soon after the publication of the     sought comment on whether this                 subsidiaries through whom to make
rule, the Bureau addresses all concerns about the
amount of time lenders have to comply with this
                                                        provision may risk creating ambiguity          small business loans specifically for the
rule in the section-by-section analysis of              with respect to compliance and whether         purpose of avoiding coverage under this
§ 1002.114(b).                                          additional safeguards may be required          final rule.




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109(a)(3) Reporting Obligations Where        using its underwriting criteria should be     institution can ascertain if a covered
Multiple Financial Institutions Are          required to report and collect.               credit transaction was originated by
Involved in a Covered Credit                                                               another financial institution without
                                             Proposed Rule
Transaction                                                                                logistical difficulty or significant
                                                Proposed § 1002.109(a)(3) would have       compliance cost.
Background                                   provided that only one covered
                                             financial institution shall report each       Comments Received
  Section 1071's requirement to collect
and report data for any "application to      covered credit transaction as an                The Bureau received comments on
a financial institution for credit" could    origination, and that if more than one        this aspect of the proposal from a range
be read as applying to more than one         financial institution was involved in an      of stakeholders, including lenders, trade
financial institution when an                origination, the financial institution that   associations, and community groups.
intermediary provides an application to      made the final credit decision approving        Several commenters,including trade
another institution that takes final         the application shall report the loan as      associations and a community group,
action on the application. It might also     an origination, if the financial              expressed general support for the
apply in cases where one application is      institution is a covered financial            Bureau's proposed approach, stating
simultaneously sent to multiple              institution.                                  that it would help avoid duplicative
financial institutions for review. This         Proposed § 1002.109(a)(3) would have       reporting, the originating lender is best
broad reading may serve a useful             further provided that if there was no         positioned to obtain the necessary
function, such as comprehensive              origination, then any covered financial       information from the borrower, and the
reporting by all financial institutions      institution that made a credit decision       approach will increase the accuracy of
involved in a small business lending         shall report the application. The Bureau      the reported data, especially in an
transaction, but could also generate         explained that under certain lending          increasingly complex lending market. In
duplicative compliance costs for             models, financial institutions may not        addition, two credit union trade
financial institutions and potentially       always be aware of whether another            associations said that the proposal takes
detract from the quality of reported data,   financial institution originated a credit     the correct approach for loan
increasing the risk that certain             transaction. The Bureau believed that         participation arrangements. Another
                                             information on whether there was an           trade association said that, to ensure
applications are reported multiple times
with potential inconsistencies.              origination should generally be               simplicity, the Bureau should make the
                                             available, or that lending models can be      rule identical to Regulation C.
  During the SBREFA process, several         adjusted to provide this information at         Conversely, several other industry
small entity representatives voiced          low cost.                                     commenters asserted that the proposal
support for aligning reporting                  Proposed comment 109(a)(3)-1 would         may be too complex or not feasible. A
requirements for financial institutions      have provided general guidance on how         bank requested that the Bureau consider
that are not the lender of record with the   to report originations and applications       different reporting rules in cases where
approach taken for HMDA reporting in         involving more than one institution. In       coordination among financial
the Bureau's Regulation C. Other small       short, if more than one financial             institutions is not feasible. A trade
entity representatives expressed concern     institution was involved in the               association stated that financial
in adopting the Bureau's approach in         origination of a covered credit               institutions are not aware of credit
Regulation C, noting the differences         transaction, the financial institution that   extensions made by competitors and are
between small business and residential       made the final credit decision approving      prohibited from sharing nonpublic
mortgage loan products, and advocated        the application would report the              personally identifiable information,
for simpler approaches.                      covered credit transaction as an              including the existence of an account,
  SBREFA feedback from other                 origination. Proposed comment                 with other financial institutions. This
stakeholders included support for a          109(a)(3)-2 would have offered                commenter pointed out that in indirect
HMDA-like approach when multiple             examples illustrating how a financial         financing, the loan might be offered to
lenders are involved in a transaction,       institution should report a particular        multiple parties, so several financial
praising the Bureau's consistent             application or originated covered credit      institutions might be in this position.
approach and interest in limiting            transaction. Proposed comment                   Similarly, a joint letter from several
duplicative information. However,            109(a)(3)-3 would have explained that if      insurance premium finance trade
several stakeholders advocated against       a covered financial institution made a        associations stated that insurance
the HMDA approach, generally by              credit decision on a covered application      premium lenders generally do not know
proffering other ideas rather than           through the actions of an agent, the          whether an application was originated
criticizing the rules or outcomes of the     financial institution reports the             by another financial institution, and it
HMDA approach. Alternative                   application, and provided an example.         would be difficult, if not impossible to
suggestions varied, but included             State law determines whether one party        find out. These commenters suggested a
suggesting that data collection and          is the agent of another. While these          new exception where insurance
reporting should be required only for        proposed comments assumed that all of         premium finance lenders are permitted
the company most closely interacting         the parties are covered financial             to report data regarding any signed
with the loan applicant; if a financial      institutions, the same principles and         premium finance agreement they
institution receives a covered               examples would apply if any of the            receive and take action upon (without
application, then the application should     parties were not a covered financial          requiring them to determine whether
be subject to reporting, regardless of       institution.                                  another lender originated the rare
outcome; the financial institution that         The Bureau sought comment on this          premium finance loan that is not
funded (or would have funded) the loan       aspect of its proposal. In particular, the    approved and funded).
should be required to collect and report;    Bureau sought comment with respect to            A joint letter from community and
and the financial institution that           proposed § 1002.109(a)(3) on whether,         business advocacy groups argued that
conducts the underwriting and                particularly in the case of applications      the proposal does not address the
determines whether the small business        that a financial institution is treating as   complexity of modern online lending.
credit applicant qualifies for credit        withdrawn or denied, the financial            These commenters stated that online




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lenders often "rent a charter" to evade       the law from asking the business owner       These commenters asserted that this
the limitations of State lending laws, the    for protected demographic information.       was a simpler approach, and the
terms of these partnerships are often            Some commenters expressed                 originating creditor is in the best
unknown, but under the proposal only          uncertainty regarding the Bureau's use       position to collect and report all of the
one party would report the data without       of the term "final credit decision" in the   required data points.
it being clear which one. They further        proposal. Two commenters asserted that          A joint letter from community and
noted that the final credit decision          it was unclear which lender makes the        business advocacy groups stated that the
might be made by a digital algorithm but      final credit decision in situations where    Bureau should assign reporting
then approved by the depository               two lenders are required to make a           responsibility to the financial institution
institution. In addition, two credit          credit decision to approve an                that has the predominant economic
union trade associations expressed            application. A number of certified           interest in and bears the predominant
uncertainty regarding who is                  development companies, their trade           risk of a loan (or that would have had
responsible for errors or                     association, and other lenders provided      such an interest had the loan been
noncompliance—that is, credit union           the example of the SBA's 504                 consummated). These groups further
service organizations or the member           Development Company Loan Program,            asserted that it is important in online
credit union.                                 which requires loans to be financed by       lenders'"rent a charter" arrangements
   A joint letter from two motor vehicle      both a certified development company         for the Bureau to collect data on both
dealer trade associations requested           and a private lender, asking who reports     the identity of the online lender and the
clarification on the rule's application,      in such cases.                               depository institution because they are
stating their belief that for indirect auto      Several farm credit institutions and a    both ECOA creditors, but at a minimum
lending, the responsible party would          trade association requested that the         the Bureau should collect data on the
typically be the indirect lender that         Bureau clarify that its rule does not        party that bears the bulk of the risk.
advances funds, not the motor vehicle         apply to credit decisions made after            Another commenter stated that the
dealer. They further asserted that the        loan approval. The commenters                Bureau should consider adding a non-
dealer typically is identified on the         explained that farm credit institutions      unique (i.e., shared across institutions)
                                              are required to make an independent          loan identifier that would allow
credit contract as the seller-creditor                                                     matching of loans reported by multiple
even though the indirect lender as            judgment on the creditworthiness of the
assignee-creditor performs the                borrower, even in secondary market           institutions (e.g., a new data point). The
                                              transactions, so it would be helpful to      commenter asserted that this would
underwriting, funding, and servicing          make clear that those judgments are not
functions and determines whether, and                                                      allow data users to match loans reported
                                              subject to data collection and reporting     by multiple financial institutions and
on what terms, it will agree to take          obligations. In addition, a group of trade   obviate the need to have such reporting
assignment of the credit contract. They       associations requested that the rule text    rules.
argued that when an origination occurs,       should more closely match the text in           Comments addressing partial interests
the lender taking assignment of the           proposed comment 109(a)(3)-1.ii,             and participation loans are discussed in
credit contract should be the entity          saying that otherwise it could be            the section-by-section analysis of
responsible for compliance with section       misinterpreted to mean that as long as       § 1002.104(b). Moreover, several farm
1071, and that when an origination does                                                    credit institutions urged the Bureau to
                                              one institution reports its decision, then
not occur, then reporting responsibility      others need not do so.                       clarify that in the syndicated loan
should rest with the lender that                 A law firm commented that the             context, the administrative agent is the
conducted underwriting and                    Bureau should clarify that third-party       sole lender with responsibility under
determined that they would not take           review, even if for the purposes of          the rule. Commenters explained that
assignment of the credit contract.            telling the creditor that the third party    syndicated loans differ from
   A financial services trade association     will only purchase the post-origination      participations in that multiple lenders
characterized the transaction differently,    loan under certain conditions, does not      enter into a contractual relationship
explaining that indirect vehicle finance      mean that the third party/potential          with the borrower, but there is typically
transactions involve two separate, but        purchaser made the final credit              an administrative agent, which is
related transactions. The commenter           decision. The commenter explained that       primarily responsible for interacting
stated that a customer purchases a car        in these types of "forward flow"             with the applicant or borrower. A farm
from a motor vehicle dealer and               transactions, the third party does not       credit institution noted that the
executes a retail installment sales           originate the credit nor does it have any    proposal's ambiguity with respect to
contract that finances the purchase price     particular interest in whether the           syndicated loan reporting would create
and any other products the customer           creditor approves and originates the         inaccuracies in reported information.
elects to purchase. The dealer is the         transaction.
original creditor and negotiates the             A group of trade associations stated      Final Rule
financing terms with the customer.            that in the case of withdrawn                  For the reasons set forth herein, the
Separately, the dealer communicates           applications, it would be impractical        Bureau is finalizing § 1002.109(a)(3)
with one or more other financial              and burdensome for a financial               with modifications. Final
institutions to determine which one will      institution to determine whether an          § 1002.109(a)(3) states the general rule
purchase the completed contract and at        applicant received credit elsewhere.         that each covered financial institution
what terms. As purchaser of the credit           Commenters offered some alternative       shall report the action that it takes on a
contract, the financial institution takes     suggestions. Two industry commenters         covered application. Where it is
assignment of the contract and begins         stated that if a loan is originated, only    necessary for more than one financial
servicing the contract until it is paid in    the creditor to whom the obligation is       institution to make a credit decision in
full.                                         initially payable should be required to      order to approve the covered credit
   In addition, two trade associations        collect and report data. When there is       transaction, however, only the last
pointed to Board regulations                  no origination, only the institution that    covered financial institution with
implementing ECOA and argued that             initially received the application should    authority to set the material terms of the
the dealer would be prohibited under          be required to collect and report data.      covered credit transaction shall report




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the application. In addition, financial      modifying pricing information, amount         benefits where the purchase decisions
institutions report the actions of their     approved or originated, or repayment          are later accepted, declined, or altered
 agents.                                     duration. The fact that it is necessary for   by a different financial institution that
   Final comment 109(a)(3)-1 provides        more than one financial institution to        ultimately presents (or does not present)
general guidance on how to report            make a credit decision in order to            a credit offer to the applicant. Thus, the
 applications involving more than one        approve the covered credit transaction        Bureau believes data quality, along with
institution. Final comment 109(a)(3)-2       does not mean that there was an actual        the purposes of section 1071, will be
 provides a variety of examples to           approval or origination of the covered        better served if the financial institution
illustrate which financial institution       application. Rather, and in contrast to       with the last authority for setting the
reports a particular application when        the passive conduit scenario described        material terms of the covered
 multiple financial institutions are         above, this provision applies when a          transaction is the reporter.790
involved in a covered credit transaction     financial institution would not originate        Final comment 109(a)(3)-1.i
 and how such applications are reported.     a covered credit transaction unless it        emphasizes that the determinative factor
   The Bureau has revised language in        was approved by at least one other            is not which financial institution
 proposed § 1002.109(a)(3) that discussed    financial institution prior to closing.       actually made the last-in-time credit
 outcomes "if more than one financial           The changes to § 1002.109(a)(3) are        decision, but rather which financial
institution was involved in an               intended to address commenters'               institution had last authority for setting
 origination" both for clarity, and to       concerns that the NPRM approach was           the material terms of the covered credit
 avoid complexity, logistical challenges,    too complex or infeasible. Many of these      transaction, even if it did not actually
 and potential data accuracy issues.         commenters stated that it would be            exercise this authority in a particular
Initially, final § 1002.109(a)(3) provides   difficult for a financial institution to      case. For example, a financial
that each covered financial institution      know if a loan was originated by              institution that has the authority to
shall report the action that it takes on a   another financial institution. Unlike the     modify the total loan amount prior to
covered application. Final comment           NPRM approach, final § 1002.109(a)(3)         origination has the last authority for
109(a)(3)-1.ii sets forth the various        is not limited to requiring only one          setting the terms of the covered credit
 actions that a financial institution may    financial institution to report an            transaction, even if it makes no changes
take on a covered application. Certain of    origination. Final § 1002.109(a)(3) states    to the total loan amount. The Bureau is
the examples in final comment                that where it is necessary for more than      adopting a categorical, rather than a
§ 1002.109(a)(3)-2 illustrate credit         one financial institution to make a           case-by-case rule, to enable financial
transactions that involve a single           credit decision to approve the covered        institutions to identify a reporting party
financial institution with responsibility    credit transaction, only the last covered     at the outset of a transaction. The
for making a credit decision on a            financial institution with authority to       Bureau believes that this will help
covered application. Those examples          set the material terms of the covered         eliminate uncertainty and logistical
 make clear that where a financial           credit transaction is required to report      challenges concerning which institution
institution is only passively involved in    the application (i.e., whether or not it      reports, and thus provide a more
 a covered credit transaction or is only     was originated). In making this change,       straightforward and administrable bright
involved after the time of origination       the Bureau seeks to avoid duplicative         line.
(for example, to purchase the loan), it      reporting in more than just cases of             This approach will also address
 has not taken action on the covered         originated transactions; it seeks to          requests for clarification from
 application and so does not report. For     clarify that only one financial               commenters. For example, one
example, the Bureau understands that a       institution is required to report on the      commenter suggested that the Bureau
non-originating financial institution        application, no matter the action taken.      clarify that third-party review, even if
 may be "involved" with a covered               While the Bureau recognizes there          for the purposes of telling the creditor
credit transaction after closing (for        may be some benefit in having multiple        that the third party will only purchase
example, if it purchases the covered         financial institutions reporting the same     the post-origination loan under certain
credit transaction); however, such post-     application, there are logistical             conditions, does not mean that third
 closing transactions (with the exception    challenges and potential data accuracy        party/potential purchaser made the final
 of applications for line increases) are     issues that could result from reporting       credit decision. The Bureau believes
generally not covered by the final rule.     by multiple financial institutions. For       that final comment 109(a)(3)-2.vii
The Bureau further notes that whether        example, the Bureau understands that in       addresses this scenario, illustrating that
 an entity meets the definition of           some typical indirect lending situations,     where another financial institution has
"creditor" under ECOA and Regulation         one application may be transmitted to         ultimate authority for setting the
B is not determinative of who reports        several financial institutions to             material terms of the covered credit
 under this rule.                            determine interest in purchasing an           transaction, the third party/potential
   Despite the general rule that all         originated transaction, and requiring         purchaser does not report. In finalizing
financial institutions shall report action   reporting from each of these financial        this approach, the Bureau is also
taken on a covered application, final        institutions (even if the small business      removing the phrase "final credit
§ 1002.9(a)(3) and final comment             applicant is not aware of their               decision" from § 1002.109(a)(3) because
109(a)(3)-1.i provide that where it is       involvement or the action taken by these      the phrase appears to have caused
necessary for more than one financial        institutions) would significantly             confusion and is not necessary to
institution to make a credit decision in     increase reporting volumes for these          convey the Bureau's intentions
 order to approve the covered credit         types of transactions. Moreover, in this      regarding which financial institution is
transaction, only the last financial         example, while this approach means a
institution with authority to set the        lack of visibility into purchase offers          790 If the financial institution with last authority

 material terms of the covered credit        and an inability to compare them to the       for setting the material terms of the covered credit
transaction is required to report. Setting   resulting credit contract, the Bureau         transaction is not a covered financial institution,
                                                                                           whether due to a statutory exemption (such as the
the material terms of the covered credit     believes that reporting of such data          one for motor vehicle dealers in section 1029) or
transaction includes, for example,           could undermine data quality and              other reasons, then the application is not reported
selecting among competing offers or          would provide only limited additional         under this rule.




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